Case 2:24-cv-00074-APG-NJK   Document 57-9   Filed 05/16/25   Page 1 of 353




                     Exhibit 8




                     Exhibit 8
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 2 of 353

 Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 1
  ·1· · · · · · · · UNITED STATES DISTRICT COURT

  ·2· · · · · · · · · · ·DISTRICT OF NEVADA

  ·3

  ·4· · LATIA ALEXANDER,· · · · · · )
  · · · individually as heir of· · ·)
  ·5· · ISAIAH T. WILLIAMS and in· ·)
  · · · her capacity as Special· · ·)
  ·6· · Administrator of the Estate )
  · · · of ISAIAH T. WILLIAMS,· · · )
  ·7· · · · · · · · · · · · · · · · )
  · · · · · · · · · · Plaintiff,· · )
  ·8· · · · · · · · · · · · · · · · )
  · · · vs.· · · · · · · · · · · · ·)Case No.
  ·9· · · · · · · · · · · · · · · · )2:24-cv-00074-APG-NJK
  · · · LAS VEGAS METROPOLITAN· · · )
  10· · POLICE DEPARTMENT, a· · · · )
  · · · political subdivision of the)
  11· · State of Nevada, et al.,· · )
  · · · · · · · · · · · · · · · · · )
  12· · · · · · · · · Defendants.· ·)
  · · · ____________________________)
  13

  14

  15· · · ·VIDEOTAPED DEPOSITION OF DETECTIVE JUSTIN ROTH

  16· · · · · · Taken on Wednesday, January 8, 2025

  17· · ·By a Certified Stenographer and Legal Videographer

  18· · · · · · · · · · · · At 9:12 a.m.

  19· · · · · · · · At 400 South Seventh Street

  20· · · · · · · · · · ·Las Vegas, Nevada

  21

  22

  23· · · · · · · ·Stenographically reported by:

  24· · · · · ·Holly Larsen, NV CCR 680, CA CSR 12170

  25· · · · · · · ·Job No. 59091 - Firm No. 116F



 www.lexitaslegal.com                                                                702-476-4500
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 3 of 353

 Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 2
  ·1· · APPEARANCES:

  ·2· · For the Plaintiff:

  ·3· · · · · · ·MURPHY'S LAW, PC
  · · · · · · · ·BY:· CORRINE MURPHY, ESQ.
  ·4· · · · · · ·2620 Regatta Drive
  · · · · · · · ·Suite 102
  ·5· · · · · · ·Las Vegas, Nevada 89128
  · · · · · · · ·702.820.5763
  ·6

  ·7· · For the Defendants:

  ·8· · · · · · ·MARQUIS AURBACH
  · · · · · · · ·BY:· CRAIG ANDERSON, ESQ.
  ·9· · · · · · ·10001 Park Run Drive
  · · · · · · · ·Las Vegas, Nevada 89145
  10· · · · · · ·702.382.0711

  11
  · · · The Legal Videographer:
  12
  · · · · · · · ·NEKITA TAYLOR
  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25



 www.lexitaslegal.com                                                                702-476-4500
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 4 of 353

 Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 3
  ·1· · · · · · · · · · · · ·I N D E X

  ·2· · WITNESS· · · · · · · · · · · · · · · · · · · · PAGE

  ·3· · DETECTIVE JUSTIN ROTH

  ·4· · · · ·Examination by Ms. Murphy· · · · · · · · · · 5

  ·5

  ·6

  ·7

  ·8· · · · · · · · · · · E X H I B I T S

  ·9· · NUMBER· · · · · · · · · · · · · · · · · · · ·PAGE

  10· · Exhibit 1· · · Notice of Videotaped· · · · · · ·6
  · · · · · · · · · · ·Deposition of Detective
  11· · · · · · · · · ·Justin Roth

  12· · Exhibit 2· · · Critical Incident Review· · · · 28
  · · · · · · · · · · ·Team Administrative Report
  13
  · · · Exhibit 3· · · Pages 187 and 188 of· · · · · · 46
  14· · · · · · · · · ·Critical Incident Review
  · · · · · · · · · · ·Team Administrative Report
  15
  · · · Exhibit 4· · · NRS 179.055· · · · · · · · · · 128
  16
  · · · Exhibit 5· · · Overall layout of Apartment· · 130
  17· · · · · · · · · ·1125

  18· · Exhibit 6· · · Tactical Review Board CIRT· · ·248
  · · · · · · · · · · ·Conclusions
  19
  · · · Exhibit 7· · · LVMPD Interoffice Memorandum· ·253
  20

  21

  22

  23

  24

  25



 www.lexitaslegal.com                                                                702-476-4500
                                                                                                    YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 5 of 353

 Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 4
  ·1· · · · · · · · · ·P R O C E E D I N G S
  ·2· · · · · · · · · · · · · ·-oOo-
  ·3
  ·4· · · · · · · · THE VIDEOGRAPHER:· Today is
  ·5· · January 8, 2025.· The time is approximately
  ·6· · 9:12 a.m.· Your court reporter is Holly Larsen, and
  ·7· · I am your videographer, Nekita Taylor.· We are here
  ·8· · on behalf of Lexitas.
  ·9· · · · · · · · The witness today is Detective Justin
  10· · Roth, and we are here in the case Latia Alexander,
  11· · et al., versus Las Vegas Metropolitan Police
  12· · Department, et al.
  13· · · · · · · · Will counsel please state your
  14· · appearances, and the court reporter will administer
  15· · the oath.
  16· · · · · · · · MS. MURPHY:· Good morning.· Corrine
  17· · Murphy, Bar Number 10410, on behalf of plaintiff.
  18· · · · · · · · MR. ANDERSON:· Craig Anderson on behalf
  19· · of the defendants.
  20· · Whereupon,
  21· · · · · · · · · ·DETECTIVE JUSTIN ROTH,
  22· · having been first duly sworn to testify to the
  23· · truth, was examined, and testified as follows:
  24
  25· · · · · · · · MS. MURPHY:· Let the record reflect this


 www.lexitaslegal.com                                                                702-476-4500
                                                                                                    YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 6 of 353

 Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 5
  ·1· · is the time and the place of the deposition of
  ·2· · Justin Roth in the matter of Latia Alexander,
  ·3· · et al., versus Las Vegas Metropolitan Police
  ·4· · Department, et al., Case Number 2:24-cv-00074.
  ·5
  ·6· · · · · · · · · · · · EXAMINATION
  ·7· · BY MS. MURPHY:
  ·8· · · · Q.· · · Mr. Roth, my name is Corrine Murphy, and
  ·9· · I'm an attorney.· I represent the plaintiff, Latia
  10· · Alexander, in this case.
  11· · · · · · · · Can you please state and spell your full
  12· · name for the record.
  13· · · · A.· · · It's Justin Roth.· J-u-s-t-i-n R-o-t-h.
  14· · · · Q.· · · Do you have a middle name, Mr. Roth?
  15· · · · A.· · · It's Ray, R-a-y.
  16· · · · Q.· · · And would you prefer that I call you
  17· · Mr. Roth or Justin?
  18· · · · A.· · · Justin is fine.
  19· · · · Q.· · · And, Justin, you've been noticed to be
  20· · here today; correct?
  21· · · · A.· · · Yes.
  22· · · · · · · · MS. MURPHY:· I'm going to attach the
  23· · Notice of Videotaped Deposition of Justin Roth as
  24· · Exhibit 1 to today's deposition.
  25· · ///


 www.lexitaslegal.com                                                                702-476-4500
                                                                                                    YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 7 of 353

 Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 6
  ·1· · BY MS. MURPHY:
  ·2· · · · Q.· · · And, Justin, you'll be able to look
  ·3· · at this too.· Whenever I'm going to ask you to
  ·4· · look at a document today, I'm going to first
  ·5· · ask -- hand it to the court reporter, she's going
  ·6· · to mark the exhibit number on it, and then at the
  ·7· · end of the deposition, when she compiles a
  ·8· · transcript of today's hearing, she'll attach all
  ·9· · those documents.· So make sure and don't leave with
  10· · any documents today.
  11· · · · A.· · · Okay.
  12· · · · Q.· · · Give them all back to her at the end of
  13· · the day.
  14· · · · A.· · · Came with nothing; I will leave with
  15· · nothing.
  16· · · · Q.· · · Okay.· Thank you.
  17· · · · · · · · (Exhibit 1 marked.)
  18· · BY MS. MURPHY:
  19· · · · Q.· · · And, Justin, you understand that you're
  20· · here today to discuss the shooting of Isaiah
  21· · Williams?
  22· · · · A.· · · I do.
  23· · · · Q.· · · Have you ever given your deposition
  24· · before?
  25· · · · A.· · · No.


 www.lexitaslegal.com                                                                702-476-4500
                                                                                                    YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 8 of 353

 Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 7
  ·1· · · · Q.· · · Have you ever testified in court before?
  ·2· · · · A.· · · Yes.
  ·3· · · · Q.· · · Okay.· In what court cases have you
  ·4· · testified?
  ·5· · · · A.· · · I could not tell you off the top of my
  ·6· · head.· I've been on the department for 16 years, so
  ·7· · a few.· But nothing off the top of my head.
  ·8· · · · Q.· · · And so "a few" could mean a few
  ·9· · different things to a few different people.
  10· · · · · · · · Does "a few" mean -- would you say that
  11· · it's been more than five or less than five?
  12· · · · A.· · · If we're talking about full testimony
  13· · inside of a jury court or versus a preliminary
  14· · hearing testifying -- which one are we talking about
  15· · here?
  16· · · · Q.· · · Let's talk with a trial, with a jury
  17· · trial.
  18· · · · A.· · · One or two, to my recollection.
  19· · · · Q.· · · And in the prelims, I'm assuming that
  20· · you were there as an arresting officer, an
  21· · investigating officer.· Is that fair?
  22· · · · A.· · · Yes, ma'am.
  23· · · · Q.· · · Okay.· And how many of those do you
  24· · think you've testified?
  25· · · · A.· · · Dozens.


 www.lexitaslegal.com                                                                702-476-4500
                                                                                                    YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 9 of 353

 Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 8
  ·1· · · · Q.· · · Have you ever given testimony, either
  ·2· · in a deposition or at court, in your capacity as a
  ·3· · CIRT -- and that's C-I-R-T -- investigator?
  ·4· · · · A.· · · I have not.
  ·5· · · · Q.· · · Okay.· Is there any reason that you
  ·6· · would not be able to answer and understand my
  ·7· · questions today and give your best and most accurate
  ·8· · testimony?
  ·9· · · · A.· · · No.
  10· · · · Q.· · · Are you under any medications that would
  11· · inhibit your ability to give reliable testimony
  12· · today?
  13· · · · A.· · · No.
  14· · · · Q.· · · Have you had any recent personal or
  15· · professional issues pop up that would inhibit your
  16· · ability to give reliable testimony today?
  17· · · · A.· · · No.
  18· · · · Q.· · · Can you please tell me everything that
  19· · you did to prepare for today's deposition?
  20· · · · A.· · · I went over my report that was authored
  21· · and my conclusions that were written through the
  22· · section.
  23· · · · Q.· · · And when you say your report, I have a
  24· · 220-page report.· Is that the report you're
  25· · referring to?


 www.lexitaslegal.com                                                                702-476-4500
                                                                                                    YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 10 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                        Page 9
   ·1· · · · A.· · · Correct.
   ·2· · · · Q.· · · And you read the whole thing again from
   ·3· · start to finish?
   ·4· · · · A.· · · I did not from start to finish.· I have
   ·5· · a very good recollection of that report given that
   ·6· · the investigation took approximately a year to
   ·7· · complete on our side, an administrative
   ·8· · investigation.
   ·9· · · · · · · · I read over the conclusions again,
   10· · which, again, are the, I guess, summary of the body
   11· · of the report, and a few notes I took in my head
   12· · reference the body of the report.
   13· · · · Q.· · · Okay.· So is it fair -- so you said a
   14· · few notes that you took in your head.
   15· · · · · · · · Did you -- did you do any actual
   16· · handwritten notes as you reviewed?
   17· · · · A.· · · No.
   18· · · · Q.· · · And just one thing, Justin.· The court
   19· · reporter is taking down everything we say.· I know
   20· · that you're anticipating the end of my question, but
   21· · just let me finish it so that she can write it down.
   22· · · · A.· · · Yes, ma'am.
   23· · · · Q.· · · She has a tough time writing down what
   24· · two people say at the same time.
   25· · · · A.· · · Understandable.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 11 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 10
   ·1· · · · Q.· · · And I'll try to do the same for you.
   ·2· · · · A.· · · Okay.
   ·3· · · · Q.· · · If I start into a question and you have
   ·4· · not finished answering it, please let me know.
   ·5· · Because sometimes I can go kind of quickly too.                                       I
   ·6· · don't want to cut you off; I want to give you every
   ·7· · opportunity to give your full testimony today.
   ·8· · Okay?
   ·9· · · · A.· · · Would you like me to put up my hand
   10· · or -- and somehow indicate it or just speak up?
   11· · · · Q.· · · Just speak up.· If I start talking or
   12· · asking the next question and you're not finished
   13· · with your answer, just say, "I'm not quite done."
   14· · Okay?
   15· · · · A.· · · Yes, ma'am.
   16· · · · Q.· · · So other than -- were there any other
   17· · written documents aside from the CIRT report that
   18· · you reviewed in preparation for today's deposition?
   19· · · · A.· · · No.
   20· · · · Q.· · · Okay.· Did you meet with anyone in
   21· · preparation for today's deposition?
   22· · · · A.· · · Craig Anderson.
   23· · · · Q.· · · Okay.· And I -- how long did you meet
   24· · with Craig for?
   25· · · · A.· · · Approximately half an hour, 45 minutes.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 12 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 11
   ·1· · · · Q.· · · Was that the only meeting that you had
   ·2· · with Craig about this deposition?
   ·3· · · · A.· · · Yes.
   ·4· · · · Q.· · · Did you review any documents during that
   ·5· · meeting?
   ·6· · · · A.· · · I don't believe we did.
   ·7· · · · Q.· · · Okay.· Other than Craig or anyone from
   ·8· · Craig's office, was anyone else present for that
   ·9· · meeting?
   10· · · · A.· · · Ruth Miller.
   11· · · · Q.· · · And who's Ruth Miller?
   12· · · · A.· · · I believe that she's the head of
   13· · litigation for the department, or assistant.
   14· · · · · · · · MR. ANDERSON:· She's general counsel for
   15· · the police department.· Assistant general counsel.
   16· · · · · · · · MS. MURPHY:· Okay.· What firm -- do you
   17· · know what firm -- is she, like -- does she work for
   18· · the --
   19· · · · · · · · MR. ANDERSON:· In-house, yeah.· So she
   20· · is one of four attorneys for the police department
   21· · that handles litigation.· So she's kind of like my
   22· · supervisor on these cases.
   23· · · · · · · · MS. MURPHY:· Okay.· Okay.
   24· · BY MS. MURPHY:
   25· · · · Q.· · · And I'm assuming that you probably --


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 13 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 12
   ·1· · and you tell me if I'm right or wrong.· And, I mean,
   ·2· · this is a very in-depth report.· So I'm assuming you
   ·3· · had, like, notes and that kind of stuff that you had
   ·4· · compiled in order to create this final report.
   ·5· · · · · · · · Did you review any of those, or do you
   ·6· · even have access to them anymore?
   ·7· · · · A.· · · We do have access to our H drive.· It's
   ·8· · essentially a virtual folder that we did hand over
   ·9· · to our legal once it was completed, which also
   10· · entails something called IA Pro, which is kind of an
   11· · online resource that is -- you can't delete out of
   12· · it.· Essentially, once you put something in there,
   13· · that's where it stays.
   14· · · · · · · · And everything from my case, to include
   15· · transcriptions, was placed into that H drive and
   16· · into IA Pro.
   17· · · · Q.· · · And did you review any of that to
   18· · prepare for today's deposition?
   19· · · · A.· · · Outside of the report that we previously
   20· · mentioned, no.
   21· · · · Q.· · · And so the final report is also included
   22· · in the H drive?
   23· · · · A.· · · Correct.
   24· · · · Q.· · · Okay.· Do you know approximately how big
   25· · the H drive is?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 14 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 13
   ·1· · · · A.· · · No.
   ·2· · · · Q.· · · Okay.· Is it because it's so big?
   ·3· · · · A.· · · There's multiple sections that work out
   ·4· · of our H drive; OIO and FIT.· OIO is our non-deadly
   ·5· · use-of-force reviewing section.· And then FIT is our
   ·6· · force investigation team, which does the criminal
   ·7· · side of officer-involved shootings or critical
   ·8· · incidents, and we all share the same H drive.
   ·9· · · · Q.· · · And so is the H drive specific to the
   10· · matter, or is it just like a whole, like, inter --
   11· · like, inter-department thing?
   12· · · · A.· · · It's all of our case files for the year
   13· · that are open, and then there is a section for
   14· · closed cases up to, I believe, 2012, when the
   15· · inception of CIRT and OIO became existing.
   16· · · · Q.· · · And so how would this -- Mr. Isaiah
   17· · Williams' case, would that be qual -- is that -- is
   18· · that a closed case or an open case as we sit here
   19· · today?
   20· · · · A.· · · It is a closed case from the
   21· · administrative side.· I cannot speak on the criminal
   22· · side.· We don't handle that side of it.
   23· · · · Q.· · · And by "criminal side" -- I just want to
   24· · make sure.· Because I know that -- and we'll talk
   25· · about it a little bit more in depth lately -- or


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 15 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 14
   ·1· · later -- there's kind of the difference between what
   ·2· · you did, which was kind of like the civil analysis,
   ·3· · and then there was a criminal investigation about
   ·4· · the officer-involved shooting; correct?
   ·5· · · · A.· · · There was a criminal investigation done
   ·6· · from the Force Investigation Team.· Our section
   ·7· · doesn't do the civil side of it.· Our section is the
   ·8· · administrative side of it.· So policy, training,
   ·9· · tactics, those sorts of things.
   10· · · · · · · · And essentially, after the end of that,
   11· · it goes to a use-of-force board and a tactical
   12· · review board, which has -- the use-of-force board --
   13· · four civilians and three department members voting
   14· · on the outcome of the use of force.
   15· · · · Q.· · · So when you say you don't know if it's
   16· · opened or closed, is it with any of those
   17· · departments it could still be open, or do you mean
   18· · the actual -- like, a different, like, underlying
   19· · investigation?
   20· · · · A.· · · The only investigations that are opened
   21· · up on our department as far as this case is
   22· · concerned, to my knowledge, is from FIT and CIRT.
   23· · · · · · · · I cannot speak on FIT's side.· I do not
   24· · work for FIT.
   25· · · · · · · · But on our CIRT side, yes, it is closed.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 16 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 15
   ·1· · · · Q.· · · Okay.· And so when you're saying it may
   ·2· · still be open, you're kind of saying, I don't know
   ·3· · what's going on with FIT?
   ·4· · · · A.· · · Correct.· I can't speak one way or the
   ·5· · other.
   ·6· · · · Q.· · · Okay.· Had you ever -- okay.· I don't
   ·7· · want to jump ahead too far.
   ·8· · · · · · · · Can you -- I want to kind of ask some
   ·9· · questions about your professional background.
   10· · · · · · · · You mentioned earlier you've been with
   11· · the department for 16 years; is that correct?
   12· · · · A.· · · Correct.
   13· · · · Q.· · · Okay.· Can you tell me -- can you kind
   14· · of walk me through your career arc with the
   15· · Las Vegas Metropolitan Police Department?
   16· · · · A.· · · Sure.· A patrol officer for
   17· · approximately -- overall, approximately eight years,
   18· · I would say.· I did a year as an FTO, which is a
   19· · field training officer.
   20· · · · · · · · I also did a year in property crimes,
   21· · which is an old section that has now been dissolved,
   22· · as a detective there.
   23· · · · · · · · And then I believe it was three years in
   24· · PD, which is patrol detective.· It's essentially a
   25· · detective position within patrol.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 17 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 16
   ·1· · · · · · · · And then the last three have been in
   ·2· · CIRT -- sorry.· The last six have been in CIRT.· And
   ·3· · then -- sorry, what I previously forgot to mention
   ·4· · was PSU, which is the problem-solving unit.· I was
   ·5· · there for about a year.
   ·6· · · · Q.· · · What is PSU?
   ·7· · · · A.· · · Essentially it's a patrol function out
   ·8· · of an area command.· Goes between plainclothes and
   ·9· · uniform just depending on what the needs of the
   10· · station are to do either various plainclothes
   11· · operations or uniformed details.
   12· · · · Q.· · · And so how did you end up in CIRT?
   13· · · · A.· · · My partner in PD suggested that I come
   14· · do a TDY.· And this was back in -- a temporary
   15· · assignment.· This was back in 2019, very beginning.
   16· · I want to say January.
   17· · · · · · · · And he suggested I come up because they
   18· · were having openings.· And I came up and did a TDY
   19· · for approximately three months before becoming
   20· · full-time in July of 2019.
   21· · · · Q.· · · What's a TDY?
   22· · · · A.· · · A temporary assignment.
   23· · · · Q.· · · And so what's the purpose of a temporary
   24· · assignment?
   25· · · · A.· · · For our section it kind of determines if


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 18 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 17
   ·1· · you can do the job.· We're all police officers, and
   ·2· · we should have the knowledge of department training
   ·3· · and policies, but it goes a little bit farther.· You
   ·4· · have to have the ability to write well.· You have to
   ·5· · have the ability to public speak.· A lot of our job
   ·6· · is giving long presentations.
   ·7· · · · · · · · In this case I gave a 12-hour
   ·8· · presentation to executive staff, to the use-of-force
   ·9· · board, tactical review board.· That is difficult for
   10· · some people to do, to speak in public settings,
   11· · especially in front of high-ranking people in our
   12· · department.
   13· · · · · · · · And then also just have the knowledge of
   14· · tactics and training and policy within the
   15· · department.
   16· · · · Q.· · · And so the 12-hour presentation, in
   17· · some of the -- some of the documents that Craig
   18· · has produced, I saw some -- some PowerPoint
   19· · documents.
   20· · · · · · · · Is that the 12-hour presentation
   21· · you did?
   22· · · · A.· · · Correct.
   23· · · · Q.· · · Okay.· And in what context did you give
   24· · that 12-hour presentation?
   25· · · · A.· · · The use-of-force board and the tactical


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 19 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 18
   ·1· · review board.
   ·2· · · · Q.· · · And what are those two different boards?
   ·3· · · · A.· · · They're two separate boards.· They're
   ·4· · done the same day.· And essentially there's a
   ·5· · PowerPoint presentation that is completed which kind
   ·6· · of gives you the entirety of the case, which is
   ·7· · essentially the report that is given, that 222-page,
   ·8· · I believe it is, report, in a PowerPoint form, where
   ·9· · you hear the testimony from officers, or sometimes
   10· · civilians, but anybody that gave a quote.· That is
   11· · in that report.· Essentially it's presented with
   12· · movement slides, video to illustrate and give a full
   13· · picture of the essence of the report and the case.
   14· · And then there's a break.
   15· · · · · · · · The -- would you like me to go into,
   16· · like, exactly everything that happens in the
   17· · use-of-force board?
   18· · · · Q.· · · Yeah.· Absolutely, yeah.
   19· · · · A.· · · There's a break so the people who can
   20· · vote on the board, which, again, are four civilian
   21· · members and three department members, will have a
   22· · deliberation on whether or not it falls into
   23· · separate categories of our voting criteria.                                  I
   24· · believe it is administrative approval, tactics and
   25· · decision-making, policy training failure, and


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 20 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 19
   ·1· · administrative disapproval are the four categories
   ·2· · it can fall into.
   ·3· · · · · · · · Once those individuals make their vote,
   ·4· · everybody comes back in, they go over the findings
   ·5· · of the use-of-force board, and then it goes into the
   ·6· · tactical review board, which are the conclusions
   ·7· · that you read in the back of that presentation -- or
   ·8· · the report.
   ·9· · · · Q.· · · Okay.· So just so that -- when you say
   10· · the conclusions that you read in the back of the
   11· · report, do you mean the CIRT report?
   12· · · · A.· · · Correct.
   13· · · · Q.· · · Okay.· Because -- so I've looked over
   14· · the tactical review board.
   15· · · · A.· · · Correct.
   16· · · · Q.· · · And is this -- and so is my
   17· · understanding -- well, walk me through -- they -- so
   18· · when they're saying, like, approved, like they've
   19· · got these checkmarks where it says, like, approve
   20· · [sic], modify, overturn, is this a result of your
   21· · presentation?
   22· · · · A.· · · Correct.· So the tactical review board
   23· · is essentially -- it's been -- not restricted but,
   24· · for lack of better terms, shrunk down as far as
   25· · time.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 21 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 20
   ·1· · · · · · · · Back in 2022, when we did this, we
   ·2· · read every single word of the conclusion as it
   ·3· · read on the back of the report.· As you can
   ·4· · imagine, with the amount of conclusions that was
   ·5· · in this case, it was a lot of reading.· And
   ·6· · essentially I read the conclusions into the record,
   ·7· · and then the board votes on that.· And the board in
   ·8· · this case are no civilians because they are not
   ·9· · expected to have any experience in our tactics,
   10· · training, and policy.
   11· · · · Q.· · · Okay.· And so -- sorry.· I'll get back
   12· · to it later.· I don't -- I don't want to jump around
   13· · too much.
   14· · · · · · · · Other than your -- so you've got your
   15· · 16 years coming into your -- working as a -- working
   16· · at LVMPD.
   17· · · · · · · · Do you have any -- what's your highest
   18· · level of education?
   19· · · · A.· · · I have a bachelor's degree in
   20· · communications.
   21· · · · Q.· · · And where did you get that from?
   22· · · · A.· · · University of the Cumberlands in
   23· · Kentucky.
   24· · · · Q.· · · Okay.· And do you have any specialized
   25· · training or certifications related to your current


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 22 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 21
   ·1· · profession?
   ·2· · · · A.· · · Are you talking about profession as a
   ·3· · police officer or --
   ·4· · · · Q.· · · Yes.
   ·5· · · · A.· · · -- we've -- I can tell you there's been
   ·6· · countless hours of training that I've received in my
   ·7· · time on the department.· I couldn't tell you.
   ·8· · · · Q.· · · So let me give you a better example, and
   ·9· · perhaps it will make it easier to answer the
   10· · question.
   11· · · · · · · · Sometimes when people such as yourself
   12· · answer that they will say, Oh, I did, like, a
   13· · month-long course in explosive breaches or, like,
   14· · some other kind of, like, specialized certification
   15· · that's over and above.
   16· · · · · · · · I know that you guys are doing training
   17· · all the time.· But do you -- so do you have
   18· · anything, as we sit here today -- if you're like,
   19· · Hey, it's just so many -- but do you have any other,
   20· · like, specialized certifications that, like, if you
   21· · went and applied for a job, like, you would list
   22· · off?
   23· · · · · · · · Do you know what I mean?
   24· · · · A.· · · Kind of.· I would say that just
   25· · based on the description of my position of the


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 23 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 22
   ·1· · Critical Incident Review Team, you have to have a
   ·2· · vast knowledge or access to the department
   ·3· · procedures, policy, and training that we currently
   ·4· · implement.
   ·5· · · · · · · · I would say that's all of my training
   ·6· · that I've received in my time in the department.
   ·7· · There's no specific training that I could say would
   ·8· · be, like, Oh, this is a qualifier, this isn't a
   ·9· · qualifier, because, in essence, everything that I've
   10· · done, from blue-on-blue training for plainclothes
   11· · operations to just your regular certification as a
   12· · police officer, comes into play when you're talking
   13· · about looking at an incident from an administrative
   14· · investigation in its entirety.
   15· · · · Q.· · · And so is that what you -- you've been
   16· · with CIRT for 16 years now.· Is this what you --
   17· · · · A.· · · Six years.
   18· · · · Q.· · · Sorry.· Six years.
   19· · · · · · · · Is this what you do all day every day?
   20· · · · A.· · · Yes, ma'am.
   21· · · · Q.· · · Okay.· And you touched on it a little
   22· · bit, but can you describe to me with more
   23· · particularity what exactly your position at CIRT
   24· · entails?
   25· · · · A.· · · I can give you an example.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 24 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 23
   ·1· · · · · · · · Essentially we do administrative
   ·2· · investigations on critical incidents, to include
   ·3· · any high-risk incidents, deadly force, in-custody
   ·4· · deaths, those sorts of things that are deemed
   ·5· · high risk and critical incidents on the department.
   ·6· · · · · · · · Example would be, if we have an
   ·7· · officer-involved shooting, we interview the involved
   ·8· · officers and the witnesses; we conduct briefings to
   ·9· · executive staff, subject matter experts, captains,
   10· · lieutenants; and then finally we do the use-of-force
   11· · board, tactical review board, and complete the
   12· · detailed report, which you have an example in front
   13· · of you.
   14· · · · Q.· · · And so -- sorry -- what's the difference
   15· · between the use-of-force and the tactical review
   16· · boards?
   17· · · · A.· · · So use-of-force only looks at the use of
   18· · force specifically, not any of the tactics or
   19· · training or policy that are attached to it outside
   20· · of our use-of-force policy.
   21· · · · · · · · Essentially it is at the moment, the
   22· · time that force was used, did it meet our policy
   23· · and law.
   24· · · · Q.· · · Okay.· Well, not policy; just the law.
   25· · Correct?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 25 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 24
   ·1· · · · A.· · · Well, policy is also weaved into -- or
   ·2· · law is weaved into policy.
   ·3· · · · · · · · So you're talking about Graham versus
   ·4· · Connor and threat assessment for ability,
   ·5· · opportunity, and then jeopardy and preclusion.
   ·6· · · · · · · · Those are standards that are set
   ·7· · forth from the supreme court that we have in our
   ·8· · policy.
   ·9· · · · Q.· · · And you are currently an investigator
   10· · with CIRT; correct?
   11· · · · A.· · · Yes.
   12· · · · Q.· · · And have you always held the position of
   13· · investigator for the six years you've been with
   14· · CIRT?
   15· · · · A.· · · Yes.· Detective.· I'm sorry.
   16· · Investigator, detective.· I guess same thing.
   17· · · · Q.· · · If I -- I'm not in it every day like you
   18· · are, and some of the nomenclature can be very
   19· · specific.· So if I use a term improperly, feel free
   20· · to correct me on it.
   21· · · · A.· · · Sure.· It wasn't -- if we're talking
   22· · about titles.
   23· · · · Q.· · · No, no, no.· I want the record to be as
   24· · accurate as possible.
   25· · · · A.· · · Sure.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 26 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 25
   ·1· · · · Q.· · · In fairness, it does list you in the
   ·2· · report as a -- like, a detective, but also an
   ·3· · investigator.
   ·4· · · · · · · · Yeah, Detective Roth, and you're listed
   ·5· · as the -- on the Critical Incident Review Team.
   ·6· · · · · · · · And my understanding is that you are
   ·7· · part of the -- you are an investigator; correct?
   ·8· · · · A.· · · Yes.
   ·9· · · · Q.· · · Okay.· Is there any -- and so what's
   10· · the -- what are the different -- how many other
   11· · people are on CIRT?
   12· · · · A.· · · That's a -- so are you talking about
   13· · current status right now or where it was in 2022?
   14· · · · Q.· · · Let's talk about it in 2022.
   15· · · · A.· · · I believe we were at that point at seven
   16· · detectives, one sergeant, one corrections officer
   17· · detective, and one corrections officer sergeant.                                     I
   18· · believe that's where we were at.
   19· · · · · · · · We also have two executive support staff
   20· · which are civilians.
   21· · · · · · · · That varies from time to time.· Of
   22· · course over the year I believe we had one TDY come
   23· · through because I was taken off of an assignment to
   24· · handle this exclusively.· So my spot in the rotation
   25· · with a gap, you can imagine with only six or seven


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 27 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 26
   ·1· · people, with the amount of caseload we get usually
   ·2· · is between 52 and 70 a year, that can become pretty
   ·3· · daunting for a six-person unit.
   ·4· · · · Q.· · · Okay.· And who -- do you have a
   ·5· · supervisor within the unit?
   ·6· · · · A.· · · I do.· A sergeant and a lieutenant.· But
   ·7· · a sergeant is my direct supervisor.
   ·8· · · · Q.· · · Okay.· And who was it -- who was it at
   ·9· · the time that this was created in 2022?
   10· · · · A.· · · Sergeant Shawn Smaka.
   11· · · · Q.· · · And then who was the lieutenant?
   12· · · · A.· · · I believe it was Lieutenant Kurt
   13· · McKenzie.
   14· · · · Q.· · · Okay.· And I've seen a couple -- was
   15· · there any other -- other than the people that you
   16· · were directly reporting to, Sergeant Smaka and
   17· · Lieutenant McKenzie, were there any other CIRT
   18· · detectives that were working alongside of you on
   19· · this, or were -- was this your only -- were you solo
   20· · on this project?
   21· · · · A.· · · So there's no solo in CIRT.
   22· · · · Q.· · · Okay.
   23· · · · A.· · · When I say I was pulled off of this to
   24· · handle this exclusively, so I wouldn't -- because of
   25· · the amount of interviews -- I believe I interviewed


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 28 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 27
   ·1· · somewhere north of 20 individuals in this case.
   ·2· · That's pretty rare.· And in all those interviews,
   ·3· · usually you have to have another detective and your
   ·4· · supervisor along that.
   ·5· · · · · · · · So when you're talking about our
   ·6· · workweek and then getting those interviews done,
   ·7· · preparing for those interviews, and actually doing
   ·8· · those interviews, it's a lot of work.
   ·9· · · · · · · · CIRT in itself is a team effort, to
   10· · include from our SMEs, all those individuals
   11· · that are listed in the left column of that
   12· · report that you're referencing.· It's never
   13· · Justin Roth's opinion.· It's never Shawn Smaka's
   14· · opinion.· It's collectively as a group when it comes
   15· · to the investigators, our chain of command, as well
   16· · as the SMEs that we bring in as part of the CIRT
   17· · process, to ensure that all bases are covered and we
   18· · get an accurate representation of our policy and
   19· · training.
   20· · · · Q.· · · Okay.· And I know what an SME is, but
   21· · just for the record can you say?
   22· · · · A.· · · Subject matter expert.
   23· · · · Q.· · · And so what are the -- what are the --
   24· · what's an SME?· I mean, a subject matter -- but if
   25· · you can kind of explain to me what it is.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 29 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 28
   ·1· · · · A.· · · So essentially in our -- they are people
   ·2· · in our organization that we show the investigation
   ·3· · to through a PowerPoint.· The -- and they're
   ·4· · responsible for training on our department.
   ·5· · · · · · · · So you have AOST, which is Advanced
   ·6· · Officers Skills Training, and then RBT, which is
   ·7· · Reality-Based Training, and the academy.
   ·8· · · · · · · · You also have individuals from --
   ·9· · leadership from firearms that come out.· If you have
   10· · a specialty case like SWAT or Major Violators or
   11· · sections that wouldn't deal specifically with
   12· · patrol, then you would find somebody who had
   13· · recently either promoted out of there or left the
   14· · unit to weigh in on that.
   15· · · · Q.· · · Okay.· And so you referenced the left
   16· · side of the -- you're going to have to excuse me.
   17· · I'll give you the first page of this.· And it got a
   18· · little wrinkled in my bag.
   19· · · · A.· · · Sure.
   20· · · · · · · · (Exhibit 2 marked.)
   21· · BY MS. MURPHY:
   22· · · · Q.· · · You referenced the left-side column.
   23· · · · · · · · Is this the front page of the report and
   24· · the left-side column you were referring to?
   25· · · · A.· · · Correct.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 30 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 29
   ·1· · · · · · · · MS. MURPHY:· Let the record reflect, and
   ·2· · we'll ask to attach this as Exhibit 2, this is the
   ·3· · first page of the Critical Incident Review Team
   ·4· · Administrative Report, and it's Bates LVMPD 4255.
   ·5· · BY MS. MURPHY:
   ·6· · · · Q.· · · And so it's -- looking down at it -- so
   ·7· · the subject matter experts, the first grouping is
   ·8· · "Office of Internal Oversight."
   ·9· · · · · · · · What is that?
   10· · · · A.· · · That is our section, CIRT and OIO.
   11· · Notwithstanding on FIT.· They do not have access to
   12· · our information.
   13· · · · · · · · So FIT is completely separated from any
   14· · administrative review for purposes of their criminal
   15· · investigation and 289 protection.· Talking about
   16· · NRS 289.· Because the officers who come in, their
   17· · statements cannot be used against them criminally
   18· · because they're being compelled to give those
   19· · statements.· So they don't have access to our
   20· · information.
   21· · · · Q.· · · Okay.· So who is Office of Internal
   22· · Oversight?· Is that FIT or CIRT?
   23· · · · A.· · · That's CIRT and OIO.
   24· · · · Q.· · · Okay.· Yeah, because you're listed on
   25· · here as well; correct?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 31 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 30
   ·1· · · · A.· · · Yes.
   ·2· · · · Q.· · · Okay.· So the Office of Internal
   ·3· · Oversight, for lack of a better term, that's CIRT?
   ·4· · · · A.· · · CIRT and OIO.
   ·5· · · · Q.· · · What's -- okay.
   ·6· · · · A.· · · Office of Internal Oversight.
   ·7· · · · · · · · So they handle -- the two detectives at
   ·8· · this point would be -- looks like just one detective
   ·9· · on there.· They were probably in a transitional
   10· · phase.· But that would be Tim McAteer.· I'm not sure
   11· · how to say his name too well.· Sometimes I just call
   12· · him Tim.· But it's the third one from the bottom,
   13· · above the sheriff's office executives.· That would
   14· · be a detective from OIO, not from our section.· And
   15· · Sergeant Patrick Hughes would also be the OIO
   16· · sergeant that is listed on here.
   17· · · · Q.· · · Okay.· That's an office -- but why are
   18· · you listed under Office of Internal Oversight if
   19· · you're CIRT?
   20· · · · A.· · · It's the same thing.· So it's a blanket
   21· · section.· So our section is the Office of Internal
   22· · Oversight and Constitutional Policing.· That's our
   23· · whole umbrella section of CIRT, FIT, and OIO.· IOCP.
   24· · · · · · · · The Office of Internal Oversight,
   25· · because it's internal oversight, not criminal, would


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 32 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 31
   ·1· · be OIO because they handle non-deadly-force
   ·2· · incidents such as tasers.· They review all those
   ·3· · non-deadly-force incidents.· And then Critical
   ·4· · Incident Review Team also falls under the Office of
   ·5· · Internal Oversight as far as use of deadly force and
   ·6· · critical incidences.
   ·7· · · · Q.· · · And, I'm sorry.· You said something
   ·8· · about Office of the Constitution.· Sorry.· Can you
   ·9· · say that one more time?
   10· · · · A.· · · It is the -- IOCP is the acronym.· It's
   11· · the -- now I just lost it.· I know I just said it on
   12· · the record.
   13· · · · · · · · Office of Internal Oversight and
   14· · Constitutional Policing, I believe it is.
   15· · · · Q.· · · And so that is the umbrella that CIRT --
   16· · that you operate under in CIRT; correct?
   17· · · · A.· · · Correct.· That would be CIRT, FIT, and
   18· · OIO are a part of IOCP.
   19· · · · · · · · I know Metro with their acronyms,
   20· · sometimes it can get confusing.
   21· · · · Q.· · · And so what is -- what is the overall
   22· · umbrella organization then?· Not the name of it, but
   23· · what's the purpose?
   24· · · · · · · · I think the purpose is kind of spelled
   25· · out in the title, but I'd like you to explain it


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 33 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 32
   ·1· · to me.
   ·2· · · · A.· · · Sure.· So I believe it was back in 2011
   ·3· · the DOJ came in and had a list of requests to -- for
   ·4· · Metro to improve themselves.· One of them was to
   ·5· · have a bifurcated system of criminal and
   ·6· · administrative review of critical incidents, to
   ·7· · include officer-involved shootings.
   ·8· · · · · · · · And that's when -- I believe it was
   ·9· · 2011 was when CIRT was stood up.· It was either that
   10· · or 2012.
   11· · · · Q.· · · And if -- was part of the purpose to
   12· · determine whether or not somebody's -- to determine
   13· · if somebody's constitutional rights were violated
   14· · or not?
   15· · · · A.· · · No.· The purpose was to do a complete
   16· · administrative investigation as far as CIRT, and
   17· · also have a unilateral -- I guess that would be the
   18· · correct term maybe -- of the criminal investigation
   19· · with FIT.
   20· · · · · · · · So two separate investigations going at
   21· · the same time.· One criminal; one administrative.
   22· · · · Q.· · · And who does the criminal?
   23· · · · A.· · · FIT.· The Force Investigation Team.
   24· · · · Q.· · · Sorry to go through all this.
   25· · · · A.· · · It's fine.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 34 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 33
   ·1· · · · Q.· · · So you don't have any involvement with
   ·2· · FIT; is that correct?
   ·3· · · · A.· · · Correct.
   ·4· · · · Q.· · · Okay.· And is part -- is part of your
   ·5· · administrative review in CIRT to determine whether
   ·6· · the actions -- whatever actions you're investigating
   ·7· · complied with constitutional requirements?
   ·8· · · · A.· · · I don't know -- I'm trying to track
   ·9· · where you're going on that.
   10· · · · Q.· · · Sure.· Let me -- strike that and let me
   11· · ask it better.
   12· · · · · · · · Are you looking -- is part of your
   13· · determination whether the actions of whichever
   14· · police officer -- officers you're investigating,
   15· · if they complied with the constitutional
   16· · requirements of administrating -- executing their
   17· · job duties?
   18· · · · A.· · · Yes and no.
   19· · · · Q.· · · Okay.
   20· · · · A.· · · The "yes" part would be if that's woven
   21· · into our policy, procedures.· I'm not a lawyer, so I
   22· · can't speak to a lot of some of the case law.
   23· · That's why we do have individuals who look at that.
   24· · · · · · · · However, my job specifically is a fact
   25· · finder.· I gather all the information that I have


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 35 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 34
   ·1· · available, to include transcriptions, interviews,
   ·2· · what our practices were from a department procedure
   ·3· · at the time of the incident.· Not two months down
   ·4· · the road, not three months down the road, not
   ·5· · practices from two years ago; what the officers and
   ·6· · supervisors were operating on at the time of the
   ·7· · incident.· And then make a decision based on those
   ·8· · policies, training, and tactics.
   ·9· · · · · · · · It's not my opinion that is ever
   10· · interjected.· My opinion is never interjected.· It
   11· · is a strict fact-finding of our department policies,
   12· · procedures, and training.
   13· · · · Q.· · · But there -- we'll get to some of the
   14· · conclusions later on in the deposition.· There are
   15· · some conclusions about Fourth Amendment and "knock
   16· · and announce."
   17· · · · · · · · Did you have any part in developing
   18· · those conclusions?
   19· · · · A.· · · As far as being involved in the meetings
   20· · with -- I believe you're talking about Anthony
   21· · Bandiero's involvement in this from Blue to Gold is
   22· · that I was there present for the meeting.· We did
   23· · have discussions on those things.· That's why his
   24· · input was put in there, because he is an SME.                                   I
   25· · don't have any law training.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 36 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 35
   ·1· · · · Q.· · · Okay.· And who is Anthony -- Anthony
   ·2· · Bandiero?
   ·3· · · · A.· · · I believe he is the -- I don't know
   ·4· · his exact title, but he is a legal expert with
   ·5· · Blue to Gold.
   ·6· · · · Q.· · · What's Blue to Gold?
   ·7· · · · A.· · · It's a -- I believe it's a firm that
   ·8· · the department utilizes to go over many things as
   ·9· · far as law when it comes -- I think his specialty is
   10· · Fourth Amendment.
   11· · · · Q.· · · Is the actual name of the firm
   12· · Blue to Gold?
   13· · · · A.· · · Correct.
   14· · · · Q.· · · Okay.
   15· · · · A.· · · To my knowledge.
   16· · · · Q.· · · No problem.
   17· · · · · · · · And he was the -- was he the subject
   18· · matter expert on constitutionality?
   19· · · · A.· · · It's -- so for -- constitutionality, I'm
   20· · not sure what the -- how that question weaves --
   21· · · · Q.· · · Strike that.· Strike it.· Let me ask it
   22· · in a more direct way.
   23· · · · · · · · Was Mr. Bandiero the subject matter
   24· · expert on the Fourth Amendment?
   25· · · · A.· · · Not entirely.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 37 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 36
   ·1· · · · Q.· · · Okay.
   ·2· · · · A.· · · It's, again, a collaborative effort
   ·3· · between everybody in that section, people that we
   ·4· · reached out to as SMEs.
   ·5· · · · · · · · One of those individuals was Anthony
   ·6· · Bandiero, who gave his legal opinion on the "knock
   ·7· · and announce" specifically.
   ·8· · · · Q.· · · And how did Mr. Bandiero provide his
   ·9· · legal opinion on "knock and announce"?
   10· · · · A.· · · I believe we had a meeting, and -- over
   11· · several meetings, and he gave me a written account
   12· · of it, and I -- is why it is in italics in the
   13· · report, as I did not write that.· So that was his
   14· · legal opinion.
   15· · · · · · · · And I prefaced that in the report,
   16· · saying this is a -- from Anthony Bandiero from
   17· · Blue to Gold, just how I would if I was using a
   18· · quote inside of a section.
   19· · · · Q.· · · And give me one moment.· The report's
   20· · long, and I've read it.
   21· · · · · · · · Do you remember what part of the report
   22· · Mr. Bandiero was quoted in?
   23· · · · A.· · · I don't.· I couldn't tell you a page
   24· · number.· I can tell you it's probably in the
   25· · mid-100s.· It's in the section prior to use of


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 38 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 37
   ·1· · deadly force.
   ·2· · · · Q.· · · "Service of the Search Warrant - 3050
   ·3· · South Nellis Boulevard"?
   ·4· · · · A.· · · That could probably be a good starting
   ·5· · point because it goes into when the announcements
   ·6· · start to happen.· I believe that's when his section
   ·7· · is in there.
   ·8· · · · Q.· · · Okay.· Give me one moment.· I'm going to
   ·9· · pull it up on my computer, and then I can search the
   10· · document.
   11· · · · · · · · Do you know how to spell Mr. Bandiero's
   12· · last name?· Maybe I'm spelling it wrong.
   13· · · · A.· · · Not entirely.· But I guess if you search
   14· · "knock-and-announce," you'd probably get -- it would
   15· · probably be one of the first ones that would come up
   16· · reference "knock-and-announce," if you search the
   17· · document.
   18· · · · Q.· · · Okay.
   19· · · · · · · · MR. ANDERSON:· I've got his name if you
   20· · want.
   21· · · · · · · · MS. MURPHY:· Oh, yeah.· How do you spell
   22· · it?· Sorry.· Thanks, Craig.
   23· · · · · · · · MR. ANDERSON:· B-a-n-d-i-e-r-o.
   24· · BY MS. MURPHY:
   25· · · · Q.· · · Okay.· All right.· And so that's on


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 39 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 38
   ·1· · page 187.· Give me just a moment.
   ·2· · · · · · · · I'll give you the pages in just a
   ·3· · moment, but it says, "CIRT consulted with
   ·4· · search-and-seizure attorney Anthony Bandiero, the
   ·5· · Senior Legal Instructor with Blue to Gold, who
   ·6· · assisted in analyzing the following."
   ·7· · · · · · · · Is that the section you're referring to?
   ·8· · · · A.· · · Correct, yes.
   ·9· · · · Q.· · · Okay.· And then it says -- it reviews
   10· · the SWAT Section Manual regarding Control Entry
   11· · Tactic, which we'll call "CET" for the remainder of
   12· · the deposition.
   13· · · · · · · · And so I'll hand you this.· Because I
   14· · don't see that it's in italics.· Or maybe it is.
   15· · Rather than -- we can pull the pages out afterwards
   16· · and make them part of the record.· I'm just going to
   17· · hand you right here.
   18· · · · A.· · · Okay.
   19· · · · Q.· · · And so where it refers to Mr. Bandiero,
   20· · it starts at page 187 of the report, and that's
   21· · Bates LVMPD 4441.
   22· · · · A.· · · Thank you.
   23· · · · · · · · Okay.· So this is the conclusion of
   24· · where you're at.· You're not in the body.· You're in
   25· · the conclusion table for, I believe, officers


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 40 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 39
   ·1· · approach, the general conclusion for "knock and
   ·2· · announce."
   ·3· · · · Q.· · · Okay.· So this was the only thing that
   ·4· · popped up for Mr. Bandiero.
   ·5· · · · A.· · · Do I have your permission to go through
   ·6· · this?
   ·7· · · · Q.· · · Absolutely.· Absolutely.
   ·8· · · · · · · · And I'll just represent to you,
   ·9· · that's the copy of the report without my notes in
   10· · it.· So you can do whatever you want.· That's
   11· · essentially your version.· You can do whatever you
   12· · want with it.
   13· · · · A.· · · I guess I'm referencing then that
   14· · section where we -- I made the conclusion where --
   15· · that was on there.· But that was referencing those
   16· · pages in the service of the search warrant in the
   17· · body.
   18· · · · Q.· · · Okay.· So if you could -- and take as
   19· · much time as you want.
   20· · · · A.· · · Sure.
   21· · · · Q.· · · If you could find the part -- because I
   22· · was having a little bit of difficulty with that.
   23· · But, yeah, I guess the part where -- I'll put in
   24· · "knock and announce" too.· The part where --
   25· · · · A.· · · So I believe I start to talk about it in


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 41 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 40
   ·1· · the report at page 132.· It goes into the SWAT
   ·2· · Section Manual following -- referencing the use of
   ·3· · CET.· Goes into CET, and then into NRS Chapter 179,
   ·4· · Section 1, a "no knock" warrant.
   ·5· · · · Q.· · · Yes.
   ·6· · · · A.· · · Correct.· And then U.S. versus Banks,
   ·7· · which is an LVMPD Ninth Circuit Court case.
   ·8· · · · Q.· · · And so -- I'm not trying to cut you off.
   ·9· · · · · · · · So we're on page -- sorry?
   10· · · · A.· · · 133.
   11· · · · Q.· · · -- 133.
   12· · · · · · · · And the italicized portion of that, is
   13· · that from Mr. Bandiero's report?
   14· · · · A.· · · No.· That one specifically is from the
   15· · findings on the court case itself.
   16· · · · Q.· · · So that's a direct quote from the
   17· · court case?
   18· · · · A.· · · Correct.
   19· · · · Q.· · · Okay.
   20· · · · A.· · · The same with 134 on Zabeti versus
   21· · State, which again is also a LVMPD jurisdiction
   22· · Ninth Circuit Court holding.
   23· · · · · · · · Yeah, I don't think I mention Anthony
   24· · Bandiero until the conclusion table.
   25· · · · Q.· · · Okay.· And so just going forward to


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 42 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 41
   ·1· · page 135 though, it's at the top of the page, "The
   ·2· · technique is used when it is safest to dominate
   ·3· · suspects with surprise, speed, and overwhelming
   ·4· · action.· A dynamic flooding technique is used to
   ·5· · clear the structure."
   ·6· · · · · · · · Then it goes on to state, "However,
   ·7· · per United States v. Banks."· Is this from -- is
   ·8· · this -- is this -- sorry, the italicized portion of
   ·9· · this, is this a quote from the case, or is this
   10· · Mr. Bandiero's -- likely his analysis?
   11· · · · A.· · · So whenever -- you have to read the
   12· · lead-in of that.
   13· · · · · · · · So specifically you were talking about
   14· · which paragraph?
   15· · · · Q.· · · I'm talking about -- I'm sorry.· On
   16· · page 135, it's the first full paragraph.
   17· · · · A.· · · I'm missing 135.
   18· · · · Q.· · · Oh.· Here.· You can use my page.
   19· · · · A.· · · I go 134 to 136.
   20· · · · Q.· · · I must have used it in a different
   21· · deposition.· My apologies.
   22· · · · A.· · · So I'm assuming the portion where you
   23· · have highlighted here?· Or which -- what were we
   24· · talking about again?
   25· · · · Q.· · · Sorry.· It's the first full paragraph at


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 43 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 42
   ·1· · the top of the page that begins, "However, per
   ·2· · United States v. Banks."
   ·3· · · · A.· · · Yes.· So it starts with not italicized.
   ·4· · So, "However, per United States v. Banks."· Then it
   ·5· · goes into italicized once I get past "Banks."· That
   ·6· · is from the holding itself.
   ·7· · · · Q.· · · Okay.· So -- okay.· And so in reading
   ·8· · your report, if it's either in quotes or italicized,
   ·9· · that means it's pulling from a different source;
   10· · right?
   11· · · · A.· · · Correct.
   12· · · · Q.· · · Sorry, just to confirm.· I just want to
   13· · make sure I understand.
   14· · · · · · · · Although your recollection before having
   15· · gone through the report is that you had quoted
   16· · Mr. Bandiero earlier in the body of the report, but
   17· · now kind of flipping through -- I get how big the
   18· · report is --
   19· · · · A.· · · Sure.
   20· · · · Q.· · · -- and you haven't memorized it.· But
   21· · kind of as we're flipping through the report now,
   22· · you're kind of amending that statement and saying, I
   23· · think I just referred to Mr. Bandiero's -- you know,
   24· · quoted from his memo or conclusion in the conclusion
   25· · section of the CIRT report?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 44 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 43
   ·1· · · · A.· · · I believe so.· If it's not -- if you
   ·2· · searched for his name in there and it's not -- like
   ·3· · I said, three years ago, on top of being a 222-page
   ·4· · report, hard to memorize the entirety of it, and
   ·5· · sometimes it blends together, especially when you're
   ·6· · talking about the intricacies that went into this
   ·7· · investigation.
   ·8· · · · Q.· · · As we sit here today though, and
   ·9· · you've had kind of the opportunity to kind of go
   10· · through this, if you can kind of walk me through,
   11· · what do you remember Mr. Bandiero's conclusions
   12· · being?
   13· · · · A.· · · Strictly law-based.· He does not have
   14· · the knowledge of our policies, training, and
   15· · procedures.· He was strictly looking at it from a
   16· · legal aspect and not a department member, what
   17· · they're trained on, and what their department
   18· · manual says.
   19· · · · Q.· · · Thank you.
   20· · · · · · · · And regarding his conclusions as
   21· · looking at it from just a legal perspective, do you
   22· · remember what -- do you remember what he relayed his
   23· · conclusions as being?
   24· · · · A.· · · Whatever was written in there.· I can
   25· · read it for you if you'd like.· I can't tell you,


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 45 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 44
   ·1· · like, a verbatim on our meeting as far as --
   ·2· · · · Q.· · · I -- sorry.· Go ahead.
   ·3· · · · A.· · · -- as far as what Mr. Bandiero said
   ·4· · specifically.· But anything that he said I took as
   ·5· · what he meant, and that was his input as an SME.                                       I
   ·6· · didn't change it.· I didn't -- yeah, it's exactly
   ·7· · what I wrote in there, and that's why it's in
   ·8· · italics.
   ·9· · · · Q.· · · And so if you can go to page 188.
   10· · · · A.· · · Okay.
   11· · · · Q.· · · And this kind of -- this is -- did you
   12· · write this report?
   13· · · · A.· · · I did.
   14· · · · Q.· · · Okay.· You authored the entire thing?
   15· · · · A.· · · Correct.
   16· · · · Q.· · · Okay.· And so -- and we're in the
   17· · paragraph -- it's the one, two, three -- it's the
   18· · fourth full paragraph, that starts with the word
   19· · "Looking."
   20· · · · A.· · · Okay.· So while this is not in
   21· · italics, and that's probably just an in-house
   22· · error, but because I said he analyzed "the
   23· · following" on the previous, I believe this is still
   24· · all his statement, up until the point where it says
   25· · "certain SMEs."


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 46 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 45
   ·1· · · · Q.· · · Can you just point to me on the page
   ·2· · where it says he analyzed "the following"?
   ·3· · · · A.· · · So it would be on page 187, and it is,
   ·4· · "CIRT consulted with search-and-seizure attorney
   ·5· · Anthony Bandiero, senior legal instructor with Blue
   ·6· · to Gold, who assisted in analyzing the following."
   ·7· · · · Q.· · · Okay.· And so if I understand your
   ·8· · testimony, as we're going through page 187 and 188,
   ·9· · where -- even though it's not in italics, where it
   10· · is doing an analysis, like looking at the totality
   11· · of the circumstances, like that dialogue, that is
   12· · actually pulled from Mr. Bandiero's opinions or
   13· · whatever report he provided to you?
   14· · · · A.· · · Correct.
   15· · · · Q.· · · Okay.· And as we sit here today, just so
   16· · I understand, as you're telling me, Hey, this is
   17· · pulled all from him, it should have been in italics,
   18· · but it's not?
   19· · · · A.· · · As his analysis, yes.
   20· · · · Q.· · · Okay.· So this was -- even though you
   21· · wrote -- even though you wrote the report, this
   22· · isn't your analysis; this is the analysis --
   23· · although you're incorporating it into the report,
   24· · this is the analysis of the subject matter expert
   25· · Mr. Bandiero?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 47 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 46
   ·1· · · · A.· · · Correct.· And the reason why it was
   ·2· · placed in there the way it was is because, again,
   ·3· · SMEs in this matter were split on what their opinion
   ·4· · was on whether or not this constituted a "no knock"
   ·5· · warrant or if it was reasonable.· And SMEs were
   ·6· · pulled from previous SWAT operators as well as
   ·7· · Mr. Bandiero.· And in fairness, and, again, in
   ·8· · fact-finding, everything that was put into those
   ·9· · were put into the report for the board to make a
   10· · decision, again, without my opinion.
   11· · · · Q.· · · And so, Justin, if you could -- I
   12· · apologize.· I have read this report quite a few
   13· · times.· But can you point out to me in this --
   14· · · · · · · · MS. MURPHY:· Actually, before we move
   15· · on, can we make page 187 and 188 -- we're going to
   16· · make that Exhibit 3 to today's deposition
   17· · transcript.
   18· · · · · · · · (Exhibit 3 marked.)
   19· · BY MS. MURPHY:
   20· · · · Q.· · · So, Justin, can you point me to another
   21· · place in the report where you quoted a different
   22· · SME that had come to an alternate conclusion than
   23· · Mr. Bandiero?
   24· · · · A.· · · So part of that would be the supreme
   25· · court cases of United States versus Banks and Zabeti


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 48 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 47
   ·1· · versus State, which, I believe -- I said, "SMEs
   ·2· · referenced the United States Supreme Court case
   ·3· · United States versus Banks, which held the
   ·4· · appropriate amount of time which is deemed to be
   ·5· · reasonable before entering with force was 15 to
   ·6· · 20 seconds.· However, this determination was
   ·7· · case-specific to United States versus Banks."
   ·8· · · · · · · · That was the first time I referenced
   ·9· · their opinion on that.· And that's a little bit
   10· · higher than halfway on the page of page 187.
   11· · · · · · · · And then the next paragraph is,
   12· · "Further, SMEs also referenced Nevada Supreme Court
   13· · case Zabeti versus State, which held the totality of
   14· · the circumstances which were presented at the time
   15· · made it reasonable to wait less than 10 seconds
   16· · before entering the structure."
   17· · · · · · · · I then wrote, "This too was also
   18· · case-specific."
   19· · · · · · · · And then the next paragraph is, "It
   20· · should be noted that SMEs believed the totality of
   21· · the circumstances known to the SWAT officers and the
   22· · time frame allotted by SWAT operators before
   23· · entering 3050 South Nellis Boulevard, Apartment
   24· · 1125, by force after giving verbal announcements via
   25· · the bullhorn was reasonable."


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 49 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 48
   ·1· · · · · · · · And that's specifically to those SWAT
   ·2· · SMEs and the SMEs that we utilized on this case.
   ·3· · · · · · · · And then it goes into the analysis from
   ·4· · Anthony Bandiero in Blue to Gold, and it was why
   ·5· · there was that split of their references.
   ·6· · · · Q.· · · Okay.· And so Mr. Bandiero thought -- if
   ·7· · I understand his conclusion, he thought that it
   ·8· · wasn't a sufficient amount of time; correct?
   ·9· · · · A.· · · Correct.
   10· · · · Q.· · · Okay.· But when you say "SWAT SMEs," do
   11· · you mean that's, like, guys from SWAT?
   12· · · · A.· · · Not -- not -- not actively in SWAT.
   13· · They would have no involvement in this
   14· · investigation.
   15· · · · Q.· · · Okay.· So they are former SWAT members?
   16· · · · A.· · · Correct.
   17· · · · Q.· · · Okay.· And do you remember who those
   18· · were?
   19· · · · A.· · · I don't.· There should have been a
   20· · sign-in sheet that was in the record.· If there
   21· · wasn't, that means we didn't do them back then.
   22· · Again, it's six years of this.· We've changed how we
   23· · do things at some points.
   24· · · · · · · · But one of them was TJ Jenkins.· He was
   25· · a sergeant who had just previously retired.· And I


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 50 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 49
   ·1· · remember the other one was a retired sergeant, Andy
   ·2· · Pennucci.
   ·3· · · · · · · · Those were two specific individuals that
   ·4· · were called in.
   ·5· · · · Q.· · · And were they on the tactical review
   ·6· · board, or are they part of CIRT?
   ·7· · · · A.· · · No.· They are neither.· They
   ·8· · actually both were retired.· TJ Jenkins was
   ·9· · recently -- he retired out of SWAT a short time
   10· · after, so he had knowledge of their current
   11· · procedures and tactics.
   12· · · · · · · · Sergeant Pennucci had not been there for
   13· · five or six years, I want to say.· Maybe even
   14· · longer.· And we were getting his perspective just
   15· · from an overall aspect.
   16· · · · Q.· · · Okay.· But their perspective is as a
   17· · SWAT operator, not as trained legal analysis;
   18· · correct?
   19· · · · A.· · · Correct.
   20· · · · Q.· · · Can I -- as I've gone through this --
   21· · and I kind of want to know if you know or not.
   22· · · · · · · · Does the time that you're supposed to
   23· · start -- the time in these court cases and the time
   24· · that you start counting, do you start counting at
   25· · the very beginning of the announcement or when the


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 51 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 50
   ·1· · announcement is concluded?
   ·2· · · · A.· · · There's no reasonable -- I mean, there's
   ·3· · no standard set forth.· And that's part of the
   ·4· · problem is you can look at Zabeti versus State and
   ·5· · you can look at United States versus Banks, and
   ·6· · while there are seconds and examples of when it's
   ·7· · appropriate or when it's reasonable to make an entry
   ·8· · into a structure after announcements are given,
   ·9· · there's not specifics on this is exactly when this
   10· · should happen, regardless of the case.
   11· · · · · · · · Like I said before in the report, Banks
   12· · was 15 to 20 seconds is what they found reasonable.
   13· · And then in Zabeti it was less than 10 seconds was
   14· · found reasonable.
   15· · · · · · · · So I believe when Anthony Bandiero
   16· · looked at this, he looked at the totality of the
   17· · circumstances from a legal perspective, not
   18· · necessarily from a department's perspective, on how
   19· · we have our -- or how we had our manual.
   20· · · · · · · · And that's why this conclusion, when it
   21· · was written at the end of this investigation, was it
   22· · was a policy and training failure.
   23· · · · Q.· · · But let me -- let me -- let me go back
   24· · to one statement you just said.
   25· · · · · · · · You said "after announcements are


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 52 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 51
   ·1· · given," and that's the point of my question.
   ·2· · · · · · · · Do you start counting after the
   ·3· · announcements are given or from the second the
   ·4· · announcements start?
   ·5· · · · A.· · · We started ours from, I believe -- I
   ·6· · couldn't tell you exactly just from what we did.
   ·7· · But if we replayed the video, I could tell you
   ·8· · exactly.· But I believe it was from the start of
   ·9· · those announcements.· And I can maybe reference it
   10· · inside of the report when I lead in.
   11· · · · Q.· · · Sure.· We'll get to that in a minute.
   12· · My point was a little bit different though.
   13· · · · · · · · After having concluded this
   14· · investigation and having gotten the opinion from the
   15· · different SMEs, is it your understanding that when
   16· · the cases count the seconds, when you guys are
   17· · talking about seconds within the report -- because
   18· · the term you just said was "after announcements are
   19· · given."· So do you count from the time the
   20· · announcement ends, or do you count from the time
   21· · when the first word comes out of their mouth?
   22· · · · A.· · · I believe it was from the first word is
   23· · when we started our count on that one.
   24· · · · Q.· · · And where did you come up with that's
   25· · when you should start counting?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 53 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 52
   ·1· · · · A.· · · When there is a megaphone that is
   ·2· · amplified sounds at 5:00 in the morning on a search
   ·3· · warrant.
   ·4· · · · Q.· · · I under -- thank you for that answer.                                      I
   ·5· · understand the factual -- I understand kind of the
   ·6· · factual outline of it.· My question is a little bit
   ·7· · different to you.
   ·8· · · · · · · · My question is, when you're analyzing
   ·9· · this and you start counting the seconds -- and we'll
   10· · go over all that.· You have written a very detailed
   11· · report.· I have no doubt when you started doing
   12· · anything on anything in this investigation.· But my
   13· · question is a little bit different, and I will try
   14· · to ask it better so that it's clearer.
   15· · · · · · · · Where did you come up -- how was it
   16· · determined that the counting should start when the
   17· · first word comes out versus when the announcements
   18· · are concluded?
   19· · · · A.· · · So I don't know what the decision was on
   20· · that.· My kind of recollection would be once the
   21· · announcements start, that is an announcement.· Just
   22· · because it's finished within a second or two seconds
   23· · doesn't mean that that's a full announcement.· The
   24· · announcements had started.· I believe they started
   25· · with "Police department, search warrant," or


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 54 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 53
   ·1· · something along those lines.· But from the start of
   ·2· · the announcements is what we went with.
   ·3· · · · · · · · And -- does that answer your question?
   ·4· · · · Q.· · · Yeah.· To your recollection, was there
   ·5· · any debate or discussion of, like, do we start
   ·6· · counting when they start the announcement, or do we
   ·7· · start counting when -- like, when they get through
   ·8· · the first couple, It's the police department; we're
   ·9· · here to serve a search warrant?
   10· · · · · · · · Was there any discussion about that?
   11· · · · A.· · · I don't recall one way or the other.
   12· · · · Q.· · · Okay.· So was it fair for me to think
   13· · though, based on the answers that you've just given,
   14· · that if you don't recall, then you just kind of took
   15· · it as this is when we start counting?
   16· · · · A.· · · Sure.· In the same way that when we look
   17· · at a use-of-force investigation and we'll talk about
   18· · the start of a shooting, I don't say that the person
   19· · started shooting after the last round was fired.                                     I
   20· · start my investigation when -- the second the first
   21· · round is fired.
   22· · · · · · · · So in the same respect, that's how I
   23· · believe I interpreted the announcements.
   24· · · · Q.· · · Okay.· You understand -- what's your
   25· · understanding of the purpose of "knock and


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 55 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 54
   ·1· · announce"?
   ·2· · · · A.· · · As Anthony Bandiero put in there, the
   ·3· · reasonable amount of time for a person to submit
   ·4· · to -- or give the person a reasonable amount of time
   ·5· · to submit to the service of the search warrant.                                     I
   ·6· · guess -- I believe he wrote in here, "to save his
   ·7· · door," which I feel is a legal term.· It's not in
   ·8· · our policies, our procedures.· But I believe "save
   ·9· · his door" was mentioned.
   10· · · · Q.· · · And I'll just represent to you, Justin,
   11· · that's a term that's kind of used through some
   12· · different cases.
   13· · · · A.· · · Sure.
   14· · · · Q.· · · So -- but -- so just to confirm, as we
   15· · sit here today, the counting starts when the first
   16· · word comes out of their mouth?
   17· · · · A.· · · Sure.· Yes.
   18· · · · Q.· · · And that was your understanding of
   19· · that's how we count, and that's consistent with the
   20· · case law that was -- analyzed these items?
   21· · · · A.· · · Correct.
   22· · · · Q.· · · Okay.
   23· · · · A.· · · And in that same, I guess, statement is
   24· · that was never corrected if that was not the case by
   25· · Anthony Bandiero.· His assumption, again, too, when


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 56 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 55
   ·1· · he analyzed it, when we talk about the 6 seconds
   ·2· · from when the stun stick goes in the window and then
   ·3· · the 16 seconds overall from a time lapse of the time
   ·4· · of announcements to time of body entry was also done
   ·5· · from that same standpoint.· So the legal expert also
   ·6· · went with that same conclusion.
   ·7· · · · Q.· · · Okay.· And so you talk about the six
   ·8· · seconds.· And we'll get into the real -- the
   ·9· · timeline that you've outlined in here.· That's when
   10· · the stun -- that's when the first entry is made into
   11· · the apartment; correct?
   12· · · · A.· · · That's when the stun stick is made into
   13· · the apartment.· There is no body entry.· However,
   14· · there is an entry of one of our devices, which is a
   15· · stun stick.
   16· · · · Q.· · · All right.· How long did it take you to
   17· · write this report?
   18· · · · A.· · · Roughly -- roughly a year.· There was a
   19· · lot -- there was a lot of interviews that were
   20· · completed.· I want to say 22.· But when you get
   21· · those interviews, especially when you're talking
   22· · about a five-shooter -- in this case, there were
   23· · five officers who shot -- those are very long
   24· · interviews usually.· At least two hours.
   25· · · · · · · · After you prep for those interviews,


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 57 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 56
   ·1· · then you complete those interviews, then you have to
   ·2· · go back and listen to those interviews and then
   ·3· · proof those interviews as a -- you do it usually
   ·4· · yourself.· You do have assistance from people on the
   ·5· · team on some of the ones that maybe necessarily I
   ·6· · don't need to hear through its entirety again.· But
   ·7· · I participated in every single one of the
   ·8· · interviews.· Then those have to be determined what
   ·9· · goes in the report, what doesn't go in the report.
   10· · · · · · · · So it's a lengthy -- it's a lengthy
   11· · process.
   12· · · · Q.· · · I'm familiar.
   13· · · · · · · · What -- you didn't lead -- did you lead
   14· · every single interview?
   15· · · · A.· · · I believe I did, yes.
   16· · · · Q.· · · Okay.· And about how much time would it
   17· · take -- just give me a ballpark.· I know each one is
   18· · going to be different.· I'm going to pull out a
   19· · couple of specific ones.
   20· · · · · · · · But on average, like, how long did it
   21· · take to prepare for each interview?
   22· · · · A.· · · When you're talking about an operator
   23· · who has a body-worn camera, you have to review all
   24· · the body-worn camera.· Go over the radio traffic
   25· · that was given.· Any of the prearrival stuff, when


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 58 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 57
   ·1· · you talk about the plan -- when we're talking
   ·2· · specifically here about SWAT, go over their plan to
   ·3· · make sure that their plan was sound when they had --
   ·4· · on the way to make entry, to make sure everybody was
   ·5· · on the same page.
   ·6· · · · · · · · Outside of whether or not it was good,
   ·7· · bad, or indifferent, looking at every -- all the
   ·8· · interpersonal communications so you can ask
   ·9· · questions on that.
   10· · · · · · · · So on these, it's probably a couple of
   11· · days per person on the front end.
   12· · · · Q.· · · And I should have asked this before.
   13· · · · · · · · How did you get assigned this case?
   14· · · · A.· · · I volunteered.· Very smart of me,
   15· · wasn't it?
   16· · · · Q.· · · Walk me through the -- walk me through
   17· · the thought process of volunteering for this and why
   18· · it was open to volunteer.
   19· · · · A.· · · It was not open to volunteer.
   20· · · · Q.· · · That's a two-part question.
   21· · · · A.· · · It never is open to volunteer.
   22· · · · · · · · In this case, I had extensive knowledge
   23· · of search warrants, and the person who was up in our
   24· · rotation did not have the same experience in search
   25· · warrants that I had, and it was just an executive


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 59 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 58
   ·1· · decision to make me the case agent.
   ·2· · · · Q.· · · And we went through -- we went through
   ·3· · your professional background earlier in the
   ·4· · deposition.· And I am not an expert in this, so walk
   ·5· · me through.
   ·6· · · · · · · · What about what you've done, either in
   ·7· · CIRT or your other roles in LVMPD, what made you an
   ·8· · expert in search warrants?
   ·9· · · · A.· · · I've authored dozens of search warrants
   10· · for narcotics, for property, for bodies of
   11· · individuals through PSU, through property crimes,
   12· · and through PD.· So almost five years of experience.
   13· · · · · · · · And sometimes in patrol, because I had
   14· · that experience and then went back to patrol at a
   15· · certain time to be an FTO, I did utilize some of
   16· · those search warrant skills, to include buccal
   17· · swabs, those type of search warrants, when
   18· · detectives weren't available.· During our time when
   19· · I was in Bolden area command, we had three days out
   20· · of the four that we were in operation where we did
   21· · not have access to detectives, so I was de facto
   22· · detective and FTO.
   23· · · · Q.· · · So tell me if I'm right or wrong.· This
   24· · kind of popped -- like, it's a six- or seven-person
   25· · team; right?· So it's like you guys are aware of


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 60 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 59
   ·1· · what the other ones are working on.· Is that fair?
   ·2· · · · A.· · · Yes.
   ·3· · · · Q.· · · So you were kind of aware of this
   ·4· · Alexander case and that it has to do with, you know,
   ·5· · a search warrant --
   ·6· · · · A.· · · Alexander?
   ·7· · · · Q.· · · Sorry.· Well, Isaiah Williams.
   ·8· · · · A.· · · Okay.
   ·9· · · · Q.· · · Sorry.· You were aware of the Isaiah
   10· · Williams case.
   11· · · · · · · · If you can tell me, if you can
   12· · recollect, kind of, when you then said "volunteer,"
   13· · what was it about Mr. Williams' case that made you
   14· · think it was going to be related to search warrants
   15· · and you would be the appropriate -- you would
   16· · probably be the best person on the team to handle
   17· · this investigation?
   18· · · · A.· · · It was a SWAT search warrant for a
   19· · homicide subject and the weapons used in a homicide.
   20· · And when it -- I didn't go to the callout that night
   21· · or that morning.· That was a different team.· Our
   22· · callout rotation doesn't work hand in hand with
   23· · who's up.
   24· · · · Q.· · · What's -- what's -- sorry.· I'm going to
   25· · interrupt you, and I'll try not to do it again.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 61 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 60
   ·1· · · · · · · · What's the callout?
   ·2· · · · A.· · · So at that point I believe we had a
   ·3· · four-team rotation with -- because I believe we had
   ·4· · seven at the time.· We had one person that would be
   ·5· · on their own on the rotation.· So we go week-to-week
   ·6· · rotations.
   ·7· · · · · · · · So for an example, last week I was up,
   ·8· · but I wasn't up for a case.· So if we had any
   ·9· · callouts for CIRT -- which we did, we had a CIRT
   10· · callout -- I would respond as that responding
   11· · detective to get a preliminary investigation, to
   12· · admonish any of the individuals who were involved,
   13· · and to review body-worn camera before, as a
   14· · preliminary investigation, to see if it does meet
   15· · our criteria to become a CIRT case.
   16· · · · Q.· · · Okay.· But this one, if I understand,
   17· · you weren't on the callout on Mr. Williams' case?
   18· · · · A.· · · Correct.
   19· · · · Q.· · · Sorry.· I interrupted you before.· You
   20· · were walking me through why it was -- kind of, like,
   21· · what your understanding of the case was and why you
   22· · volunteered.
   23· · · · A.· · · Sure.· So after that callout happens,
   24· · the team that went out, usually two detectives,
   25· · sergeant, lieutenant, and our captain, among


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 62 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 61
   ·1· · everybody else -- DA's office, FIT, DIO -- all of
   ·2· · these entities that go on an officer-involved
   ·3· · shooting came back to our office, and that's where
   ·4· · we were at during our normal course of duties.· We
   ·5· · log on at 7:00.
   ·6· · · · · · · · And we started reviewing what we knew of
   ·7· · the case at that point.· We knew that there was a
   ·8· · search warrant service.· And because I had
   ·9· · experience and I was next up, that we just decided
   10· · to swap with the detective who was currently up just
   11· · so I could have that knowledge and bring that
   12· · knowledge to the investigation.
   13· · · · Q.· · · So you volunteered for this.· At the
   14· · time you volunteered -- and I -- if you can
   15· · remember, did you anticipate this would be such an
   16· · undertaking, or did you have -- did you have kind
   17· · of -- do you know what I mean?
   18· · · · A.· · · Every officer-involved shooting that
   19· · we handle is an undertaking.· You're dealing with
   20· · an officer, worst day on their career.· Whether
   21· · or not -- no matter what the circumstances are,
   22· · that officer used deadly force.· So that's never
   23· · taken lightly.· That's never taken with an
   24· · understanding that this is an easy case or this is a
   25· · hard case.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 63 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 62
   ·1· · · · · · · · The fact that I looked at was, when we
   ·2· · were game-planning on how we were going to start our
   ·3· · interviews, how we were going to conduct this
   ·4· · investigation.· Because it was the SWAT service of a
   ·5· · search warrant and I had experience with that from
   ·6· · an investigator side, I -- I volunteered to take it.
   ·7· · · · Q.· · · And you just said that you were
   ·8· · game-planning on how to start the interviews.
   ·9· · · · · · · · What thought process goes into that, and
   10· · what do you mean by "game-planning"?
   11· · · · A.· · · Well, we're expected to do an initial --
   12· · we used to call it a 72-hour brief.· That's what FIT
   13· · does.· FIT briefs executive staff within 72 hours of
   14· · the investigation, and that then becomes the YouTube
   15· · clip you see as part of the transparency of the
   16· · department, where we show body-worn camera that we
   17· · have.· Usually it's done by an assistant sheriff or
   18· · the undersheriff.· Sometimes, if none of those are
   19· · available, a deputy chief.· But somebody
   20· · representing Kevin McMahill, the sheriff.· Or at
   21· · this time -- this time it was Joe Lombardo.· I'm
   22· · sorry.· Kevin was not here at that point.
   23· · · · · · · · But that's when they have the press
   24· · conference.· They go over the case and the details
   25· · as we know it at the time.· That's the 72 from the


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 64 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 63
   ·1· · FIT side.
   ·2· · · · · · · · We have a 72, in quotes, on our side.
   ·3· · It's usually within a week after the initial
   ·4· · presentation from FIT.· And what we try to do is get
   ·5· · all of the shooters, at a minimum, interviewed so
   ·6· · it's fresh in their memory, and then present those
   ·7· · facts to executive staff based on the administrative
   ·8· · investigation.
   ·9· · · · · · · · Because in most cases, I would say
   10· · 90 percent of cases, 95 percent of cases, officers
   11· · are not required to talk to FIT, and they don't.
   12· · However, they are required to talk to us if they're
   13· · given 48 hours of notice.· That's per NRS, and
   14· · that's also per our department policy, that they're
   15· · compelled to do so.
   16· · · · · · · · So we give executive staff a briefing on
   17· · why they made a decision to utilize deadly force.
   18· · That's part of the game plan is getting those
   19· · interviews done initially and first.
   20· · · · · · · · Again, when you're talking about five
   21· · officers on one shooting, it is a lot of work, a lot
   22· · of preparation, a lot of time, even spending your
   23· · off time coming in and making sure that you're
   24· · prepared for those.
   25· · · · · · · · Because, again, you're dealing with five


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 65 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 64
   ·1· · individuals who just had the worst night of their
   ·2· · life.· They had to take someone's life.· And in this
   ·3· · case two officers got shot, one very badly.· So
   ·4· · it's -- you have to prepare them and prepare
   ·5· · yourself to make that.· So that's part of that
   ·6· · preparation.
   ·7· · · · Q.· · · And then, Justin, I'm going to ask you
   ·8· · just one follow-up question, and then let's take a
   ·9· · brief break.
   10· · · · A.· · · Okay.
   11· · · · Q.· · · Okay.· You talked about, kind of, the
   12· · YouTube video and the initial press release or the
   13· · initial statement given by the police department.
   14· · · · · · · · That -- and I want to make sure I
   15· · understand your testimony here.· That would be
   16· · something that, kind of, like, FIT was more involved
   17· · in, not CIRT?
   18· · · · A.· · · Correct.· We don't even have -- we have
   19· · zero involvement in that.
   20· · · · · · · · I usually watch the press conferences
   21· · from my phone when they go live to see what their
   22· · presentation is.· Sometimes we are allowed in the
   23· · room for the FIT presentation.· But, again, we have
   24· · no -- it's stuff that we already know.· They're
   25· · looking at it from a very rudimentary point of they


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 66 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 65
   ·1· · have no interviews from any of the officers, they
   ·2· · have no -- all they have to operate on essentially
   ·3· · is witness statements from individuals who are
   ·4· · nearby.
   ·5· · · · · · · · In this case I believe they went off
   ·6· · statements on the upstairs neighbors and then any
   ·7· · witness officers, who are compelled to talk to FIT.
   ·8· · But if they're deemed to be a subject, they don't
   ·9· · talk usually.
   10· · · · · · · · And this is basically their presentation
   11· · of what happened on the use of deadly force, not on
   12· · tactics, training, and policy.
   13· · · · · · · · MS. MURPHY:· Okay.
   14· · · · · · · · THE VIDEOGRAPHER:· Off the record at
   15· · 10:22 a.m.
   16· · · · · · · · (A break was taken.)
   17· · · · · · · · THE VIDEOGRAPHER:· On the record at
   18· · 10:36 a.m.
   19· · BY MS. MURPHY:
   20· · · · Q.· · · All right.· So, Justin, before we took a
   21· · break, we were talking briefly about the initial
   22· · press release involving FIT.
   23· · · · · · · · And I understand based on your prior
   24· · testimony you don't have anything -- you watched the
   25· · press conference too?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 67 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 66
   ·1· · · · A.· · · Correct.
   ·2· · · · Q.· · · Okay.· And so -- and, I'm sorry, you
   ·3· · told me before, and now I don't remember.· You have
   ·4· · a goal to get, like, the officers-involved
   ·5· · statements done within how long after the shooting
   ·6· · itself?
   ·7· · · · A.· · · So we try as soon as possible, but
   ·8· · officers are required a 48-hour notice of interview
   ·9· · per law before we interview them.· So at a minimum,
   10· · 48 hours.· But you still have to talk about the time
   11· · it takes to prepare for that.· And if I have any
   12· · type of allegations of misconduct, I have to put
   13· · that on the notice that is given to them.· Again,
   14· · part of that 48-hour notice.· So that does take up
   15· · time, to see if there are any issues we see from an
   16· · administrative investigation.
   17· · · · · · · · So usually, to answer your question,
   18· · we try to do it within the week with the shooter
   19· · and any direct witnesses.· Sometimes after that.
   20· · It's just based on time and availability for our
   21· · section.
   22· · · · Q.· · · Okay.· And if I remember correctly,
   23· · these got all done within about a week and a half of
   24· · the actual shooting; correct?
   25· · · · A.· · · That sounds about right.· And it's


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 68 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 67
   ·1· · because they're also on administrative leave, so
   ·2· · then they become available to us Monday through
   ·3· · Friday, on our schedule, so we don't have to worry
   ·4· · about shift-adjusting people or people coming in on
   ·5· · their days off when they're not required to.
   ·6· · · · · · · · When they're in an administrative
   ·7· · investigation because they're involved in a
   ·8· · shooting, we have kind of carte blanche to set up
   ·9· · those interviews, as long as they have
   10· · representation availability.
   11· · · · Q.· · · And who was the -- and I -- I've
   12· · reviewed all the interviews, so I'm going to ask you
   13· · some questions just because I want to make a clean
   14· · record on this.
   15· · · · A.· · · Okay.
   16· · · · Q.· · · Who is it -- who is it that -- who is it
   17· · that's present with the officers?
   18· · · · A.· · · It varies.· You're talking about, in
   19· · this case, two different unions.· You have -- and
   20· · I'm not sure if one guy was not union.· I don't
   21· · know -- I can't remember if Rothenburg, Officer
   22· · Rothenburg, was union back then.· I'd have to look
   23· · on the record of those transcripts of who his
   24· · representatives were.
   25· · · · · · · · But for officers or sergeants, it can be


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 69 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 68
   ·1· · the PPA, which is the LV -- the Las Vegas Police
   ·2· · Protective Association.· And then for supervisors,
   ·3· · in this case Sergeant Backman would have been the
   ·4· · PSMA, which is Patrol Supervisors Management
   ·5· · Association, I believe is what they are.· And that
   ·6· · can vary in whoever represents them.
   ·7· · · · · · · · So it's not specifically two people or
   ·8· · one person that goes every single time.· It could be
   ·9· · various individuals within those organizations.
   10· · · · Q.· · · Okay.· And part of the reason -- and you
   11· · referenced it before, but I just want to confirm.
   12· · Part of the reason that they have representation
   13· · there is because they are compelled to testify;
   14· · correct?
   15· · · · A.· · · Yes.· And everything that we notice them
   16· · in the lead-in to the interview in our script, which
   17· · says, "Anything you say can be used against you in a
   18· · civil proceeding," and they acknowledge that, but
   19· · they cannot be used against them in a criminal
   20· · proceeding, per Garrity.
   21· · · · Q.· · · And so I noticed as part of the closing
   22· · of either all or most of your interviews you kind of
   23· · went through a list of the deadly force assessment;
   24· · correct?
   25· · · · A.· · · Correct.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 70 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 69
   ·1· · · · Q.· · · Okay.
   ·2· · · · A.· · · If they're involved as a subject officer
   ·3· · in the shooting.
   ·4· · · · · · · · So if they were a witness, we do not go
   ·5· · on their perspective of what they thought the use of
   ·6· · force was.
   ·7· · · · Q.· · · And so is that part of, like -- like, do
   ·8· · you have, like, an -- do you have, like, a script
   ·9· · for that?
   10· · · · · · · · Like, every time there's an
   11· · officer-involved shooting, you ask them these, like,
   12· · delineated questions about use of force?
   13· · · · A.· · · Yes.· And that specifically is the
   14· · threat assessment, and then Graham versus Connor,
   15· · which are -- by law we're only required to ask the
   16· · three -- the first three questions of that.· But
   17· · we've expanded it to eight questions, five
   18· · additional, per LVMPD policy.
   19· · · · Q.· · · Okay.· And it looked like most of the
   20· · interviews were about an hour or two.
   21· · · · · · · · Is that accurate, to your recollection?
   22· · · · A.· · · Subject officers, usually around two
   23· · hours.
   24· · · · · · · · Witness officers, especially when you're
   25· · talking about SWAT operators that were on the stack


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 71 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 70
   ·1· · that didn't utilize force or were not involved in
   ·2· · the planning, then we're just trying to get their
   ·3· · perspective of what happened, probably an hour.
   ·4· · Because it was a short time lapse of time from the
   ·5· · time that they started their planning process
   ·6· · outside, they made their travel, and then they
   ·7· · landed at the apartment complex and continued with
   ·8· · the service of the search warrant.· We're talking
   ·9· · about maybe less than an hour, so it's just their
   10· · perspective on that.· So it usually takes less than
   11· · an hour for those individuals.
   12· · · · Q.· · · Okay.· I know from my own experience as
   13· · a lawyer that sometimes how a transcript reads and
   14· · how it seems when you're sitting there are two very
   15· · different things.
   16· · · · A.· · · Sure.
   17· · · · Q.· · · And so most of the interviews, with the
   18· · exception of Melanie O'Daniel's, seemed like they
   19· · were -- maybe friendly is not the right word, but
   20· · open perhaps is a better word, or cordial.
   21· · · · · · · · I mean, what was the -- kind of, did the
   22· · affect -- with the exception of Melanie O'Daniel's,
   23· · did the affect of any of the officers stand out to
   24· · you at all?
   25· · · · A.· · · So I'll say one thing first is that I


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 72 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 71
   ·1· · don't think Melanie O'Daniel's interviews -- we did
   ·2· · two with her -- were adversarial at all.· Maybe it
   ·3· · has that tone from the -- from the words.· I don't
   ·4· · think it was adversarial.
   ·5· · · · · · · · We have the responsibility to ask tough
   ·6· · questions.· Sometimes officers or supervisors take
   ·7· · offense to that because they believe they were doing
   ·8· · what they believed was right.· And a lot of times
   ·9· · that is the case.· However, our responsibility of
   10· · CIRT is to ask those tough questions.· So it does
   11· · come off sometimes that we're maybe being the bad
   12· · guys.· However, those questions need to be asked.
   13· · · · · · · · I don't think that -- I know for a fact
   14· · that this did weigh on a lot of the operators'
   15· · conscience a lot.· A couple of them broke down into
   16· · tears, especially when seeing -- I'm not sure if
   17· · you've seen all the video with this case, but seeing
   18· · Kerry Kubla shot multiple times, his arm mangled,
   19· · that does take a huge toll out on -- those guys, you
   20· · know, are all, for the most part, like best friends.
   21· · You know, they train together 24/7.· They go out on
   22· · callouts all the time together.· And to see one of
   23· · your friends on the verge of death after, you know,
   24· · doing your job is not something anybody wants to
   25· · see.· So it does weigh on those guys a lot.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 73 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 72
   ·1· · · · · · · · I remember specifically in this case --
   ·2· · I don't remember who -- I remember maybe Brice
   ·3· · Clements, I believe we had to stop his interview
   ·4· · because he was getting emotional.
   ·5· · · · · · · · But even that, they took a human life,
   ·6· · and that doesn't weigh -- I mean, that weighs very
   ·7· · heavily on all those guys.· Regardless of the
   ·8· · criminal background or the reason why they're there,
   ·9· · it's a hard thing for a human being to -- to, you
   10· · know, deal with.
   11· · · · Q.· · · Okay.· And you talked a little bit
   12· · earlier about you have to ask some key questions in
   13· · this matter.
   14· · · · · · · · I've read the -- I've read all the
   15· · interview transcripts.· But, as we sit here today,
   16· · if you could maybe list, like, the top two or
   17· · three, what did you think were really the vital
   18· · questions that you needed to ask the officers
   19· · involved in this case?
   20· · · · A.· · · Well, why did you fire your firearm?
   21· · That's the biggest one.· Why did you make the
   22· · decision to use deadly force?· That's the biggest
   23· · question.
   24· · · · · · · · And everything else stems off of that
   25· · because then you have all the follow-up questions


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 74 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 73
   ·1· · for your threat assessment and your Graham versus
   ·2· · Connor questions.· But essentially why did you make
   ·3· · the decision to utilize deadly force?
   ·4· · · · Q.· · · And in terms of Melanie O'Daniel's
   ·5· · case -- now, obviously she wasn't actually on the
   ·6· · stack.· She wasn't involved in the shooting?
   ·7· · · · A.· · · Correct.· She had COVID at the time.
   ·8· · · · Q.· · · Well, even if she hadn't had COVID, my
   ·9· · understanding is that --
   10· · · · A.· · · The tactical commander.
   11· · · · Q.· · · Right.· So she's not involved in ever
   12· · executing these warrants?
   13· · · · A.· · · Correct.
   14· · · · Q.· · · She came with a lot of stats to her
   15· · interview.· Did that surprise you?
   16· · · · A.· · · Not at all.· We've interviewed -- I've
   17· · personally been in interviews with Lieutenant
   18· · O'Daniel upwards of, I would say, probably ten times
   19· · in the time that she was there, because we do have
   20· · questions on every SWAT shooting of what the
   21· · planning was and why the planning was the way it was
   22· · constructed.· So a lot of times that tactical
   23· · commander has to be brought in either as a subject
   24· · or as a witness to determine that investigation's
   25· · tactical planning.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 75 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 74
   ·1· · · · Q.· · · In your experience as a CIRT
   ·2· · investigator, were there any other -- were there any
   ·3· · other cases where you came to the conclusion --
   ·4· · sorry.· I know you're not the one coming to the
   ·5· · conclusion, so let me rephrase that.· Strike that.
   ·6· · · · · · · · In your work as a detective, CIRT
   ·7· · investigator, were there any other reports that you
   ·8· · have drafted where the conclusion came that they
   ·9· · needed to revamp LVMPD policies, whether it had to
   10· · do with "knock and announce" or search warrants?
   11· · · · A.· · · Not in my time, no.· I believe there was
   12· · a case before I was up there where they did
   13· · recommendations.· And if you look in my report, it's
   14· · Section 9.· And those are associated with whatever
   15· · section it is.
   16· · · · · · · · So if you're talking about preplanning,
   17· · which is Section 3, there were a lot of
   18· · recommendations that were associated with those that
   19· · were voted on in a TRB, which I believe most of them
   20· · got approved.· And they actually got implemented,
   21· · which was good to see.· When we had different
   22· · leadership take over, those were implemented very
   23· · quickly.
   24· · · · · · · · And that's the purpose of CIRT.· And
   25· · what a lot of officers don't understand is we're not


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 76 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 75
   ·1· · trying to necessarily get you in trouble.· We have
   ·2· · to ask the tough questions to make the department
   ·3· · better and to avoid officer-involved shootings.
   ·4· · · · · · · · If we had -- if we had a year where we
   ·5· · had zero officer-involved shootings and I was just
   ·6· · bored in my office, I did my job extremely well.                                     I
   ·7· · would be very less stress-free because I
   ·8· · know that -- and sometimes obviously you can't
   ·9· · control those scenarios, but at least we're limiting
   10· · our resources or limiting our --
   11· · · · Q.· · · And so, Justin, I want to ask you about
   12· · that a little bit more.· I want you to expand on
   13· · that.· Because one of the questions I was going to
   14· · ask you was what is the purpose of CIRT.· And so you
   15· · kind of, like, briefly described it right then.
   16· · · · · · · · Can you really, kind of with a little
   17· · bit more detail, explain to me specifically, what is
   18· · the purpose of this division?
   19· · · · A.· · · To analyze training, to analyze events
   20· · that happened, and determine if our current
   21· · practices are viable and current and practical and
   22· · reasonable.· And if there are any deficiencies
   23· · noted, make those corrections to make our department
   24· · a better agency and a safer agency for both the
   25· · department and the community.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 77 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 76
   ·1· · · · Q.· · · And in terms of -- you said a little bit
   ·2· · earlier -- we'll talk about it more in depth as
   ·3· · we -- when we step back into the actual report.
   ·4· · · · · · · · Is it my understanding -- because you
   ·5· · talked about it briefly, the implementation of the
   ·6· · recommendations.
   ·7· · · · · · · · My question is, if they are accepted,
   ·8· · then you are aware whether or not they're
   ·9· · implemented; is that correct?
   10· · · · A.· · · So that's where OIO comes into play.
   11· · So they'll take those recommendations, and they
   12· · will draft a formal, I guess, workup of that
   13· · recommendation.· That does come through our
   14· · shop.· We have a form we file for these
   15· · recommendations now, after this case specifically,
   16· · that when those recommendations are put into place,
   17· · that they make sure they follow up with those
   18· · specific sections.
   19· · · · · · · · Now, if it's patrol, it's a lot easier,
   20· · because that's a global aspect.· When we are talking
   21· · about specialized units such as SWAT, then we have
   22· · to make those adjustments with that deputy chief who
   23· · is in charge of SWAT, and then the tactical
   24· · commander and the captain of the section.
   25· · · · Q.· · · And so if I -- do I understand


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 78 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 77
   ·1· · correctly, even how it's related to IOI has changed
   ·2· · as a result of this incident?
   ·3· · · · A.· · · OIO?
   ·4· · · · Q.· · · OIO.· Sorry.
   ·5· · · · A.· · · Yes.· We have done a -- well, I can't
   ·6· · speak very much on their side of it.· While they are
   ·7· · in the same office, just on the other side, I don't
   ·8· · really pay too much attention to what they do.
   ·9· · · · · · · · If they ask me, Hey, I need your
   10· · recommendations on this, I need to put this into
   11· · wording, and then how would you like to handle it?
   12· · then yes, I'll send it over to them, if they have
   13· · any questions about it.
   14· · · · · · · · But I believe when this came out and we
   15· · had I want to say it's 12 recommendations or
   16· · something like that, I don't know the exact number
   17· · off the top of my head, it was a lot more than we've
   18· · ever had previously to where something could just be
   19· · changed, like a policy or procedure.· We've revamped
   20· · our system.· So nine of them.· So it went up to 9.9.
   21· · · · · · · · We also have to look at ourselves too.
   22· · Again, it's Critical Incident Review Team, but
   23· · it's -- we still work for LVMPD.· And if we can be
   24· · more efficient and we can help the department in a
   25· · greater way, then doing stuff like recommendations


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 79 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 78
   ·1· · in this manner where the board is voting on them and
   ·2· · it's just not our section saying, Hey, this needs to
   ·3· · change and here's why, now you have a tactical
   ·4· · review board full with an assistant sheriff, a
   ·5· · deputy chief, a captain of training, and then peer
   ·6· · officers and supervisors who are saying, Yes, we
   ·7· · should do this based on what we saw in this case.
   ·8· · · · Q.· · · And so -- and I know that the
   ·9· · recommendations are kind of laced throughout here.
   10· · Is it fair -- and my understanding having reviewed
   11· · this, but if there's another specific section
   12· · perhaps I missed -- the recommendations are laced
   13· · throughout the conclusions; correct?
   14· · · · A.· · · "Laced" is --
   15· · · · Q.· · · Well, how would --
   16· · · · A.· · · Included, I would say.· They're not
   17· · hidden.
   18· · · · · · · · After every conclusion, where usually it
   19· · will read certain SMEs conclude that, whether it's
   20· · reasonable, not reasonable, within department
   21· · standards, or policy failure, at the end of those
   22· · conclusions, before moving on to the next
   23· · conclusion, there will be a notation.
   24· · · · · · · · I'll find one just for example.
   25· · · · · · · · On page 208, this is dealing with


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 80 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 79
   ·1· · approval of the IAPs, just for an example.· After
   ·2· · the conclusion was listed, there is a paragraph
   ·3· · afterwards that reads: Currently, there is no
   ·4· · approval form associated with the approval of search
   ·5· · warrants or the tactics utilized.· All requests for
   ·6· · tools, et cetera, of Sierras -- all requests for
   ·7· · tools and tactics, Sierras -- which are SWAT
   ·8· · snipers -- Stun Sticks, 9-Bang, Explosive Breach,
   ·9· · CET, and SACO -- which is "surround and callout" --
   10· · et cetera, can be completed verbally or even via
   11· · text messages, as was the case in this incident.
   12· · CIRT recommends that LVMPD create an official
   13· · approval form for the service of a SWAT search
   14· · warrant -- it goes on with a conclusion.
   15· · · · · · · · So that's where we identify a verbal
   16· · affirmation of, yes, I want to -- I want all these
   17· · tactics, or through a text message, or whatever the
   18· · case may be, email.· We thought it was not
   19· · sufficient enough to have that.· It should be a form
   20· · saying, yes, check box, check box, here's a
   21· · signature, and go forward with your operation.· That
   22· · was our recommendation on that one.
   23· · · · · · · · Which, again, is a conclusion number on
   24· · the back of that table, which is then voted on the
   25· · board at the TRB.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 81 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 80
   ·1· · · · Q.· · · Okay.· I guess -- so that's what I was
   ·2· · trying to kind of figure out, the interplay in the
   ·3· · report.
   ·4· · · · · · · · So it's throughout the dialogue of the
   ·5· · report, and then it's also there's
   ·6· · recommendations -- not every conclusion has a
   ·7· · recommendation?
   ·8· · · · A.· · · Correct.· And that's done at the back of
   ·9· · those conclusions too for continuity, so you know
   10· · exactly what we're referencing when we talk about
   11· · that recommendation.
   12· · · · Q.· · · Okay.· Okay.
   13· · · · A.· · · And, again, to speak on the point of
   14· · what does CIRT do, that's part of our goal is to
   15· · make the department better.· So if those nine things
   16· · are implemented, we feel that that would make the
   17· · department better.
   18· · · · · · · · And to my knowledge I believe most of
   19· · them, if not all of them, were done.
   20· · · · Q.· · · Okay.· You said that it took you almost
   21· · a year to compile this report.
   22· · · · · · · · Are there any -- other than trying to
   23· · get the -- which sounds like it's kind of a -- it's
   24· · more of a goal than a hard deadline -- to get the
   25· · officers involved interviewed as soon as possible,


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 82 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 81
   ·1· · are there any other, like, internal deadlines that
   ·2· · you're supposed to meet when preparing these
   ·3· · reports, or preparing this report?
   ·4· · · · A.· · · There's deadlines that are set based on
   ·5· · the availability of staff.· If you were giving an
   ·6· · initial sheriff brief, for example, it's set at X
   ·7· · date, usually a week after the FIT presentation.· In
   ·8· · this case it was probably two weeks just because
   ·9· · they knew that we had five involved officers that we
   10· · had to interview.· So that is something that's set
   11· · case-to-case basis as far as that meeting or -- that
   12· · meeting, that presentation.
   13· · · · · · · · However, you also then have then a date
   14· · set for your captain's/lieutenant's brief, which is
   15· · more along the lines of a global -- like, how can we
   16· · fix this globally.
   17· · · · · · · · In this case we didn't do a
   18· · captain's/lieutenant's brief because it was a SWAT
   19· · operation, and that's not something that needs to be
   20· · fixed on a patrol level, and that's the purpose of
   21· · that one.
   22· · · · · · · · And then the SME brief, usually we try
   23· · to get that done in a reasonable amount of time,
   24· · after all interviews are completed, to get the
   25· · officers back to work who are able to go back to


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 83 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 82
   ·1· · work that are cleared by doctors at that point.
   ·2· · · · · · · · So once the SME brief happens, then
   ·3· · those officers can be cleared if they've been
   ·4· · cleared and properly trained for the return-to-duty
   ·5· · training.
   ·6· · · · Q.· · · Okay.· And we talked about it a little
   ·7· · bit more briefly.· I want to kind of go through --
   ·8· · based on what you testified to here today, I want to
   ·9· · go through what I think your investigation process
   10· · can -- like, has, and you tell me if I've left
   11· · anything out or if this is accurate.
   12· · · · A.· · · Okay.
   13· · · · Q.· · · So there's the initial callout; correct?
   14· · · · A.· · · Correct.
   15· · · · Q.· · · And that's when you would actually go to
   16· · the scene of the officer-involved shooting?
   17· · · · A.· · · Correct.· And that's -- just to kind of
   18· · piggyback on that, it's the callout team.
   19· · · · · · · · So the sergeant and lieutenant on an OIS
   20· · will always go out, unless they're out of town.
   21· · Obviously if they're in California, they can't come
   22· · back.· And then the callout team.
   23· · · · · · · · The next up for a case has the option to
   24· · respond but is not necessary.· Again, if you have
   25· · family things and it's 3:00 in the morning and


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 84 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 83
   ·1· · you're not available, you're not available.
   ·2· · · · · · · · Once that happens, then we go to your
   ·3· · next part.· So it's a -- it's a very fluid dynamic
   ·4· · based on the amount of people we have because we
   ·5· · don't have a lot of people.
   ·6· · · · Q.· · · Okay.· So let's talk about -- like, you
   ·7· · know, I'll be asking, I guess, in a hypothetical,
   ·8· · but it really is geared towards this.
   ·9· · · · · · · · So there's the callout, which you didn't
   10· · go to?
   11· · · · A.· · · Correct.
   12· · · · Q.· · · Okay.· And then from there -- sorry.
   13· · Let me backtrack.
   14· · · · · · · · What -- what do you guys do at the
   15· · callout?· And what is -- what does a CIRT
   16· · investigator such -- a CIRT detective investigator
   17· · such as yourself, what would you do at the callout?
   18· · · · A.· · · So at the callout we are required by
   19· · state law to do breath and urine on all involved
   20· · officers.· So the first thing we do is we go into
   21· · whatever respective area the officers are being
   22· · held, whether it be one of the buses from the
   23· · unions, a patrol vehicle if they're not part of a
   24· · union, and we utilize our PBT that's assigned to us,
   25· · our preliminary breath test, to determine if they're


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 85 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 84
   ·1· · impaired via breath.
   ·2· · · · · · · · After that's done, we have a call out to
   ·3· · a guy who comes out and does the urine test, usually
   ·4· · on one of the union buses.· That is a third-party
   ·5· · system.· And that's sent off to testing.· I can't
   ·6· · speak too much on the fact that he just comes out
   ·7· · and collects urine.· That's all I know from that.                                      I
   ·8· · don't know where it goes from that point.
   ·9· · · · · · · · Then we get a briefing from the
   10· · investigator in charge of that.· Usually it's a
   11· · sergeant or a PD detective who is just out there.
   12· · They compile everything they know at the time to
   13· · give a brief of who's involved and why we're out
   14· · there.
   15· · · · · · · · Once that brief is completed, we
   16· · determine who our involved officers are and who our
   17· · witness officers are, people who just saw the event,
   18· · and we admonish them.· The admonishment is
   19· · essentially, Don't discuss this, for anticipated
   20· · testimony purposes, with each other.
   21· · · · · · · · Once we admonish them, we note that on a
   22· · piece of paper.· We have a piece of paper that has
   23· · the names and it has the admonishment.· So we read
   24· · it to them.· We have them either sign it, or, if
   25· · they're not available to sign it -- like in this


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 86 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 85
   ·1· · case Kerry Kubla got shot in both his arms.· He
   ·2· · can't sign that.· And he was at the hospital.· We
   ·3· · ended up calling him on the phone, once he was out
   ·4· · of surgery and he was coherent, and just admonished
   ·5· · him over the phone, wrote his name down, and marked
   ·6· · the time that he was admonished.
   ·7· · · · · · · · After that is done, we'll go through all
   ·8· · body-worn camera in the TOC, which is the tactical
   ·9· · operations center.· It's a big RV-looking thing that
   10· · has a bunch of TVs and computers so we can load up
   11· · those cameras and watch them in real time.
   12· · · · · · · · At this time FIT is also conducting
   13· · their investigation.· They're the leads of the
   14· · investigation.· We're just -- we are background.
   15· · · · · · · · FIT is doing interviews with all witness
   16· · officers.· And then they will do the countdown of
   17· · the officers' weapons and the walk-throughs with the
   18· · officer and their representation.· We're not there
   19· · for any of that.
   20· · · · · · · · So once we get the video, we see
   21· · everything that happens, we wait for our four
   22· · involved citizens.· So we have our citizen review
   23· · board that comes out that's part of the use-of-force
   24· · board that votes on it.· They come out there that
   25· · night, and they get a walk-through of the scene


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 87 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 86
   ·1· · outside of the red tape.· So they're not permitted
   ·2· · to walk inside the scene, but they get as close as
   ·3· · possible, and they get the details that we know at
   ·4· · the time of the incident.
   ·5· · · · · · · · This is usually done by the CIRT
   ·6· · sergeant or lieutenant.· In some cases the senior
   ·7· · detective on the squad who was out there will have
   ·8· · to do it, based on availability.· But we just give
   ·9· · them an overview of, like, this is why we are out
   10· · here.· We had five officers fire.· And this is the
   11· · apartment.· Do you guys have any questions?
   12· · · · · · · · And a lot of it is preliminary
   13· · questions.· A lot of it is stuff we don't know, if
   14· · they ask any questions.
   15· · · · · · · · And then we try to keep those same
   16· · individuals in the use-of-force board.· Sometimes
   17· · from availability that's not possible.· That's why
   18· · we have citizens who are on, like, reserve that can
   19· · fill in if the citizens available is not there.
   20· · · · · · · · But that concludes pretty much our
   21· · investigation, outside of making our IA Pro case,
   22· · which is done back at the office or on a laptop on
   23· · the scene, and making our H drive file, which is
   24· · just our generic case file.· And then we start
   25· · loading up things like CAD, which is computer-aided


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 88 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 87
   ·1· · dispatch.
   ·2· · · · · · · · By that point, usually body-worn cameras
   ·3· · aren't available yet because they have to download
   ·4· · and then be available on evidence.com, which doesn't
   ·5· · happen until FIT gets back in the office and puts
   ·6· · their cameras on the dock, and usually it's a couple
   ·7· · of hours after that.
   ·8· · · · Q.· · · When you say you have to make the IA Pro
   ·9· · case, what do you mean by that?
   10· · · · A.· · · Essentially it's the virtual case file
   11· · in our systems which any -- essentially, FIT -- not
   12· · FIT, sorry -- any CIRT or IA investigation just
   13· · documents anybody's involvement in any of those.
   14· · · · Q.· · · And I saw some -- I've seen throughout
   15· · the case file there are photos where it kind of
   16· · recreates -- some of it you -- some of it is
   17· · referenced in some of your report, where it talks
   18· · about, like, this person was standing this far from
   19· · the couch and was located here.
   20· · · · · · · · Is it FIT that kind of does all that?
   21· · · · A.· · · No.· So that's our crime scene analysts
   22· · that do that.
   23· · · · · · · · So there's twofold to that.· I believe
   24· · in this case was one of the first cases I used
   25· · TruView on, which is the kind of grainy-looking


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 89 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 88
   ·1· · photos that are on there.
   ·2· · · · · · · · Essentially what TruView is is every
   ·3· · scan they take is a million data points, and it
   ·4· · takes a 360-degree picture of whatever it's at.
   ·5· · Used on fatal traffic accidents, on homicides.
   ·6· · You've probably seen similar technology in, like,
   ·7· · movies and TV shows, where you're like, Oh, why
   ·8· · didn't they just scan the scene?
   ·9· · · · · · · · I know they did it at October 1, for
   10· · that scene, where they scanned the entirety of that
   11· · fairgrounds so they would have real-time data.
   12· · · · · · · · It gives you exact measurements of where
   13· · people are based on where they drop their cone
   14· · during that walk-through.· Or if you have body-worn
   15· · camera, you can put them into a certain area based
   16· · on their body-worn camera, kind of fly through the
   17· · scene, get your measurements.· It's a very useful
   18· · tool.
   19· · · · Q.· · · Okay.· And so now we're through the --
   20· · now we're through the callout.· You created the case
   21· · file.· And then what happens -- what's the next step
   22· · in the investigation process?
   23· · · · A.· · · Once the body-worn camera is uploaded --
   24· · usually audio from dispatch is pretty quick.
   25· · They're really good about putting that into a shared


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 90 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 89
   ·1· · file.· Then we can pull it over into our H drive.
   ·2· · · · · · · · But in this case there was not a lot of
   ·3· · radio traffic because it was the -- I forget who.
   ·4· · It might have been Sergeant Findley who got on the
   ·5· · air and said, Hey, we're going to be in Southeast
   ·6· · serving a search warrant.
   ·7· · · · · · · · And then the next audio is a 444, which
   ·8· · is an emergency of an officer, officer down.
   ·9· · · · · · · · So there wasn't a lot of radio traffic
   10· · to listen to and monitor that we could do any type
   11· · of analysis on or determine if there's any missteps
   12· · or good work.
   13· · · · · · · · So we had to wait for the body-worn
   14· · camera in this specific case to load up.· And,
   15· · again, you're talking about an entire SWAT team of
   16· · operators, and that's, I want to say, 17 or 18
   17· · cameras that we had to wait to load.
   18· · · · · · · · But based on the detectives who went out
   19· · there, we start discussing what we know at the time
   20· · with the entire team.
   21· · · · · · · · Once we get the body-worn cameras, we
   22· · start looking at the shooters' cameras first, only
   23· · because they are the people we're going to interview
   24· · first, so we want to get a good understanding of
   25· · everything they did.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 91 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 90
   ·1· · · · · · · · In this case -- I'll use an example of
   ·2· · something that we would put on a notice that would
   ·3· · be a negative would be, when we were watching Kerry
   ·4· · Kubla's body-worn camera, after he got shot, he goes
   ·5· · to the ground.· Obviously his camera stays on.· They
   ·6· · ended up turning it off.· But at the time they were
   ·7· · unaware if he fired or not.
   ·8· · · · · · · · We have the video evidence that shows
   ·9· · that he does and his round count showed that he did.
   10· · But during the course of the investigation, it was
   11· · determined that one of the SWAT operators cleared
   12· · his weapon because it was dangling unsafe from his
   13· · body as they were trying to tend to his wounds,
   14· · which per policy you're not supposed to do.
   15· · · · · · · · Now, this is one of those things where
   16· · we talked to SMEs later on and say, Hey, was this
   17· · reasonable given the circumstances of Kerry being
   18· · shot?· And they determined it was just because they
   19· · wanted to get that gun out of play, and they weren't
   20· · necessarily sure if he shot.
   21· · · · · · · · But that would be something we'd look
   22· · for on a notice to where now, up top of the subject
   23· · notice that we would have to give these officers, if
   24· · we see any allegations of misconduct, not
   25· · necessarily saying that there's something wrong with


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 92 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 91
   ·1· · it, but we identified it as possibly being an issue,
   ·2· · and we need to talk to you about it, but we can't do
   ·3· · so without putting it into the notice for NRS.
   ·4· · · · · · · · So in this case we would have -- I
   ·5· · forget who the officer was that did that.· But in
   ·6· · his notice it would read, You were the witness to
   ·7· · this.· However, you're a subject, and here's your
   ·8· · allegation of misconduct.
   ·9· · · · · · · · So that's kind of where we would go at
   10· · that point would be the involved officers' body-worn
   11· · cameras, and kind of breaking down all of that to
   12· · see if there was any allegations of misconduct
   13· · within those individuals outside of accusing them of
   14· · being in an officer-involved shooting, which is why
   15· · they're required to talk to us in the first place.
   16· · · · Q.· · · So then you get through the initial --
   17· · you get through the initial interviews, which I
   18· · think happened in about the first week and a half.
   19· · And then what are you doing next?
   20· · · · A.· · · Preparing for the sheriff brief, the
   21· · initial sheriff.· Preparing for that brief.· Getting
   22· · the threat assessment done for each of those
   23· · officers, and the Graham versus Connor, which are a
   24· · lot of -- very tenuous.· Because you have to go back
   25· · and listen to the interview, you have to surmise


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 93 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 92
   ·1· · their statements in a short enough time period to
   ·2· · where we're not sitting there all day reading their
   ·3· · exact transcription, and then preparing for that
   ·4· · presentation.
   ·5· · · · · · · · Once that's done, then I'm assuming your
   ·6· · question is after --
   ·7· · · · Q.· · · And sorry.· Just -- I'm going to
   ·8· · interrupt you just for a second.
   ·9· · · · A.· · · Yeah.
   10· · · · Q.· · · Is that the 12-hour presentation with
   11· · the slideshow?
   12· · · · A.· · · No.
   13· · · · Q.· · · Okay.· Sorry.· Keep going.
   14· · · · A.· · · We have multiple presentations as part
   15· · of CIRT investigations.· But this is the initial
   16· · brief.· I want to say this one probably was around
   17· · 45 minutes to an hour.
   18· · · · Q.· · · If you remember, or not, at that point
   19· · in time were you aware that there were issues with,
   20· · like, the search warrant and the IAP?· Were you
   21· · aware of any of that?
   22· · · · A.· · · Yes.· So we get all those documents from
   23· · SWAT at that time, and we start putting together an
   24· · investigation.
   25· · · · · · · · But, again, this is a preliminary


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 94 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 93
   ·1· · investigation, where we are on the investigation
   ·2· · itself.· A lot of that tactics and paperwork stuff
   ·3· · comes after.
   ·4· · · · · · · · The first thing that we want to -- that
   ·5· · we're required to do as CIRT is advise staff on the
   ·6· · shooters in this case and what were their responses
   ·7· · to the questions that were asked about their use of
   ·8· · deadly force.
   ·9· · · · · · · · In previous years, and this has not
   10· · happened in, I want to say, five years, we did
   11· · 30-day updates.· I believe we did a 45-day update on
   12· · this one, which was just going into a lot of the
   13· · stuff that we were finding from the investigation
   14· · that you see in the report, just to update staff.
   15· · But initially we mentioned it as areas of concern,
   16· · but we hadn't fully investigated it.
   17· · · · · · · · So it's one of those things where you
   18· · mention, Hey, this is what we identified, but we're
   19· · still looking into it.· We haven't interviewed the
   20· · people, so we can't give the reasons why this was
   21· · done this way or that way.
   22· · · · · · · · But that's why we do the initial --
   23· · · · Q.· · · Is it fair to say that there were early
   24· · areas of concern in this case?
   25· · · · A.· · · In every case there's always areas of


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 95 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 94
   ·1· · concern.· No OIS is perfect.· On the surface it
   ·2· · could look like the absolute cleanest, and there's
   ·3· · always one minute factor -- body-worn camera,
   ·4· · someone is missing a piece of gear that's
   ·5· · nonessential -- there's always some little detail.
   ·6· · · · · · · · So that's our job, to make sure we find
   ·7· · those little details.· Because if we don't find
   ·8· · those little details in the case, then it never gets
   ·9· · fixed.
   10· · · · Q.· · · And I'm sorry if you said this before.
   11· · I just want to backtrack and ask again.
   12· · · · · · · · Did this have more recommendations than
   13· · any other case you'd ever worked on?
   14· · · · A.· · · Yes.
   15· · · · Q.· · · And they were further implemented as --
   16· · it not only had the most recommendations, but there
   17· · was the most implementations of the recommendations;
   18· · correct?· To your knowledge.
   19· · · · A.· · · I can't speak on that one way or the
   20· · other as far as the eight years or seven years
   21· · previous to CIRT.
   22· · · · Q.· · · I'm sorry.· I'm just talking about in
   23· · your experience.
   24· · · · A.· · · In my experience, yes.
   25· · · · Q.· · · Okay.· And that's a fair distinction.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 96 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 95
   ·1· · So I'm just asking about your experience.· Okay.
   ·2· · All right.
   ·3· · · · · · · · So, sorry, I shouldn't have interrupted
   ·4· · you.· We're doing preliminary reports.· You know, in
   ·5· · this case it was 45 days instead of 30.
   ·6· · · · · · · · Then what's going on then?
   ·7· · · · A.· · · Then we're going over who needs to be
   ·8· · interviewed.· So everybody is usually helping out on
   ·9· · this process, especially when you have multiple
   10· · body-worn cameras.
   11· · · · · · · · If you have a simpler, quote-unquote,
   12· · shooting, where, let's say, it's a car stopped and
   13· · there's only two officers that are involved and no
   14· · one else gets there until the guy is in custody,
   15· · then obviously the list of people you need to
   16· · interview diminishes quite a bit.
   17· · · · · · · · But when you're talking about a SWAT
   18· · team here with multiple individuals being involved,
   19· · and then multiple individuals clearing a house,
   20· · medical being rendered to both the suspect and
   21· · officers on-scene, there's a lot of hands in there.
   22· · Especially when you're talking about now IAPs and
   23· · investigations.
   24· · · · · · · · So we determined who needs to be, like,
   25· · the most pressing to get the best information and


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 97 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                       Page 96
   ·1· · where we make a determination of where we need to go
   ·2· · next.
   ·3· · · · · · · · In this case I believe Lieutenant
   ·4· · O'Daniel was one of those key figures.· Sergeant
   ·5· · Findley.· Officer Jake Warner because he was the
   ·6· · ATL, the assistant team leader.· Those are some
   ·7· · individuals that we would want to interview before
   ·8· · we get to somebody else who may not have as deep of
   ·9· · involvement.
   10· · · · · · · · But we're in the planning structure of
   11· · this and kind of work backwards from the shooting to
   12· · the planning to how do we operate as a department.
   13· · So it's kind of working backwards from the time of
   14· · the incident.
   15· · · · Q.· · · Okay.· And you had mentioned this
   16· · before, and I just wanted to ask you about this
   17· · since you brought it up.· You know, that CIRT --
   18· · one of the reasons that you were assigned this
   19· · case -- or, sorry, you volunteered for this case was
   20· · because you had a lot of experience with search
   21· · warrants.
   22· · · · · · · · And so can you kind of -- and you told
   23· · me, like, in what areas or departments you had the
   24· · experience in.· But can you tell me about, like,
   25· · what is your -- like, were you drafting -- like,


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 98 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 97
   ·1· · when you say a lot of experience with search
   ·2· · warrants, can you explain that to me a little bit
   ·3· · more in terms of the actual mechanics of what you
   ·4· · were doing?
   ·5· · · · A.· · · Sure.· The affiant of the legal document
   ·6· · that is the search warrant, and then also being the
   ·7· · secondary on a lot of cases where you're required to
   ·8· · sign as the secondary on that affiant page.
   ·9· · · · · · · · But, yes, authoring and being the
   10· · affiant of search warrants.
   11· · · · Q.· · · Did you have a lot of experience in your
   12· · prior professional background for Las -- in
   13· · executing search warrants?
   14· · · · A.· · · As being an operator in SWAT, zero.
   15· · I've never been in SWAT.
   16· · · · Q.· · · Okay.· But even -- sorry -- outside of
   17· · SWAT, did you ever execute search warrants as part
   18· · of your role in any of the other --
   19· · · · A.· · · No.· So the -- back in, I believe it
   20· · was, 2012 or '13, we stopped the practice of having
   21· · detectives serve their own search warrant if there
   22· · was minimum danger.· Any search warrant that needed
   23· · to be -- needed to be served on a dwelling or any
   24· · kind of structure that was not frozen -- and frozen
   25· · in this aspect of having police officers inside and


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9        Filed 05/16/25     Page 99 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 98
   ·1· · it being completely secured -- would be then
   ·2· · conducted by SWAT.
   ·3· · · · Q.· · · So I guess can you explain that to me
   ·4· · a little bit more?· Because I saw some
   ·5· · conversation about why wasn't Major Violators
   ·6· · involved.· So does Major Violators serve those, or
   ·7· · is it just SWAT?
   ·8· · · · A.· · · No.· I guess maybe -- was that from my
   ·9· · testimony you're discussing?
   10· · · · Q.· · · It was within the report somewhere, a
   11· · discussion about Major Violators, in terms of them
   12· · executing the search warrant, and were they
   13· · considered or not.
   14· · · · A.· · · So that was not necessarily the
   15· · execution of the search warrant.· That would be
   16· · conducting the arrest of the individual.
   17· · · · · · · · So a lot of times Major Violators will
   18· · be tasked with getting search warrants or the body
   19· · for a search warrant, to include, like, an arrest
   20· · affidavit as well.· And then once they have that
   21· · probable cause and have that signed warrant for
   22· · arrest and search warrant, then they would go find
   23· · that person, whether it be through electronic
   24· · resources or visual resources as far as, like,
   25· · stakeouts, I guess would be, like, the layman's term


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 100 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                       Page 99
   ·1· · for it.· And they would try to apprehend that
   ·2· · individual outside of the house as opposed to inside
   ·3· · the house.
   ·4· · · · · · · · If it had ever gone to an
   ·5· · inside-the-house, where they were either barricaded
   ·6· · or refuse to come out, always SWAT.· Major Violators
   ·7· · would never serve a search warrant.
   ·8· · · · Q.· · · Okay.· Thank you for explaining that.
   ·9· · · · · · · · And where in the report -- we'll get
   10· · back to the thing -- what your next steps are.
   11· · · · · · · · Where in the report would I find -- is
   12· · there, like, a listing of subject matter experts?
   13· · · · A.· · · The standard subject matter experts are
   14· · going to be on that page 1 that you gave me.· It's
   15· · this -- I think I have your page now.· You have it
   16· · there too?
   17· · · · · · · · The -- I can't remember if we started
   18· · implementing a sign-in list after this case, because
   19· · there was a little bit of controversy during the
   20· · use-of-force board where Lieutenant O'Daniel
   21· · attempted to have TJ Jenkins be her representative,
   22· · and he was one of the SMEs that was used for SWAT.
   23· · · · · · · · In general we don't put the specialized
   24· · units out of there onto that list.· Those were our
   25· · general people that were there for training.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 101 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 100
   ·1· · · · Q.· · · So I guess let me ask the question a
   ·2· · little bit differently.
   ·3· · · · · · · · For instance, I don't see Mr. Bandiero
   ·4· · on this list.
   ·5· · · · A.· · · Correct.
   ·6· · · · Q.· · · He's a subject matter expert; right?
   ·7· · · · A.· · · Again, yes.
   ·8· · · · Q.· · · So why isn't he listed on here?
   ·9· · · · A.· · · I couldn't tell you one way or the other
   10· · as far as our procedural goes.· But from my
   11· · understanding is that that is our baseline
   12· · essential.· Those are our everyday SMEs that conduct
   13· · training, tactics throughout AOST, RBT, the academy.
   14· · · · · · · · Anything else that's mentioned as an SME
   15· · as far as specifics, like Anthony Bandiero on there,
   16· · would be mentioned as an SME in the report, but it
   17· · wouldn't be in that sidebar.· If we got to the
   18· · point, especially on this case, there wouldn't be,
   19· · one, enough room for it.· But, two, it's a internal
   20· · briefing that's not made to be -- most SME briefs
   21· · are not made to be on the record.· It is to assist
   22· · the investigating detective with the guidance on
   23· · tactics and training, what we do.
   24· · · · Q.· · · So are there any SMEs -- if they're not
   25· · meant to be on -- okay -- sorry --


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 102 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 101
   ·1· · · · A.· · · There should be a sign-in list that was
   ·2· · in our case file of SMEs for the SWAT side and the
   ·3· · search warrant side.· Which is how we knew that
   ·4· · TJ Jenkins was an SME and how we could prove it, why
   ·5· · he was not allowed to represent Melanie O'Daniel
   ·6· · during the use-of-force board.
   ·7· · · · Q.· · · Related to this case or related to a
   ·8· · different case?
   ·9· · · · A.· · · Related to this case.· She tried to have
   10· · him as an SME -- not an SME, sorry.· As a
   11· · representative.
   12· · · · Q.· · · But he was an SME on this case?
   13· · · · A.· · · Correct.· So we did not allow that.
   14· · · · Q.· · · And what does Mr. Jenkins do?
   15· · · · A.· · · He was a SWAT sergeant.· He is now
   16· · retired.
   17· · · · Q.· · · So when you say "represent," I guess I
   18· · just always assume lawyer.
   19· · · · · · · · How can a SWAT sergeant represent
   20· · somebody?
   21· · · · A.· · · Per NRS you are allotted two
   22· · representatives of your choosing.· It does not have
   23· · to be anybody.· I can be a representative of
   24· · somebody.· If I were to leave CIRT -- obviously it
   25· · would be a conflict of interest if I did it now.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 103 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 102
   ·1· · But if I were to leave CIRT and be just a regular
   ·2· · patrol officer, and somebody would like me to
   ·3· · represent them at the use-of-force board or in an
   ·4· · interview, they could pick me.· It does not matter
   ·5· · who they pick.· Most of the times it's union
   ·6· · representatives.· Very seldom is it a lawyer.· David
   ·7· · Rogers sometimes comes in on cases.· Dan Ko, who is
   ·8· · a lawyer, but he was also a lieutenant, is a PMSA
   ·9· · representative who comes in from time to time with
   10· · people who are represented by the PMSA.
   11· · · · · · · · But for the most part, the officers are
   12· · represented by members of the LVPPA and the PMSA and
   13· · PPACE, which I don't know the acronym for, I'm
   14· · sorry, but it's the civilian union, if there's,
   15· · like, dispatchers or call-takers that need to be
   16· · represented during use-of-force boards.· But those
   17· · are all officers, detectives, sergeants,
   18· · lieutenants.
   19· · · · Q.· · · I'm trying to authenticate the content
   20· · of the report in terms of the use of the SMEs.
   21· · · · · · · · So not -- the SMEs, you know, the
   22· · outside experts, they're not listed on this front
   23· · page?· Like Mr. Bandiero, they are not listed on the
   24· · front page?
   25· · · · A.· · · Correct.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 104 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 103
   ·1· · · · Q.· · · If you relied on them specifically,
   ·2· · you're going to include that notation within the
   ·3· · report.· Is that fair to say?
   ·4· · · · A.· · · Fair.
   ·5· · · · Q.· · · Okay.· And we went over that one part
   ·6· · that should have been italicized.· That was from
   ·7· · Mr. Bandiero's report.
   ·8· · · · · · · · But as we sit here today, that was from
   ·9· · his memo or whatever you want to call it?
   10· · · · A.· · · Yes.· From that meeting, the list of
   11· · meetings or the various meetings that we've had.
   12· · · · Q.· · · And then it's actually the sign-in page
   13· · that's going to tell me exactly who the SMEs in
   14· · addition to the ones listed on the front page are?
   15· · · · A.· · · Correct.
   16· · · · Q.· · · And were they all present for that
   17· · 12-hour slideshow presentation?
   18· · · · A.· · · No.
   19· · · · Q.· · · Okay.· Were they present for the other,
   20· · like, updates?
   21· · · · A.· · · No.
   22· · · · Q.· · · Okay.
   23· · · · A.· · · They're specifically brought in there as
   24· · they get a PowerPoint presentation of the facts that
   25· · we know and usually after all the interviews have


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 105 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 104
   ·1· · been concluded.
   ·2· · · · · · · · In this case, I think we did a couple
   ·3· · afterwards because of orders from executive staff.
   ·4· · · · Q.· · · Sorry.· What do you mean by "a couple"?
   ·5· · A couple of interviews or a couple of updates?
   ·6· · · · A.· · · Correct.· A couple of interviews after
   ·7· · the SME briefs.· In general we try to get everyone
   ·8· · done prior to that.· It doesn't happen every single
   ·9· · time.· But for the most part, we try to get
   10· · everybody involved.
   11· · · · · · · · In this case, because there was such a
   12· · wide net of people that we needed to interview and
   13· · time and resources, I don't believe we got in
   14· · everybody.· In fact, I know we got -- we interviewed
   15· · Melanie O'Daniel, and then we had to re-interview
   16· · her based on information we learned later on.
   17· · · · Q.· · · Okay.· And so the SME briefing is
   18· · something different.· That's kind of midway point
   19· · through; is that correct?
   20· · · · A.· · · Midway is a fair way to say it.
   21· · · · Q.· · · Okay.
   22· · · · A.· · · It's just another check in the steps it
   23· · takes to finish one of these reports.
   24· · · · Q.· · · And then after they have the briefing,
   25· · you talked about several meetings with Mr. Bandiero.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 106 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 105
   ·1· · So after you have that initial briefing, then are
   ·2· · you meeting with them again to see if they have any
   ·3· · comments or --
   ·4· · · · A.· · · They -- anybody who is an SME on the
   ·5· · department, which usually goes out to everybody on
   ·6· · that list on the side column, is given a report via
   ·7· · BlueTeam, which is one of our internal resources, to
   ·8· · review.· If they have any issues with the report
   ·9· · itself, that will be notated.
   10· · · · · · · · In most cases there's nothing that is
   11· · said.· I don't deal with that side of it.· That's on
   12· · our executive staff side of it.· I just get the,
   13· · Hey, this is their question.· Can you answer it?
   14· · · · Q.· · · Oh, okay.· So you're not even part of
   15· · that meeting?
   16· · · · A.· · · As far as the --
   17· · · · Q.· · · You just get, like, the follow-up;
   18· · like, Hey, they have questions about this, this, and
   19· · this?
   20· · · · A.· · · When it comes down to sending out the
   21· · final report, there's no meeting.· It's sent out.
   22· · They read it on their own, and then they send their
   23· · feedback.
   24· · · · · · · · Then I'm given the feedback, and I can
   25· · call them up or email them and say, Here are your


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 107 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 106
   ·1· · concerns, and here's why this decision was made
   ·2· · based on this.· If you have any questions, call me.
   ·3· · · · Q.· · · Okay.· So we're midway -- sorry.· I keep
   ·4· · pulling you around.· We're midway through.· We're
   ·5· · at, like, the SME briefing.· Then what happens from
   ·6· · there?
   ·7· · · · A.· · · You start writing the report.· In this
   ·8· · case, 222 pages, a lot.· So it took quite a lot of
   ·9· · time to, one, go through a structure of how I want
   10· · to present this.· And most times we want to go
   11· · chronological order.· And then what quotes you want
   12· · to use.
   13· · · · · · · · Usually I just -- the way I operate is I
   14· · just kind of think of how I've done it in the past
   15· · and how I should mirror that and how it looks as far
   16· · as chronological.· So I know I wanted to talk about
   17· · certain things first and then go into, you know, the
   18· · operational side of it last.· And always last would
   19· · be officer-involved-shooting part because it's the
   20· · last thing that happened.· Usually it becomes static
   21· · after that.
   22· · · · Q.· · · Okay.· And so then is it fair for me to
   23· · assume that you have some level of -- you can -- you
   24· · have some level of autonomy in how you're going to
   25· · organize the report?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 108 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 107
   ·1· · · · A.· · · There's a structure we like to follow.
   ·2· · I don't finish my report, then hand it to SMEs and
   ·3· · say, Hey, you guys good with this?
   ·4· · · · · · · · In this case we round-tabled it, went
   ·5· · through page by page with the entire squad.
   ·6· · · · · · · · But in general for an OIS, if my partner
   ·7· · gets an OIS, he gets done with his report, it goes
   ·8· · to me.· I look at it for spelling, grammar, and then
   ·9· · also for content.
   10· · · · · · · · After I give him my corrections, then
   11· · that usually goes to one more detective to see if
   12· · that can -- I missed anything.· Because -- sometimes
   13· · you read a lot of the same things over and over
   14· · again, sometimes you do miss things.
   15· · · · · · · · That is then double-checked by a second
   16· · detective.
   17· · · · · · · · It then goes to the sergeant of the
   18· · section and to one of our executive staff officers,
   19· · one of the civilians.· And they look -- the
   20· · executive staff looks for -- civilians look for
   21· · grammar specifically, try to get it as dialed in as
   22· · possible as far as grammar and spelling.
   23· · · · · · · · We do miss things from time to time.                                     I
   24· · was reading back in this, and I get very nit-picky
   25· · on things, and I noticed one of my paragraphs wasn't


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 109 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 108
   ·1· · justified, and it drove me crazy.· It's not
   ·2· · something that messes with the content of the
   ·3· · report.· But as trying to be as much of a
   ·4· · perfectionist as possible, as I was rereading this
   ·5· · recently, I saw that I had a paragraph that was not
   ·6· · justified, and it just absolutely drove me crazy.
   ·7· · · · · · · · But then it goes to our sergeant, our
   ·8· · lieutenant, and then our captain reads it.
   ·9· · · · Q.· · · And so you said in this particular case
   10· · that it was the whole team that round-tabled this;
   11· · correct?
   12· · · · A.· · · Correct.
   13· · · · Q.· · · Why did the whole team round-table
   14· · this one?
   15· · · · A.· · · Just from the complexity of it.· Five
   16· · shooters, the IAP, the investigation itself.· All
   17· · the aspects that make this a 222-page report is a
   18· · lot for one individual to compile that information
   19· · themselves.· Especially when you're writing in your
   20· · own voice -- and I'm sure you've had similar
   21· · instances where you're writing in your own voice,
   22· · and sometimes, either when you're rereading your
   23· · stuff, you know what you were saying but you didn't
   24· · put it on paper correctly, or there might have been
   25· · a question on whether we're going to put both sides.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 110 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 109
   ·1· · Like, if there was any kind of divide, to make sure
   ·2· · we put both sides of that into the investigation,
   ·3· · like the "knock and announce" that we did.
   ·4· · · · · · · · But in this case, because it was so
   ·5· · in-depth, because at the time I only had three years
   ·6· · on in the section, I was kind of middle of the road
   ·7· · when it came to seniority there, it was important
   ·8· · for the section to -- it's always important for the
   ·9· · section to get everything right and give the best
   10· · work product that we can.
   11· · · · · · · · So at this point our command staff --
   12· · our sergeant, lieutenant, and captain -- thought it
   13· · would be prudent to go over it as a group and make
   14· · sure that we were all on the same page, as opposed
   15· · to handing a 222-page report to one detective and
   16· · wait and then to another detective and wait.
   17· · · · Q.· · · You said this one was particularly
   18· · important.· Why was this particularly important?
   19· · · · A.· · · Did I say important?· As far as it was
   20· · particularly important to get this done because of
   21· · the size of the investigation.· Like we've discussed
   22· · previously, 222 pages is not our normal work
   23· · product.· Usually it's between 60 and 80 pages.
   24· · · · · · · · There was a lot of deficiencies noted,
   25· · which were put in our recommendations, that we


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 111 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 110
   ·1· · wanted to make sure that we were squared away on as
   ·2· · far as, when you're talking about that Section 9 of
   ·3· · our recommendations, we're changing the department.
   ·4· · We're trying to improve the department.· And we're
   ·5· · making those recommendations to be voted on by a
   ·6· · tactical review board.· So we want to make sure
   ·7· · they're articulated in a way that the reader and the
   ·8· · voting members would understand.
   ·9· · · · Q.· · · When you're recommending -- or when part
   10· · of the report, you know, the purpose is to change
   11· · the department, that assumes that things can be done
   12· · differently; correct?
   13· · · · A.· · · Yeah.
   14· · · · Q.· · · So if officers, when I deposed them,
   15· · made assertions that certain things couldn't be
   16· · done differently that you had recommended -- or
   17· · that CIRT had recommended changing, that would be
   18· · refuted by the fact that CIRT recommended a change;
   19· · correct?
   20· · · · A.· · · From a department standpoint, yes.
   21· · However, to the officer's defense, on either our
   22· · interviews or whatever -- I obviously don't have
   23· · access to your depositions of those individuals,
   24· · but they were operating on the information they had
   25· · at the time and the policy, tactics, and training


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 112 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 111
   ·1· · that they were given that was approved by our
   ·2· · department.
   ·3· · · · · · · · What we're talking about as far as
   ·4· · making improvements or changing things is we saw
   ·5· · what happened, not necessarily good outcome or bad
   ·6· · outcome on this case or any other case, but how can
   ·7· · we make it so it is even better.
   ·8· · · · Q.· · · Well, I mean, you're saying "even
   ·9· · better," but there were conflicts within the
   10· · policies themselves; correct?
   11· · · · A.· · · Absolutely.
   12· · · · Q.· · · Okay.
   13· · · · A.· · · But not -- in the manual.· Not the
   14· · policies.· The manual.· The department manual for
   15· · SWAT.· Not policies.
   16· · · · Q.· · · What's the difference?
   17· · · · A.· · · One is a policy manual, and one is a
   18· · section manual.
   19· · · · Q.· · · What's the difference between a policy
   20· · manual and a section manual?
   21· · · · A.· · · Section manuals have to have -- they
   22· · can't violate policy, but they go into more detail
   23· · of what that section does.· It would -- I'm not sure
   24· · if you've seen our policy manual, but it's about the
   25· · size of that binder, if not even bigger.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 113 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 112
   ·1· · · · · · · · If you were to put every different
   ·2· · section into our policy manual -- vice, narcotics,
   ·3· · SWAT, air unit, everybody -- CIRT -- the manual
   ·4· · would stack up to the roof.
   ·5· · · · · · · · So essentially it's an extension of
   ·6· · policy with their own set of, I guess, tactics and
   ·7· · training that they utilize, whether it be from their
   ·8· · SWAT school or Major Violator school or whatever
   ·9· · they put on to train their individuals, if that
   10· · makes sense.
   11· · · · Q.· · · Yes.
   12· · · · · · · · We talked about it quite a bit, but just
   13· · to clarify, in the initial part of your -- of the
   14· · CIRT report, you make a distinction between your
   15· · administrative review and the review for the
   16· · criminal review; correct?
   17· · · · A.· · · Yes.
   18· · · · Q.· · · Okay.· And part of the administrative
   19· · review is to determine what we've all kind of talked
   20· · about globally and we're going to dig into more
   21· · specifically, the policies and procedures, the
   22· · training, and whether the officers acted reasonably
   23· · under those conditions; correct?
   24· · · · A.· · · Yes.
   25· · · · Q.· · · Which is different than an analysis of


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 114 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 113
   ·1· · whether or not they were justified in shooting;
   ·2· · correct?
   ·3· · · · A.· · · Correct.
   ·4· · · · Q.· · · And one of the -- you tell me if I -- is
   ·5· · it correct that one of the parameters of
   ·6· · reasonableness is that it still must be within the
   ·7· · Constitution, their actions must be within outlines
   ·8· · of the Constitution and how they have to do
   ·9· · different --
   10· · · · A.· · · So, again, we don't deal with -- I'm not
   11· · a lawyer, so I can't speak on constitutional law.
   12· · · · · · · · What I can speak on is to the set of
   13· · NRS and -- or supreme court decisions of Graham
   14· · versus Connor that fit into what we investigate.
   15· · · · · · · · We look at specifically Graham versus
   16· · Connor.· That is the legal binding for use of deadly
   17· · force specifically.
   18· · · · · · · · Then we have our threat assessment
   19· · of the ability, opportunity, imminent jeopardy,
   20· · and preclusion that we analyze our uses of force on.
   21· · · · Q.· · · Sorry.· Thank you for clarifying that.
   22· · · · · · · · But I am talking -- and so -- but in
   23· · terms of, like, the Fourth Amendment, search
   24· · and seizure, people's individual rights under
   25· · the Fourth Amendment, that the reasonableness of


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 115 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 114
   ·1· · an officer is still -- no matter whether or not
   ·2· · they seem reasonable, certain actions must fall
   ·3· · within the parameters of the case law and what the
   ·4· · supreme court has said officers must comply with
   ·5· · in order to recognize people's Fourth Amendment
   ·6· · rights; correct?
   ·7· · · · A.· · · If you're speaking of the Fourth
   ·8· · Amendment rights of that -- that use of deadly force
   ·9· · is what you're speaking to?
   10· · · · Q.· · · Yes.
   11· · · · A.· · · Then yes.
   12· · · · Q.· · · Okay.· And so we've talked a little bit
   13· · about -- and so, okay.· Sorry.· I'm going to loop
   14· · back, and then we'll go forward.
   15· · · · · · · · In terms of the investigation, you
   16· · issued the final CIRT report; correct?
   17· · · · A.· · · Correct.
   18· · · · Q.· · · Okay.· In this case it's been
   19· · round-tabled; everyone's looked it over; it gets put
   20· · out.
   21· · · · · · · · Then did you get any questions back
   22· · about this report?
   23· · · · A.· · · I don't recall how many questions, if I
   24· · got any, on this case from anybody who saw the final
   25· · product.· I don't recall.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 116 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 115
   ·1· · · · Q.· · · Were there drafts going out the whole
   ·2· · time?
   ·3· · · · A.· · · There's not drafts going out.· We
   ·4· · never send out a draft of the report until it's
   ·5· · final.· Once it's finalized, then it would be
   ·6· · sent out.
   ·7· · · · · · · · However, the team has access to all the
   ·8· · drafts.· So as we're doing this report, if I get to
   ·9· · a certain section, Hey, how does this sound?· Can we
   10· · round-table this?· Or, Hey, can I get an opinion on
   11· · how I wrote this?· Then the team has access to those
   12· · drafts.
   13· · · · · · · · But never a draft, like, unfinished
   14· · version of this has ever gone out to anybody outside
   15· · of our unit.
   16· · · · Q.· · · Okay.· And I understand -- you seem to
   17· · be an individual, Justin, that takes pride in their
   18· · work.· Is there -- but it seems like there has been
   19· · a lot -- based on what you've told me, there's been
   20· · a lot of focus within the CIRT unit.
   21· · · · · · · · Why is it -- why is there such a focus
   22· · on the way it's drafted, to make sure that there are
   23· · no typo errors, to have, like, this level of review?
   24· · Why is that important for the department?
   25· · · · A.· · · I think it's important in every aspect


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 117 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 116
   ·1· · of the department because everything that we do is a
   ·2· · legal document.· When it comes -- when we talk about
   ·3· · a traffic citation, that's a legal document.                                   I
   ·4· · don't want spelling errors or grammatical errors on
   ·5· · the back of a citation of why I gave this individual
   ·6· · a citation.
   ·7· · · · · · · · The same thing goes for an arrest report
   ·8· · or even when you deal with something as detailed as
   ·9· · a CIRT report.· There's still that aspect of not
   10· · turning in a sloppy product and having pride in your
   11· · work, because you should have, as an officer in this
   12· · department -- I'm not saying it happens with
   13· · everybody.· But for me, since I've been a member of
   14· · this department for 16 years, I pride myself on the
   15· · fact that I can write well enough to get into a unit
   16· · like this to where my input is valued.
   17· · · · Q.· · · Do you think that the primary -- do you
   18· · think your primary role is as a writer?
   19· · · · A.· · · Well, I mean, primary role is a Swiss
   20· · Army knife.· You can't really point to one aspect of
   21· · my thing, this is what you do, you are a presenter,
   22· · you are a writer.
   23· · · · · · · · There's definitely an aspect of it that,
   24· · yes, you have to be able to clearly articulate
   25· · whatever you are trying to convey in the report to


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 118 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 117
   ·1· · where it is, one, able to be read by somebody who's
   ·2· · not a department member.· That's very important,
   ·3· · because civilians are reading this from a
   ·4· · use-of-force level because they're voting on it to
   ·5· · determine if it's a reasonable use of force.· So you
   ·6· · have to write in almost a simpler version, but also
   ·7· · have to write it in a way that lays out all of our
   ·8· · department policies and tactics and training and be
   ·9· · able to cite those correctly.· And also interpret
   10· · the investigation and utilize the quotes inside of
   11· · it properly.
   12· · · · Q.· · · Other than your prior kind of come-up
   13· · experience and your come-up experience through the
   14· · department and your communications degree, have you
   15· · had any other training offered through LVMPD or
   16· · through CIRT about writing?
   17· · · · A.· · · I know there's been report-writing
   18· · classes I've taken.· But, I mean, we're talking over
   19· · a span of 16 years.· There's no specific CIRT, like,
   20· · writing classes.· That's something that's learned
   21· · over time as far how to write.· We try not to use
   22· · the word "that" and "there."· That's one of the
   23· · specifications I mentioned, the justification on the
   24· · reports.
   25· · · · · · · · When I see anything that's not justified


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 119 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 118
   ·1· · in any aspect of my life anymore, it triggers me a
   ·2· · bit to like, I need that justified.· But just
   ·3· · overall the sentence structure.
   ·4· · · · · · · · I can see where I was at this point
   ·5· · three years in my career when I read this and I go,
   ·6· · I probably would have done something grammarly
   ·7· · different there -- grammatically.· See.· I even
   ·8· · messed up that.
   ·9· · · · · · · · But it's all about growing.· And a
   10· · one-year CIRT detective writing a report is not
   11· · going to look like my report now being there six
   12· · years and a senior detective on the unit.
   13· · · · · · · · MS. MURPHY:· Do you want to take another
   14· · break?
   15· · · · · · · · THE VIDEOGRAPHER:· Off the record at
   16· · 11:37 a.m.
   17· · · · · · · · (A break was taken.)
   18· · · · · · · · THE VIDEOGRAPHER:· On the record at
   19· · 11:47 a.m.
   20· · BY MS. MURPHY:
   21· · · · Q.· · · Justin, I'm just going to ask you some
   22· · more basic background questions about the report,
   23· · and then we're going to get into the content of the
   24· · report itself.· Okay?
   25· · · · A.· · · Okay.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 120 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 119
   ·1· · · · Q.· · · Okay.· Based on what you've just told
   ·2· · me, it is your understanding that this report's
   ·3· · going to be widely circulated; is that correct?
   ·4· · · · A.· · · Widely circulated how?
   ·5· · · · Q.· · · Well, that it's going to be seen by
   ·6· · civilians.· That this is considered a legal
   ·7· · document.· This is not like an internal report
   ·8· · that's only seen by CIRT or only within, like, a few
   ·9· · branches of LVMPD; is that correct?
   10· · · · A.· · · No.· So this is an internal report.
   11· · This is not a published report like a FIT report.
   12· · · · · · · · Any FIT report -- and to my knowledge,
   13· · you can look up online and Google it and it's on
   14· · there.
   15· · · · · · · · But for purposes -- when I say that
   16· · civilians are going to read this, those are going to
   17· · be the civilians that are going to be voting on the
   18· · use-of-force board.· So those four civilians.
   19· · · · · · · · It's not available department-wide.
   20· · It's not available to anybody who wants to read it.
   21· · It is a very secure document.
   22· · · · Q.· · · Okay.· But part of the purpose is to
   23· · determine if changes should be made; correct?
   24· · · · A.· · · It's part of the purpose.
   25· · · · Q.· · · Okay.· What's the other purpose?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 121 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 120
   ·1· · · · A.· · · To identify things that we're doing
   ·2· · right and to just complete a full administrative
   ·3· · investigation to see -- again, I mean, yes, there
   ·4· · are going to be some deficiencies noted, but there
   ·5· · are also going to be a lot of positives that come
   ·6· · from this, where you see that things are working;
   ·7· · that training is working; that if things are done
   ·8· · correctly within training and policy and tactics,
   ·9· · that those are done for a reason, and those do end
   10· · up mostly in successful officer-involved shootings.
   11· · · · Q.· · · I didn't see -- I mean, in terms of the
   12· · administrative aspect, not in terms of the criminal
   13· · aspect, I didn't really note any things where you
   14· · guys were saying this was done right in here.
   15· · · · · · · · I mean, can you point me out to parts of
   16· · the report where you were saying this was done
   17· · correctly?
   18· · · · A.· · · Any time there is a conclusion in there
   19· · that does not say that it was within -- that was
   20· · within LVMPD policy and tactics -- any of the
   21· · conclusions that are inside of the report that say
   22· · that they were within department policy, training,
   23· · and tactics are considered good.
   24· · · · · · · · Again, that's just from a personal
   25· · standard, from me saying good.· We're not saying,


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 122 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 121
   ·1· · Oh, that's a great job there.· It's saying you were
   ·2· · within tactics, training, and policy.
   ·3· · · · Q.· · · But it's not just -- I mean, you made
   ·4· · it very clear to me earlier, this isn't your opinion
   ·5· · in here?
   ·6· · · · A.· · · Correct.
   ·7· · · · Q.· · · Okay.· This is the result of the SMEs
   ·8· · round-tabling with other people within CIRT.· It's a
   ·9· · collective assessment of the different actions
   10· · related to this officer-involved shooting; correct?
   11· · · · A.· · · Correct.
   12· · · · Q.· · · And so if it says -- in the conclusions
   13· · if it says, you know, Conclusion, this was found to
   14· · be within LVMPD training, policies -- or whatever
   15· · the verbiage is, that's the way of saying this was
   16· · done correctly?
   17· · · · A.· · · I'll call that a positive, for lack of a
   18· · better term.
   19· · · · Q.· · · Okay.· Okay.
   20· · · · · · · · And in terms of the document itself, you
   21· · tell me if I'm right or wrong.· This is kept in a
   22· · certain drive; correct?
   23· · · · A.· · · Yes.
   24· · · · Q.· · · As we sit here today -- and I've given
   25· · you a copy of what I have if you want to leaf


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 123 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 122
   ·1· · through it.· But as we sit here today, to the best
   ·2· · of your knowledge, this is an accurate copy of what
   ·3· · you drafted back in 2022; correct?
   ·4· · · · A.· · · Correct.· 122 [sic] pages.· I remember
   ·5· · the number pretty specifically.
   ·6· · · · Q.· · · And there's no reason to believe that
   ·7· · the content in here is not reliable in any way, in
   ·8· · terms of it being the final product of what you
   ·9· · created after a year; correct?
   10· · · · A.· · · Correct.
   11· · · · Q.· · · And you have done your best in compiling
   12· · this, aside from the one issue that we had with
   13· · Mr. Bandiero.· But for the most -- in terms of if
   14· · you're quoting somebody or something, or you're
   15· · putting it in italics, that is a cite from another
   16· · source that you cite within the report itself;
   17· · correct?
   18· · · · A.· · · Correct.
   19· · · · Q.· · · And those -- the citations for those --
   20· · you know, excluding, say, like, case law, the
   21· · citations for those -- for the interviews and stuff
   22· · like that, that's easily -- we're able to easily
   23· · authenticate that by looking at the report -- or
   24· · interview itself; correct?
   25· · · · A.· · · Yes.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 124 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 123
   ·1· · · · Q.· · · And you've gone to great pains to ensure
   ·2· · that if you quote something, cite something,
   ·3· · italicize it, however you do it, that that is also
   ·4· · an accurate quote or citation from whatever other
   ·5· · source you're pulling from; correct?
   ·6· · · · A.· · · Correct.
   ·7· · · · Q.· · · You tell me if I'm right or wrong.
   ·8· · Part of the round table or the administrative
   ·9· · review, do they also check that?· Like, check your
   10· · cites?· Do they do that kind of stuff?· Or is that
   11· · all on you?
   12· · · · A.· · · Well, if we're talking about an
   13· · officer quote, I'm not going to get it from
   14· · anywhere else.
   15· · · · · · · · So -- and the source material policy,
   16· · stuff that's derived from policy or manuals or case
   17· · law, was then put into our drive under a certain
   18· · folder which was put into our binders and whatever
   19· · is in front of you there, which would be part of
   20· · the, I guess, evidence as part of this case.
   21· · · · Q.· · · Okay.· And in terms of -- like I
   22· · said, we're gonna -- in a few minutes we'll get into
   23· · the actual content of the report and stuff like
   24· · that.
   25· · · · · · · · You talked to me that you are -- that,


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 125 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 124
   ·1· · you know, part of your professional background,
   ·2· · that you're very familiar with search warrants,
   ·3· · but you had never executed one because you weren't
   ·4· · on SWAT?
   ·5· · · · A.· · · Correct.
   ·6· · · · Q.· · · Have you become -- in your execution of
   ·7· · a detective investigator through CIRT, have you now
   ·8· · become somewhat fairly or somewhat -- however you
   ·9· · want to qualify it, familiar with SWAT, the SWAT
   10· · manual, tactics, those types of things?
   11· · · · A.· · · Familiar how?· Are you saying can I join
   12· · a stack right now and be part of an entry team?
   13· · · · Q.· · · No.· And thank you for clarifying
   14· · because my question is a little bit different.
   15· · · · · · · · What I mean is, is, like, you're, like,
   16· · Yeah, the manual says this, this, and this.· This is
   17· · their policies.
   18· · · · · · · · Like, are you fairly familiar with those
   19· · types of issues now?
   20· · · · A.· · · Familiar in a respect of some of the
   21· · highlights.· But I'm not required to know it, like,
   22· · head to toe like they are required to know it.                                    I
   23· · use it.· I reference it.· As part of CIRT, you're
   24· · supposed to have access to everything in the
   25· · department.· I can't possibly have every section


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 126 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 125
   ·1· · memorized.
   ·2· · · · · · · · So I'm familiar with what I've
   ·3· · investigated on that day.· And then if I have
   ·4· · another SWAT case, I'll become familiar with the
   ·5· · aspects related to that case that reference SWAT.
   ·6· · But to say I'm completely familiar with the
   ·7· · manual -- I believe it's 100-and-some-odd pages -- I
   ·8· · don't know it head to toe, top to bottom.
   ·9· · · · Q.· · · Is it your -- I mean, you put a lot of
   10· · time and effort -- part of your job -- and I'm
   11· · assuming on different cases, not just this one, but
   12· · it would appear that you put a lot of time and
   13· · effort into developing the recommendations and very
   14· · carefully analyzing the verbiage within the SWAT
   15· · manual; is that -- any manual you're analyzing, but
   16· · I guess in terms of this case, the SWAT manual; is
   17· · that correct?
   18· · · · A.· · · Can you rephrase?
   19· · · · Q.· · · Sure.· When you are drafting the report
   20· · and you're forming these recommendations, you're
   21· · looking very careful at the manual -- carefully at
   22· · the manual; correct?
   23· · · · A.· · · Yes.
   24· · · · Q.· · · And it is your expectation that, as you
   25· · go through and make these recommendations, that --


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 127 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 126
   ·1· · sorry, you're not the one making the
   ·2· · recommendations -- but as recommendations are made,
   ·3· · that the other people looking at it will carefully
   ·4· · consider the changes, even if they're just slight
   ·5· · changes in the verbiage; correct?
   ·6· · · · A.· · · Well, they're not going to consider
   ·7· · changes, like, as a recommendation.· They're not
   ·8· · going to be like, Okay, we'll take that into
   ·9· · consideration.
   10· · · · · · · · At this point it was because they are
   11· · recommendations, because they got voted on at the
   12· · board, they are now going to happen.· So now it's
   13· · about the implementation of those recommendations
   14· · based on whatever they were.
   15· · · · · · · · So if there's a specific verbiage about
   16· · the SWAT manual needing to be updated to conform
   17· · with something, then that was a specific notation
   18· · and a recommendation that was required to because it
   19· · was voted on and approved as -- I forgot the three
   20· · categories for conclusions.· I think it's on your
   21· · voting sheet that you had there.· But it's
   22· · something, modify, and overturn.
   23· · · · Q.· · · And/or approve.
   24· · · · A.· · · Okay, so it is approve.
   25· · · · Q.· · · Do you expect the SWAT guys to be


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 128 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 127
   ·1· · familiar with the SWAT manual?
   ·2· · · · A.· · · Absolutely.
   ·3· · · · Q.· · · And I guess that's a roundabout way of
   ·4· · me asking the question too.· You put so much time
   ·5· · and effort into issuing recommendations that they
   ·6· · look at.· I mean, part of that is that you expect
   ·7· · the operators to be familiar with the manual and
   ·8· · rely on it; correct?
   ·9· · · · A.· · · I would think that they would assume the
   10· · same for me, reference the CIRT manual.· But they
   11· · wouldn't have really any reference to it because
   12· · they don't do my job.· But they would expect that I
   13· · would have a vast knowledge of my CIRT manual.
   14· · · · Q.· · · Okay.· All right.· Let's talk about the
   15· · report itself.
   16· · · · · · · · Before we get into the actual report,
   17· · I'm just going to do two preliminary items.
   18· · · · · · · · You reference NRS 179.055 throughout
   19· · your report.
   20· · · · A.· · · Okay.
   21· · · · · · · · MS. MURPHY:· If we could mark this
   22· · Exhibit 4.
   23· · · · · · · · THE WITNESS:· And that's "no knock";
   24· · correct?
   25· · · · · · · · MS. MURPHY:· What?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 129 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 128
   ·1· · · · · · · · THE WITNESS:· Is that "no knock"?
   ·2· · · · · · · · MS. MURPHY:· Yeah, officer may break
   ·3· · door to serve warrant.
   ·4· · · · · · · · (Exhibit 4 marked.)
   ·5· · BY MS. MURPHY:
   ·6· · · · Q.· · · So this is actually NRS 179.055.· This
   ·7· · is actually the "knock and announce" statute.
   ·8· · · · A.· · · Yeah.
   ·9· · · · Q.· · · And so I'll represent to you that I
   10· · pulled this off the internet.
   11· · · · A.· · · Okay.
   12· · · · Q.· · · But you cite it throughout -- a couple
   13· · of times in the report.· And I just wanted to
   14· · confirm the verbiage.
   15· · · · · · · · It says, "The officer may break open any
   16· · outer or inner door of a window or a house."
   17· · · · · · · · Is that what you read as well?· In
   18· · Section 1?
   19· · · · A.· · · Page number 1?· Yes.
   20· · · · Q.· · · Actually, sorry.· Justin, let me give
   21· · you a -- if you want to just take a second to just
   22· · read the whole thing.· It's not very long.· If you
   23· · want to just read it and then let me know --
   24· · · · A.· · · I didn't know if you were talking about
   25· · reading the title of it or if you were at Number 1


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 130 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 129
   ·1· · there.
   ·2· · · · · · · · So you're asking if the -- if it read,
   ·3· · "The officer may break open any outer or inner door
   ·4· · or window of a house"?
   ·5· · · · · · · · Yes, that's what it says.
   ·6· · · · Q.· · · And so the statute itself includes both
   ·7· · the breaking of a door and a window; correct?
   ·8· · · · A.· · · Yes.
   ·9· · · · Q.· · · Okay.· So by the plain language of the
   10· · statute, whether it's a door or a window, once
   11· · there's entry made, it's being broken into; correct?
   12· · · · A.· · · Yes.
   13· · · · Q.· · · For the purpose of serving a search
   14· · warrant?
   15· · · · A.· · · Yes.
   16· · · · Q.· · · Okay.· And then the other thing that I
   17· · am going to have you -- I'm just going to kind of
   18· · keep this to the side.· And, Justin, I'll represent
   19· · to you that this is the -- basically the layout of
   20· · the apartment that I pulled from your report.
   21· · · · A.· · · Yep.
   22· · · · Q.· · · And I'm just going to give that to you,
   23· · because I think as we go through the report we talk
   24· · about different positions or things that happened.
   25· · So I think it will make it easier if we are working


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 131 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 130
   ·1· · off the same grid.
   ·2· · · · A.· · · Okay.
   ·3· · · · · · · · MS. MURPHY:· So if we could please mark
   ·4· · that.· This is pulled from the report at LVMPD 4389.
   ·5· · · · · · · · (Exhibit 5 marked.)
   ·6· · BY MS. MURPHY:
   ·7· · · · Q.· · · Does that look like your work?
   ·8· · · · A.· · · It is.
   ·9· · · · Q.· · · Okay.· All right.· So let's get into the
   10· · actual report itself.
   11· · · · · · · · So the very beginning of the report,
   12· · Justin -- actually, I'll skip to page 13.· That's
   13· · Bates 4267.
   14· · · · A.· · · Okay.
   15· · · · Q.· · · And these are photos of the officers
   16· · that were involved; correct?
   17· · · · A.· · · Correct.· Well, this one specifically is
   18· · Sergeant Backman.
   19· · · · Q.· · · Do you know where this picture came
   20· · from?· Was this, like, the day of the shooting, or
   21· · was this --
   22· · · · A.· · · Correct, yes.· So after officer-involved
   23· · shootings -- I don't remember where this was taken
   24· · because I wasn't out there and I wasn't told where
   25· · it was taken.· Usually it's taken at a secure


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 132 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 131
   ·1· · location, usually inside one of the vans -- sorry,
   ·2· · the buses run by the unions.
   ·3· · · · · · · · So they take an overall -- multiple
   ·4· · pictures -- this is just one of those pictures -- of
   ·5· · how they were at the time of the incident so you can
   ·6· · show that they were readily identifiable, that they
   ·7· · had all their proper gear on.· It just shows them
   ·8· · how they were at the time.
   ·9· · · · Q.· · · Okay.· And then turning the pages to
   10· · page 14 and 15, they're just headshots of Officer
   11· · Kubla and Officer Clements; correct?
   12· · · · A.· · · Correct.
   13· · · · Q.· · · They were already -- they'd already
   14· · left?
   15· · · · A.· · · They were in the hospital.· So Officer
   16· · Kubla was in surgery at the time.· Officer Clements
   17· · was at the hospital for his abrasion to his arm.· He
   18· · had taken off all of his gear.· That gear was
   19· · photographed on the ground, inside the bag where it
   20· · was located at.
   21· · · · Q.· · · Then turning to page 16 and -- sorry.
   22· · 16 is Officer Gonzalez?
   23· · · · A.· · · Correct.
   24· · · · Q.· · · And it's your understanding that this
   25· · was also taken at the scene; correct?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 133 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 132
   ·1· · · · A.· · · Taken at a secure location.· Either -- I
   ·2· · don't remember where it was taken.· It was at the
   ·3· · same day.
   ·4· · · · Q.· · · Thank you for that clarification.
   ·5· · · · · · · · And then same thing with page 17.
   ·6· · That's Officer Rothenburg.
   ·7· · · · · · · · Let me ask the question more artfully.
   ·8· · · · · · · · This is the uniform he was wearing --
   ·9· · this picture represents the uniform that he was
   10· · wearing at the time he was involved in the shooting?
   11· · · · A.· · · Yes, correct.
   12· · · · Q.· · · And then the following pages that we
   13· · have, the additional employees that were involved,
   14· · but these aren't shooters; correct?
   15· · · · A.· · · These are -- so this page specifically,
   16· · and I believe it's the next page -- because there
   17· · were a lot of interviewees on this.· So the next
   18· · three pages are people that were interviewed by
   19· · CIRT.· So they're additional employees that were
   20· · interviewed by CIRT.
   21· · · · · · · · If there were any other employees that
   22· · were not interviewed by CIRT, that were interviewed
   23· · by FIT only, they would be notated at the bottom
   24· · here as interviewed by FIT only.· However, I think
   25· · we did substantially more interviews than FIT did.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 134 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                    Page 133
   ·1· · I think we covered all of them by this point.
   ·2· · · · Q.· · · Well, most people turn down FIT;
   ·3· · correct?· Or all the --
   ·4· · · · A.· · · If you were involved as a subject -- if
   ·5· · you're notated as a subject in a shooting, then you
   ·6· · have the option to not speak with FIT.
   ·7· · · · · · · · However, if you are a witness officer
   ·8· · and they deem you a witness officer, you are
   ·9· · required to give a statement to FIT.
   10· · · · Q.· · · And these are -- I mean, it's --
   11· · it's -- it's -- it's spelled out here, but just to
   12· · confirm.
   13· · · · · · · · These are employees specifically; they
   14· · don't include civilian witnesses or anyone else?
   15· · · · A.· · · No.· Civilian witnesses are located on
   16· · page 20, and it's just the FIT report.· So see the
   17· · FIT report that's attached.
   18· · · · Q.· · · So you didn't interview any of the
   19· · civilian witnesses?
   20· · · · A.· · · No.· Because that's not our purview as
   21· · far as an administrative investigation goes.
   22· · They're not required to talk to us.
   23· · · · · · · · There are circumstances that CIRT does
   24· · interview civilian witnesses, but it also would
   25· · hinder the criminal investigation as far as getting


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 135 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 134
   ·1· · a sworn statement from somebody else that could
   ·2· · contradict.
   ·3· · · · Q.· · · Okay.· And then the following page,
   ·4· · page 21, this is Isaiah Williams; correct?
   ·5· · · · A.· · · Yes.
   ·6· · · · Q.· · · Okay.· And then page 22, tell me what
   ·7· · this is.
   ·8· · · · A.· · · I'm just -- curiosity for me, just
   ·9· · before, because we spoke on this was unaltered.· It
   10· · shows his birthday blacked out.· I did not black out
   11· · his birthday on there.
   12· · · · Q.· · · So when we get provided the document
   13· · from Craig, there's -- even though he's technically
   14· · our client, there's certain things that they always
   15· · black out to protect people's privacy interests.
   16· · · · · · · · So as we go through here -- I don't
   17· · think there's any Social Security numbers, but it's
   18· · just the practice of attorneys, when we have Social
   19· · Security numbers or birthdays, stuff like that, we
   20· · just -- they redact it before they provide it to us.
   21· · · · A.· · · Okay.· I just want to make that clear,
   22· · that I did not redact a birthday on here.
   23· · · · Q.· · · Yeah, I know.· And I don't know if there
   24· · will be any more.· But if we come through a passage
   25· · in here where it's a black mark like that, it's


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 136 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 135
   ·1· · Craig's office that did it.
   ·2· · · · A.· · · Okay.
   ·3· · · · Q.· · · And then what's the following page, 22?
   ·4· · · · A.· · · That would be Officer Kubla's injuries
   ·5· · that he sustained during the incident.
   ·6· · · · Q.· · · And -- okay.· And then the same thing
   ·7· · on -- or, sorry.
   ·8· · · · · · · · What's page 23?
   ·9· · · · A.· · · Photographs of Officer Kubla's gear, to
   10· · include his injuries to his arms, his leg, and then
   11· · the bullet entries into his vest and holster.
   12· · · · Q.· · · And you didn't take these -- none of the
   13· · photos you took; correct?
   14· · · · A.· · · No.· That's all done by our crime scene
   15· · analysts.
   16· · · · Q.· · · And you have access to this through
   17· · the -- what was it called?· Not P drive.· H drive?
   18· · · · A.· · · So this does not go into our H drive.
   19· · This is on OnBase, which is a system the
   20· · department uses to document reports and photographs.
   21· · · · · · · · So if you are given the access to
   22· · critical incidences like this -- so not everybody
   23· · could look up this report number, this event number,
   24· · and see who -- or see all the pictures.· Only people
   25· · with certain access to certain cases could get that.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 137 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 136
   ·1· · But it's done through a system called OnBase.
   ·2· · · · Q.· · · Okay.· And then the following page,
   ·3· · what's this?
   ·4· · · · A.· · · Officer Clements' injuries.
   ·5· · · · Q.· · · Okay.· And then the following page?
   ·6· · · · A.· · · Isaiah Williams' injuries.
   ·7· · · · Q.· · · Okay.· And, again, this is done by the
   ·8· · crime scene investigators; correct?
   ·9· · · · A.· · · So this -- the diagram that you are
   10· · seeing right here is done by FIT.· So this is from
   11· · the FIT report, as it says, I think, on the second
   12· · line above.· It says "Per the FIT report."
   13· · · · · · · · They attend autopsy.· We do not attend
   14· · autopsies.· So we are going based on the information
   15· · that was gathered from FIT.
   16· · · · Q.· · · And the autopsy -- because as we go down
   17· · the page, there's a toxicology report.
   18· · · · · · · · So that's straight from the autopsy;
   19· · correct?
   20· · · · A.· · · From the FIT report.· I can't speak on
   21· · the fact it was done specifically from the autopsy.
   22· · But from my understanding is that it was just in the
   23· · FIT report, and that's what we're going on.
   24· · · · Q.· · · Again, the FIT report, that is actually
   25· · published; correct?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 138 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 137
   ·1· · · · A.· · · Correct.· I believe so.· So I'll give
   ·2· · you a 90 percent sure.
   ·3· · · · Q.· · · That's fair.· All right.
   ·4· · · · · · · · And so then turning on to page 27, did
   ·5· · you put this chronology together?
   ·6· · · · A.· · · Yes, ma'am.
   ·7· · · · Q.· · · Okay.· How long did this take you to do?
   ·8· · · · A.· · · It's relative to the case.· I can't tell
   ·9· · you how long it took me to do.
   10· · · · · · · · As far as this is usually what I do
   11· · toward the end of a report, to where I make sure
   12· · that anything that is relevant to the actual report
   13· · itself is notated in the timeline.· That way if
   14· · there's any discussion on when something happened
   15· · that's referenced to the report, it's in there.
   16· · · · · · · · I don't want to put -- just for an
   17· · example, let's say, if we're talking about what
   18· · happened after this OIS, I'm not going to put when
   19· · Sergeant X arrived that was part of Southeast Area
   20· · Command because there's no relevance to it.
   21· · · · · · · · So I can't tell you exactly how long it
   22· · took, but this is just a culmination of the entire
   23· · report.
   24· · · · Q.· · · And so if I understand your prior -- the
   25· · testimony you just provided, this is also a timeline


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 139 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 138
   ·1· · of what you think relative time points are
   ·2· · throughout the case; correct?
   ·3· · · · A.· · · Throughout the report.
   ·4· · · · Q.· · · Sorry.· Throughout the report.
   ·5· · · · A.· · · Yes.
   ·6· · · · Q.· · · Okay.· And so if we now want to turn to
   ·7· · page -- we'll skip ahead to 30.· Because we're going
   ·8· · to talk about the timeline, so we won't actually go
   ·9· · through that now.
   10· · · · A.· · · Okay.
   11· · · · Q.· · · And I want to clarify.
   12· · · · · · · · So it seems like in the investigative
   13· · narrative, you open it by kind of making a
   14· · distinction between -- there's an active
   15· · investigation.· So I took that to mean that you
   16· · might have more information now, but in terms of
   17· · what's in this investigative report, or in this CIRT
   18· · report, is that you put in what was known at the
   19· · time?
   20· · · · A.· · · Correct.· And that's from -- so from my
   21· · understanding, I don't even know if this homicide
   22· · was ever closed.· We have no -- I guess jurisdiction
   23· · would be a term to use.· But we have no reason to
   24· · look into a homicide case.· We're basing everything
   25· · off of what these officers knew at the time.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 140 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 139
   ·1· · · · · · · · So I don't know if this homicide
   ·2· · investigation has been closed, been solved, been
   ·3· · cold-cased.· I have no idea one way or the other.
   ·4· · · · Q.· · · Okay.· And -- okay.
   ·5· · · · · · · · And so this photo in here, this is the
   ·6· · underlying Mr. -- sorry.· This is Mr. Thomas' --
   ·7· · this is the video from Sam's Town of Mr. Thomas'
   ·8· · homicide; correct?
   ·9· · · · A.· · · Not of the homicide.· This is at some
   10· · point he had walked to the casino and then
   11· · collapsed.· This is body-worn camera from the
   12· · first-arriving officer who arrived as medical units
   13· · or security medical were attempting to, I guess, put
   14· · pressure on the wound or CPR.
   15· · · · · · · · But this is not where the homicide took
   16· · place, or at least the shooting took place.
   17· · · · Q.· · · If you go to the next page, page 31 --
   18· · · · A.· · · Okay.
   19· · · · Q.· · · -- where did you pull this map from?
   20· · · · A.· · · This was from our understanding -- so
   21· · this is from Google Earth.
   22· · · · · · · · Is that the question?
   23· · · · Q.· · · Yes.
   24· · · · · · · · And so let's turn the page then to
   25· · page 32.· And this is the -- do you know if this has


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 141 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 140
   ·1· · been -- like, is this what the officers -- the
   ·2· · officers investigating the homicide, is this the
   ·3· · quality and nature of the video they would have seen
   ·4· · at the time?
   ·5· · · · A.· · · Well, it's significantly more grainy on
   ·6· · this, which is a -- on black-and-white photograph,
   ·7· · not in the same resolution that you would see.
   ·8· · · · · · · · I will say that the video that was
   ·9· · obtained from that Chase Bank was put out on
   10· · LVMPD YouTube, and it was not at a high quality.· It
   11· · was the same quality in the report and in the videos
   12· · that we had that we released.
   13· · · · · · · · I don't know the exact quality.· I'm not
   14· · really proficient on P&I when it comes to clarity of
   15· · videos or photographs.
   16· · · · Q.· · · Unfortunately, I can't make it part of
   17· · the record.· But I will show you a color photograph
   18· · because I have it on my computer in color.
   19· · · · A.· · · Now you just turned off.· But I can tell
   20· · you -- I can tell you that that is a screenshot --
   21· · · · Q.· · · Okay.
   22· · · · A.· · · -- from the highest resolution available
   23· · to me at the time.
   24· · · · Q.· · · Okay.
   25· · · · A.· · · If that makes sense.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 142 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 141
   ·1· · · · Q.· · · Yes.· But I guess my question, was this
   ·2· · the highest resolution of what the officers -- like,
   ·3· · is this what the -- is this the highest resolution
   ·4· · of what the officers would have had too?
   ·5· · · · A.· · · Of -- yes, of any video.· There was no
   ·6· · clearer version of that.
   ·7· · · · Q.· · · Okay.· And so that would be the same
   ·8· · thing then on the following page; correct?
   ·9· · · · A.· · · Correct.
   10· · · · Q.· · · And this -- I'll turn this around and
   11· · show you.· This is the color version.
   12· · · · · · · · And to the best of your memory, this
   13· · accurately represents --
   14· · · · A.· · · Outside of me putting the tags on there,
   15· · the red tags and the circles, that is a screenshot
   16· · of the video itself in a still frame.
   17· · · · Q.· · · And so are you -- are you the one taking
   18· · the screenshots?
   19· · · · A.· · · Yes.
   20· · · · Q.· · · Okay.· Do you remember why you chose
   21· · these frames?
   22· · · · A.· · · It clearly, as best possible, showed the
   23· · subjects involved in this homicide as best possible,
   24· · as you said.· They're not exactly the most
   25· · high-definition photographs or videos.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 143 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 142
   ·1· · · · · · · · But the homicide itself, the individual
   ·2· · that is circled to the farthest right, where the
   ·3· · line is pointing to it, it says "Unknown Suspect" --
   ·4· · not the one that says "Thomas and Unknown
   ·5· · Suspect" -- "Unknown Suspect" I believe goes in
   ·6· · front of a tree right before the homicide.
   ·7· · · · · · · · So this just shows the same person
   ·8· · wearing the same clothing was pictured from this
   ·9· · angle, to the best of the ability to illustrate to
   10· · somebody that doesn't have access to the video,
   11· · that's just reading the report, that this is the
   12· · same person that was shown on the previous page, of
   13· · page 32.
   14· · · · Q.· · · But it's a different --
   15· · · · A.· · · Different angle from the bank.
   16· · · · Q.· · · Okay.· Then the following page,
   17· · page 35 -- sorry.· A few pages up.
   18· · · · · · · · And my -- normally, when you're doing a
   19· · CIRT report, would you include this much discussion
   20· · about the underlying homicide investigation?
   21· · · · A.· · · No.
   22· · · · Q.· · · Why was that included in this report?
   23· · · · A.· · · I was ordered to.
   24· · · · Q.· · · By whom?
   25· · · · A.· · · By, I'm assuming, executive staff.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 144 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 143
   ·1· · · · · · · · I explained my concerns, as being in the
   ·2· · unit for three years, of not focusing narrowly on
   ·3· · the actual application of use of force and the
   ·4· · tactics that were involved with it.· However, when
   ·5· · that was run up the chain of command -- my captain
   ·6· · at the time was Carlos Hank.· He relayed those
   ·7· · concerns, and we were told to go into the homicide
   ·8· · investigation.
   ·9· · · · · · · · I don't know who made that decision.· At
   10· · the time the executive staff was under Joe Lombardo,
   11· · and Chris Darcy was the undersheriff.· I can't tell
   12· · you who made that decision for us to do that, but
   13· · that was what was determined.
   14· · · · Q.· · · Okay.· And so then if we turn to page 35
   15· · of the report, that's a traffic stop; correct?
   16· · · · A.· · · Correct.
   17· · · · Q.· · · And that was based off the license?
   18· · · · A.· · · I believe so --
   19· · · · Q.· · · I don't see a license.
   20· · · · A.· · · So it might have been a front plate.
   21· · I'm not exactly sure how this was -- I know that it
   22· · was in their case notes as far as the homicide
   23· · investigation was going, completed by the IS, which
   24· · is investigative specialist.
   25· · · · · · · · This was maybe -- you know what this


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 145 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 144
   ·1· · was?· It was a stop.
   ·2· · · · · · · · So this traffic officer probably got the
   ·3· · information of the car, whether it be a temporary
   ·4· · tag or prior registration or current insurance, and
   ·5· · then inputted that into the citation, which would
   ·6· · trigger then a previous event.
   ·7· · · · Q.· · · And then going to the next page,
   ·8· · page 36, I understand from having read the content
   ·9· · of the report -- I wanted to kind of ask though --
   10· · so these -- what are these called?· They're just --
   11· · are they cameras around town that capture people's
   12· · license plates?
   13· · · · A.· · · Automatic -- sorry.· Automatic license
   14· · plate readers.· They're at fixed positions.
   15· · · · · · · · A lot of tow trucks actually have
   16· · them on the front.· We have access to those.
   17· · And those get compiled into a database, and I
   18· · believe Fusion Watch, which is a section of our
   19· · department, gets notification if there's a hit on
   20· · the plate, whether it be a stolen vehicle or
   21· · anything like that.
   22· · · · Q.· · · But it's also searchable; correct?
   23· · · · A.· · · It's also searchable, yes.
   24· · · · Q.· · · And then if you can turn to the
   25· · following page, page 37, can you tell me what


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 146 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 145
   ·1· · that is?
   ·2· · · · A.· · · This looks like a PIO, which is the
   ·3· · Office of Public Information.· Their immediate
   ·4· · release referenced the homicide detectives looking
   ·5· · for help.· It's just a one-page memo asking for help
   ·6· · from the community.
   ·7· · · · Q.· · · And then we'll skip ahead a couple of
   ·8· · pages to page 39.
   ·9· · · · A.· · · Okay.
   10· · · · Q.· · · I'm sorry.· If we can go back to 38,
   11· · please.· Sorry.
   12· · · · · · · · Can you tell me what that is?
   13· · · · A.· · · So this was a call for service that
   14· · happened at the area of 3050 South Nellis, where the
   15· · service of the search warrant eventually happened.
   16· · This was a call for service, referenced an
   17· · individual in a white Ford, I believe it was.· And
   18· · he had an AR-15 on his back, and the person
   19· · reporting noted that he was wearing an ankle
   20· · bracelet.
   21· · · · · · · · So this is tracking from Corvell Fisher,
   22· · who was the individual who was tracked on that ankle
   23· · bracelet, and kind of his movements per that
   24· · electronic monitoring system that correlated with
   25· · the events that the person reporting gave to


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 147 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 146
   ·1· · officers.
   ·2· · · · Q.· · · So they were able to track Corvell's
   ·3· · location; correct?
   ·4· · · · A.· · · Yes.
   ·5· · · · Q.· · · And they --
   ·6· · · · A.· · · On that -- sorry.· On that day.· I don't
   ·7· · remember if it had gone dead or if he cut it off at
   ·8· · that point.· But I know at one point it wasn't
   ·9· · showing or something.· But at that day and time,
   10· · yes, it was recording.
   11· · · · Q.· · · Okay.· And then on page 39, you're
   12· · talking about the surveillance requested at
   13· · 4475 Jimmy Durante Boulevard.· And in the center of
   14· · the page you state, "The surveillance objectives on
   15· · the surveillance request were listed as," and then
   16· · you list them off.
   17· · · · · · · · Why did you include that section in your
   18· · report?
   19· · · · A.· · · It was factual.· It was what they were
   20· · identifying they were looking for, for those
   21· · individuals.
   22· · · · Q.· · · Okay.· And then the following page,
   23· · what's that?
   24· · · · A.· · · Two photographs.· One of Ariel Soto.                                     I
   25· · believe she was the registered owner of that vehicle


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 148 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 147
   ·1· · they were looking into.· And an unknown male is the
   ·2· · second photograph with her.· And this is just going
   ·3· · to their surveillance for the days that they were
   ·4· · looking at that Jimmy Durante address.
   ·5· · · · Q.· · · And this is related to the underlying
   ·6· · homicide; correct?
   ·7· · · · A.· · · Correct.
   ·8· · · · Q.· · · Okay.· And then the next page?
   ·9· · · · A.· · · This is a photograph of an unknown male.
   10· · Again, related to the apartment numbers that Soto
   11· · was frequenting.· I'm not sure -- I think this male
   12· · went to the Circle K maybe, without reading it.
   13· · · · · · · · It was just outlining of the photographs
   14· · of the person who they were taking a photo of.
   15· · · · Q.· · · Okay.· And then the next page, page 42.
   16· · · · A.· · · This is individual, again, photographed
   17· · that was frequenting the car or the apartment that
   18· · was frequented by Soto.
   19· · · · Q.· · · This turned out to be somewhat of a
   20· · controversial photo or suspect, didn't it?
   21· · · · A.· · · Yes.
   22· · · · Q.· · · Okay.· And why was that?
   23· · · · A.· · · This individual had a shaved head.                                    I
   24· · have "Unknown Subject" there because there was a
   25· · controversy of is this a male or a female.· It's


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 149 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 148
   ·1· · undetermined from that point from investigators if
   ·2· · that was a male or a female.
   ·3· · · · · · · · There was also a sweatshirt that was in
   ·4· · question that was identical in nature as far as it
   ·5· · being a Puma sweatshirt, hooded sweatshirt.
   ·6· · However, it was a different color than the one that
   ·7· · was worn on the night of the homicide.
   ·8· · · · Q.· · · In your personal opinion, does that look
   ·9· · like a man or a woman?
   10· · · · A.· · · Are you saying as far as this report
   11· · goes?
   12· · · · Q.· · · Yeah, I'm asking for your personal
   13· · opinion.
   14· · · · A.· · · It's a shaved-head individual.· Without
   15· · saying -- it's hard to tell from it.· I can't say
   16· · one way or another if it was a male or a female or
   17· · not.· There's no identifying markers.· You can't
   18· · see.· It's not an exposed shirt.· It's a hooded
   19· · sweatshirt.· It's an individual with a shaved head.
   20· · · · · · · · Could I see an argument for both ways?
   21· · Yes.· But there's no way to definitively -- I
   22· · wouldn't say it's definitively a male.· I wouldn't
   23· · say it's definitively a female.· I would say it's
   24· · unknown is the way I presented it.
   25· · · · Q.· · · And then if you -- if you turn to


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 150 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 149
   ·1· · page 43.
   ·2· · · · A.· · · Okay.
   ·3· · · · Q.· · · And these are just more individuals
   ·4· · that they saw coming and going from the unit;
   ·5· · correct?
   ·6· · · · A.· · · Correct.· And they identified Devonte
   ·7· · Reynolds as one of these individuals, and I don't
   ·8· · know how they identified him as that.· But that's
   ·9· · why he's not pictured as "Unknown Male."· He's
   10· · "Devonte Reynolds."
   11· · · · Q.· · · Okay.· And turning then to page 44,
   12· · there's an outline of a shooting at 3050 South
   13· · Nellis; correct?
   14· · · · A.· · · Correct.
   15· · · · Q.· · · And you talked about that briefly
   16· · before, when we looked over the photo of the
   17· · location of his ankle monitor; correct?
   18· · · · A.· · · These were two separate instances.
   19· · · · Q.· · · Okay.
   20· · · · A.· · · The one on the 12th was where Corvell
   21· · Fisher or a subject described as a black male
   22· · wearing a white T-shirt and black shorts, I believe
   23· · it was, had a rifle over his shoulder or strapped to
   24· · his back, and he had an ankle monitor on.· This is a
   25· · different case from that.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 151 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 150
   ·1· · · · Q.· · · Okay.· And what was this case?
   ·2· · · · A.· · · This was a shooting that took place I
   ·3· · believe over road rage inside that same apartment
   ·4· · complex.· The event happened six days after the
   ·5· · event that you were just speaking of on the 12th
   ·6· · with the rifle over the back.
   ·7· · · · · · · · And this individual, I believe it was in
   ·8· · Wattsel Rembert's car that was recovered later that
   ·9· · was involved in the road rage traffic accident,
   10· · where the individual that was fighting with the
   11· · victim of this shot up the apartment complex.
   12· · Multiple rounds were fired.· I believe in the 20s if
   13· · I had to go off memory.· I can't find it right here.
   14· · · · · · · · But in the back of that car, after a
   15· · search warrant was done of the vehicle, after it was
   16· · determined to be unoccupied, this MP5-style pistol,
   17· · which looks like a rifle but is legally a pistol,
   18· · was recovered in the back.
   19· · · · Q.· · · And so these -- I mean, as we kind of
   20· · talk about these different incidents, not including
   21· · the actual surveillance itself, but as we talk about
   22· · the different incidents and stuff, these are all
   23· · part of, like, public record; correct?· Because
   24· · there would be, like, police reports associated with
   25· · them?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 152 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 151
   ·1· · · · A.· · · Yes.
   ·2· · · · Q.· · · And so now if we can please turn to
   ·3· · page 45.
   ·4· · · · A.· · · Okay.
   ·5· · · · Q.· · · And so who is Janetta Rembert?
   ·6· · · · A.· · · That would be the stepmother of Wattsel
   ·7· · Rembert.· Or some relation.· I don't believe it's
   ·8· · her blood son, but his relation -- she says she was
   ·9· · his mother, but I think there was some confusion on
   10· · that.· I think eventually it was like stepmother or
   11· · something like that.
   12· · · · Q.· · · Did you listen to the actual interview
   13· · itself?
   14· · · · A.· · · I watched the whole thing.· It was a
   15· · video-recorded interview.
   16· · · · Q.· · · And my understanding is that she
   17· · had made some inference at the end that Wattsel
   18· · was saying that the police weren't going to get him.
   19· · · · · · · · I mean, did she come out and say that,
   20· · or did she make some inference about it?
   21· · · · A.· · · I don't recall.
   22· · · · Q.· · · Okay.· And you tell me if I'm right or
   23· · wrong.· If you turn to page 48 -- because you're
   24· · citing the interview with who we presume to be
   25· · Wattsel's stepmother, and she's saying she can


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 153 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                    Page 152
   ·1· · identify him from the video.· You then take the
   ·2· · snapshot of the video again; correct?· And this is
   ·3· · the same snapshot you had earlier in the report;
   ·4· · correct?
   ·5· · · · A.· · · Correct.
   ·6· · · · Q.· · · And then you also then -- I mean, you
   ·7· · interviewed -- I mean, you interviewed Detective --
   ·8· · is it Grimmett or --
   ·9· · · · A.· · · Grimmett.
   10· · · · Q.· · · Yeah, Grimmett.
   11· · · · · · · · You yourself interviewed Detective
   12· · Grimmett; correct?
   13· · · · A.· · · Yes.
   14· · · · Q.· · · Okay.· And so you talked about during
   15· · the CIRT interview, when you pulled this -- this
   16· · is -- this is excerpts from Dr. -- Detective
   17· · Grimmett's actual interview with you?
   18· · · · A.· · · Correct.
   19· · · · Q.· · · And it would appear that part of your
   20· · discussion or cross-examination, for lack of a
   21· · better term, with Detective Grimmett was whether or
   22· · not he felt that Janetta Wattsel [sic] was a
   23· · reliable informant; is that correct?
   24· · · · A.· · · Correct.
   25· · · · Q.· · · And why were you trying to determine


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 154 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 153
   ·1· · that?
   ·2· · · · A.· · · Because we were tasked with breaking
   ·3· · down the homicide investigation of where it was at
   ·4· · that point, and it was important for me to get the
   ·5· · full story of why he believed that individual was a
   ·6· · reliable source.
   ·7· · · · Q.· · · And then you walk through the LVMPD --
   ·8· · so this isn't the SWAT policy, though.· This is --
   ·9· · · · A.· · · Which page?
   10· · · · Q.· · · Sorry.· I'm sorry.· Page 50.
   11· · · · A.· · · Okay.
   12· · · · Q.· · · And this is the actual LVMPD policy
   13· · about relying on informants; correct?
   14· · · · A.· · · Correct.
   15· · · · Q.· · · Okay.· So if you turn to page 51, if we
   16· · go down, it's the -- hold on.· It's this paragraph
   17· · right here (indicating).
   18· · · · A.· · · Okay.
   19· · · · Q.· · · The last full paragraph before the end
   20· · of the page.
   21· · · · · · · · It talks about Janetta and Ty'Shawn, and
   22· · it says "were reliable witnesses coming forward
   23· · without provocation."
   24· · · · · · · · Is this your analysis?
   25· · · · A.· · · I believe that was the analysis of the


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 155 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 154
   ·1· · section.· Not specifically my opinion, but it was
   ·2· · the analysis of the section that they were reliable
   ·3· · witnesses coming forward without provocation.· And
   ·4· · that met the policy and the statutes.
   ·5· · · · Q.· · · Okay.· And so then if we turn to
   ·6· · page 52 --
   ·7· · · · A.· · · Okay.
   ·8· · · · Q.· · · -- it talks about -- this talks about a
   ·9· · surveillance -- what's TASS?
   10· · · · A.· · · TASS is a -- the technical -- again,
   11· · acronyms with our department.· Essentially they do a
   12· · lot of -- they're responsible for the surveillance,
   13· · covert surveillance, with electronic devices.
   14· · · · · · · · So if you needed cameras put up
   15· · somewhere that were either covert or overt, they
   16· · would be the unit to do that.· We don't have access
   17· · to them as detectives just randomly.· You have to go
   18· · through TASS to get that equipment put up, and they
   19· · have procedures on how they are able to do that or
   20· · not do that.
   21· · · · Q.· · · And so is it just putting up cameras, or
   22· · is it also doing surveillance?
   23· · · · A.· · · TASS doesn't do the surveillance
   24· · necessarily.· Those are specialized units within the
   25· · department.· Criminal Intel I believe is what they


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 156 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 155
   ·1· · are.· TASS will just get the equipment in place.
   ·2· · · · Q.· · · But no equipment was put in place
   ·3· · regarding this investigation -- sorry, regarding the
   ·4· · surveillance at 3050 South Nellis; correct?
   ·5· · · · A.· · · Correct.· And -- I'll reserve that.· If
   ·6· · you ask about it, it's more technical jargon.
   ·7· · · · Q.· · · And so then turning the page to page 53,
   ·8· · are these the photos of when the surveillance team
   ·9· · at 3050, for lack of a better term, got burned?· Is
   10· · that how you would say it?
   11· · · · A.· · · Yes.· And that was from their notes from
   12· · the CIS, which is that Criminal Intelligence
   13· · Section, while they were conducting the
   14· · surveillance, that an unknown male was peeking into
   15· · cars, and they felt like that was
   16· · counter-surveillance on their position.
   17· · · · Q.· · · And this was the rough -- this was the
   18· · totality of like an hour and a half of surveillance
   19· · on this entire -- on the South Nellis Boulevard
   20· · unit; correct?
   21· · · · A.· · · I don't remember the time exactly, but
   22· · it's around there.
   23· · · · Q.· · · You have it in your timeline.
   24· · · · · · · · If we go to page --
   25· · · · A.· · · So, yeah, about an hour and a half.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 157 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 156
   ·1· · · · Q.· · · Yeah.
   ·2· · · · A.· · · Yep.
   ·3· · · · Q.· · · And so if you turn to page 54, the very
   ·4· · last sentence.· This is the sentence from the CIRT
   ·5· · report.
   ·6· · · · · · · · "This was the only surveillance
   ·7· · operation conducted at 3050 South Nellis Boulevard,
   ·8· · Apartment 1125.· Wattsel and Fisher were never
   ·9· · identified inside of or around the apartment."
   10· · · · · · · · And that's your synopsis of the outcome
   11· · of the surveillance; correct?
   12· · · · A.· · · Correct.
   13· · · · · · · · THE WITNESS:· Before we get into this
   14· · next section, can I take a quick break?
   15· · · · · · · · MS. MURPHY:· Absolutely.
   16· · · · · · · · THE VIDEOGRAPHER:· Off the record at
   17· · 12:31 p.m.
   18· · · · · · · · (A break was taken.)
   19· · · · · · · · THE VIDEOGRAPHER:· On the record at
   20· · 12:52 p.m.
   21· · BY MS. MURPHY:
   22· · · · Q.· · · And so, Justin, before we took a break,
   23· · I think we were roughly on page 55 -- that seems to
   24· · be the same page you're on -- on the CIRT report.
   25· · · · · · · · And so can you just tell me what


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 158 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 157
   ·1· · this is?
   ·2· · · · A.· · · This is a picture I believe from the
   ·3· · second day of surveillance on the Jimmy Durante
   ·4· · address of two unknown individuals exiting one of
   ·5· · the apartments associated with the vehicle
   ·6· · belonging to Soto.
   ·7· · · · Q.· · · Okay.· And turn the page to page 56.
   ·8· · · · A.· · · Same -- same thing.· Individuals who are
   ·9· · associated with either the vehicle or the apartment,
   10· · that were going in and out of that apartment or
   11· · vehicle.
   12· · · · Q.· · · And the CIRT investigation didn't have a
   13· · problem, other than the potential misidentification
   14· · of the woman, but the CIRT investigation didn't have
   15· · a problem with the amount or -- the amount of
   16· · surveillance that was done on Jimmy Durante;
   17· · correct?
   18· · · · A.· · · Not necessarily.· "Problem" is maybe the
   19· · wrong word.· Obviously having the more surveillance
   20· · the better.
   21· · · · · · · · But what they determined was they had
   22· · sufficient evidence of that vehicle being
   23· · associated to Jimmy Durante because that individual
   24· · was going in and out of the apartment and operating
   25· · the vehicle they believed to be a part of the


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 159 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 158
   ·1· · homicide.
   ·2· · · · · · · · As far as the other address, again,
   ·3· · perfect world, you would like to see -- and I'm not
   ·4· · sure if we've gotten to it yet.· We haven't gone
   ·5· · past it yet.· But the CIS team, Criminal Intel
   ·6· · Section, especially Team 5, I believe, is the team
   ·7· · that is the super-secret team --
   ·8· · · · Q.· · · Is that its official title?
   ·9· · · · A.· · · Not their official title.· But they're
   10· · people who don't even -- they don't associate with
   11· · cops.· They are very, very undercover.· They were
   12· · the team that got burnt on this.
   13· · · · Q.· · · "On this" you mean the 3050; right?
   14· · · · A.· · · On the 3050, correct.
   15· · · · · · · · And when there's -- the way that
   16· · apartment complex was situated, where that door was
   17· · situated, it was extremely difficult to get live
   18· · eyes on that door because of the angles.
   19· · · · · · · · It was also difficult -- not difficult,
   20· · but also borderline impossible, based on TASS's
   21· · requirements when it comes to getting cameras up,
   22· · because of power sources needed to be available.
   23· · · · Q.· · · We're going to get to all that.· Don't
   24· · worry.
   25· · · · A.· · · Okay.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 160 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 159
   ·1· · · · Q.· · · It's in your report.
   ·2· · · · A.· · · Sure.· But I'm going with the --
   ·3· · · · Q.· · · Okay.
   ·4· · · · A.· · · -- surveillance part of it.
   ·5· · · · Q.· · · Okay.
   ·6· · · · A.· · · So could you have done more
   ·7· · surveillance?· I'm not sure.· I'm not -- I'm not
   ·8· · part of that CIS squad.
   ·9· · · · Q.· · · But when you talk about "more," you're
   10· · talking about 3050; right?
   11· · · · A.· · · Correct.
   12· · · · Q.· · · Okay.
   13· · · · A.· · · I'm not sure if that would be something
   14· · that would be reasonable.· Because of the way it's
   15· · angled and because they had just previously -- the
   16· · best team we have on the department just got burned.
   17· · I'm not sure if that would be reasonable enough to
   18· · continue to do that for officer safety purposes, if
   19· · that makes sense --
   20· · · · Q.· · · It does.
   21· · · · A.· · · -- as far as the surveillance goes.
   22· · · · Q.· · · No, I get that.· But regardless, there
   23· · were still a bunch of unknowns; correct?
   24· · · · A.· · · Sure.
   25· · · · Q.· · · That made their decision on the tactics


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 161 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 160
   ·1· · improper, based on the number of unknowns they had;
   ·2· · correct?
   ·3· · · · A.· · · And there are other ways to determine
   ·4· · identities outside of surveillance.· So surveillance
   ·5· · isn't the only key.
   ·6· · · · · · · · So to say there wasn't enough
   ·7· · surveillance for this operation is subjective based
   ·8· · on what the outcome was.· It's not the end-all,
   ·9· · be-all of how we get intelligence of who's living
   10· · where.
   11· · · · Q.· · · But they didn't do the other
   12· · intelligence mechanisms either; correct?
   13· · · · A.· · · I guess we'll get to that when we
   14· · read it.
   15· · · · Q.· · · Correct.
   16· · · · A.· · · But as far as -- not all of them that
   17· · were available to them.
   18· · · · Q.· · · Okay.· And so now if we turn to
   19· · page 57 --
   20· · · · A.· · · Okay.
   21· · · · Q.· · · -- this has to do with the search
   22· · warrant itself.
   23· · · · · · · · And, again, your knowledge of
   24· · completing and filling out search warrants, as you
   25· · testified to earlier, was the foundation for you


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 162 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 161
   ·1· · volunteering to be the CIRT investigator on this
   ·2· · case; correct?
   ·3· · · · A.· · · Correct.
   ·4· · · · Q.· · · Okay.· And in where you are citing --
   ·5· · where you are citing the content of the 3050 South
   ·6· · Nellis Boulevard search warrant, you have several
   ·7· · items that are highlighted and bolded.
   ·8· · · · · · · · Why did you bold those items?
   ·9· · · · A.· · · I think the "Any and all firearms" might
   10· · have been bolded due to them being involved in the
   11· · homicide.
   12· · · · · · · · "Cellular phones" would be something
   13· · that you could track somebody with.
   14· · · · · · · · And the "Clothing" was specifically
   15· · mentioned inside of the statement.
   16· · · · · · · · I'm not sure if those were bolded on the
   17· · actual content.· If they are -- do you have a copy
   18· · of the actual search warrant?· They might have been
   19· · bolded on there.· I might not have bolded them.
   20· · · · Q.· · · I don't -- I'll represent -- I am going
   21· · to try to refresh -- I'll see if I can find the
   22· · actual search warrant.
   23· · · · · · · · But my understanding of why you bolded
   24· · these is because there were issues with the
   25· · descriptions -- the descriptions themselves.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 163 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 162
   ·1· · · · · · · · Like, you go on to say why "Any and all
   ·2· · firearms" is not -- it's improperly vague, the
   ·3· · "Cellular phones" is improperly vague, and the
   ·4· · "Clothing" is improperly vague, based on the
   ·5· · standard of how somebody is supposed to fill out a
   ·6· · search warrant.
   ·7· · · · A.· · · Okay.
   ·8· · · · Q.· · · I'll refresh your recollection and keep
   ·9· · going.
   10· · · · A.· · · Sure.· I just wasn't sure.
   11· · · · Q.· · · No, that's okay.
   12· · · · · · · · And so, like, if you go down right to
   13· · the bottom of the page, like on the last line, last
   14· · paragraph -- or the second-to-last line, right, you
   15· · talk about Thomas -- the murder -- the body -- was a
   16· · small caliber, possibly a .22 or .25 caliber, per
   17· · the IAP and officer's reports.
   18· · · · · · · · So the understanding is the Number 1,
   19· · "Any and all firearms," they actually know what
   20· · caliber firearms they're looking for?
   21· · · · A.· · · Correct.
   22· · · · Q.· · · So in that context, would any -- "Any
   23· · and all firearms" is an improper way to fill out a
   24· · search warrant; correct?
   25· · · · A.· · · So improper?· No.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 164 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 163
   ·1· · · · · · · · I will say this:· Is that these
   ·2· · detectives met the minimum requirements that were
   ·3· · established by policy and by their department
   ·4· · manual.
   ·5· · · · · · · · I will say that I did have several
   ·6· · questions about those vague mentionings of "Any and
   ·7· · all firearms," "Cellular phones," and "Clothing,"
   ·8· · which I would have loved to interview the DA that
   ·9· · approved it and the judge who signed it.· However,
   10· · that wasn't in our purview, being an administrative
   11· · investigation.
   12· · · · · · · · At the end of the day, it met the
   13· · minimum requirements for LVMPD as far as the content
   14· · of the search warrant, and it was signed by a judge
   15· · and a district attorney.
   16· · · · · · · · So as far as arguing the validity of the
   17· · search warrant, we can say that it should have been
   18· · more specific to those items.· And, again, I can't
   19· · inject my personal opinion into this.· But we're
   20· · just pointing out the obvious of what was mentioned
   21· · in those reports, like I mentioned in this report.
   22· · But it was determined that this was minimum
   23· · requirements of LVMPD, and it was signed by a judge
   24· · and signed by a district attorney.
   25· · · · · · · · And my assumption would be that they got


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 165 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 164
   ·1· · the same information, they read the same search
   ·2· · warrants, and were present with the detectives when
   ·3· · those were signed.
   ·4· · · · · · · · So that's -- when we talk about
   ·5· · improper, if it was improper, then I feel like
   ·6· · that's more of a legal standpoint.· But as far as
   ·7· · LVMPD is concerned, they met the minimum
   ·8· · requirements.
   ·9· · · · Q.· · · So just listing off "Any and all
   10· · firearms" meets the requirement of describing with
   11· · particularity the items or things to be considered
   12· · under LVMPD Policy 5/200.01, Section B [sic]?
   13· · · · A.· · · Again, it was hard for us to say that
   14· · was improper when a judge and a DA said it was
   15· · acceptable.
   16· · · · · · · · And I get we're talking about policy
   17· · versus law, but a lot of our policy is constructed
   18· · off of NRS.· So when we're discussing those aspects,
   19· · I wish I could have asked those questions to the DA
   20· · and to the judge, because that would help me with a
   21· · little bit of clarity of had they known that that
   22· · was -- specifically when we talk about the
   23· · sweatshirt and -- later on in the report, and
   24· · firearms.
   25· · · · · · · · Now, I will say that putting "Any and


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 166 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 165
   ·1· · all firearms" is something that is common because
   ·2· · bullets can get degraded in bodies when they go
   ·3· · through the trauma of bullets.· So they can fragment
   ·4· · off.· They can look smaller than they appear.· It's
   ·5· · not uncommon.· So "Any and all firearms" is
   ·6· · something that would be acceptable from, again, that
   ·7· · minimum standard.· Because without the gun
   ·8· · specifically there with you, you can say it's a
   ·9· · smaller caliber, but do we really know?
   10· · · · Q.· · · Well, you describe it as "too vague" in
   11· · here.
   12· · · · A.· · · Correct.· Our -- our unit came through
   13· · as saying "too vague."
   14· · · · · · · · But at the end of the day -- and I
   15· · believe the conclusion reflects this, and correct me
   16· · if I'm wrong -- it seemed to be reasonable on the
   17· · search warrant, if I'm correct.
   18· · · · Q.· · · Okay.
   19· · · · A.· · · So we identified that it is vague.· And
   20· · that's why we interviewed those two detectives.
   21· · · · · · · · And I'd like to determine that real
   22· · quick that that's what the conclusion meant,
   23· · because, again, it has been a second.
   24· · · · Q.· · · Justin, however you want -- that report,
   25· · that's your version, so however you want to flip


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 167 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 166
   ·1· · through it to give your best and most accurate
   ·2· · testimony, please feel free.
   ·3· · · · A.· · · Okay.· So my mistake.· I would like to
   ·4· · strike all that, what I said.· I was giving my
   ·5· · interpretation of that policy as it was written
   ·6· · through legal's aspect as far as being a good
   ·7· · search warrant.
   ·8· · · · · · · · We did say that it was not acceptable.
   ·9· · · · Q.· · · Okay.· No worries.· Listen, what I -- my
   10· · whole -- I'm really not trying to trick you on
   11· · anything.· So however you need to do this to give me
   12· · your best and accurate testimony -- I know I already
   13· · said that, but that's a -- I really want you to do
   14· · that.
   15· · · · A.· · · Sure.· And just to explain.
   16· · · · · · · · Again, team effort.· So looking at
   17· · things, sometimes the -- my recollection of things,
   18· · obviously being a -- somebody who's done search
   19· · warrants was why I had an issue with it being too
   20· · vague.
   21· · · · · · · · However, I guess where I got maybe
   22· · tripped up was is it a good search warrant.
   23· · · · · · · · So yes, it's still a good search
   24· · warrant, based on the fact that it was signed by a
   25· · DA and a judge.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 168 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 167
   ·1· · · · Q.· · · Okay.· And that's fair.
   ·2· · · · · · · · So if we can skip ahead to page 61.· And
   ·3· · the paragraph right over the -- I think this is --
   ·4· · right over the photo.
   ·5· · · · A.· · · Okay.· 61?· I'm sorry.
   ·6· · · · Q.· · · Yeah.· You pull out the statement --
   ·7· · sorry.· You pull out the end of the probable cause
   ·8· · statement provided by Dr. Grimmett.· Open quote,
   ·9· · "One of the males was observed wearing clothing like
   10· · the clothing worn by the shooter, a Puma brand
   11· · sweatshirt with a vertical stripe down both
   12· · sleeves."
   13· · · · A.· · · Correct.
   14· · · · Q.· · · And so you highlight then, this is that
   15· · the -- as Detective Grimmett describes the male,
   16· · this is in fact described as a female in the
   17· · surveillance logs; correct?
   18· · · · A.· · · Correct.
   19· · · · Q.· · · And then the following -- the following
   20· · page, page 62, that's you interviewing -- or that's
   21· · you, yeah, interviewing Detective Grimmett about
   22· · that; correct?
   23· · · · A.· · · I was in the interview.· I'm not sure if
   24· · this was me actually asking the questions.· But,
   25· · yes, I was part of this.· It could be me asking the


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 169 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 168
   ·1· · questions.· But yes.
   ·2· · · · Q.· · · Okay.· Well, sorry.· That's fair.
   ·3· · · · · · · · This is part of the CIRT interview;
   ·4· · correct?
   ·5· · · · A.· · · Yes.
   ·6· · · · Q.· · · Yeah.· And he's essentially justifying
   ·7· · why he felt it could go either way; correct?
   ·8· · · · A.· · · Yeah.
   ·9· · · · Q.· · · Okay.· But as is later discussed within
   10· · the report, the sweatshirt itself is also different?
   11· · · · A.· · · Correct.
   12· · · · Q.· · · And if you turn to page 64, you created
   13· · this side-by-side; correct?
   14· · · · A.· · · Correct.
   15· · · · Q.· · · And what was your purpose in creating
   16· · the side-by-side?
   17· · · · A.· · · To show that the sweatshirts are
   18· · similar, meaning that they are from the same brand,
   19· · the same style, the same everything, except they are
   20· · reverse color-schemed.· Which -- and, again, the
   21· · explanation was something along the line of gang
   22· · members buy multiples of the same shirts in
   23· · different colors was, I believe, their testimony on
   24· · that.
   25· · · · · · · · But to show that we're talking about a


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 170 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 169
   ·1· · specific sweatshirt here did not match the actual
   ·2· · sweatshirt that was inside of the surveillance
   ·3· · photo -- or video, sorry.
   ·4· · · · Q.· · · Correct.· Okay.· Thank you.
   ·5· · · · · · · · And then there's -- I'll represent -- I
   ·6· · don't think we need to go over it.· I'll represent
   ·7· · to you it's pages and pages of Detective Grimmett
   ·8· · fighting with whoever the CIRT interviewer was.
   ·9· · · · A.· · · Probably me.
   10· · · · Q.· · · Probably you.
   11· · · · · · · · And this is described as -- in your
   12· · CIRT report -- sorry, in the CIRT report, on
   13· · page 80 -- sorry, on page 68, it says, "The omitted
   14· · information was exculpatory evidence, and the color
   15· · of the sweatshirt and alleged sex of the unknown
   16· · subject, as observed by surveillance detectives in
   17· · the surveillance logs, should have been added in the
   18· · warrant."
   19· · · · A.· · · Correct.
   20· · · · Q.· · · And was that part -- and I'm sorry,
   21· · there's so many conclusions now, I don't remember
   22· · off the top of my head.
   23· · · · · · · · Was that -- was that something that was
   24· · effected as a recommendation, that they should start
   25· · including exculpatory evidence in the warrant


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 171 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 170
   ·1· · applications?
   ·2· · · · A.· · · I don't know if that was a
   ·3· · recommendation.· I think it was something that
   ·4· · should have been done either way.· I believe it was
   ·5· · in policy.· If not, I can look through there, but
   ·6· · I'm not sure -- again, you talk about the reason why
   ·7· · I took this case is search warrant experience.· And
   ·8· · I can't put my personal of what I would have done on
   ·9· · there because I have to be very objective on what is
   10· · in front of me and why was it done.
   11· · · · · · · · At the end of the day, the
   12· · determination was that color should have been
   13· · added to the warrant because we don't know if the
   14· · judge or the DA had access to the pictures that
   15· · would show it otherwise not.· That was our concern,
   16· · but we couldn't confirm that because we weren't
   17· · allowed to talk to them.
   18· · · · Q.· · · Okay.
   19· · · · A.· · · I'm just trying to find your -- the
   20· · question referenced the --
   21· · · · Q.· · · We can actually put a pin in that and
   22· · come back to it at the end.
   23· · · · A.· · · No, there is.· It's Section B of 9.2,
   24· · "Current training and policy does not mandate
   25· · detectives to include exculpatory evidence when


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 172 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 171
   ·1· · completing a search warrant.· CIRT recommends
   ·2· · verbiage be added to the Search Warrant lesson plan
   ·3· · and Department policy," which I think has been done.
   ·4· · And that was obviously a concern of ours.
   ·5· · · · Q.· · · Okay.· And then if you want to turn to
   ·6· · page 70.· You can skip all the fighting between you
   ·7· · and Detective Grimmett.
   ·8· · · · A.· · · It wasn't necessarily fighting.
   ·9· · · · Q.· · · Intense discussions?
   10· · · · A.· · · Differences -- differences of opinion.
   11· · · · Q.· · · Fair enough.
   12· · · · · · · · So page 70.· So this is the "Search
   13· · Warrant Incident Action Plan"?
   14· · · · A.· · · Correct.
   15· · · · Q.· · · And so this is the -- what we call --
   16· · this is the IAP that we refer to throughout -- I
   17· · mean, this is going to be the next --
   18· · · · A.· · · I believe this is Version 1 of the IAP.
   19· · · · Q.· · · Yeah.· And so, I mean, we can -- I think
   20· · on the IAP -- we'll weave through the report as
   21· · well, but it seems that you're very familiar with
   22· · these issues.· So if you just want to briefly walk
   23· · me through, what were the issues with the IAP?
   24· · · · A.· · · Well, specifically, the IAP had changed,
   25· · and there was no administrative notice to any


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 173 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 172
   ·1· · detectives that it had changed.
   ·2· · · · · · · · One of the people who was responsible
   ·3· · for that change was Lieutenant Johansson, who is on
   ·4· · the search warrant committee, who was one of the
   ·5· · authors or one of the signatures on this page.
   ·6· · · · · · · · So when this got to him to approve it, I
   ·7· · believe from his statement, just off memory, that he
   ·8· · recognized it.· Or maybe it was Captain Cole.
   ·9· · Somebody recognized that it wasn't the new 14-page
   10· · document, which is very similar but just asked for
   11· · more questions to help SWAT make a determination.
   12· · And this was only 11 pages long.
   13· · · · · · · · The reason why this was something,
   14· · 11 versus 14, is there was a reproduction of
   15· · pages after it was denied.· Yeah, so it was
   16· · Captain Cole who said, Please resubmit on the new
   17· · SWAT IAP that was provided to all lieutenants a
   18· · couple weeks ago.
   19· · · · · · · · So it was just him, after he got it as
   20· · the SWAT commander, recognizing that it wasn't the
   21· · new one that was finalized but not pushed through
   22· · the department, just through the lieutenants.
   23· · · · · · · · So when it was returned through, what
   24· · caught our eye, and it was not caught by the
   25· · reviewers of this, was that at one point I believe


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 174 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 173
   ·1· · it was page 7 that was duplicated, but it was page 7
   ·2· · of 11 and then page 7 of 14.
   ·3· · · · · · · · Which, again, if you're reading this on
   ·4· · a phone, on a tablet, you're not looking for page
   ·5· · numbers; you're looking for content.· So I can see
   ·6· · how that was missed.· But then you would have seen
   ·7· · that it was part of the old IAP.
   ·8· · · · · · · · So essentially what they did was, to
   ·9· · save time, they blended the old IAP with the
   10· · current IAP.
   11· · · · Q.· · · So Frankenstein?
   12· · · · A.· · · Frankenstein's monster.
   13· · · · Q.· · · And so that was one of the issues;
   14· · correct?
   15· · · · · · · · Like I said, we'll get to the
   16· · recommendations as well.· But one of the
   17· · recommendations was to provide training to everyone
   18· · on this; correct?
   19· · · · A.· · · Correct.· And that has happened.· We've
   20· · gotten several IAPs since then, which are all on the
   21· · document that was ...
   22· · · · Q.· · · Are you proud of the work that you did
   23· · on this case?
   24· · · · A.· · · In what respect?
   25· · · · Q.· · · Are you proud of the work product?                                    I


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 175 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 174
   ·1· · mean, are you proud of the outcome of it?· Are you
   ·2· · proud of the work product?
   ·3· · · · A.· · · The -- obviously with this being such a
   ·4· · very detailed, long presentation -- 12 hours on the
   ·5· · use-of-force board and tactical review board is
   ·6· · about six hours longer than anyone has ever been
   ·7· · through CIRT -- it was extremely stressful.
   ·8· · · · · · · · So to say that I'm proud is a
   ·9· · double-edged sword, because I try to put my all.
   10· · That's why I'm still here.· I should have left, if I
   11· · was really smart about it, just for my own mental
   12· · well-being.· But I kind of put it aside and I pushed
   13· · through, and I'm glad I pushed through, because I
   14· · really care about this section.· I feel like this
   15· · section is one of the most important pieces of this
   16· · department, to make sure that our department is
   17· · getting better.
   18· · · · · · · · Now, the question is am I proud of
   19· · this report?· There are some things that I wish
   20· · that we would have handled differently as far as
   21· · some of those contentious interviews that you
   22· · mentioned.
   23· · · · · · · · My view from outside of our office of
   24· · people's view on CIRT is usually not very good.· And
   25· · then you hear a lot of the stories or the rumors


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 176 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 175
   ·1· · about this case that circle around about how people
   ·2· · are being treated, which is not the case.
   ·3· · · · · · · · But, again, we have to ask those
   ·4· · tough questions.· So that's stressful for anybody in
   ·5· · our unit.
   ·6· · · · Q.· · · What are the rumors about how people are
   ·7· · being treated?
   ·8· · · · A.· · · Well, you said it yourself, that it
   ·9· · seemed like we were fighting on that interview.
   10· · Which it was a contentious interview because
   11· · Detective Grimmett cares about his job as well.· And
   12· · if somebody is asking you tough questions about your
   13· · performance on that job, sometimes people get
   14· · defensive.
   15· · · · Q.· · · So are there rumors that the officers
   16· · involved in this or the officers leading up to this
   17· · have been treated differently or --
   18· · · · A.· · · No.· No.· And every time I see the guys
   19· · who were involved in this, they're very friendly
   20· · with me.
   21· · · · · · · · It was -- the section that I believe
   22· · CIRT should not have handled was the homicide
   23· · section should have been processed through IA.· If
   24· · there are policy violations that are not related to
   25· · a use of force -- and I get it, that's why we're


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 177 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 176
   ·1· · there, but that whole section should have been
   ·2· · pushed off to IA like we requested.· That should
   ·3· · have been an internal investigations investigation,
   ·4· · and then this should have been just the tactics,
   ·5· · decision-making, and training related to the use of
   ·6· · force and the officer-involved shooting.
   ·7· · · · Q.· · · Okay.
   ·8· · · · A.· · · The fact that we were ordered to do it
   ·9· · otherwise was stressful because it's outside of the
   10· · scope of our investigation for the most part.
   11· · · · · · · · So when you say, Are you proud of this?
   12· · I'm proud of every word that I put on the page.· My
   13· · name is attached to it because I put my everything
   14· · into it.· I'll never say that I gave 90 percent.                                     I
   15· · always give a hundred percent.· So I'm proud of that
   16· · fact.
   17· · · · Q.· · · Are you proud of the changes that this
   18· · report has helped --
   19· · · · A.· · · Absolutely.· I think it's saved lives on
   20· · both sides of the coin.
   21· · · · Q.· · · Okay.· And so we can kind of skip ahead.
   22· · Oh, if we can go to page 80.
   23· · · · · · · · Are you the one creating -- what do you
   24· · call it?· The callout boxes?
   25· · · · A.· · · Where it says "Handgun magazine"?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 178 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 177
   ·1· · · · Q.· · · Yes.· Is this all your handiwork?
   ·2· · · · A.· · · Yes.
   ·3· · · · Q.· · · All right.· And the one on page 80 for
   ·4· · Corvell or -- yeah, CJ.
   ·5· · · · A.· · · Yep.
   ·6· · · · Q.· · · And so this is where they -- in the --
   ·7· · in the -- in the search -- in the IAP, they were
   ·8· · talking about he's seen with a gun.· You actually
   ·9· · circled it.
   10· · · · · · · · That's not technically a gun; that's
   11· · just a magazine.· Correct?
   12· · · · A.· · · "Handgun magazine" is what's pictured
   13· · there.· So, again, dealing in factual -- in the
   14· · factual realm, I can't say for certain that that is
   15· · a gun.· It is the assumption that it is a firearm
   16· · because it is seated in his pocket.· Like, if you
   17· · put a magazine in your pocket and you place it at a
   18· · 90-degree angle, it's going to fall out of your
   19· · pocket.· It's attached to something, and most likely
   20· · it is a gun.· But that picture right there is
   21· · depicting a handgun magazine.
   22· · · · Q.· · · And it seems like you raised -- sorry.
   23· · If we turn to page 82, it seems like you kind of
   24· · raise the issue of whether there should have been
   25· · separate IAPs for the two different locations.· And


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 179 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 178
   ·1· · within that, though, you kind of dismiss that,
   ·2· · saying, like, no, they're saying it should just be
   ·3· · one.
   ·4· · · · A.· · · Who?· I'm on page 82.
   ·5· · · · Q.· · · Yeah, 82.· Sorry.· This is from at the
   ·6· · end of Captain Cole's interview.· You quote him as
   ·7· · saying, "Uh, so moving forward, multiple locations,
   ·8· · separate IAPs for every location."
   ·9· · · · · · · · And then as we go through though, it
   10· · seems like you kind of -- not kind of, but through
   11· · your interviews with other people, they kind of say,
   12· · No, if it's -- if it's one matter, even if it's
   13· · separate locations, it should be one IAP.
   14· · · · A.· · · So that was me asking Captain Cole, who
   15· · was the SWAT commander at the time, if having
   16· · separate IAPs for two different locations, even
   17· · though later it would be beneficial for his section
   18· · specifically.
   19· · · · · · · · So then when he -- I believe I did
   20· · Captain --
   21· · · · Q.· · · Is it Koren?
   22· · · · A.· · · Koren, yes.· He's now Assistant Sheriff
   23· · Koren.
   24· · · · · · · · But yes, Captain Koren was then asked,
   25· · and he -- again, I'm doing all this based on the


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 180 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 179
   ·1· · notion that I know that Captain Cole had told me
   ·2· · that two probably would have been better.· And these
   ·3· · are just their opinions on what they believe based
   ·4· · on their training and experience.
   ·5· · · · · · · · And their answers are their answers.
   ·6· · I mean, Sergeant Scott was on for 33 years, I
   ·7· · think he was, before he retired before this board
   ·8· · went.· Captain Koren has been on longer than me.
   ·9· · He's now a sheriff.· And Captain Cole is a captain
   10· · and SWAT commander.· So people with a lot of
   11· · experience, and I was just relaying their opinions
   12· · on the matter.
   13· · · · Q.· · · And then turning to page 84.· And this
   14· · is where you seem to start discussing alternative
   15· · surveillance methods to -- that could have
   16· · determined who was associated with the South Nellis
   17· · Boulevard apartment?
   18· · · · A.· · · Correct.
   19· · · · Q.· · · And as we discussed before, kind of as
   20· · you went through, you raised other alternative
   21· · surveillance options, but Detective Grimmett had not
   22· · availed himself of any of those; correct?
   23· · · · A.· · · Correct.
   24· · · · Q.· · · And then -- and then this is -- I
   25· · don't know if you remember or not.· I read -- so if


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 181 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 180
   ·1· · we turn to page 90, there seems to be some
   ·2· · controversy about they split up the team to do
   ·3· · surveillance at the same time.· If you read the very
   ·4· · last of it.
   ·5· · · · A.· · · Which?· Where are you looking at?
   ·6· · · · Q.· · · Sorry.· That's fair.
   ·7· · · · · · · · So this is from Detective Solano.
   ·8· · During this interview he was asked if he was
   ·9· · concerned.
   10· · · · · · · · And at the very end he says, "To me, it
   11· · appeared that they were kind" -- "they were
   12· · trying" -- sorry.· Strike it.
   13· · · · · · · · "To me, it appeared that they were kind
   14· · of trying to knock out two birds with one stone over
   15· · here on that day.· I don't know.· They are questions
   16· · better asked for those guys."
   17· · · · · · · · So it seems like there's some discussion
   18· · about that they had split up the surveillance team,
   19· · so when they got burned there wasn't a backup team
   20· · there?
   21· · · · A.· · · So that's not something that is
   22· · commonplace, to have a team fill in if one team gets
   23· · burnt, especially on those -- that team that does
   24· · those high-profile surveillances.· Once you're
   25· · burned -- it's an officer-safety thing -- once you


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 182 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 181
   ·1· · believe you were burned anyway, you're not going to
   ·2· · replace a team with the possibility of now there's
   ·3· · harsh counter-surveillance to where that team could
   ·4· · be in jeopardy of safety, if that makes sense.
   ·5· · · · · · · · Does that answer your question?
   ·6· · · · Q.· · · It did.· But it seems, based on what
   ·7· · Detective Solano is saying, is that -- I mean, he
   ·8· · said, "My question is, Why was their team split up
   ·9· · that day?· They had half their team at Jimmy
   10· · Durante, the other half at 3050 South Nellis."
   11· · · · · · · · "Like I said, in my six years in
   12· · Criminal Intel, that never happened.· It was
   13· · always -- was usually -- 'cause the squad's a large
   14· · squad."
   15· · · · · · · · Do you remember this at all?
   16· · · · A.· · · I do remember the conversation.· When he
   17· · says "large squad," they're like six, I want to say.
   18· · That's not a large squad.
   19· · · · Q.· · · It's the size of your squad.
   20· · · · A.· · · Exactly.· It's definitely not a large
   21· · squad.
   22· · · · · · · · The idea of what I believe happened was
   23· · they probably had a tail vehicle or a chase vehicle.
   24· · In case somebody left the apartment and left in a
   25· · vehicle, one would then go off with that.· So you'd


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 183 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 182
   ·1· · have two detectives and you'd have one still on the
   ·2· · house as an eye.
   ·3· · · · · · · · However, when you're talking about a
   ·4· · one-directional-facing apartment where there's no
   ·5· · back door, you don't need more than two to three
   ·6· · individuals to get surveillance on that.· So I don't
   ·7· · understand why he would say that.· But that was
   ·8· · essentially his answer to the question that I gave
   ·9· · him and his explanation.· I can't speak to why he
   10· · believed that if they did things different six
   11· · years ago.
   12· · · · Q.· · · Okay.· If we turn to page 94, this is
   13· · just a Google Earth photo.
   14· · · · · · · · Did you pull this from Google Earth?
   15· · · · A.· · · Correct, yes.
   16· · · · Q.· · · Did you ever go down to the unit itself?
   17· · · · A.· · · I was down there at one point.
   18· · · · Q.· · · Okay.· Did you take any photos or --
   19· · · · A.· · · No.
   20· · · · Q.· · · What was your -- I probably know the
   21· · answer, but I'm going to ask it anyway.
   22· · · · · · · · What was your purpose in going down to
   23· · the unit?
   24· · · · A.· · · In general, like I said before, the case
   25· · agent has the option to go out night of or day of,


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 184 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 183
   ·1· · of an officer-involved shooting, just to kind of get
   ·2· · an overview of the entirety of the structure.· You
   ·3· · can see enough from Google Earth and all these other
   ·4· · things, but you really can't get a full picture
   ·5· · until you put eyes on it yourself.
   ·6· · · · · · · · Like I said, this wasn't my case
   ·7· · initially, so I was never given the option to go out
   ·8· · there day of.· So I did make a trip over there just
   ·9· · to -- I actually went in the gas station just to see
   10· · how it was positioned actually based on, like, my
   11· · two eyes, when we were talking about the options of
   12· · where to go for TASS and if those were reasonable
   13· · options.
   14· · · · Q.· · · And what were your personal observations
   15· · when you went down there?
   16· · · · A.· · · So not reflective of the report?· Just
   17· · of what I saw from an officer's -- reasonable
   18· · officer's standpoint?
   19· · · · Q.· · · Correct.
   20· · · · A.· · · It was a difficult situation as far as
   21· · surveillance goes.
   22· · · · · · · · I know from previous operations I've
   23· · been a part of when I was not in CIRT that you would
   24· · need either permission or a court order to affix
   25· · your cameras to a business, which would be the gas


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 185 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 184
   ·1· · station there.· That can get kind of dicey if there
   ·2· · are friendlies in there.· You don't want to alert a
   ·3· · potential homicide investigation of -- that they're
   ·4· · getting eyes on.· Especially when you don't have
   ·5· · them completely locked up of where they're at.· If
   ·6· · they leave, then you have no other record of where
   ·7· · they're at.· That becomes a problem.
   ·8· · · · · · · · I thought about the light pole there
   ·9· · because there's power at the light pole, but in
   10· · Clark County they run on intermittent power.· So
   11· · they actually don't have live power to the actual
   12· · power unit until it's nighttime.· So you would have
   13· · power, but only for nighttime surveillance on that
   14· · camera.· Which then you'd have to explain the lapses
   15· · for, you know, 12 to 13 hours of no surveillance on
   16· · that.
   17· · · · · · · · And still, even if you have a camera on
   18· · that, you're facing windows.· You still don't have a
   19· · look at the front door or the parking lot.· It
   20· · becomes very difficult to get actual video
   21· · surveillance of at where they were in 2022.
   22· · · · Q.· · · And the next five or six pages talks
   23· · about Major Violators, but we've already covered
   24· · that.
   25· · · · · · · · So on page 98, it's really SWAT who


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 186 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 185
   ·1· · dictates the way that -- they're the ones who decide
   ·2· · how the warrant is served; correct?
   ·3· · · · A.· · · Correct.· I believe one of the quotes in
   ·4· · here was a specialized unit is not going to dictate
   ·5· · my tactics.· I forgot who said that, but it was an
   ·6· · operator or -- the information that they get from
   ·7· · the IAP is supposed to give you an idea of all the
   ·8· · threats and let you place yourself into the
   ·9· · different boxes that you have as far as your policy
   10· · and procedures goes.
   11· · · · Q.· · · Okay.· So -- and I guess we haven't
   12· · talked about that.
   13· · · · · · · · So that's really the purpose of the IAP
   14· · then?
   15· · · · A.· · · Yes.· To give a detailed synopsis of
   16· · what you're looking for, what your threats are.
   17· · · · · · · · In this case, the apartment was
   18· · identified to Wattsel and Fisher.· That's all the
   19· · operators have to work on.· They're not going to go
   20· · back and fact-check that.· They're not going to go
   21· · do their own investigation.· That is going to be
   22· · information that is known to the SWAT operators.
   23· · · · · · · · They're looking for things like
   24· · firearms.· They're looking for any mentions of
   25· · counter-surveillance, like cameras, bars on the


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 187 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 186
   ·1· · window, things like that.
   ·2· · · · Q.· · · Okay.· And then now turning to
   ·3· · page 101, here it talks about the change of the
   ·4· · exigency box.
   ·5· · · · · · · · Because as we go through these different
   ·6· · iterations, they not just incorporated some new
   ·7· · pages in, but they also changed the exigency box;
   ·8· · correct?
   ·9· · · · A.· · · Uh-huh.· Correct.
   10· · · · Q.· · · And, again -- well, not again, but
   11· · there's no re-signing of the IAP; it's just the
   12· · same signature page attached again and again;
   13· · correct?
   14· · · · A.· · · Correct.
   15· · · · Q.· · · And there's no context under which that
   16· · complies with LVMPD policy; correct?
   17· · · · A.· · · So the -- well, can you rephrase?· The
   18· · context of?
   19· · · · Q.· · · LVMPD policy doesn't have -- LVMPD
   20· · policy doesn't allow -- there's nothing in LVMPD
   21· · policy that would enable, where a form has to be
   22· · signed by certain individuals, to just reuse the
   23· · signature page again and again; correct?
   24· · · · A.· · · Correct.· There's nothing there that
   25· · says that that is either acceptable or not


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 188 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 187
   ·1· · acceptable.
   ·2· · · · Q.· · · Okay.· In fact, Captain Cole defended
   ·3· · that position; correct?
   ·4· · · · A.· · · I believe so.· Can you tell me what page
   ·5· · that was on, where he -- a lot of these interviews
   ·6· · kind of blend together in my head a bit.
   ·7· · · · · · · · Page 104?
   ·8· · · · Q.· · · Correct.
   ·9· · · · A.· · · So yeah.· Based on his conversations
   10· · with Captain Koren and Lieutenant Johansson, and he
   11· · believed they were legitimate signed documents even
   12· · though they were from a previous document.
   13· · · · · · · · And I guess one of the caveats to that
   14· · would be the fact that Captain Koren was on COVID-19
   15· · and couldn't physically sign the new pages per, I
   16· · guess, our policy.· I think we implemented a policy
   17· · of -- contact policy when COVID was going around
   18· · that said that he couldn't have any contact with
   19· · individuals.· And we didn't have any documentation
   20· · for electronic signatures.
   21· · · · Q.· · · That's since been implemented though;
   22· · correct?
   23· · · · A.· · · I believe so.
   24· · · · Q.· · · Okay.· Is there not, like -- if somebody
   25· · is out, like if somebody needs to sign one of these


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 189 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 188
   ·1· · reports is out for whatever reason, don't they have,
   ·2· · like, a backup person to sign it?
   ·3· · · · A.· · · You'd have to -- that might be more of
   ·4· · a -- like captain-to-captain thing.· That's not
   ·5· · something that's set in policy.
   ·6· · · · · · · · I know that there's coverage that
   ·7· · happens between captains, lieutenants in different
   ·8· · sections, but that's a little bit over my purview,
   ·9· · as far as covering for each other and assignments on
   10· · who's covering.
   11· · · · · · · · If the SWAT commander and the lieutenant
   12· · who is covering homicide made that determination
   13· · that they were okay with the signatures, and in this
   14· · instance that was their decision -- again, we made
   15· · that something that we changed to make sure that
   16· · doesn't happen like that again.· Doesn't mean it was
   17· · acceptable or unacceptable, but it just means we
   18· · needed to fix that problem.
   19· · · · · · · · Because at the end of the day I don't
   20· · think that by him saying it was a legitimate
   21· · signature made the document illegitimate.· He was
   22· · saying that that was still their signature, and it
   23· · was a legitimate document based on the fact he
   24· · talked to them, if I recall that.
   25· · · · Q.· · · And then SWAT just goes by, to kind of


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 190 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 189
   ·1· · do a quick -- I mean, they do their own
   ·2· · recognizance, but it's pretty brief; correct?
   ·3· · · · A.· · · It's not for people.· It's for
   ·4· · structure.· So they need to know if they can fit
   ·5· · armor back there.· They need to know if there's any
   ·6· · counter-surveillance or countermeasures that are a
   ·7· · part of that door.· Which in this case they ended up
   ·8· · missing because there were individuals that were
   ·9· · counter-surveilling or just hanging outside.
   10· · · · Q.· · · Well, they didn't -- okay.
   11· · · · A.· · · But the -- their surveillance is more
   12· · along the lines of making sure -- did you need me
   13· · to stop?
   14· · · · Q.· · · No.
   15· · · · A.· · · Sorry.
   16· · · · · · · · Their surveillance was to make sure that
   17· · they could -- where they were going to enter from;
   18· · where they're going to put their Sierra units, which
   19· · are snipers; if they were going to deploy snipers or
   20· · if they were going to be standing by as observers.
   21· · · · · · · · One of those things to look for was a
   22· · brass wrap, which in this case, like I said, was not
   23· · noted because the door was open the entire time.
   24· · And had Officer Hoskins, who was the forward
   25· · observer on that surveillance operation, stopped and


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 191 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 190
   ·1· · checked that, they would have been blown and
   ·2· · potentially he would have been in a compromising
   ·3· · situation with three suspects.
   ·4· · · · Q.· · · Okay.
   ·5· · · · A.· · · Also operating on the fact that to their
   ·6· · knowledge these -- anybody who was there is a
   ·7· · possible armed homicide suspect.· So he has no body
   ·8· · armor.· He's dressed in basketball shorts and a
   ·9· · T-shirt.
   10· · · · Q.· · · All right.· So then we'll skip ahead
   11· · to page 110, where it starts discussing "SWAT Makes
   12· · a Plan."
   13· · · · · · · · Do you come up with these headings?
   14· · · · A.· · · I do.
   15· · · · Q.· · · Okay.· And so this is all -- sorry.· If
   16· · we turn to page 111, this is all in italics, so this
   17· · is all quoted -- this is all quoting from the SWAT
   18· · Section Manual; correct?
   19· · · · A.· · · Correct.
   20· · · · Q.· · · I noticed in here -- was there any part
   21· · of the SWAT Section Manual that gave any kind of
   22· · training or outline to parameters of "knock and
   23· · announce"?
   24· · · · A.· · · I can't recall.· I feel like there was a
   25· · section on there.· But we were specifically dealing


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 192 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 191
   ·1· · with the CET because that's what they chose.
   ·2· · · · · · · · I do believe there was an aspect on that
   ·3· · iteration of "knock and announce," but the CET was
   ·4· · the method that they chose on that, so that's what
   ·5· · we focused on.
   ·6· · · · Q.· · · Okay.· And so just for -- it's -- just
   ·7· · for clarity of the record, we've got two different
   ·8· · types of entrance in this case.
   ·9· · · · · · · · We've got what's called the CET, which
   10· · is the controlled entry tactic, or the SACO,
   11· · S-A-C-O, which is the "surround and callout";
   12· · correct?
   13· · · · A.· · · Correct.
   14· · · · Q.· · · Very briefly, tell us what's the
   15· · difference between a CET and a SACO.
   16· · · · A.· · · Well, a SACO is exactly what it is.
   17· · It's "surround and callout."· You surround the -- in
   18· · this case the apartment, all of the exits that you
   19· · could get.· A lot of times you'll do evacuations at
   20· · that point.· That way this is being treated as a
   21· · barricade until that individual comes out of the
   22· · apartment.· And then you call that person out to
   23· · whatever unit you have, whether it be an armored
   24· · vehicle, operators with tactical shields for cover.
   25· · They call them out and secure the residence after it


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 193 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 192
   ·1· · is confirmed all individuals are out.
   ·2· · · · Q.· · · Okay.· And looking down at the last
   ·3· · passage from the SWAT manual that you quoted here,
   ·4· · it said, "When utilizing a CET, the team leader will
   ·5· · ensure that the associated 'Knock and Announce'
   ·6· · tactic allows for a 'reasonable amount of time'
   ·7· · based upon the circumstances of the warrant."
   ·8· · · · · · · · Then it cites Wilson versus Arkansas at
   ·9· · 1995, USSC.
   10· · · · · · · · So that's directly from the SWAT manual;
   11· · correct?
   12· · · · A.· · · Correct.
   13· · · · Q.· · · But earlier it says the purpose of the
   14· · CET is "meant to surprise and overwhelm the
   15· · suspects"; correct?
   16· · · · A.· · · Correct.· And, yes, I acknowledge that
   17· · that is a direct contradiction.
   18· · · · Q.· · · And so turning to page 112, another
   19· · section that you pulled out of the "no knock"
   20· · search warrant -- sorry.· Another section that
   21· · you pulled out of the LVMPD SWAT Section Manual on
   22· · "No Knock" states, "No-knock search warrants will
   23· · only be authorized for felony offenses that involve
   24· · a significant and imminent threat to public safety
   25· · and will not be used for the preservation of


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 194 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 193
   ·1· · evidence."
   ·2· · · · · · · · As we sit here today, at the time that
   ·3· · this warrant was served, this was for property only;
   ·4· · correct?
   ·5· · · · A.· · · Correct.
   ·6· · · · Q.· · · And is that preservation of evidence?
   ·7· · · · A.· · · I'm sorry.· What's the question?
   ·8· · · · Q.· · · So for property only, that means, like,
   ·9· · you're seeking evidence; right?
   10· · · · A.· · · Correct.
   11· · · · Q.· · · Okay.· And as we sit here -- sorry.
   12· · · · · · · · As we sit here today, if the policy is
   13· · that a "no knock" warrant will not be used for a
   14· · property-only search warrant, they could not have
   15· · obtained a "no knock" warrant for this search
   16· · warrant; correct?
   17· · · · A.· · · Correct.· And they did not get a
   18· · "no knock" warrant.· They did not receive that.
   19· · · · Q.· · · Right.· But if it was suggested that
   20· · they ought to have as an alternative, that's not a
   21· · viable alternative; correct?
   22· · · · A.· · · No.· Unless you have the body of the
   23· · individual on that search warrant.
   24· · · · · · · · An alternative to that would be if there
   25· · was probable cause to arrest Wattsel or Fisher for


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 195 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 194
   ·1· · that homicide and you had those arrest warrants in
   ·2· · hand.
   ·3· · · · · · · · The difference on this would be they
   ·4· · had an arrest warrant on hand for the gang case
   ·5· · that we mentioned previously for Corvell Fisher and
   ·6· · Wattsel -- sorry, Wattsel Rembert with that
   ·7· · MP5-style pistol.
   ·8· · · · Q.· · · But not for the search warrant for the
   ·9· · property related to the homicide; correct?
   10· · · · A.· · · Correct.· So they had -- they had a -- I
   11· · guess the distinction would be they told the SWAT
   12· · that there was an arrest warrant for Wattsel -- and
   13· · I believe that was in the IAP -- for the gang case.
   14· · So there was a body warrant for him.· However, it
   15· · was not for the same case that they were referencing
   16· · for the homicide.
   17· · · · Q.· · · How often are "no knock" warrants
   18· · issued?
   19· · · · A.· · · I can't remember any since I've been up
   20· · at CIRT.· And I've never been a part of one in my
   21· · operation.
   22· · · · Q.· · · Okay.· So it's fair to say that they're
   23· · fairly uncommon; is that correct?
   24· · · · A.· · · That's correct.
   25· · · · Q.· · · And so, Justin, if we turn then to


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 196 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 195
   ·1· · page 113.
   ·2· · · · · · · · And is this another Google Earth?
   ·3· · · · A.· · · This is.
   ·4· · · · Q.· · · Okay.· And what is this a Google Earth
   ·5· · image of?
   ·6· · · · A.· · · That would be the apartment complex of
   ·7· · 3050 South Nellis Boulevard.· And I specifically
   ·8· · have highlighted with an arrow Apartment 1125, which
   ·9· · is on the northwest corner of that building that is
   10· · centered in the photograph.
   11· · · · Q.· · · Okay.· And this was -- is this -- is
   12· · this to kind of depict -- because, you know, we
   13· · talked -- there's so much discussed in the -- in the
   14· · interviews from the different officers that it's
   15· · this kind of weird angle; is that correct?
   16· · · · A.· · · Yes.· It's very oddly placed into that
   17· · piece of property where I don't understand why
   18· · they would do it at an angle like that just
   19· · practically, which allows no room for the size of
   20· · the BearCats, the armored vehicles that LVMPD has,
   21· · to go through there.· Practically you don't have the
   22· · room to fit those armored vehicles through those
   23· · openings.
   24· · · · Q.· · · Okay.· And so that was part of the
   25· · foundation of the decision to do a CET instead of a


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 197 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 196
   ·1· · SACO; correct?
   ·2· · · · A.· · · That was Lieutenant O'Daniel's
   ·3· · explanation.
   ·4· · · · Q.· · · Okay.· But as we sit here today, with a
   ·5· · property-only search warrant, they would not get
   ·6· · authorization to do a CET; correct?
   ·7· · · · A.· · · Correct.· But we don't do CETs anymore,
   ·8· · per our recommendation.
   ·9· · · · Q.· · · They don't do them at all?
   10· · · · A.· · · No.· Now -- and, again, I'm going off
   11· · memory, but I believe we went to a "knock and
   12· · announce" and a surround and -- like a hold.
   13· · · · · · · · Essentially what it is is you make entry
   14· · to the structure.· However, you hold, and there's a
   15· · viable area of entry.· You can then move your team
   16· · or robots through at a slower pace to clear the
   17· · residence of any people or threats and subsequently
   18· · move through the process.
   19· · · · · · · · I think CETs are only used now for
   20· · crisis entries or "no knock" warrants, as part of
   21· · our recommendation.
   22· · · · Q.· · · Okay.· Thank you.
   23· · · · · · · · And so this -- okay.
   24· · · · A.· · · "Breach and hold."
   25· · · · Q.· · · "Breach and hold"?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 198 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 197
   ·1· · · · A.· · · "Breach and hold" is what it's called.
   ·2· · · · Q.· · · And so how would -- and so if you can
   ·3· · kind of -- because I think I understand what you
   ·4· · mean, but if you can kind of walk me through.· How
   ·5· · would a "breach and hold" -- let's say they're doing
   ·6· · a "breach and hold" on this unit today.· Right?
   ·7· · They're going to go serve this -- whenever --
   ·8· · tonight.
   ·9· · · · · · · · How would the "breach and hold" --
   10· · looking at -- I don't know if this is a good use
   11· · of this, but how would the "breach and hold"
   12· · look now?
   13· · · · A.· · · It would be very similar to this,
   14· · without the number of officers.· You'd either have a
   15· · water charge on the door, and you would blow that
   16· · door after there's already been announcements.· You
   17· · would give the person -- essentially it would start
   18· · as a "surround and callout," and then it would move
   19· · to a "breach and hold."
   20· · · · · · · · So if there was either no communication
   21· · with a potential suspect in there, whether they
   22· · escaped before we were able to get a perimeter or
   23· · they're just not responding -- sometimes this
   24· · happens on individuals who are barricaded and end up
   25· · committing suicide, where obviously we're not going


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 199 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 198
   ·1· · to have communication with somebody who shot
   ·2· · themselves.
   ·3· · · · · · · · So when you "breach and hold," you
   ·4· · breach the door, whether it be manual or with a
   ·5· · water charge, and then it's more announcements to
   ·6· · try to get that person to come to the door
   ·7· · peacefully.
   ·8· · · · · · · · If there's no communication and there is
   ·9· · believed to be the subject's down or not in there,
   10· · then there's slow, methodical clearing with either
   11· · operators or some type of drone, whether it be
   12· · robots -- I think we have like a robot dog now --
   13· · and aerial drones that can maneuver inside of
   14· · apartments to get a visual of the area.
   15· · · · · · · · And then if it's determined to be clear,
   16· · the operators will slow and methodically clear the
   17· · apartment or house or whatever structure.
   18· · · · · · · · And that is, again, off of memory.
   19· · That's not citing the new SWAT manual that was
   20· · changed after this.· That is my interpretation as
   21· · Justin Roth as he sits in front of you from just
   22· · memory.
   23· · · · Q.· · · I get it.· But what I can rely on,
   24· · Justin, is that the policy -- is the policy was
   25· · changed as a result of this incident; correct?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 200 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 199
   ·1· · · · A.· · · The manual was changed.
   ·2· · · · Q.· · · Sorry.· The manual was changed?
   ·3· · · · A.· · · Correct.
   ·4· · · · Q.· · · And then kind of going on the next few
   ·5· · pages, you talk about there was a -- there was a
   ·6· · slight modification of the language of the policy
   ·7· · between -- I think it was 2020 and 2021.
   ·8· · · · A.· · · '21 and '22, I believe.
   ·9· · · · Q.· · · Okay.· And that was the inclusion of the
   10· · word -- what was that -- "Using a controlled entry
   11· · tactic for the sole purpose of recovering narcotics
   12· · or property will never be considered as an
   13· · acceptable practice."
   14· · · · A.· · · What page are you on?
   15· · · · Q.· · · I'm sorry.· Page 116.· It's the last
   16· · sentence in the first full paragraph at the top of
   17· · the page.
   18· · · · A.· · · Okay.· I see it.
   19· · · · Q.· · · That was the language that was -- that
   20· · was changed?
   21· · · · A.· · · Correct.
   22· · · · Q.· · · That wasn't the one that was in force at
   23· · the time of this incident.
   24· · · · · · · · And then if we -- and so there was a
   25· · minor change; correct?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 201 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 200
   ·1· · · · A.· · · Yes.
   ·2· · · · Q.· · · I don't think it alleviated any of the
   ·3· · confusion, did it?
   ·4· · · · A.· · · What do you mean, the "confusion"
   ·5· · specifically?
   ·6· · · · · · · · I'm just trying to get on the same page.
   ·7· · · · Q.· · · Correct.
   ·8· · · · A.· · · Did the word "never" being taken out
   ·9· · alleviate confusion?
   10· · · · Q.· · · So if you -- it's from Lieutenant
   11· · O'Daniel's email that she wrote.· It's saying --
   12· · and this is midway through -- "Now that the
   13· · investigation is concluded, we will make changes
   14· · to SOP and ensure there is clarity with the
   15· · explanations so that there is no misrepresentations
   16· · to outside entity and internal players.· Attached is
   17· · some of the recommended changes and the
   18· · clarifications that will be added to SOP."
   19· · · · A.· · · Okay.
   20· · · · Q.· · · And ultimately the recommendations --
   21· · according to what you have in this report, the
   22· · recommendation was adopted?
   23· · · · A.· · · Correct.
   24· · · · Q.· · · Okay.· There does seem to be -- if we
   25· · then turn to page 117.· Because it does seem that


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 202 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 201
   ·1· · Deputy Chief Larkin was not aware of the change?
   ·2· · · · A.· · · That was their statement, yes.· And
   ·3· · there was no -- there was no checks and balances put
   ·4· · in place electronically to do that.
   ·5· · · · · · · · As we were in the scenario we were in, I
   ·6· · want to say -- I forget when this interview took
   ·7· · place, but it had to be after August, I'd say maybe
   ·8· · September, October -- we were implementing a new
   ·9· · policy manual, virtual policy manual.· Any changes
   10· · that would be done would have to be approved with
   11· · electronic signatures.· And this is, of course,
   12· · after the fact.
   13· · · · · · · · So any changes now that are done through
   14· · our department, whether it be a small change to a
   15· · word or two, has to be done through -- I think it's
   16· · called PowerDMS.· And that information -- so that
   17· · wasn't done at the time, so we had no way to know if
   18· · that was the case.· But that was her statement.
   19· · · · Q.· · · On 118 we start talking about the NFDDs,
   20· · which is the noise/flash diversionary devices?
   21· · · · A.· · · Correct.
   22· · · · Q.· · · And there were -- do you recall which
   23· · NFDDs were used on this warrant?
   24· · · · A.· · · Yes.· It was a 9-bang, a handheld
   25· · grenade essentially.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 203 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 202
   ·1· · · · · · · · It's not a grenade in the fact of it has
   ·2· · explosives that will injure.· It's designed not to
   ·3· · injure or fragment.· It's designed to have a loud
   ·4· · noise and loud flashes.
   ·5· · · · · · · · And then a stun stick, which is
   ·6· · essentially the same thing; however, it's on a pole
   ·7· · that is inserted into a house and is designed to
   ·8· · disorient individuals inside of a room.
   ·9· · · · Q.· · · And so if we can just quickly look at
   10· · the layout of the apartment, 1125.
   11· · · · A.· · · Yep.
   12· · · · Q.· · · If we look at this area right here,
   13· · you've got this large -- you've got this kind of
   14· · oval, and that represents Mr. Williams; correct?
   15· · · · A.· · · Correct.
   16· · · · Q.· · · Okay.· Do you want to -- if you can, for
   17· · the camera --
   18· · · · A.· · · Point to it?
   19· · · · Q.· · · Yes, please.
   20· · · · A.· · · Right here (indicating).
   21· · · · Q.· · · Over here to the side we have
   22· · Officer Rothenburg, and he was the one that
   23· · inserted the -- no?
   24· · · · A.· · · No.· Officer Bertuccini did, who is the
   25· · badge that is directly north of his position, on the


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 204 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 203
   ·1· · exterior.
   ·2· · · · Q.· · · Okay.· So Officer Rothenburg held the
   ·3· · shield?
   ·4· · · · A.· · · Correct.
   ·5· · · · Q.· · · And then Officer Bertuccini is the one
   ·6· · that inserted the stick?
   ·7· · · · A.· · · Correct.
   ·8· · · · Q.· · · And then looking at the diagram, the
   ·9· · window is right next to the sofa that Mr. Williams
   10· · was on; right?
   11· · · · A.· · · Correct.
   12· · · · Q.· · · Okay.· And just -- we talked about it
   13· · briefly in the beginning, but the stick was inserted
   14· · through the window; correct?
   15· · · · A.· · · Yes, it was.
   16· · · · Q.· · · On page 119 you quote the Section 11.01,
   17· · NFDD.· You again quote from the SWAT Section Manual,
   18· · and it reads -- this is your quotation --
   19· · "Diversionary devices are designed to gain
   20· · compliance, distract, or disorient an individual."
   21· · · · · · · · And that's the purpose; correct?
   22· · · · A.· · · Correct.
   23· · · · Q.· · · And so then if we then go to page 120,
   24· · again you're quoting from the SWAT Section Manual.
   25· · And I'll just read it to you.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 205 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                    Page 204
   ·1· · · · · · · · "Prior to deploying NFDDs, personnel
   ·2· · shall consider available intelligence information
   ·3· · and circumstances.· This intelligence information
   ·4· · should include the presence of children, elderly
   ·5· · persons, innocent individuals, and the risk of
   ·6· · injury occurring to those not involved in the
   ·7· · arrest."
   ·8· · · · · · · · And so as we sit -- one of the facts
   ·9· · that you outlined in -- that was outlined in the
   10· · CIRT report is that when Lieutenant O'Daniel
   11· · confirmed or authorized the request for this,
   12· · they had not ruled out presence of children; they
   13· · had not ruled out presence of elderly person; they
   14· · had not ruled out presence of innocent individuals;
   15· · correct?
   16· · · · A.· · · Correct.
   17· · · · Q.· · · This was, in fact, qualified as a
   18· · flophouse, so it was known that there was people
   19· · coming and going; correct?
   20· · · · A.· · · Correct.
   21· · · · Q.· · · So then the last paragraph on page 120,
   22· · if you -- it states, "Based on the facts, the SWAT
   23· · Team did not have actionable intelligence to
   24· · consider the use of any NFDD due to the fact that
   25· · there was only 90 minutes of surveillance completed


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 206 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 205
   ·1· · where only one subject was observed."
   ·2· · · · · · · · And so that is -- that is a part of
   ·3· · later the CIRT conclusion; correct?
   ·4· · · · A.· · · That is a part of the CIRT conclusion,
   ·5· · yes.· Specifically for Lieutenant O'Daniel's use of
   ·6· · discretion.
   ·7· · · · Q.· · · And then if you want to turn the page
   ·8· · to 123.
   ·9· · · · A.· · · Okay.
   10· · · · Q.· · · And the next few pages, what are
   11· · these -- what are these pictures of?
   12· · · · A.· · · This is a picture of Officer Hancock's
   13· · shock lock.
   14· · · · · · · · A shock lock is a device that is used
   15· · for defeating dead bolts or any type of locking
   16· · mechanism.· Essentially pushed up to the door and
   17· · fired, and it is a non-fragmenting round -- or a
   18· · fragmenting round, I believe -- minimal amount of
   19· · fragmentation is what is designed to penetrate the
   20· · locking mechanism.
   21· · · · Q.· · · And if we turn to page 124.
   22· · · · A.· · · Back?
   23· · · · Q.· · · Yes, please.· Sorry.
   24· · · · A.· · · I am without pages 123 and 124.
   25· · · · Q.· · · I can't give you 123, but I'll give you


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 207 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 206
   ·1· · my 124.· And if you want to read that highlighted
   ·2· · portion.
   ·3· · · · A.· · · Sure.· Out loud?
   ·4· · · · Q.· · · Sure.· Yes, please.
   ·5· · · · A.· · · "Multiple SWAT operators remembered
   ·6· · hearing Detective Grimmett brief the group that
   ·7· · there was probable cause to arrest Wattsel.· Some
   ·8· · SWAT operators perceived this statement to mean
   ·9· · they had probable cause for a homicide.· However,
   10· · Detective Grimmett clarified that he meant there was
   11· · probable cause to arrest Wattsel from a shooting
   12· · being investigated by GVB" -- which is the Gang Vice
   13· · Bureau -- "detectives."
   14· · · · Q.· · · When you say that he clarified, you
   15· · mean that he clarified that later to the CIRT;
   16· · correct?
   17· · · · A.· · · Correct.
   18· · · · Q.· · · Okay.· And then if you turn to page 128,
   19· · could you please -- it starts the discussion here,
   20· · but can you please explain to me the issue with the
   21· · amount of training Sergeant Backman had received?
   22· · · · A.· · · So that was essentially the operators --
   23· · in the section of the manual there is a lesson plan,
   24· · essentially, of how to indoctrinate new SWAT
   25· · operators and SWAT supervisors.· And part of that is


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 208 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 207
   ·1· · to learn in training scenarios and also be a part of
   ·2· · different positions within the stack during live
   ·3· · operations.
   ·4· · · · · · · · Since then, I believe that has been
   ·5· · changed to include more static training prior to
   ·6· · being involved in live action when you are
   ·7· · relatively new.
   ·8· · · · · · · · I'm not sure how that -- how that goes
   ·9· · through with operators who have tested for sergeant,
   10· · having already been operators on SWAT.· I can't
   11· · speak to their manual of how it reads, but I know it
   12· · was changed to where there was more time of static
   13· · training.
   14· · · · Q.· · · But to confirm, at the time that
   15· · Sergeant Backman was in charge of this search
   16· · warrant, of executing this search warrant, he had
   17· · not completed SWAT school; correct?
   18· · · · A.· · · I believe he had not completed SWAT
   19· · school.
   20· · · · Q.· · · Yeah, sorry.· He hadn't attended it at
   21· · all; correct?
   22· · · · A.· · · Yes.
   23· · · · Q.· · · If we can please turn to page 133.
   24· · · · · · · · So you are citing -- I believe that
   25· · you're citing directly from the case United States


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 209 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 208
   ·1· · v. Banks here; is that correct?
   ·2· · · · A.· · · The second paragraph down?
   ·3· · · · Q.· · · Yes.· I'm sorry.· Yes.
   ·4· · · · A.· · · Yes.
   ·5· · · · Q.· · · Okay.· And one of the things that you
   ·6· · included in this was the discussion of exigency in
   ·7· · terms of entering after knocking.· And in the
   ·8· · language that you included from the case
   ·9· · United States versus Banks it states, "Once the
   10· · exigency had matured, the officers were not bound to
   11· · learn anything more or wait any longer before
   12· · entering, even though the entry entailed some harm
   13· · to the building."
   14· · · · · · · · Now, this case dealt with the exigency
   15· · involved in destroying cocaine; correct?
   16· · · · A.· · · I believe so.· I'm familiar with the
   17· · case, but I'm not familiar with the intricacies in
   18· · the case.· However, I was utilizing it for purposes
   19· · of entry time and reference points for that and
   20· · comparables.· I didn't dig too deep into the actual
   21· · cases themselves, if that answers your question.
   22· · · · Q.· · · These cases were more than likely
   23· · provided by Mr. Bandiero; correct?
   24· · · · A.· · · Yes.
   25· · · · Q.· · · And so if we go then to page 134,


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 210 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 209
   ·1· · there's also a section, yeah -- last sentence.· "The
   ·2· · Supreme Court has also held that a 15- to 20-second
   ·3· · wait after police officers announced their presence
   ·4· · was reasonable under the Fourth Amendment and
   ·5· · Section 3109."
   ·6· · · · · · · · So as we talked about it at the very
   ·7· · beginning of the -- of the deposition, the amount of
   ·8· · time that you have counted the seconds from when
   ·9· · they start -- sorry.· Strike that.
   10· · · · · · · · The way that the seconds have been
   11· · counted in this CIRT report is from the time the
   12· · officers begin making their announcement; correct?
   13· · · · A.· · · I believe so.
   14· · · · Q.· · · So then going down to the lower part of
   15· · the page -- and I'll hand this to you, and I'll ask
   16· · you to read the highlighted portion at the bottom of
   17· · page 134.
   18· · · · A.· · · "By conducting a CET to surprise and
   19· · overwhelm the occupants of the structure, it
   20· · inherently contradicts the 'knock and announce' rule
   21· · which requires officers to wait a reasonable amount
   22· · of time set forth by the United States Supreme Court
   23· · case law and Nevada Revised Statutes."
   24· · · · Q.· · · And that's later -- that's later
   25· · outlined in the conclusions of this report as well;


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 211 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 210
   ·1· · correct?
   ·2· · · · A.· · · Correct.
   ·3· · · · Q.· · · And that was -- that conclusion was come
   ·4· · to based on the facts that you compiled, the round
   ·5· · tables you did, and discussions with the subject
   ·6· · matter experts; correct?
   ·7· · · · A.· · · Correct.
   ·8· · · · Q.· · · I'm going to ask you -- page 136.· I'm
   ·9· · going to ask you to read the part that is
   10· · highlighted in pink.
   11· · · · A.· · · "Six seconds elapsed from the time of
   12· · the first announcement by Sergeant Backman, to the
   13· · western window being broken out, the blinds being
   14· · cleared, and the stun stick being inserted.· Three
   15· · seconds later, Officer Hoskins began to utilize the
   16· · ram on the front door."
   17· · · · Q.· · · And as I went through the CIRT
   18· · investigation report, there was an issue with the
   19· · stun stick, the blinds being up there; correct?
   20· · · · A.· · · Correct.
   21· · · · Q.· · · They couldn't really see -- well, not
   22· · really.· They could not see what was on the other
   23· · side of the window; correct?
   24· · · · A.· · · No.
   25· · · · Q.· · · So at the time that they inserted that,


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 212 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 211
   ·1· · they were not aware that the window was right here
   ·2· · and Mr. Williams was right here (indicating);
   ·3· · correct?
   ·4· · · · A.· · · Correct.· Did not know that at the time.
   ·5· · · · Q.· · · And according to -- as you've cited,
   ·6· · according to LVMPD policy within the CIRT report,
   ·7· · they needed to be able to see in that window to
   ·8· · insert that stun stick; correct?
   ·9· · · · A.· · · Correct.
   10· · · · Q.· · · Do you think that's a training failure,
   11· · that they didn't do that?
   12· · · · A.· · · Yeah, I would say so.· They are trained
   13· · to do a "rake and break" is what it's called.· So
   14· · rake the window and the blinds and then insert.
   15· · · · · · · · Now, the camera is very dark on there
   16· · just because of the time of day and the resolution
   17· · of our body-worn cameras.· I can't remember if
   18· · Officer Rothenburg or Bertuccini, when we
   19· · interviewed them, said that they did conduct a rake
   20· · on that.· That would have been the procedure is to
   21· · clear it and then insert it.· I'd have to look back
   22· · at their interviews again.· But yes.
   23· · · · Q.· · · And then if we then turn to page 137,
   24· · down at the bottom of the page the issue then comes
   25· · up to the brass wrap.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 213 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 212
   ·1· · · · · · · · And based on the content of your --
   ·2· · based on the content of your report, it seems like
   ·3· · there was controversy about whether or not they
   ·4· · should have called the tactical when the brass wrap
   ·5· · was identified; correct?
   ·6· · · · A.· · · Controversy between two SMEs, two sides
   ·7· · of the table essentially.· However, it's not very
   ·8· · controversial when it comes to looking and analyzing
   ·9· · the specifics of the case.· Their manuals say it's a
   10· · judgment call.
   11· · · · · · · · And when I interviewed every operator on
   12· · that stack, they said that they felt comfortable not
   13· · calling a tactical at that point.· And that's what I
   14· · have to go off of as an investigator is their
   15· · judgment call based on the fact that they see --
   16· · they recognize that there's a brass wrap there,
   17· · they're seeing Officer Hoskins hit the door, and
   18· · they recognize that there's daylight is what they --
   19· · a lot of them said, and that door is giving.· So
   20· · they believed a tactical did not need to be called.
   21· · · · · · · · And we can have SMEs say yes/no to that,
   22· · but when we're talking about individuals' judgment,
   23· · that can't be something that -- you can't speak on
   24· · my judgment as long as it's something that is
   25· · outlined in the manual.· Like all italics should be


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 214 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 213
   ·1· · in -- all quotes should be in italics, if your
   ·2· · judgment is I shouldn't do that but it says so in my
   ·3· · briefing --
   ·4· · · · Q.· · · Yeah.· And I think, Justin, you tell me
   ·5· · if you understand the difference or not.· The
   ·6· · difference is when you and I are talking -- and I'm
   ·7· · a lawyer.· I write things all the time.· But when
   ·8· · you and I are kind of going through the report --
   ·9· · and it's a lengthy report.· To be honest, I don't
   10· · think I could write a 200-page report and not have
   11· · some formatting errors in it, despite my best
   12· · efforts.
   13· · · · A.· · · Sure.
   14· · · · Q.· · · But there's a difference between that --
   15· · that's a subjective mistake -- and then the issues
   16· · about mistakes that then impinge on somebody's
   17· · constitutional rights for unfair search and seizure.
   18· · Right?· So it's like we're talking about a different
   19· · thing here.
   20· · · · · · · · So, you know, as you go through -- you
   21· · know, it's like, okay, well, the purpose of the stun
   22· · stick is to distract and disorient.· Correct?· And
   23· · at the same time, we've got banging on the door that
   24· · is supposed to be giving somebody their
   25· · constitutional right to know that it's the police


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 215 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 214
   ·1· · coming through the door.
   ·2· · · · · · · · You understand -- I mean, you -- you
   ·3· · have outlined in this very report that these seem to
   ·4· · be in conflict; correct?
   ·5· · · · A.· · · I've said it about an hour ago, that it
   ·6· · was a direct contradiction, and that was our finding
   ·7· · in the report.
   ·8· · · · Q.· · · Okay.
   ·9· · · · A.· · · I was more speaking on the tactical call
   10· · of that it wasn't so controversial as far as there
   11· · are documents saying that you will call a tactical
   12· · at this point or this point.· It is a judgment call
   13· · based on the operators who are at the door.
   14· · · · Q.· · · And if they had called a -- let's just
   15· · do an alternative.· Right?· So they call a tactical.
   16· · Then they pull back and they do a surround and
   17· · call -- they do a SACO; right?
   18· · · · A.· · · Uh-huh.
   19· · · · Q.· · · So a SACO is possible?
   20· · · · A.· · · That would be their procedure, yes.
   21· · · · Q.· · · Okay.· And so the "rake and break," just
   22· · so that I understand a little bit better, it's to
   23· · break open -- they take off -- I think they took off
   24· · a screen; correct?
   25· · · · A.· · · I believe so, yeah.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 216 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 215
   ·1· · · · Q.· · · And then they break the window with the
   ·2· · actual stick; correct?
   ·3· · · · A.· · · I believe so, yeah.· That's the "rake"
   ·4· · part of that, yeah.
   ·5· · · · Q.· · · Then they're supposed to pull off the
   ·6· · blinds too; correct?
   ·7· · · · A.· · · With it, yes.
   ·8· · · · Q.· · · So that's an entry into the unit;
   ·9· · correct?
   10· · · · A.· · · Yes.
   11· · · · Q.· · · And then --
   12· · · · A.· · · I'm sorry.· So I will say that the entry
   13· · into the unit is the entry of the stun stick into
   14· · the apartment utilizing our tools.
   15· · · · · · · · The entry into the unit is not breaking
   16· · the glass and pulling it out.· I would say the entry
   17· · of the stun stick is entry to the unit.
   18· · · · Q.· · · But somebody could have stepped through
   19· · that broken window; correct?· If it's done the way
   20· · it's supposed to be done, where the screen is taken
   21· · off, the window is broken, the blinds are pulled
   22· · down -- if we're looking at page 144 -- and this is
   23· · well after the fact, but somebody could step through
   24· · that window; correct?
   25· · · · A.· · · Sure.· But the -- somebody could have.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 217 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                    Page 216
   ·1· · There was no intention for any officer or operator
   ·2· · to move through that window, period.
   ·3· · · · Q.· · · But we don't know if that was
   ·4· · Mr. Williams' perception of that; correct?
   ·5· · · · A.· · · Sure.· I don't know his perception of
   ·6· · anything.
   ·7· · · · Q.· · · And as we even see in this photo right
   ·8· · here, the broken -- I mean, this is a different
   ·9· · vantage point, but the broken-out window was right
   10· · next to the sofa Mr. Williams was on; correct?
   11· · · · A.· · · Yes.
   12· · · · Q.· · · And that was from page 144 of the CIRT
   13· · report.
   14· · · · · · · · And then for the next few pages -- I
   15· · mean, having reviewed this, the next few pages are
   16· · talking about the officers' awareness of the
   17· · backdrop, which we're going to skip over.
   18· · · · · · · · But what I do want to talk about is --
   19· · if we go to page 148.
   20· · · · A.· · · Okay.
   21· · · · Q.· · · And I think that this is -- on page 148
   22· · it says "Officer Rothenburg."· And then it says,
   23· · "When the stun stick was placed in the window,
   24· · the first few ignitions of the distracts caused a
   25· · large puff of smoke in the interior of the living


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 218 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 217
   ·1· · room."
   ·2· · · · · · · · And so this was based on not -- I mean,
   ·3· · not just your review of the body-worn camera
   ·4· · footage, but also Officer Rothenburg's kind of
   ·5· · recitation of what he perceived at the time;
   ·6· · correct?
   ·7· · · · A.· · · Yes.· That was his statement, that he
   ·8· · could not see initially because of the smoke, and
   ·9· · then once the door was breached, it kind of vacuumed
   10· · out to where he could see more.
   11· · · · Q.· · · Okay.· But he had tried to turn a
   12· · flashlight on, and he turned it off immediately;
   13· · correct?
   14· · · · A.· · · I believe so.
   15· · · · Q.· · · Okay.· So the remainder is just the
   16· · investigation -- is kind of the post-shooting
   17· · investigation, until we get up to about page 170.
   18· · So we'll skip through that.· That's your recitation
   19· · of facts about the post-scene analysis.
   20· · · · A.· · · Okay.
   21· · · · Q.· · · And turning to page 169, it discusses
   22· · "The Administrative Analysis of the Use of Deadly
   23· · Force."
   24· · · · · · · · And just to confirm, from an
   25· · administrative perspective, that's different than


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 219 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 218
   ·1· · the criminal perspective, but also from an
   ·2· · administrative perspective it was found that the
   ·3· · officers' use of force was reasonable based on what
   ·4· · they were perceiving at the exact time; correct?
   ·5· · · · A.· · · Correct.
   ·6· · · · Q.· · · And so a lot of the report -- the
   ·7· · remainder of the report is the specific dialogue
   ·8· · about the conclusions.· So rather than walk through
   ·9· · that, because you've done such an excellent job of
   10· · creating this table at the end, I would just rather
   11· · go forward to the table, the conclusion section, and
   12· · we can talk about those.
   13· · · · · · · · Unless there's anything in there that
   14· · you really want to highlight for me.
   15· · · · A.· · · So I guess it will just be questions
   16· · based on what you have to respond to that -- to the
   17· · actual conclusion table itself.· Because the
   18· · conclusion table is legitimately the last paragraph
   19· · of every conclusion.· It does not encapsulate the
   20· · entirety of the body of the conclusion.
   21· · · · Q.· · · As we go through the conclusions, we can
   22· · certainly loop back to any things that you think are
   23· · necessary.
   24· · · · A.· · · Okay.
   25· · · · Q.· · · My understanding of what you testified


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 220 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 219
   ·1· · to at the beginning of this deposition was that you
   ·2· · had specifically reviewed the conclusions in
   ·3· · preparation for today's deposition.
   ·4· · · · A.· · · Correct.
   ·5· · · · Q.· · · Did you review the dialogue -- because
   ·6· · you said you actually didn't review the whole
   ·7· · report.
   ·8· · · · · · · · Did you review the dialogue portion of
   ·9· · the conclusions?
   10· · · · A.· · · Yes.· But, again, we're talking about
   11· · 50 pages of a lot of stuff that runs congruent with
   12· · each other.· So to get exact quotes and exact
   13· · recollection.
   14· · · · Q.· · · Well, here's what we'll do.· Some of the
   15· · conclusions I think are somewhat benign or -- you
   16· · know, they're benign.· So those ones we can kind of
   17· · go through.· And the ones -- the more ones that are,
   18· · you know, highly relevant for this case, we can then
   19· · loop back to the full discussion.
   20· · · · A.· · · Works for me.
   21· · · · Q.· · · Just a couple of facts I wanted to lay
   22· · the groundwork first.
   23· · · · · · · · There were -- some of the facts you laid
   24· · out so far is there were some discrepancies with the
   25· · search warrant; correct?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 221 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 220
   ·1· · · · A.· · · Yes.
   ·2· · · · Q.· · · Okay.· There was an issue with the IAP
   ·3· · kind of being put together, cobbled together, to
   ·4· · have its final version; correct?
   ·5· · · · A.· · · Yes.
   ·6· · · · Q.· · · We haven't talked about it yet, but also
   ·7· · O'Daniel, while she approved the use of the NFDDs,
   ·8· · she was actually out on COVID during that time;
   ·9· · correct?
   10· · · · A.· · · Correct.
   11· · · · Q.· · · Sergeant Backman had not attended SWAT
   12· · school; he had only done 29 days of essentially
   13· · on-the-job training.· Correct?
   14· · · · A.· · · Yes.
   15· · · · Q.· · · And there was somebody else out on
   16· · either vacation or --
   17· · · · A.· · · Sergeant Findley.
   18· · · · Q.· · · Okay.· And that whole lead-up, had you
   19· · ever -- I mean, those are a lot of, kind of, off --
   20· · those are a lot of -- strike that.
   21· · · · · · · · Those are a lot of unusual circumstances
   22· · related to the execution of a single warrant.· Would
   23· · that be fair to say?
   24· · · · A.· · · I think COVID put a strain on a lot of
   25· · aspects of how we did things, just on resources


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 222 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                    Page 221
   ·1· · alone and having a lot of people out.· This was
   ·2· · different times for a couple of years when we dealt
   ·3· · with the pandemic from an operational standpoint.
   ·4· · So there were a lot of oddities with that.
   ·5· · · · Q.· · · Well, the search warrant oddity wasn't
   ·6· · related to COVID; correct?
   ·7· · · · A.· · · Sure.
   ·8· · · · Q.· · · And the issues with the IAP weren't
   ·9· · related to COVID; correct?
   10· · · · A.· · · To a certain extent.· Captain Koren at
   11· · the time was on COVID, could not re-sign those.· So
   12· · there was an issue of they couldn't -- one of the
   13· · quotes was couldn't slide it under his door and get
   14· · a re-signature.· Because we didn't have electronic
   15· · signature at that time.· So there was a certain
   16· · aspect to that that was relevant.
   17· · · · Q.· · · But he was just one of the six
   18· · signatures on there; correct?
   19· · · · A.· · · Correct.· But a mandatory signature
   20· · nonetheless.
   21· · · · Q.· · · Okay.· And Sergeant Backman only having
   22· · 29 days and not attending SWAT school, that wasn't
   23· · related to COVID at all, was it?
   24· · · · A.· · · Correct.· But that was their operating
   25· · procedure prior to COVID as well.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 223 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 222
   ·1· · · · Q.· · · Okay.· And that has specifically been
   ·2· · changed as a result of this incident; correct?
   ·3· · · · A.· · · I believe so, yes.
   ·4· · · · Q.· · · And Lieutenant -- and just to confirm, I
   ·5· · understand that Lieutenant O'Daniel was out as a
   ·6· · result of COVID.· But also -- we've discussed it
   ·7· · already, but just to confirm -- she couldn't -- as
   ·8· · we sit here today, it would no longer be reading the
   ·9· · request on a cell phone; correct?
   10· · · · A.· · · I believe so.· I can't speak to that a
   11· · hundred percent.· But I do not believe they review
   12· · on cell phones.
   13· · · · Q.· · · But at the time they did, and she was
   14· · out on COVID?
   15· · · · A.· · · Correct.
   16· · · · Q.· · · Okay.· All right.· Let's get into the
   17· · conclusions.· And we will bounce back and forth
   18· · however you want.· I've stated it many times.· I'll
   19· · state it one more.· However you want to review the
   20· · document.· I'm not trying to rush you through
   21· · anything.· If you want time to say, Let me loop back
   22· · to the conclusion, or, I think we need to read this
   23· · section, then you tell me that.· Okay?
   24· · · · A.· · · Okay.
   25· · · · Q.· · · The "Information Sharing," I think we


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 224 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 223
   ·1· · can go through that pretty fast.
   ·2· · · · A.· · · Okay.
   ·3· · · · Q.· · · That just has to do with the P1 case.
   ·4· · · · · · · · I actually didn't even really
   ·5· · understand.· If you want to explain it to me.
   ·6· · · · A.· · · Essentially it's just communication via
   ·7· · radio traffic and -- the stuff with P1, as far as
   ·8· · the reference, that's just utilization of some of
   ·9· · our programs that weren't really relevant, but
   10· · that's part of the policy that it was in.
   11· · · · · · · · This was just speaking to just radio
   12· · traffic communication, information-sharing
   13· · reference, like post-OIS procedures.
   14· · · · Q.· · · That's both 1 and 2; correct?· The
   15· · "MetroComm" is the traffic communication --
   16· · · · A.· · · So 1.1 is more along the lines of
   17· · radio communication between dispatch, other
   18· · supervisors.
   19· · · · · · · · P1 is 1.2, and that deals with the
   20· · utilization of case notes in the homicide section,
   21· · which I believe there were none.
   22· · · · Q.· · · Sorry.· I'm talking about 2.1.
   23· · · · A.· · · 2.1, okay.
   24· · · · · · · · 2.1 is, yes, because there's really no
   25· · dispatcher or call-taker.· There was no call-taker


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 225 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 224
   ·1· · on this.· But there was very, very little use of a
   ·2· · dispatcher.
   ·3· · · · Q.· · · Okay.· And then in terms of the 3.1 --
   ·4· · and we talked about it quite a bit, and you alluded
   ·5· · to it earlier -- that ultimately a DA and a judge
   ·6· · signed the search warrant; right?
   ·7· · · · A.· · · Correct.
   ·8· · · · Q.· · · But despite that, in terms of LVMPD's
   ·9· · search warrant policy, it still did not meet LVMPD's
   10· · policy; correct?
   11· · · · A.· · · Correct.
   12· · · · Q.· · · And based on my understanding, on the
   13· · next page, 215, the part that you have bolded and
   14· · italicized is that Detective Grimmett was counseled
   15· · on this issue; correct?
   16· · · · A.· · · Correct.· And the -- again, talking
   17· · about the purview of CIRT and what we do when it
   18· · comes to use of deadly force, this is the first case
   19· · and the only case I've dealt with in six years that
   20· · has gone so far outside of the actual use of deadly
   21· · force that he was counseled via the -- I believe it
   22· · was either contact or supervisor intervention.
   23· · That's more of a labor issue.· We don't really deal
   24· · with that.
   25· · · · · · · · But he got that negative conclusion.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 226 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 225
   ·1· · And because of the way our board is set up, it's not
   ·2· · necessarily tactics.· It wasn't -- he wasn't
   ·3· · required to be at the board.
   ·4· · · · Q.· · · And would you remember approximately the
   ·5· · timeline when you found out that you would also be
   ·6· · looking into the -- kind of the underlying homicide
   ·7· · investigation issues?
   ·8· · · · A.· · · Almost immediately.· I pled my case to
   ·9· · stay narrowly focused to the use of force and any
   10· · discrepancies that we found along the way that was
   11· · reference to a homicide investigation should have
   12· · been put to IAB.
   13· · · · · · · · But, again, I can only go up my chain of
   14· · command, and my chain of command can only send me
   15· · back the message that it was given.
   16· · · · Q.· · · Okay.· And then 3.2, I mean,
   17· · essentially -- 3.2, if I understand, having read it,
   18· · is that the underlying homicide investigation, there
   19· · was no issues with it?
   20· · · · A.· · · Correct.
   21· · · · Q.· · · And then 3.3 has to do with the IAP;
   22· · correct?
   23· · · · A.· · · Yes.
   24· · · · Q.· · · And we've talked about that quite a bit.
   25· · · · · · · · And we talked about -- according to


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 227 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 226
   ·1· · Conclusion 3.3, the IAP was not within LVMPD's
   ·2· · standards; correct?
   ·3· · · · A.· · · Correct.
   ·4· · · · Q.· · · Okay.· And then can you explain to me
   ·5· · what the conclusion -- the 3.4 conclusion was?
   ·6· · · · A.· · · I believe that was the conclusion, as I
   ·7· · read it now, of Sergeant Backman's training, in
   ·8· · reference to being new to SWAT.· I believe it was
   ·9· · within standardized LVMPD tactics, training, and
   10· · policy based on being in compliance with their
   11· · section manual.
   12· · · · Q.· · · And so to be fair, even though he had
   13· · been on for 29 days, it was in compliance with the
   14· · way the section manual was written at that point
   15· · in time?
   16· · · · A.· · · Correct.
   17· · · · Q.· · · And when we go down to 3.5, that the
   18· · policy was -- I mean the recommendation was that the
   19· · policy be -- sorry -- that the availability of SWAT
   20· · school be changed so that somebody who is newly -- a
   21· · sergeant newly on SWAT has the ability to go to SWAT
   22· · school; correct?
   23· · · · A.· · · Correct.
   24· · · · Q.· · · And that was actually -- I mean, that
   25· · was one of the things that was changed as a result


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 228 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 227
   ·1· · of this incident; correct?
   ·2· · · · A.· · · I believe so, yes.
   ·3· · · · Q.· · · And then can you explain to me 3.6?
   ·4· · · · A.· · · So that's dealing with the verbiage
   ·5· · contained in the SWAT manual, reference the CET for
   ·6· · property, when there's a threat to -- a threat of an
   ·7· · armed and dangerous suspect was not appropriate in a
   ·8· · given time.
   ·9· · · · · · · · So essentially -- I'll have to go
   10· · back and read this in a second, but essentially that
   11· · was what we discussed previously, if I'm not
   12· · confused, about not having the actual intelligence
   13· · of children and -- is that a reference to the
   14· · tactical call?
   15· · · · Q.· · · 3.6?
   16· · · · A.· · · No.· Sorry.· I skipped one.
   17· · · · Q.· · · No.· It's the -- it's conduct a CET for
   18· · property and the amount of unknowns.
   19· · · · A.· · · I don't know if I'm missing pages.
   20· · · · Q.· · · And I think it's page 183, "General -
   21· · SWAT Planning - Use of Control Entry Tactic."
   22· · · · A.· · · You said 183?
   23· · · · Q.· · · Yes.
   24· · · · A.· · · I don't want to misspeak because I
   25· · know we went over it.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 229 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 228
   ·1· · · · · · · · Okay.· So this is the discrepancy
   ·2· · that we discussed between the surprise and also
   ·3· · giving them reasonable amount of time to answer
   ·4· · the door.
   ·5· · · · Q.· · · Yeah, that's technically -- that's
   ·6· · technically 3.8.· 3.6 --
   ·7· · · · A.· · · What's the question then again?· I'm
   ·8· · sorry.
   ·9· · · · Q.· · · We discussed what the conclusion was at
   10· · 3.6 and the recommendations, and you said that you
   11· · wanted to go back.· But, yeah, it had to do with the
   12· · unknowns.
   13· · · · A.· · · Yeah, I mean, I guess -- obviously it
   14· · was not within standardized LVMPD training, tactics,
   15· · and policy, but then the recommendation attached to
   16· · it is that we recommend that LVMPD recategorize the
   17· · use of the CET to only be utilized when a "no knock"
   18· · search warrant is approved by the LVMPD and has
   19· · judicial preapproval.
   20· · · · · · · · And CIRT recommends the current SWAT
   21· · training, SWAT Section Manual, and department policy
   22· · be updated to reflect the standard.
   23· · · · Q.· · · So then if we go back to the
   24· · conclusions, we can go -- we just did 3.6.· We can
   25· · go 3.7.· The approach to the door is fine, so we can


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 230 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 229
   ·1· · skip that.
   ·2· · · · A.· · · I'm missing -- I'm missing 216.· That's
   ·3· · why I kept on getting confused.· So I was
   ·4· · referencing the page number on this.
   ·5· · · · Q.· · · I'm sorry.
   ·6· · · · A.· · · It's hard to read page numbers
   ·7· · sometimes.
   ·8· · · · Q.· · · As we know.
   ·9· · · · · · · · We'll talk about 3.8.· That's kind of
   10· · the big one right there.
   11· · · · A.· · · Okay.· 3.7, approach -- good -- or
   12· · within standards?
   13· · · · Q.· · · Correct.
   14· · · · A.· · · I'm sorry.· Are you waiting for me to
   15· · respond?
   16· · · · Q.· · · Yes.· So explain to me the conclusion
   17· · of 3.8.
   18· · · · A.· · · 3.8 was the conclusion with the
   19· · execution of the warrant.· We concluded that it
   20· · did not constitute a "no knock" warrant under Nevada
   21· · law because SWAT announced their authority for
   22· · purposes of making a forced entry.· However, SMEs
   23· · concluded -- sorry, consulted, were not unanimous
   24· · whether SWAT adhered to the "knock and announce"
   25· · principles.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 231 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 230
   ·1· · · · · · · · And this is where we consulted both SMEs
   ·2· · from the department and also Anthony Bandiero.
   ·3· · Yeah, I'm saying his name right.· And that's where
   ·4· · he wrote this section on page 187, reference
   ·5· · analyzing the SWAT Section Manual reference CETs.
   ·6· · · · · · · · Ultimately the conclusion was determined
   ·7· · to be a policy and training failure and was not
   ·8· · within LVMPD department policy.
   ·9· · · · Q.· · · And so -- and that is a result -- that
   10· · conclusion is a result of you outlining the facts in
   11· · the report, what the United -- what the other --
   12· · what the cases cited said, and also with -- with
   13· · consulting with your own -- with the subject matter
   14· · experts; correct?
   15· · · · A.· · · Correct.· Like I said before though,
   16· · there was split.· There were some who thought it was
   17· · okay.· However, in the effort of transparency, we
   18· · put both opinions on there.
   19· · · · · · · · However, because there's any question of
   20· · what we said, it was not within policy and training,
   21· · and it was a policy and training failure.
   22· · · · Q.· · · Okay.· And ultimately they changed the
   23· · policy itself; correct?
   24· · · · A.· · · Correct.
   25· · · · Q.· · · And so that would indicate that after


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 232 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 231
   ·1· · review it was agreed that this is not within the
   ·2· · constitutional guidelines of how -- regarding this
   ·3· · execution of this warrant; correct?
   ·4· · · · A.· · · I'm not a part of those discussions.
   ·5· · After my report is done and my presentation is over,
   ·6· · once I give those recommendations, those are just
   ·7· · strict recommendations on how we would like it to be
   ·8· · handled.· I know that it was handled.· I don't know
   ·9· · the discussions that were made during the
   10· · search-and-seizure committee or any rewording of the
   11· · SWAT manual.· I'm not privy to that.
   12· · · · Q.· · · Okay.· But you are aware that it was
   13· · changed; correct?
   14· · · · A.· · · Yes.
   15· · · · Q.· · · Okay.· And then if we could go to 3.9.
   16· · · · A.· · · Okay.
   17· · · · Q.· · · Sorry.· If you could hand me back 3.8
   18· · just for a moment.· Sorry.
   19· · · · A.· · · 3.9 is on there too.
   20· · · · Q.· · · Okay.· Sorry.· I'll pull it up on my
   21· · computer.· Give me just one moment.
   22· · · · A.· · · While you're opening that, I'll just
   23· · kind of go over that.· Is that fair?
   24· · · · Q.· · · Absolutely.
   25· · · · A.· · · So, again, this goes with the tactical


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 233 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 232
   ·1· · call and the exterior of the apartment.
   ·2· · · · · · · · And, again, taking from both sides of
   ·3· · this argument of the SMEs, when the officers lost
   ·4· · the element of surprise of a CET, of utilizing speed
   ·5· · and surprise to overwhelm the suspect per their
   ·6· · manual, by being stuck on the door and hitting the
   ·7· · door multiple times by entering the residence is
   ·8· · what you had highlighted there, we call this is a
   ·9· · policy and training failure, and our conclusion was
   10· · based on the fact, if there was controversy on that,
   11· · it should not be a judgment call.· There should be
   12· · things outlined on it, and we need to outline that
   13· · in the manual of when it was appropriate to do a
   14· · tactical call.
   15· · · · Q.· · · But based on -- sorry.· Thank you.
   16· · · · · · · · And so included in this conclusion
   17· · though is that waiting six seconds before inserting
   18· · the stun stick did not provide the occupant an
   19· · opportunity to peaceably submit to the search, and
   20· · that's pursuant to United States v. Banks; correct?
   21· · That was part of the conclusion in 3.8?
   22· · · · A.· · · Oh, I was talking about 3.9.
   23· · · · Q.· · · I'm sorry.· I went back.· I looped back
   24· · to 3.8.· My apologies.
   25· · · · · · · · But that was pursuant to the analysis of


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 234 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 233
   ·1· · the controlling case law; correct?
   ·2· · · · A.· · · Correct.· From -- from Anthony Bandiero.
   ·3· · · · Q.· · · Okay.· And I'm sorry, going forward to
   ·4· · 3.9.
   ·5· · · · A.· · · So, again, do you want me to repeat what
   ·6· · I just said?
   ·7· · · · Q.· · · No.· It's part of the record.
   ·8· · · · A.· · · Summation, officers were not wrong by
   ·9· · not calling a tactical, but we thought there should
   10· · be some kind of definition form of tactical brought.
   11· · · · · · · · And I can't tell you off the top of my
   12· · head if that was specifically changed.· I know our
   13· · recommendation was to specifically change that.                                     I
   14· · believe it was, but I can't tell you for sure on
   15· · that one.
   16· · · · Q.· · · Okay.· And so sorry.· I'm just going to
   17· · loop back up to 3.8 really quickly.
   18· · · · · · · · We are talking -- you are citing
   19· · based -- so when you talk about the LVMPD standards
   20· · and the opportunity to comply before a forced entry
   21· · is made, you cite SWAT lessons, basic SWAT school,
   22· · LVMPD policy, search-and-seizure Section 9,
   23· · no-search search warrants, SWAT Section Manual 9.0.
   24· · · · · · · · As we go -- as we've kind of looked
   25· · through all of this, I still haven't been able to


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 235 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 234
   ·1· · locate a part of the -- like, the SWAT manual where
   ·2· · it talks about you have to wait this long or this is
   ·3· · the reasonable standard.
   ·4· · · · · · · · I mean, I just --
   ·5· · · · A.· · · There isn't.
   ·6· · · · Q.· · · Okay.
   ·7· · · · A.· · · There wasn't.· Sorry.
   ·8· · · · Q.· · · Okay.· There is now?
   ·9· · · · A.· · · I cannot tell you definitively, but I
   10· · believe that was part of our -- was to recommend a
   11· · reasonable time, but I'm not sure if that was placed
   12· · in there or not.· I'm not sure on that.
   13· · · · · · · · I know CET was changed, but I don't know
   14· · if there was a reasonable time set because there
   15· · still has not been a reasonable time set by the
   16· · courts.
   17· · · · Q.· · · Okay.· Okay.· And then just -- you
   18· · briefly summarized the 3.9.· But basically, hey,
   19· · being stuck at the door means that you can't
   20· · surprise and overwhelm; right?
   21· · · · A.· · · Correct.· But, again, the officers did
   22· · not do anything outside of their training because
   23· · they were trained to call a tactical when they
   24· · believed that there was an issue.· Every single
   25· · tactical operator in this said the same thing.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 236 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 235
   ·1· · · · Q.· · · Okay.· And so then that -- that then
   ·2· · goes to 3.10, which I don't think we need to go
   ·3· · over.· Because there was a tactical called inside
   ·4· · the apartment once the other --
   ·5· · · · A.· · · Correct.· Once they saw it.
   ·6· · · · Q.· · · Then 3.11, it's standard LVMPD.
   ·7· · · · · · · · And then 3.12, the cover and
   ·8· · concealment was -- and that was kind of their
   ·9· · post-shooting actions; correct?
   10· · · · A.· · · That deals with -- specifically 3.11 or
   11· · 3.12?
   12· · · · Q.· · · Both of them actually.
   13· · · · A.· · · So, again, moving -- for these to be
   14· · general conclusions, the contact cover and cover and
   15· · concealment, those are -- for any OIS we look at all
   16· · of those.· So in order to keep a consistency we
   17· · include those.
   18· · · · · · · · Contact cover was really never
   19· · established here.· And that's along the lines of if
   20· · you're, like, a two-officer unit on patrol, one
   21· · officer is conducting the interview; the other
   22· · office is providing overwatch and looking for
   23· · threats.
   24· · · · · · · · So without taking that out, because it's
   25· · a part of our conclusion, it's more or less saying


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 237 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 236
   ·1· · that everything they did leading up to it was within
   ·2· · standardized training.
   ·3· · · · Q.· · · Leading up to the cover and concealment,
   ·4· · once they're inside the unit?
   ·5· · · · A.· · · So -- so I know these are confusing.
   ·6· · · · · · · · Contact and cover is kind of a general
   ·7· · conclusion as far as I guess you would consider the
   ·8· · lead person into the room would be the contact
   ·9· · officer.· The cover officer would be the secondary
   10· · person into the room essentially, looking for
   11· · additional threats.
   12· · · · · · · · It's trying to stay consistent with
   13· · reports.· That's a general conclusion that's in
   14· · every one of our reports.· Making it fit into a SWAT
   15· · search warrant isn't exactly -- it doesn't exactly
   16· · fit.· However, for consistency we keep it in there.
   17· · It's more geared toward patrol.
   18· · · · · · · · But in this aspect, if you want to,
   19· · like, break it down completely, Officer Kubla was
   20· · the contact officer, initially contacts, and then
   21· · his officers who come in are the cover officers.
   22· · · · · · · · And that kind of gets confused with
   23· · 3.12, which is cover and concealment, because you
   24· · see the same word in there.
   25· · · · · · · · Cover and concealment deals with what


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 238 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 237
   ·1· · cover and concealment did you have at the time that
   ·2· · you used force.· At this point, because they're
   ·3· · entering a home on a search warrant and a CET, they
   ·4· · didn't have any contact or cover, and there was no
   ·5· · expected cover and concealment in there.
   ·6· · · · Q.· · · Okay.· So then we can go to 4.1 --
   ·7· · sorry.· All four used has to do with the threat
   ·8· · assessments at the time of -- and their assessment
   ·9· · of the backdrop; right?
   10· · · · A.· · · Correct.· That is all use-of-force
   11· · related.
   12· · · · Q.· · · And by then they've already come in the
   13· · unit?
   14· · · · A.· · · Correct.
   15· · · · Q.· · · Then if we can go to Section 5,
   16· · "Incident Management."
   17· · · · A.· · · Okay.· Sergeant Werner being the ATL,
   18· · assistant team leader, was within accordance of the
   19· · LVMPD SWAT manual in his handling of his duties as
   20· · the ATL.· His plan was the CET.· His plan was
   21· · everything that we went through, but it was approved
   22· · by his lieutenant.
   23· · · · · · · · And that was part of that discretion
   24· · with the use of those noise -- the flash bangs and
   25· · the stun stick.· He asked for them.· Her discretion


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 239 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                    Page 238
   ·1· · should have been to say no.· And that's just a
   ·2· · chain-of-command thing.· So his planning was within
   ·3· · the standardized training, if that makes sense.
   ·4· · · · Q.· · · Yes, it does.
   ·5· · · · · · · · And then 5.2, that has to do with
   ·6· · Sergeant Findley; correct?· That's on page --
   ·7· · · · A.· · · 5.2.· Correct.· I believe that -- I
   ·8· · believe that goes into the same standard that
   ·9· · in general these operators, the ATL and the
   10· · sergeants, make that plan, and then it is given to
   11· · the tactical commander.· And the tactical commander
   12· · is overall --
   13· · · · Q.· · · So where we stop seeing, like, within
   14· · policy is when we actually get to Lieutenant
   15· · O'Daniel; correct?
   16· · · · A.· · · Correct.
   17· · · · Q.· · · And that's -- sorry -- 5.3, that
   18· · Sergeant Scott did not -- I mean, that has to do
   19· · with the assessment of the IAP; correct?
   20· · · · A.· · · Correct.
   21· · · · Q.· · · Okay.
   22· · · · A.· · · And then 5.4 is with Sergeant Clarkson.
   23· · Essentially he did the public safety statement with
   24· · his camera, which is against policy.
   25· · · · Q.· · · Correct.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 240 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                    Page 239
   ·1· · · · · · · · And then going to 5.5, that has -- we
   ·2· · talked about that quite a bit, but that has to do
   ·3· · with Lieutenant O'Daniel approving the NFDDs;
   ·4· · correct?
   ·5· · · · A.· · · Correct.
   ·6· · · · Q.· · · And the issue is that she had
   ·7· · insufficient information to approve the NFDDs;
   ·8· · correct?
   ·9· · · · A.· · · Correct.
   10· · · · Q.· · · And LVMPD policy has since been changed
   11· · as a result of that; correct?
   12· · · · A.· · · Correct.
   13· · · · Q.· · · And then going to 5.6 --
   14· · · · A.· · · I believe so.· As far as my knowledge,
   15· · yes.
   16· · · · Q.· · · And that's fair.· If you want to make
   17· · that qualification, that's totally fine.
   18· · · · · · · · And then 5.6, that has to do with
   19· · Captain Cole and also Lieutenant O'Daniel.· They
   20· · ought to have been aware of the issues with the IAP
   21· · and the search warrant; correct?
   22· · · · A.· · · Correct.· They should have recognized
   23· · the discrepancies with the page numbers and the
   24· · discrepancies with the search warrant.
   25· · · · Q.· · · And 5.7 just has to do with reusing


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 241 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 240
   ·1· · the -- the signature page; correct?
   ·2· · · · A.· · · Correct.· My apologies, I'm losing my
   ·3· · voice.· Sorry.
   ·4· · · · Q.· · · That's okay.
   ·5· · · · · · · · And reusing the -- although we talked
   ·6· · about -- I mean, you said it wasn't one way or the
   ·7· · other, but according to 5.7, reusing the signature
   ·8· · page was not within standardized LVMPD tactics;
   ·9· · correct?
   10· · · · A.· · · Correct.· And that was -- when we had
   11· · that discussion, that was based off Captain Cole's
   12· · interview of what he believed was appropriate or
   13· · not.· So that was his belief, but that was not the
   14· · conclusion.
   15· · · · Q.· · · Okay.· And then 5.8 is kind of like a
   16· · catchall basically.· You tell me if I'm right or
   17· · wrong.· That, like, hey, the other commanders, we
   18· · don't really have a problem with how they responded
   19· · to this?
   20· · · · A.· · · So response to the incident post-OIS.
   21· · · · Q.· · · Correct.
   22· · · · A.· · · So setting up command posts and doing
   23· · all our procedures was within standard.
   24· · · · Q.· · · Okay.· And then 6.1 is the medical
   25· · response post-OIS; correct?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 242 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 241
   ·1· · · · A.· · · Correct.
   ·2· · · · Q.· · · Okay.· And then we talked about this.
   ·3· · The 7.1 and 7 -- 7.1 had to do about racking Officer
   ·4· · Kubla's firearm; correct?
   ·5· · · · A.· · · Correct.· They cleared his firearm
   ·6· · because he was getting medical treatment and was
   ·7· · moving all over the place.· So in an effort to
   ·8· · secure that firearm from going off, Officer Eshe
   ·9· · made that weapon safe.
   10· · · · Q.· · · Okay.· And that was found that, based on
   11· · the totality of circumstances, that was fine;
   12· · correct?
   13· · · · A.· · · Yes.· Correct.
   14· · · · Q.· · · And then 7.2, the equipment, firearms,
   15· · and ammunition were all within LVMPD standardized
   16· · tactics, training, and policy; correct?
   17· · · · A.· · · Correct.· Everybody used department
   18· · ammo, and everything was okay with that.
   19· · · · Q.· · · Okay.· No training deficiencies.
   20· · · · · · · · And then going to 9.1, that's the P1
   21· · thing.· We don't really need to talk about that;
   22· · correct?
   23· · · · A.· · · Correct.· Honestly, I do not know what
   24· · resulted on that.· I know it was a conclusion that
   25· · was voted on.· I can't remember if it was voted to


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 243 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 242
   ·1· · approve, modify, or overturn at that point.· But
   ·2· · yeah, I don't recall what the result of that one
   ·3· · was.
   ·4· · · · Q.· · · Okay.· And then going to 9.2, you
   ·5· · recommended basically that the -- that officers have
   ·6· · a search warrant refresher; correct?
   ·7· · · · A.· · · Correct.
   ·8· · · · Q.· · · I think that was -- that was accepted,
   ·9· · wasn't it?
   10· · · · A.· · · I believe so.
   11· · · · Q.· · · And then the second part is that you're
   12· · recommending that exculpatory evidence should be
   13· · included in the search warrant; correct?
   14· · · · A.· · · Yes.
   15· · · · Q.· · · And as we sit here today you don't know
   16· · if that was accepted or not?
   17· · · · A.· · · I believe it has been.· I cannot tell
   18· · you for certainty.· We don't -- I can tell you a lot
   19· · of the SWAT ones, based on just having conversations
   20· · with OIO sergeant and previous SWAT cases of
   21· · noticing its change.· But we do not -- once we make
   22· · those recommendations, as CIRT detectives we don't
   23· · get privy to what happens afterwards, to include
   24· · discipline and stuff like that.· We intentionally
   25· · get kept in the dark on that stuff.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 244 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 243
   ·1· · · · Q.· · · Okay.· And then one of your -- and then
   ·2· · the final, the (C), the 9.2(C), is that you just
   ·3· · said, Hey, we essentially -- and tell me if I'm
   ·4· · right or wrong -- you just said that we think they
   ·5· · should look at these two warrants as like a training
   ·6· · opportunity; is that correct?
   ·7· · · · A.· · · Yes.
   ·8· · · · Q.· · · And that's still part of the homicide
   ·9· · investigation, that you were like, I don't even want
   10· · to look at this?
   11· · · · A.· · · Not that I didn't want to look at it.                                      I
   12· · just didn't feel like it met our mission as CIRT.
   13· · · · Q.· · · Okay.· And then 9.3 just has to do
   14· · with -- you tell me if I'm right or wrong -- it has
   15· · to do with the recommendation that the new 14-page
   16· · IAP should be distributed; correct?
   17· · · · A.· · · Correct.· It was only distributed to
   18· · lieutenants of the ISD section, which is
   19· · Investigative Services Bureau.· And that was the
   20· · email that Captain Cole referenced when he said it
   21· · was only sent out to lieutenants.
   22· · · · · · · · We recommended that it be something that
   23· · is signed off on UMLV, which is our internal
   24· · training system.
   25· · · · Q.· · · And then the next one, 9.4.· I think the


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 245 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 244
   ·1· · issue -- you tell me if I'm right or wrong on this
   ·2· · one -- is that Sergeant Backman had only been on for
   ·3· · 29 days.· And based on the recommendation of this,
   ·4· · they're saying like, Hey, they shouldn't be doing
   ·5· · any live stuff within the first 30 days; is that
   ·6· · correct?
   ·7· · · · A.· · · Correct.· I believe that was the
   ·8· · understanding of that.
   ·9· · · · Q.· · · Okay.· And then the 9.5 has to do -- we
   10· · talked about it before, but 9.5 has to do with the
   11· · availability of SWAT school; correct?
   12· · · · A.· · · Correct, yes.
   13· · · · Q.· · · And then 9.6 is the one that as we sit
   14· · here today has been -- to your knowledge, it has
   15· · been adopted that CET is only to be utilized for a
   16· · "no knock" search warrant?
   17· · · · A.· · · Correct.
   18· · · · Q.· · · And we've gone over the reasons for
   19· · that.· Is there anything else you want to add to
   20· · that?
   21· · · · A.· · · No.· Just that I haven't seen a CET done
   22· · since then.
   23· · · · Q.· · · Okay.
   24· · · · A.· · · Outside of hostage rescues, which don't
   25· · count.· Those are extenuating circumstances.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 246 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 245
   ·1· · · · Q.· · · Of course.· Of course.
   ·2· · · · · · · · And then 9.7, in regards to "knock and
   ·3· · announce," and we talked about this a little bit
   ·4· · briefly, this had to do with kind of new training so
   ·5· · that the SWAT officers are trained to do "knock and
   ·6· · announce" in line with case law and national
   ·7· · standards; correct?
   ·8· · · · A.· · · Correct.
   ·9· · · · Q.· · · And as we sit here today your
   10· · understanding is this has been implemented; correct?
   11· · · · A.· · · Yes.· And I know that one for a fact
   12· · because in 2023, in the middle, we got a new
   13· · lieutenant who organized with the new SWAT tactical
   14· · commander for us to do a training op with -- or go
   15· · do essentially like a mini SWAT school with them.
   16· · They were very vocal with the fact that they are
   17· · doing "knock and announce," and we actually were in
   18· · the houses of the SWAT houses when they did their
   19· · entries, and they were doing them in accordance.
   20· · They were waiting a very long time before actually
   21· · entering the house.
   22· · · · Q.· · · And then -- so 9.7 has two -- it has (A)
   23· · and (B).
   24· · · · · · · · And so (B) -- can you explain to me what
   25· · the (B) section is?


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 247 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 246
   ·1· · · · A.· · · I believe that is reverting the section
   ·2· · manual to what it was prior to them changing it to
   ·3· · the -- they changed it from the "never."· They took
   ·4· · that word out and made it -- changed the CET to
   ·5· · where they could do that if there was extenuating
   ·6· · circumstances with the -- what do you call it? --
   ·7· · threats inside the building.· Those checkmarks
   ·8· · inside the manual.
   ·9· · · · · · · · And from my recollection, I
   10· · believe all of that was incorporated almost
   11· · simultaneous with the 9.6 as like a full overhaul in
   12· · the manual.
   13· · · · Q.· · · And then -- okay.· And then 9.8 -- and
   14· · this has to -- we talked about this a little bit
   15· · earlier.· And your understanding as we sit here
   16· · today and what you testified to before is they've
   17· · kind of done some expanded training on how to call a
   18· · tactical; correct?
   19· · · · A.· · · Correct.
   20· · · · Q.· · · Okay.· And that's 9.8.
   21· · · · · · · · And then 9.9, you talk about it more in
   22· · the body of the report.· It's not necessarily
   23· · captured in here.· It seems to me there's two
   24· · different issues; one, how the search order is
   25· · actually sent over to SWAT, and then how it's


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 248 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 247
   ·1· · approved.· Is that accurate?
   ·2· · · · A.· · · Yes.
   ·3· · · · Q.· · · And the changes that CIRT recommended in
   ·4· · terms of, Hey, it should go to the lieutenant first
   ·5· · so that they know what's being -- and then it should
   ·6· · go bottom down instead of top up, that's been
   ·7· · implemented; correct?
   ·8· · · · A.· · · I believe so.
   ·9· · · · Q.· · · All right.· Let's look at the -- and
   10· · so I've got some tactical review board conclusions.
   11· · · · · · · · And so kind of what -- we -- we -- we
   12· · talked about what happens up through creating the
   13· · report.· And so once the report is created, then it
   14· · goes to the tactical review board?
   15· · · · A.· · · Correct.
   16· · · · Q.· · · Correct?
   17· · · · · · · · And that has -- that has the SMEs and
   18· · civilians?
   19· · · · A.· · · No.
   20· · · · Q.· · · No.· Okay.· Who does it have on it?
   21· · · · A.· · · So first there's the use-of-force board.
   22· · It's essentially the same personnel.· The
   23· · use-of-force board has four civilian members and
   24· · three individuals from our department who vote on
   25· · that use of force.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 249 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 248
   ·1· · · · · · · · Specifically for the officers, there's a
   ·2· · peer officer who votes -- that's an officer of the
   ·3· · same rank -- there is a tactics expert, and then
   ·4· · there is a -- I believe it's the deputy chief that
   ·5· · votes.· Those are the three voting individuals from
   ·6· · our department, and then four civilians.· That's
   ·7· · specifically only on the deadly force.
   ·8· · · · · · · · When it comes to the tactical review
   ·9· · board, all the same people are in there.· You still
   10· · have your peer officer, your peer sergeant in this
   11· · case.· Because Lieutenant O'Daniel was -- had
   12· · conclusions, there was a peer lieutenant.· And I
   13· · believe there was also a peer captain.· It was a
   14· · packed room that day.· Usually it's not that bad.
   15· · But because Captain Cole got conclusions, there was
   16· · a peer captain that was responding on this one, on
   17· · this tactical review board.
   18· · · · Q.· · · And so I actually have the Tactical
   19· · Review Board CIRT Conclusions for Lieutenant
   20· · O'Daniel.
   21· · · · A.· · · Okay.
   22· · · · · · · · MS. MURPHY:· And so I am going to hand
   23· · these over to you.· We're going to mark these as
   24· · Exhibit 6.
   25· · · · · · · · (Exhibit 6 marked.)


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 250 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 249
   ·1· · BY MS. MURPHY:
   ·2· · · · Q.· · · Before you preface anything, I'm going
   ·3· · to ask the question, and you can tell me if you
   ·4· · want.
   ·5· · · · · · · · Have you ever seen this document before?
   ·6· · · · A.· · · No.
   ·7· · · · Q.· · · Okay.· So this is -- were you present,
   ·8· · though, for, like, whatever the tactical review
   ·9· · board meeting was?· Because you kind of talked about
   10· · how many people were there.
   11· · · · A.· · · Correct.· So I am present for that.                                     I
   12· · have no say in that.· I gave my presentation.· After
   13· · my presentation, every member of the board -- these
   14· · are the peer officers, sergeant, lieutenant,
   15· · captain -- get to -- and training experts, deputy
   16· · chief, assistant sheriff -- everybody who's on the
   17· · board has a chance to ask me specific questions
   18· · about this case.
   19· · · · Q.· · · It's -- sorry.
   20· · · · A.· · · Go ahead.
   21· · · · Q.· · · No.· Go ahead.
   22· · · · A.· · · Once that portion is done, then I am
   23· · done for the remainder of my involvement in this
   24· · case.
   25· · · · Q.· · · Do you actually leave the room, or --


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 251 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                    Page 250
   ·1· · · · A.· · · No.· I am there present.· I'm not there
   ·2· · for deliberations on when these conclusions are
   ·3· · made.· I exit the room for that.
   ·4· · · · Q.· · · Okay.
   ·5· · · · A.· · · So I don't have any weight on what was
   ·6· · said or why things were overturned or approved or
   ·7· · modified.
   ·8· · · · · · · · When they finish all their questioning
   ·9· · of all the officers, of the people that were
   10· · involved, everybody exits except for the board
   11· · members, and they go over this.
   12· · · · · · · · And then I come back in and I learn
   13· · the same way everybody else does what the results
   14· · were.
   15· · · · Q.· · · Okay.· And so is it, like, a closed
   16· · hearing?· Is it an open hearing?
   17· · · · A.· · · Closed hearing.
   18· · · · Q.· · · And sorry -- sorry.· You listed off the
   19· · people that can attend.· They're all
   20· · people related -- sorry.
   21· · · · · · · · You listed off the people that can
   22· · attend.· So, like, a member of the public can't
   23· · come?
   24· · · · A.· · · No.
   25· · · · Q.· · · Okay.· But you said that this one was


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 252 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 251
   ·1· · much more packed than usual; correct?
   ·2· · · · A.· · · Because normally we don't have
   ·3· · conclusions for every ranking member of this
   ·4· · department outside of appointed members.
   ·5· · · · Q.· · · And so looking at the Tactical Review
   ·6· · Board CIRT Conclusions, if we were to turn to -- and
   ·7· · we'll just -- I think we'll reference what's called
   ·8· · the Bates number.
   ·9· · · · · · · · See the alphanumeric number down here at
   10· · the bottom?
   11· · · · A.· · · Okay.
   12· · · · Q.· · · So turning to page 4574, it just has
   13· · checked "Overturn."
   14· · · · A.· · · Okay.
   15· · · · Q.· · · But you weren't privy to the discussions
   16· · about what that means, how they're going to
   17· · implement it; nothing?
   18· · · · A.· · · Correct.· For the entirety of this --
   19· · this is all done with voting sheets, and then these
   20· · are for the -- I believe it's for the sheriff.· This
   21· · is outside of the purview of a CIRT detective.· We
   22· · do not see these, handle these whatsoever.
   23· · · · Q.· · · Okay.· And so in looking through -- even
   24· · though you seem to have some level of familiarity
   25· · with the document, although I know you can't tell me


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 253 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 252
   ·1· · about the deliberations.· So it seems like, in terms
   ·2· · of the one for Lieutenant O'Daniel, you flipped --
   ·3· · there's different signature pages.· So it's like the
   ·4· · three provisions that applied to her.
   ·5· · · · · · · · And are you given this at the end?· Do
   ·6· · you see this at all?
   ·7· · · · A.· · · No.
   ·8· · · · Q.· · · Okay.· And so when you come back into
   ·9· · the meeting and you hear what happened, what do
   10· · you hear?
   11· · · · A.· · · So they'll go -- they'll start the tapes
   12· · again, and they'll say, We had X amount of
   13· · conclusions for Officer Roth.· There were three
   14· · general conclusions.· All were validated.· They --
   15· · you had four specific conclusions.· Three were
   16· · validated; one was overturned.
   17· · · · · · · · And then they would say, The one that
   18· · was overturned is blah, blah, blah.· Would you like
   19· · an explanation of why?
   20· · · · Q.· · · Did you ask, when you heard that any of
   21· · them were overturned -- I mean, we just went through
   22· · Lieutenant O'Daniel's, but there's also, like --
   23· · · · A.· · · I don't get the opportunity to speak.                                      I
   24· · am done.· The second that they are done asking me
   25· · questions in the room, I sit off to the side, and my


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 254 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 253
   ·1· · involvement, outside of stopping and starting my
   ·2· · tape recorder, from deliberations to starting the --
   ·3· · resuming the tactical review board, is completed.
   ·4· · · · Q.· · · Okay.
   ·5· · · · A.· · · And I believe these are more for the
   ·6· · board member of -- so, again, I see then Deputy
   ·7· · Chief Prosser's signature on some of these.· I saw
   ·8· · then Assistant Sheriff Walsh's, now undersheriff
   ·9· · Walsh's, signature under them.· These are given to
   10· · them to affirm because they are the chair and
   11· · co-chair.
   12· · · · Q.· · · Okay.
   13· · · · A.· · · So, again, I have zero recollection --
   14· · not recollection.· I have zero involvement with this
   15· · document.
   16· · · · Q.· · · And then -- so I will then -- thank you
   17· · for clarifying that.
   18· · · · · · · · I'll have you look at this one too.· So
   19· · this -- this is starting at LVMPD 4826.· This is
   20· · LVMPD Interoffice Memorandum.· It kind of gives a
   21· · summary of the findings.· But there seems -- sorry,
   22· · I'll give this to you and I'll ask.
   23· · · · · · · · MS. MURPHY:· Can you mark this as
   24· · Exhibit 7, please.
   25· · · · · · · · (Exhibit 7 marked.)


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 255 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 254
   ·1· · · · · · · · THE WITNESS:· Again, this is stuff that
   ·2· · is out of my purview.· I don't ever see this.· I've
   ·3· · never seen any one of these after my cases.· These
   ·4· · are specifically for what these look like.· So these
   ·5· · being struck out are the ones that are probably
   ·6· · overturned or modified.
   ·7· · BY MS. MURPHY:
   ·8· · · · Q.· · · But you're guessing on that?· You're
   ·9· · not --
   10· · · · A.· · · I'm guessing on that.
   11· · · · Q.· · · Okay.
   12· · · · A.· · · Like, we don't have any control over
   13· · this.· By this point, when this comes out and when
   14· · this is completed, I'm already on my next case,
   15· · grinding out interviews and doing my next
   16· · investigation.· We never see this, or we never have
   17· · access to this.· This is not put into our case file.
   18· · This is not in IA Pro, to my knowledge.
   19· · · · · · · · MS. MURPHY:· Okay.· Let me -- keep that
   20· · in that stack.· Give me just a couple minutes to
   21· · review my notes.
   22· · · · · · · · THE VIDEOGRAPHER:· Off the record at
   23· · 2:54 p.m.
   24· · · · · · · · (A break was taken.)
   25· · · · · · · · THE VIDEOGRAPHER:· On the record at


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 256 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 255
   ·1· · 2:56 p.m.
   ·2· · BY MS. MURPHY:
   ·3· · · · Q.· · · In performing your job -- Justin, in
   ·4· · performing your job duties as a police officer,
   ·5· · do you agree with me that you have a duty to
   ·6· · conduct yourself such that you do not violate the
   ·7· · civil or constitutional rights of any members of the
   ·8· · public?
   ·9· · · · A.· · · Yes.
   10· · · · Q.· · · Do you also agree that if you see other
   11· · officers violating these civil or constitutional
   12· · rights of a member of the public you have a duty to
   13· · intervene and stop that officer?
   14· · · · A.· · · Yes.
   15· · · · Q.· · · After having conducted the detailed
   16· · investigation you did in this matter, do you believe
   17· · that Mr. Williams' civil or constitutional rights
   18· · were violated?
   19· · · · · · · · MR. ANDERSON:· Objection.· Form.
   20· · · · · · · · Go ahead and answer.
   21· · · · · · · · THE WITNESS:· I am not a constitutional
   22· · expert.· While we deal with aspects of the
   23· · Constitution, honestly, I don't know if I can speak
   24· · to that.
   25· · · · · · · · I know that we probably -- if we were


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 257 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 256
   ·1· · conducting CETs like we do today, there possibly
   ·2· · could have been a difference in the outcome -- of
   ·3· · the outcome.· But that doesn't say that there might
   ·4· · be.· Mr. Williams could have responded in the same
   ·5· · way.· There's really no way to tell.
   ·6· · · · · · · · I know there were some deficiencies
   ·7· · within our department policy and procedures and how
   ·8· · SWAT operated in 2022, specifically that day and
   ·9· · prior to.· But as far as specifically speaking on
   10· · the constitutional knowledge, I don't have the
   11· · in-depth that you have.· And I hope that answers the
   12· · question.
   13· · BY MS. MURPHY:
   14· · · · Q.· · · Don't you think as a officer you
   15· · actually should have a pretty strong working
   16· · knowledge of search-and-seizure requirements as it
   17· · relates to a citizen's rights?
   18· · · · · · · · MR. ANDERSON:· Objection.· Form.
   19· · · · · · · · THE WITNESS:· And, again, I will go back
   20· · to my knowledge of what my policy and my training
   21· · goes.· Yes, there are aspects of that that have
   22· · legal ramifications for that, which are outlined in
   23· · policy, and we do go through classes for search and
   24· · seizure.· And yes, there is an obligation to have
   25· · that knowledge.


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 258 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 257
   ·1· · · · · · · · In that same respect, I don't have the
   ·2· · same knowledge that you have, as you don't have the
   ·3· · same knowledge that I have as far as police
   ·4· · procedures.· You have an idea having gone through
   ·5· · probably multiples of these, but I don't have the
   ·6· · vast knowledge of, say, a lawyer would have.
   ·7· · BY MS. MURPHY:
   ·8· · · · Q.· · · I'm not asking you to have a JD.· I'm
   ·9· · asking you, in your experience as a police officer,
   10· · do you believe that Mr. Williams' constitutional
   11· · rights were violated, or do you believe they were
   12· · not violated?
   13· · · · · · · · MR. ANDERSON:· Objection.· Form.
   14· · · · · · · · Go ahead.
   15· · · · · · · · THE WITNESS:· I don't know how to answer
   16· · that.· I honestly don't know how to answer that.                                     I
   17· · can't tell you one way or the other.
   18· · · · · · · · What I can tell you is my report was
   19· · drafted, and my conclusions met the investigation of
   20· · my department policies and procedures.· I do not
   21· · know if I can say with an absolute fact that -- one
   22· · way or the other.
   23· · BY MS. MURPHY:
   24· · · · Q.· · · In Section 3.8 it's written, "CIRT found
   25· · that under the conditions present here,


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 259 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                      Page 258
   ·1· · six seconds" -- sorry.· Strike that.· I'll start
   ·2· · over again.
   ·3· · · · · · · · "CIRT found that under the conditions
   ·4· · present here, six seconds was insufficient to allow
   ·5· · occupants time to answer the door, let alone submit
   ·6· · to a search."
   ·7· · · · · · · · As we've discussed here today, the
   ·8· · ability to answer the door and submit to a search is
   ·9· · a constitutional right; correct?
   10· · · · · · · · MR. ANDERSON:· Objection.· Form.
   11· · · · · · · · THE WITNESS:· Can you rephrase the
   12· · question, please?· Or, sorry, repeat the question?
   13· · BY MS. MURPHY:
   14· · · · Q.· · · Sure.
   15· · · · · · · · "CIRT found that under the conditions
   16· · present here, six seconds was insufficient to allow
   17· · occupants time to answer the door, let alone submit
   18· · to the search."
   19· · · · · · · · The right to answer the door and submit
   20· · to a search is a constitutional right; correct?
   21· · · · · · · · MR. ANDERSON:· Objection.· Form.
   22· · · · · · · · THE WITNESS:· Yes.
   23· · BY MS. MURPHY:
   24· · · · Q.· · · Okay.· So if Mr. Williams was not given
   25· · sufficient time to answer the door or submit to a


  www.lexitaslegal.com                                                                702-476-4500
                                                                                                     YVer1f
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 260 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 259
   ·1· · search, then his constitutional rights were
   ·2· · violated; correct?
   ·3· · · · · · · · MR. ANDERSON:· Objection.· Form.
   ·4· · · · · · · · THE WITNESS:· Based on your explanation
   ·5· · of how that reads in that report, then yes.
   ·6· · · · · · · · MS. MURPHY:· Okay.· I don't have any
   ·7· · other questions.
   ·8· · · · · · · · MR. ANDERSON:· No questions.
   ·9· · · · · · · · THE VIDEOGRAPHER:· Counsel, will anyone
   10· · need the video?
   11· · · · · · · · MS. MURPHY:· I won't need the video.
   12· · · · · · · · MR. ANDERSON:· No thank you at this
   13· · time.
   14· · · · · · · · THE VIDEOGRAPHER:· This concludes the
   15· · deposition of Detective Justin Roth, consisting of
   16· · two discs.· The time is 3:01 p.m., and we are off
   17· · the record.
   18· · · · · · · · THE COURT REPORTER:· Would you like the
   19· · transcript?
   20· · · · · · · · MR. ANDERSON:· Yes.· We'll do a
   21· · read-and-sign.
   22· · · · · · · · (Proceedings concluded at 3:01 p.m.)
   23
   24
   25


  www.lexitaslegal.com                                                                702-476-4500
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 261 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 260
   ·1· · · · · · · · · CERTIFICATE OF REPORTER

   ·2· · STATE OF NEVADA· · ·)
   · · · · · · · · · · · · · )SS
   ·3· · COUNTY OF CLARK· · ·)

   ·4· · · · ·I, Holly Larsen, a duly certified court
   · · · reporter licensed in and for the State of Nevada, do
   ·5· · hereby certify:

   ·6· · · · ·That I reported the taking of the deposition of
   · · · the witness, Detective Justin Roth, at the time and
   ·7· · place aforesaid;

   ·8· · · · ·That prior to being examined, the witness was
   · · · by me duly sworn to testify to the truth, the whole
   ·9· · truth, and nothing but the truth;

   10· · · · ·That I thereafter transcribed my shorthand
   · · · notes into typewriting and that the typewritten
   11· · transcript of said deposition is a complete, true,
   · · · and accurate record of testimony provided by the
   12· · witness at said time to the best of my ability.

   13· · · · ·I further certify (1) that I am not a relative
   · · · or employee of counsel of any of the parties; nor a
   14· · relative or employee of the parties involved in said
   · · · action; nor a person financially interested in the
   15· · action; nor do I have any other relationship with
   · · · any of the parties or with counsel of any of the
   16· · parties involved in the action that may reasonably
   · · · cause my impartiality to be questioned; and (2) that
   17· · transcript review pursuant to FRCP 30(e) was
   · · · requested.
   18
   · · · · · ·IN WITNESS HEREOF, I have hereunto set my hand
   19· · in the County of Clark, State of Nevada, this 20th
   · · · day of January, 2025.
   20

   21

   22

   23

   24· · · · · · · · · · · · _____________________________

   25· · · · · · · · · · · · · · HOLLY LARSEN, CCR NO. 680



  www.lexitaslegal.com                                                                702-476-4500
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 262 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 261
   ·1· · · · · · · · · · · · ERRATA SHEET
   ·2
   ·3· · I declare under penalty of perjury that I have read
   ·4· · the foregoing _____ pages of my testimony, taken on
   ·5· · ______________ (date) at ___________________ (city),
   ·6· · _____________ (state), and that the same is a true
   ·7· · record of the testimony given by me at the time and
   ·8· · place herein above set forth, with the following
   ·9· · exceptions:
   10
   11· · Page· Line· ·Should read:· · · Reason for change:
   12· · ____· ____· ·________________· __________________
   13· · ____· ____· ·________________· __________________
   14· · ____· ____· ·________________· __________________
   15· · ____· ____· ·________________· __________________
   16· · ____· ____· ·________________· __________________
   17· · ____· ____· ·________________· __________________
   18· · ____· ____· ·________________· __________________
   19· · ____· ____· ·________________· __________________
   20· · ____· ____· ·________________· __________________
   21· · ____· ____· ·________________· __________________
   22· · ____· ____· ·________________· __________________
   23· · ____· ____· ·________________· __________________
   24· · ____· ____· ·________________· __________________
   25· · ____· ____· ·________________· __________________


  www.lexitaslegal.com                                                                702-476-4500
Case 2:24-cv-00074-APG-NJK      Document 57-9       Filed 05/16/25      Page 263 of 353

  Detective Justin Roth   Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                                                                                     Page 262
   ·1· · · · · · · · · ERRATA SHEET (Continued)

   ·2· · Page· Line· · Should read:· · ·Reason for change:

   ·3· · ____· ____· ·________________· __________________

   ·4· · ____· ____· ·________________· __________________

   ·5· · ____· ____· ·________________· __________________

   ·6· · ____· ____· ·________________· __________________

   ·7· · ____· ____· ·________________· __________________

   ·8· · ____· ____· ·________________· __________________

   ·9· · ____· ____· ·________________· __________________

   10· · ____· ____· ·________________· __________________

   11· · ____· ____· ·________________· __________________

   12· · ____· ____· ·________________· __________________

   13· · ____· ____· ·________________· __________________

   14· · ____· ____· ·________________· __________________

   15· · ____· ____· ·________________· __________________

   16· · ____· ____· ·________________· __________________

   17· · ____· ____· ·________________· __________________

   18· · ____· ____· ·________________· __________________

   19· · ____· ____· ·________________· __________________

   20

   21· · Date: ___________· · · ·__________________________

   22· · · · · · · · · · · · · · Signature of Witness

   23
   · · · · · · · · · · · · · · · __________________________
   24
   · · · · · · · · · · · · · · · Name Typed or Printed
   25



  www.lexitaslegal.com                                                                702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25       Page 264 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                    10:22              103:17          14               187                25:13,14
             (        65:15
                                     120                 131:10             38:1,20        26:9
                                                         172:14             45:3,8         122:3
                    10:36              203:23
   (A)                                                   173:2              46:15          184:21
                      65:18            204:21
                                                                            47:10          256:8
       245:22                                          14-page
                    11               122                                    230:4
   (B)                                                   172:9                           2023
                      172:12,14        122:4
       245:23,                                           243:15         188                245:12
                      173:2
                                     123                                    44:9 45:8
       24,25                                           144                               2025
                    11.01              205:8,24,                            46:15
   (C)                                                   215:22                            4:5
                      203:16           25
                                                         216:12         1995
       243:2                                                                             208
                    110              124                                    192:9
                                                       148                                 78:25
                      190:11           205:21,24
                                                         216:19,21
             -                         206:1                                             20s
                    111                                                        2
                                                       15                                  150:12
                      190:16         128
   -ooo-                                                 47:5
                                       206:18
                                                                        2                21
       4:2          112                                  50:12
                                                                                           134:4
                      192:18         12:31               131:10             28:20
                                                                                           199:8
                                       156:17                               29:2
             1      1125                               15-                  223:14       215
                      47:24          12:52               209:2
                                                                                           224:13
                      156:8            156:20                           2.1
   1                                                   16
                      195:8                                                 223:22,      216
       5:24 6:17                     12th                7:6 15:11
                                                                            23,24
                      202:10                                                               229:2
       40:4 88:9                       149:20            20:15
       99:14        113                150:5             22:16          20               22
       128:18,        195:1                              55:3               27:1 47:6      55:20
                                     13                                     50:12
       19,25                                             116:14                            134:6
                    116                97:20
                                                                            133:16
       162:18                                            117:19                            135:3
                      199:15           130:12
       171:18                                            131:21,22                         162:16
                                       184:15                           20-second
       223:14       117                                                                    199:8
                      200:25         132               169                  209:2
   1.1                                                   217:21         200-page         220-page
                                       40:1
       223:16       118                                                                    8:24
                      201:19         133               17                   213:10
   1.2                                                   89:16          2011             222
                                       40:10,11
       223:19       119                                  132:5              32:2,9
                                                                                           106:8
                                       207:23
                      203:16                                                               109:22
   10                                134               170              2012
       47:15        11:37                                217:17             13:14
                                                                                         222-page
                                       40:20
       50:13          118:16                                                               18:7 43:3
                                       41:19           179                  32:10
                                                                                           108:17
   100-and-         11:47              208:25            40:3               97:20
                                                                                           109:15
                      118:19           209:17
   some-odd                                            179.055          2019
                    12                                                                   23
       125:7                         135                 127:18             16:15,20
                                                                                           135:8
                      77:15            41:1,16,          128:6
   101                                                                  2020
       186:3
                      174:4            17                                                24/7
                      184:15
                                                       18                   199:7
                                                                                           71:21
   104                               136                 89:16          2021
       187:7
                    12-hour            41:19                                             25
                      17:7,16,
                                                       183                  199:7
                                       210:8                                               162:16
   10410                                                 227:20,22      2022
                      20,24
       4:17                          137                                    20:1
                                                                                         27
                      92:10
                                       211:23                                              137:4



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9          Filed 05/16/25    Page 265 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   289              3.7              36                4475             5/200.01
       29:15,16       228:25             144:8             146:13           164:12                 7
                      229:11
   29                                360-              45               50
       220:12       3.8              degree                10:25            153:10       7
       221:22         228:6              88:4              92:17            219:11           173:1,2
       226:13         229:9,17,                            95:5                              241:3
                                     37                                 51                   253:24,25
       244:3          18 231:17                            151:3
                                         144:25                             153:15
                      232:21,24                                                          7.1
   2:24-cv-                                            45-day
                      233:17         38                                 52                   241:3
   00074                                                   93:11
                      257:24             145:10                             26:2
       5:4                                             4574                 154:6        7.2
                    3.9              39                                                      241:14
   2:54                                                    251:12
                      231:15,19          145:8                          53
       254:23         232:22                           48                   155:7        70
                                         146:11
   2:56               233:4                                63:13                             26:2
                                     3:00                               54                   171:6,12
       255:1          234:18                               66:10
                                         82:25                              156:3
                                                           151:23                        72
                    30                                                  55
                      95:5           3:01              48-hour                               62:13,25
             3                           259:16,22                          156:23
                      138:7                                66:8,14                           63:2
                      244:5                                             56               72-hour
   3                                                   4826
                                            4                               157:7
       46:16,18     30-day                                 253:19                            62:12
       74:17          93:11                                             57               7:00
                                     4                                      160:19
                                                                                             61:5
   3.1              3050                                       5
                                         127:22
       224:3          37:2                                              5:00
                                         128:4
                      47:23                                                 52:2
   3.10                                                5                                           8
                      145:14         4.1                   130:5
       235:2
                      149:12             237:6             158:6               6         8
   3.11               155:4,9                              237:15
                                     42                                                      4:5
       235:6,10       156:7
                                         147:15        5.2              6
                      158:13,14                                                          80
   3.12                                                    238:5,7          55:1
                      159:10         4255                                                    109:23
       235:7,11                                                             248:24,25
                      161:5              29:4          5.3                                   169:13
       236:23
                      181:10                               238:17       6.1                  176:22
                                     4267
   3.2                195:7                                                 240:24           177:3
                                         130:13        5.4
       225:16,17
                    31               43                    238:22       60               82
   3.3                139:17                                                109:23           177:23
                                         149:1         5.5
       225:21                                                                                178:4,5
       226:1
                    3109             4389                  239:1        61
                      209:5                                                 167:2,5      84
                                         130:4         5.6
   3.4                                                                                       179:13
       226:5
                    32               44                    239:13,18    62
                      139:25                                                167:20
                                         149:11        5.7
   3.5                142:13                                                                       9
       226:17                        444                   239:25       64
                    33                   89:7              240:7            168:12
   3.6                179:6                                                              9
       227:3,15                      4441              5.8              68                   74:14
       228:6,10,
                    35                   38:21             240:15           169:13
                      142:17                                                                 110:2
       24                                                                                    233:22
                      143:14




  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK            Document 57-9       Filed 05/16/25      Page 266 of 353

  Detective Justin Roth         Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   9-bang           9:12                 56:16,22          152:14           252:1            144:16
     79:8             4:6                57:1,2            153:13,21                         154:16
                                                                          above
     201:24                              58:6              154:8                             170:14
                                                                            21:15
                                         59:13             155:6,25                          254:17
   9.0                      A                                               30:13
                                         63:20             159:9,10
     233:23                                                                 136:12         accident
                                         64:11             162:15
                    a.m.                                                                     150:9
   9.1                                   65:21             163:6          abrasion
     241:20           4:6                66:10,23,         164:4,16,        131:17         accidents
                      65:15,18           25 67:4,          22 167:21                         88:5
   9.2                118:16,19
                                                                          absolute
                                         18 69:12,         168:25
     170:23                                                                 94:2           accordanc
                    ability              20,25             170:6
     242:4                                                                  257:21         e
                      8:11,16            70:9              174:6,11,
   9.2(C)                                72:12             14 175:1,      absolutel          237:18
                      17:4,5                                                                 245:19
     243:2                               74:16             6,11,12        y
                      24:4
   9.3                113:19             75:11             177:8            18:18          according
                      142:9              76:2,5,21         180:2,18         39:7             200:21
     243:13
                      226:21             77:13             182:3            108:6            211:5,6
   9.4                258:8              80:10             183:11           111:11           225:25
     243:25                              82:6 83:6         184:8,23         127:2            240:7
                    able                 87:18             185:12           156:15
   9.5                6:2 8:6                                                              account
     244:9,10                            88:25             186:3            176:19
                      81:25                                                                  36:11
                                         89:15             199:5            231:24
   9.6                116:24             91:2,18           201:19                          accurate
     244:13           117:1,9            93:7              203:12
                                                                          academy            8:7 24:24
     246:11           122:22                                                28:7
                                         94:22             209:6                             27:18
                      146:2                                                 100:13
   9.7                                   95:1,17,          212:3,22                          69:21
                      154:19             22 96:16,         213:16,18      acceptabl          82:11
     245:2,22
                      197:22             24 98:5,          214:5          e                  122:2
   9.8                211:7              11 104:25         216:16,18        164:15           123:4
     246:13,20        233:25             105:18            217:17,19                         166:1,12
                                                                            165:6
   9.9              about                106:16            218:8,12         166:8            247:1
     77:20            7:12,14            110:2             219:10           186:25
                                         111:3,24          220:6
                                                                                           accuratel
     246:21           11:2                                                  187:1
                                         112:12,20         223:22                          y
                      13:25                                                 188:17
   90                                    114:13,22         224:4,17         199:13
                                                                                             141:13
                      14:3 15:9
     63:10                               116:2             225:24,25
                      16:5 21:2                                                            accusing
     137:2                               117:16            227:12         accepted
                      22:13                                                                  91:13
     176:14                              118:9,22          229:9            76:7
                      24:3,22                                               242:8,16       acknowled
     180:1                               123:12            232:22
                      25:12,14
     204:25                              126:13,15         233:19         access           ge
                      27:5
                                         127:14            234:2                             68:18
   90-degree          29:15                                                 12:6,7
                                         128:24            239:2            22:2             192:16
     177:18           31:8
                      34:15,20           129:24            240:6            29:11,19       acronym
   94                                    137:17            241:2,3,         58:21
                      39:25                                                                  31:10
     182:12                              138:8             21 244:10
                      41:13,15,                                             110:23           102:13
   95                 24 43:6            142:20            245:3            115:7,11
     63:10                               146:12            246:14,21        124:24         acronyms
                      51:17
                                         149:15            247:12           135:16,          31:19
   98                 53:10,17
                                         150:20,21         249:9,18         21,25            154:11
     184:25           55:1,7,22
                                         151:20            251:16           142:10



  www.lexitaslegal.com                                                                      702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 267 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   acted              46:14          adjustmen         adversari          122:9            120:3,24
     112:22           49:8 73:5      ts                al                 130:22           136:7,24
                      74:20            76:22             71:2,4           137:18           147:10,16
   action
                      82:15                                               150:4,14,        152:2
     41:4                            administe         advise
                      103:12                                              15               154:10
     171:13                          r                   93:5
                      128:6,7,                                            172:15,19        158:2
     207:6                             4:14
                      20 130:12                        aerial             191:25           160:23
   actionabl          136:24         administr           198:13           197:16           163:18
   e                  138:8                                               198:20           164:13
                                     ating             affect
     204:23           144:15                                              201:7,12         165:6,23
                                       33:16             70:22,23
                      162:19                                              208:7            166:16
   actions                           administr
                      167:24                           affiant            209:3            168:20
     33:6,13          170:21                                              215:23           170:6
                                     ative               97:5,8,10
     113:7            177:8                                               230:25           173:3
                                       9:7 13:21
     114:2            183:9,10
                                                       affidavit          231:5            175:3
                                       14:8
     121:9                                               98:20
                      184:11           18:24                              249:12           177:13
     235:9            219:6            19:1            affirm             254:3            178:25
   active             220:8            22:13             253:10           255:15           186:10,
     138:14           223:4            23:1                                                12,23
                                                       affirmati        afterward
                      226:24           29:4,14                                             188:14,16
   actively           235:12                           on               s                  196:10
                                       32:6,16,
     48:12                                               79:16            38:15
                      238:14           21 33:5                                             198:18
                                                                          79:3
   actual             245:17,20        63:7            affix                               203:17,24
                      246:25                                              104:3            211:22
     9:15                              66:16             183:24
                      248:18                                              242:23           219:10
     14:18                             67:1,6
     35:11            249:25           112:15,18
                                                       after            again              224:16
     66:24            256:15                             14:10                             225:13
                                       120:2,12                           9:2,9,10
     76:3 97:3                                           47:24                             228:7
                    add                123:8                              18:20
     123:23                                              49:10                             231:25
                      244:19           133:21                             36:2
     127:16                                              50:8,25                           232:2
                                       163:10                             40:21
     130:10         added                                51:2,13,                          233:5
                                       171:25                             41:24
     137:12           169:17                             18 53:19                          234:21
                                       217:22,25                          46:2,7,10
     143:3            170:13                             55:25                             235:13
                                       218:2                              48:22
     150:21           171:2                              60:23                             252:12
                                                                          54:25
     151:12           200:18         admonish            63:3                              253:6,13
                                                                          56:6
                                       60:12             66:5,19
     152:17                                                               59:25            254:1
                    addition           84:18,21          71:23
     153:12                                                               63:20,25         256:19
                      103:14                             76:15
     161:17,                         admonishe                            64:23            258:2
     18,22          additiona                            78:18
                                     d                                    66:13          against
                                                         79:1
     169:1          l                  85:4,6                             77:22            29:17
     184:11,20                                           81:7,24
                      69:18                                               79:23            68:17,19
     208:20           132:13,19      admonishm           84:2 85:7
                                                                          80:13
                                                         87:7 90:4                         238:24
     215:2            236:11         ent                                  82:24
     218:17                            84:18,23          92:6 93:3                       agency
                                                                          89:15
                    address                              99:18                             75:24
     224:20                          adopted                              92:25
                      147:4                              103:25
     227:12                            200:22                             94:11          agent
                      157:4                              104:6,24
                                       244:15                             100:7
   actually           158:2                              105:1                             58:1
                                                                          105:2            182:25
     27:7                            Advanced            106:21
                    adhered                                               107:14
     45:12                             28:5              107:10
                      229:24                                              113:10



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 268 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   ago                66:23         190:10,           101:5            30:15            214:15
     34:5 43:3        67:12         15,16,17          170:17           31:4
                                                                                      although
     172:18           68:22         191:18                             32:17
                                                    allows                              42:14
     182:11           70:24         192:1                              40:21
                                                      192:6                             45:23
     214:5            71:2,17,      196:9                              47:12,17
                                                      195:19                            240:5
                      20,22         207:21                             55:4,5
   agree                                                                                251:25
                      72:7,14,      212:25          alluded            63:14
     255:5,10
                      25 73:16      213:1,7           224:4            67:1           always
   agreed             79:5,6,16     221:23                             77:21            24:12
                                                    almost
     231:1            80:19         222:16                             80:5             82:20
                                                      58:12
                      81:24         233:25                             81:13            93:25
   ahead                                              80:20
                      83:19         235:15                             85:12            94:3,5
     15:7 44:2                                        117:6
                      84:7          237:7,10                           97:6             99:6
     138:7                                            225:8
                      85:7,15       240:23                             102:8            101:18
     145:7                                            246:10
                      87:20         241:7,15                           107:9            106:18
     167:2
                      91:11         246:10          alone              117:6,9          109:8
     176:21
                      92:2 95:2     247:9             221:1            120:5            134:14
     190:10
                      102:17        248:9                              123:3,9          176:15
     249:20,21                                      along
                      103:16,25     250:8,9,                           131:25           181:13
     255:20                                           27:4 53:1
                      108:16        19 251:19                          133:24
     257:14                                           81:15                           amending
                      109:14        252:6,14                           137:25
                                                      168:21                            42:22
   air                112:19                                           144:22,23
     89:5
                                   allegatio          189:12
                                                                                      Amendment
                      115:7                                            148:3
                                   n                  223:16
     112:3            117:7                                            152:6            34:15
                                    91:8              225:10
                      118:9                                            154:22           35:10,24
   alert                                              235:19
                      123:11       allegatio                           158:19,20        113:23,25
     184:2
                      127:14       ns               alongside          168:10           114:5,8
   Alexander          130:9         66:12
                                                      26:18            186:7            209:4
     4:10 5:2,        131:7,18                                         190:5
                                    90:24           alphanume                         ammo
     10 59:4,6        133:1,3                                          207:1
                                    91:12           ric                                 241:18
   all                135:14,24                                        209:1,2
                                   alleged            251:9                           ammunitio
     6:8,12           137:3                                            217:4
                      150:22        169:15          already            218:1          n
     13:8,12
     17:1             158:23       alleviate          64:24            220:6            241:15
     21:17            160:16        200:9             131:13           222:6
                      161:9                                            225:5
                                                                                      among
     22:5,19                                          166:12
                                   alleviate                                            60:25
     27:2,10,         162:1,19,                       184:23           228:2
     17 31:2          23 163:7     d                  197:16           230:2,12       amount
                      164:9         200:2             207:10           239:19           20:4
     32:24
     33:25            165:1,5      allotted           222:7            248:13           26:1,25
     37:25            166:4         47:22             237:12           252:22           47:4 48:8
     44:24            171:6         101:21            254:14           255:10           54:3,4
     45:17            172:17                                                            81:23
                                   allow            also             alternate
     52:10            173:20                                                            83:4
                                    101:13            12:9,21          46:22
     55:16            174:9                                                             157:15
                                                      15:20
     56:23            177:1,3       186:20                           alternati          192:6
                                    258:4,16          17:13
     57:7 61:1        178:25                                         ve                 205:18
                                                      24:1
     63:5             181:15       allowed                             179:14,20        206:21
                                                      25:2,19
     65:2,20          183:3         64:22                              193:20,          209:7,21
                                                      28:8
                      185:7,18                                         21,24            227:18



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 269 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     228:3            12,20            47:24             45:5 48:4        91:12            237:4
     252:12                            50:8,25           50:15            92:21            244:5
                    Andy
                                       51:3,4,9,         54:2,25          94:13            250:5
   amplified          49:1
                                       18 52:17,         100:15           97:18,22,        252:20
     52:2
                    angle              21,24             230:2            23 100:24        254:3,12
   analysis           142:9,15         53:2,23           233:2            105:2,8          255:7
     14:2             177:18           55:4                               106:2            259:6
                                                       anticipat
     41:10            195:15,18        197:16                             109:1
                                                       e                                 anybody
     45:10,19,                         198:5                              111:6
                    angled                               61:15                             18:10
     22,24                                                                114:21,24
                      159:15         another                                               71:24
     48:3                                              anticipat          117:15
                                       27:3                                                101:23
     49:17          angles                             ed                 118:1
                                       46:20                                               105:4
     89:11            158:18                             84:19            119:12
                                       78:11                                               114:24
     112:25                                                               120:13,
                    ankle              104:22          anticipat                           115:14
     153:24,25                                                            18,20
                      145:19,22        109:16                                              119:20
     154:2
                      149:17,24
                                                       ing                122:7
                                       118:13                                              175:4
     217:19,22                                           9:20             125:15
                                       122:15                                              190:6
     232:25         announce                                              127:11
                                       125:4           any
                      34:16                                               128:15         anybody's
   analysts           36:7,9           148:16            6:10 8:5,
                                                                          129:3            87:13
     87:21                             192:18,20         10,14
                      39:2,24                                             132:21
     135:15
                      54:1             195:2             9:15                            anymore
                                                                          133:18
                                                         10:16                             12:6
   analyze            74:10          answer                               134:17,24
                                                         11:4                              118:1
     75:19            109:3            8:6 10:13                          137:14
                                                         12:5,17                           196:7
     113:20           128:7            21:9,12                            141:5
                                                         14:16
                      190:23           52:4 53:3                          161:9          anyone
   analyzed                                              20:9,17,
                      191:3            66:17                              162:1,19,        10:20
     44:22                                               24 21:19
                      192:5            105:13                             22 163:6         11:7,8
     45:2                                                23:3,18
                      196:12           181:5                              164:9,25         133:14
     54:20                                               25:9
                      209:20           182:8,21                           165:5            174:6
     55:1                                                26:15,17
                      229:24           228:3                              171:25           259:9
                                                         29:13
   analyzing          245:3,6,         255:20                             179:22
                                                         33:1                            anything
     38:6 45:6        17               257:15,16                          182:18
                                                         34:17,25                          21:18
     52:8                              258:5,8,                           185:24
                    announced                            53:5,10                           44:4
     125:14,15                         17,19,25                           187:18,19
                      209:3                              56:25                             52:12
     212:8                                                                189:5
     230:5
                      229:21         answering           60:8,12                           65:24
                                                                          190:20,21
                                       10:4              65:1,6                            68:17
                    announcem                                             194:19
   And/or                                                66:11,15,                         82:11
     126:23         ent              answers                              196:17
                                                         19 70:23                          100:14
                      49:25            53:13                              200:2
                                                         74:2,7                            107:12
   Anderson           50:1             179:5                              201:9,13
                                                         75:22                             117:25
     4:18             51:20            208:21                             204:24
                                                         77:13                             137:12
     10:22            52:21,23         256:11                             205:15
                                                         80:22                             144:21
     11:14,19         53:6                                                208:11
     37:19,23
                                     Anthony             81:1                              166:11
                      209:12                                              216:1
                                       34:20             85:19                             208:11
     255:19           210:12                                              218:22
                                       35:1              86:11,14                          216:6
     256:18                                                               225:9
     257:13         announcem          36:5,16           87:11,12,                         218:13
                                                                          230:19
                    ents               38:4              13 89:10,                         222:21
     258:10,21                                                            231:10
                      37:5             40:23             11 90:24                          234:22
     259:3,8,                                                             235:15



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25       Page 270 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     244:19         appearanc          201:10            131:17         articulat          77:2
     249:2          es                 220:7                            e                  79:11
                                                       armed
                      4:14             228:18                             116:24           80:25
   anyway                                                190:7
                                       237:21                                              81:11
     181:1          appeared                             227:7          articulat
                                       247:1                                               83:17
     182:21           180:11,13                                         ed
                                       250:6           armor                               86:2
   anywhere         applicati                            189:5            110:7            90:13
                                     approving
     123:14         on                                   190:8          as                 91:1
                                       239:3
                      143:3                                               4:23 5:23        92:14
   AOST                                                armored
                                     approxima                            7:20 8:2         93:5,15
     28:5           applicati                            191:23
                                     tely                                 9:16             94:15,20
     100:13                                              195:20,22
                    ons                4:5 9:6                            13:18            96:8,12
   apartment          170:1            10:25           arms               14:21            97:8,14,
     47:23                             12:24             85:1             15:18,22         17 98:20,
                    applied
     55:11,13                          15:17             135:10           19:24            24 99:2
                      21:21
     70:7                              16:19                              20:2,3,15        100:10,
                      252:4                            Army
     86:11                             225:4                              21:2,11,         14,15,16
                                                         116:20
     129:20         appointed                                             18 22:11         101:10
     147:10,17        251:4          AR-15             around                              103:8,23
                                       145:18                             24:23,24
     150:3,11                                            20:12                             105:16
                    apprehend                                             25:2,5
     156:8,9                         arc                 69:22                             106:15,16
                      99:1                                                27:14,15,
     157:9,10,                         15:14             92:16                             107:21,22
                                                                          16 29:2,
     24 158:16      approach                             106:4
                                                                          25 31:2,5        108:3,4
     179:17           39:1           area                141:10                            109:13,
                                       16:8                               32:16
     181:24           228:25                             144:11                            14,19
                                       58:19                              34:19
     182:4            229:11                             155:22                            110:1,2
                                       83:21                              35:8,9
     185:17                                              156:9                             111:3
                    appropria          88:15                              36:4,13
     191:18,22                                           175:1                             115:8
                    te                 137:19                             39:18,19
     195:6,8                                             187:17                            116:8,11,
                      47:4 50:7        145:14                             42:21
     198:17                                                                                18 117:21
                      59:15            196:15          arrest             43:8,20,
     202:10                                                               23 44:1,         121:24
                      227:7            198:14            98:16,19,
     215:14                                                               3,4,5            122:1
                      232:13           202:12            22 116:7
     232:1                                                                45:8,15,         123:20
                      240:12                             193:25
     235:4                           areas                                16,19            124:23
                                                         194:1,4,
   apartment        approval           93:15,24,         12 204:7         46:6             125:24
                      18:24            25 96:23          206:7,11         49:16,17,        126:2,7,
   s                  79:1,4,13                                                            19 128:17
     157:5                           arguing                              20 53:15
                                                       arresting          54:2,14          129:23
     198:14         approve            163:16            7:20
                                                                          56:3             132:24
                      19:19
   apologies          126:23,24
                                     argument          arrived            60:10,13         133:4,5,
     41:21                             148:20            137:19           62:15,25         20,21,25
                      172:6
     232:24                            232:3             139:12           66:7 67:9        134:16
                      239:7
     240:2                                                                68:21            136:11,16
                      242:1          Ariel             arrow
                                                                          69:2             137:10
   apologize        approved           146:24            195:8                             139:12
     46:12                                                                70:12
                      19:18          Arkansas          artfully           72:15            141:22,
   appear             74:20            192:8             132:7            73:23,24         23,24
     125:12           111:1                                               74:1,6           143:1,22
                                     arm
     152:19           126:19                                              76:2,21          146:15
                                       71:18
     165:4            163:9                                                                148:4,10



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9       Filed 05/16/25       Page 271 of 353

  Detective Justin Roth     Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     149:7,8,         229:8        asked               68:23            157:5,9,         16,21
     9,21             233:24         57:12             69:14            23 179:16        52:2
     150:19,21        236:7          71:12             73:1             192:5            53:17
     154:17           237:19         93:7              91:22                             55:24
                                                                      Associati
     158:2            239:11,14      164:19            113:18                            57:7
     159:21           242:15,22      172:10            121:9          on                 58:14
     160:16,24        243:5,12       178:24            237:8            68:2,5           60:2,4
     163:13,16        244:13         180:8,16          238:19         assume             61:4,5,7,
     164:6            245:9          237:25                             101:18           13 62:1,
                                                     assessmen
     165:10,13        246:11,15                                         106:23           20,22,25
                                   asking            ts
     166:5,6          248:23                                            127:9            63:5
                                     10:12             237:8
     167:15,16        253:23                                                             64:25
                                     83:7 95:1                        assumes
     168:9            255:4                          assigned                            65:14,17
                                     127:4                              110:11
     169:11,          256:9,14,                        57:13                             66:9
                                     129:2
     16,24            16 257:2,
                                     145:5             83:24          assuming           70:7,24
     171:20           3,9 258:7                        96:18            7:19             71:2
                                     148:12
     172:19                                                             11:25            73:7,16
                    aside            167:24,25       assignmen
     173:16                                                             12:2             75:9
                      10:17          175:12          t
     174:20                                                             41:22            77:21
                      122:12         178:14            16:15,22,
     175:11                                                             92:5             78:21
                      174:12         252:24            24 25:23
     178:6,9                                                            125:11           79:25
                                     257:8,9
     179:19         ask                              assignmen          142:25           80:8 81:6
     182:2            6:3,5        aspect            ts                                  82:1
     183:20           15:8 29:2      43:16                            assumptio          83:14,17,
                                                       188:9          n
     185:9            33:11          49:15                                               18 84:12
     186:5            35:21          76:20           assist             54:25            85:2,12
     188:9            52:14          97:25             100:21           163:25           86:3,22
     189:20           57:8 64:7      115:25                             177:15           88:4,9
                                                     assistanc
     191:20           67:12          116:9,20,                        at                 89:19,22
     193:2,11,        69:11,15       23 118:1
                                                     e                                   90:6 91:9
                                                       56:4             6:3,4,6,
     12,20            71:5,10        120:12,13                          12 8:2           92:18,23
     196:4,20         72:12,18       166:6           assistant          9:24             102:3
     197:18           75:2,11,       191:2             11:13,15         20:16            106:5
     198:20,          14 77:9        221:16            62:17            22:13,23         107:8
     21,25            86:14          236:18            78:4 96:6        23:17,21         109:5,11
     199:12           94:11                            178:22           25:15,18         110:25
                                   aspects
     201:5            96:16                            237:18           26:8 29:6        113:15
                                     108:17
     204:8,17         100:1                            249:16           30:7             118:4,15,
                                     125:5
     209:6,25         118:21                           253:8            32:20            18 122:23
                                     164:18
     210:17           132:7                                             33:23            125:21
                      144:9
                                     220:25          assisted
     211:5                                                              34:3,6           126:3,10,
                                     255:22            38:6 45:6
     212:14,24        155:6                                             38:20,24         11 127:6
                                     256:21
     213:20           175:3                          associate          40:1             128:25
     214:10           182:21       assertion           158:10           41:1,25          130:4,25
     216:7            209:15       s                                    43:15,21         131:5,8,
                                                     associate
     218:21           210:8,9        110:15                             45:10            16,17,20,
     221:25           249:3,17                       d                                   25 132:1,
                                   assessmen                            47:14
     222:2,5,7        252:20                           74:14,18                          2,10,23
                                                                        48:23
     223:7            253:22       t                   79:4                              138:18,25
                                                                        49:24
     226:6,25                        24:4              150:24                            139:9,16
                                                                        50:4,5,



  www.lexitaslegal.com                                                                  702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 272 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     140:4,10,        222:13         attorney          availabil          37:23            250:12
     23 143:6,        225:3            5:9 38:4        ity                                 252:8
                                                                        bachelor'
     9 144:14         226:14           45:4              66:20                             256:19
     145:14           228:9            163:15,24                        s
                                                         67:10                           backdrop
     146:7,8,         234:19                                              20:19
                                     attorneys           81:5                              216:17
     9,12             235:15                             86:8,17        back
                                       11:20                                               237:9
     147:4            237:1,2,8                          226:19           6:12
                                       134:18
     149:12           242:1                              244:11           16:14,15       backgroun
     151:17           243:5,10,      audio                                19:4,7,10      d
     153:3            11 247:9         88:24           available          20:1,3,11        15:9 58:3
     155:4,9          251:5,9          89:7              34:1
                                                                          32:2             72:8
     156:7,16,        252:5,6                            58:18
                                     August                               48:21            85:14
     19 163:12        253:18,19                          62:19
                                       201:7                              50:23            97:12
     165:14           254:22,25                          67:2 83:1
                                                                          56:2             118:22
     166:16           259:12,22      authentic           84:25
                                                                          58:14            124:1
                                                         86:19
     170:11,22
                    ATL              ate                                  61:3
     172:25                                              87:3,4                          Backman
                      96:6             102:19                             67:22
     177:17                                              119:19,20                         68:3
                      237:17,20        122:23                             76:3
     178:5,15                                            140:22                            130:18
                                                                          79:24
     180:3,5,
                      238:9          authored            158:22                            206:21
                                                                          80:8
                    attach             8:20              160:17                            207:15
     10 181:9,                                                            81:25
                      5:22 6:8         44:14             204:2                             210:12
     10,15                                                                82:22
                      29:2             58:9                                                220:11
     182:17                                            availed            86:22
                                                                                           221:21
     184:5,7,
                    attached         authoring           179:22           87:5
     9,19,21                                                                               244:2
                      23:19            97:9                               91:24
                                                       average
     188:19
                      133:17         authority                            97:19          Backman's
     191:19                                              56:20
                      176:13                                              99:10            226:7
                                       229:21
     192:2,8
                      177:19                           avoid              107:24
     193:2                           authoriza                                           backtrack
                      186:12                             75:3             114:14,21
                                                                                           83:13
     194:20                          tion                                 116:5
                      200:16                           aware                               94:11
     195:18                            196:6                              122:3
                      228:15                             58:25
     196:9,16                                                             145:10,18      backup
     197:10         attempted        authorize           59:3,9
                                                                          149:24           180:19
                      99:21          d                   76:8
     199:16,22                                                            150:6,14,        188:2
                                       192:23            92:19,21
     201:17                                                               18 170:22
                    attemptin          204:11            201:1                           backwards
     202:9,12                                                             182:5
     203:8
                    g                                    211:1                             96:11,13
                                     authors                              185:20
                      139:13                             231:12
     207:14,20                         172:5                              189:5          bad
                                                         239:20
     209:6,16       attend                                                205:22           57:7
     210:25           136:13         Automatic         awareness          211:21           71:11
     211:4,22,        250:19,22        144:13            216:16           214:16           111:5
     24 212:13                       autonomy                             218:22           248:14
     213:23
                    attended                           away
                                       106:24                             219:19         badge
                      207:20                             110:1
     214:12,13                                                            222:17,21
                      220:11         autopsies                                             202:25
     215:22                                                               225:15
     217:5          attending          136:14                 B           227:10         badly
     218:4,10         221:22         autopsy                              228:11,23        64:3
     219:1                             136:13,         B-A-N-D-           231:17
                    attention                                                            bag
     221:10,                           16,18,21                           232:23
                      77:8                             I-E-R-O                             28:18
     15,23                                                                233:17



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK         Document 57-9       Filed 05/16/25      Page 273 of 353

  Detective Justin Roth      Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     131:19           46:25           212:1,2,        because            129:23           249:9
                      47:3,7          15 214:13         10:5             130:24           251:2
   balances
                      50:5,11         217:2             13:2,24          132:16           253:10
     201:3
                      208:1,9         218:3,16          16:17            133:20
                                                                                        become
   ballpark           232:20          224:12            19:13            134:9
                                                                                          26:2
     56:17                            226:10            20:8 22:9        136:16
                    Bar                                                                   60:15
                                      232:10,15         25:23            137:20
   Bandiero           4:17                                                                67:2
                                      233:19            26:24            138:7
     35:2,23                                                                              124:6,8
                    barricade         240:11            29:16,18,        140:18
     36:6,8,                                                                              125:4
                      191:21          241:10            24 30:25         147:24
     16,22
                                      242:19            31:1             150:23         becomes
     38:4,19        barricade
                                      244:3             34:24            151:23           62:14
     39:4           d                 259:4             37:5             153:2            106:20
     40:24            99:5                              38:13            157:23           184:7,20
     42:16            197:24        baseline
                                                        39:21            158:18,22
     44:3                             100:11                                            becoming
     45:5,25        bars                                44:22            159:14,15
                                                                                          16:19
                      185:25        bases               46:2             161:24
     46:7,23
                                      27:17             51:17            164:20         before
     48:4,6         based                               52:22            165:1,7,         6:24 7:1
     50:15            21:25         basic
                                                        58:13            23 170:9,        16:19
     54:2,25          34:7            118:22
                                                        60:3 61:8        13,16            42:14
     100:3,15         53:13           233:21
                                                        62:4             174:9,13         46:14
     102:23           63:7          basically           63:9,25          175:10           47:5,16,
     104:25           65:23           65:10             67:1,7,13        176:9,13         22 50:11
     122:13           66:20           129:19            68:13            177:16           57:12
     208:23           78:7 81:4       234:18            70:4 71:7        184:9            60:13,19
     230:2            82:8 83:4       240:16            72:4,25          186:5            65:20
     233:2            86:8            242:5             73:19            188:19           66:3,9
   Bandiero'          88:13,15                                                            68:11
                                                        75:7,13          189:8,23
                      89:18         basing
   s                                                    76:4,20          191:1            74:12
                      104:16          138:24
     34:21                                              81:8,18          195:12           78:22
                      106:2         basis                                                 94:10
     37:11                                              83:4 87:3        197:3
                      115:19          81:11                                               96:7,16
     40:13                                              89:3,23          200:25
                      119:1                                                               127:16
     41:10                          basketbal           90:12,18         211:16
                      126:14                                                              134:9,20
     42:23                                              91:24            217:8
                      136:14        l                   94:7             218:9,17         142:6
     43:11
                      143:17          190:8                                               149:16
     45:12                                              96:5,20          219:5
                      158:20
     103:7                          Bates               98:4             221:14           153:19
                      160:1,7                                                             156:13,22
                                      29:4              99:18            223:24
   banging            162:4
                                      38:21             104:3,11         225:1            179:7,19
     213:23           166:24                                                              182:24
                                      130:13            106:19           227:24
                      178:25                                                              197:22
   bangs                              251:8             107:12           229:21
                      179:3                                                               208:11
     237:24                                             109:4,5,         230:19
                      181:6         be-all                                                230:15
                                                        20 116:1,        234:14,22
   bank               183:10          160:9
                                                        11 117:3,        235:3,24         232:17
     140:9            187:9         Bearcats            4 124:3,         236:23           233:20
     142:15           188:23                                                              244:10
                                      195:20            14               237:2
                      192:7
   Banks                            became              126:10,          241:6            245:20
                      204:22                                                              246:16
     40:6 41:7                                          11,18            245:12
                      210:4           13:15
     42:2,4,5                                           127:11           248:11,15        249:2,5



  www.lexitaslegal.com                                                                   702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 274 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   began              87:23         238:7,8         better           binder           black-
     210:15           93:11         239:14            19:24            111:25         and-white
                      96:3          242:10,17         21:8 30:3                         140:6
   begin                                                             binders
                      97:19         244:7             33:11
     209:12                                                            123:18         blacked
                      104:13        246:1,10          52:14
   beginning          122:6         247:8             70:20          binding            134:10
     16:15            125:7         248:4,13          75:3,24          113:16         blah
     49:25            132:16        251:20            80:15,17                          252:18
                                                                     birds
     130:11           137:1         253:5             111:7,9
                                                                       180:14         blanche
     203:13           142:5         255:16            121:18
     209:7            143:18        257:10,11         152:21         birthday           67:8
     219:1            144:18                          155:9            134:10,        blanket
                                   believed                            11,22
                      145:17                          157:20                            30:20
   begins                           47:20
                      146:25                          174:17
     42:1                           71:8                             birthdays        blend
                      149:22                          179:2
                                    153:5                              134:19           187:6
   behalf             150:3,7,                        180:16
                                    157:25
     4:8,17,18        12 151:7                        214:22         bit              blended
                                    182:10
                      153:25                                           13:25            173:9
   belief                           187:11          between
                      154:25                                           17:3
     240:13                         198:9             14:1 16:8                       blends
                      157:2                                            22:22
                                    212:20            23:15                             43:5
   believe            158:6                                            39:22
                                    234:24            26:2 36:3
     11:6,12          165:15                                           47:9           blinds
                                    240:12            109:23
     13:14            168:23                                           51:12            210:13,19
                                                      111:19
     15:23            170:4        belonging                           52:6,13          211:14
                                                      112:14
     18:8,24          171:18        157:6                              72:11            215:6,21
                                                      138:14
     25:15,18,        172:7,25                                         75:12,17
     22 26:12,
                                   beneficia          171:6            76:1 82:7      blood
                      175:21
                                   l                  188:7                             151:8
     25 31:14         178:19                                           95:16
                                    178:17            191:15
     32:2,8           179:3                                            97:2 98:4      blow
                                                      199:7
     34:20            181:1,22     benign                              99:19            197:15
                                                      212:6
     35:3,7           185:3         219:15,16                          100:2
     36:10                                            213:14           112:12
                                                                                      blown
                      187:4,23
                                   Bertuccin          223:17                            190:1
     37:6             191:2                                            114:12
                                   i                  228:2
     38:25            194:13                                           118:2          Blue
     39:25            196:11        202:24          bifurcate          124:14           34:21
     43:1             199:8         203:5           d                  164:21           35:5,6,12
     44:23            205:18        211:18            32:5             187:6            36:17
     47:1             207:4,18,    best                                188:8            38:5 45:5
     50:15            24 208:16                     big                214:22           48:4
                                    8:7 59:16         12:24
     51:5,8,22        209:13        71:20                              224:4
     52:24                                            13:2             225:24
                                                                                      blue-on-
                      214:25        95:25
     53:23            215:3                           42:17            239:2          blue
                                    109:9             85:9                              22:10
     54:6,8           217:14        122:1,11                           245:3
     56:15                                            229:10           246:14
                      222:3,10,     141:12,                                           Blueteam
     60:2,3           11 223:21     22,23           bigger                              105:7
                                                                     black
     65:5 68:5        224:21        142:9             111:25           134:10,        board
     71:7 72:3        226:6,8       159:16          biggest            15,25            14:11,12
     74:11,19         227:2         166:1,12          72:21,22         149:21,22        17:9,25
     77:14            233:14        213:11
     80:18                                                                              18:1,17,
                      234:10



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 275 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     20 19:5,       body-worn          125:8             217:9          briefings        bullhorn
     6,14,22          56:23,24         132:23                             23:8             47:25
                                                       breaches
     20:7             60:13            162:13
                                                         21:13          briefly          bunch
     23:11            62:16            209:16
                                                                          65:21            85:10
     46:9 49:6        85:8 87:2        211:24          break
                                                                          75:15            159:23
     78:1,4           88:14,16,        247:6             18:14,19
                                                                          76:5 82:7
     79:25            23 89:13,        251:10            64:9                            Bureau
                                                                          149:15
     85:23,24         21 90:4                            65:16,21                          206:13
                                     Boulevard                            171:22
     86:16            91:10                              118:14,17                         243:19
                                       37:3                               191:14
     99:20            94:3                               128:2,15
                                       47:23                              203:13         burned
     101:6            95:10                              129:3
                                       146:13                             234:18           155:9
     102:3            139:11                             156:14,
                                       155:19                             245:4            159:16
     110:6            211:17                             18,22
                                       156:7                                               180:19,25
     119:18           217:3                              211:13         briefs
                                       161:6                                               181:1
     126:12                                              214:21,23        62:13
                    bold               179:17
                                                                                         burnt
     174:5                                               215:1            100:20
                      161:8            195:7
     179:7                                               236:19           104:7            158:12
     225:1,3        bolded           bounce              254:24                            180:23
                                                                        bring
     247:10,          161:7,10,        222:17
                                                       breaking           27:16          buses
     14,21,23         16,19,23
                                     bound               91:11            61:11            83:22
     248:9,17,        224:13
                                       208:10            129:7                             84:4
     19 249:9,                                                          broke
                    Bolden                               153:2                             131:2
     13,17                           box                                  71:15
                      58:19                              215:15
     250:10                            79:20                                             business
                                                                        broken
     251:6          bolts              186:4,7         breath                              183:25
                                                                          129:11
     253:3,6          205:15                             83:19,25
                                     boxes                                210:13         but
                                                         84:1
   boards           borderlin          176:24                             215:19,21        7:7 9:20
     18:2,3         e                  185:9           Brice              216:8            14:25
     23:16            158:20                             72:2                              17:3
                                     bracelet                           broken-
     102:16                                                                                18:10
                    bored              145:20,23       brief            out                19:23
   bodies             75:6           branches            62:12            216:9            21:17,19
     58:10                                               64:9
                    both               119:9                            brought            22:22
     165:2                                               81:6,14,
                      49:8                                                73:23            25:2 26:6
                                     brand               18,22
   body               75:24            167:10            82:2             96:17            27:20,24
     9:10,12          85:1                                                103:23           30:10,12,
                                       168:18            84:13,15
     38:24            95:20                                               233:10           17 31:22,
                                                         91:20,21
     39:17            108:25         brass                                                 25 34:13
                                                         92:16          buccal
     42:16            109:2            189:22                                              35:4
                                                         189:2            58:16
     55:4,13          129:6            211:25                                              37:13
                                                         206:6
     90:13            148:20           212:4,16                         building           38:3
     98:18            167:11         breach            briefing           195:9            39:15,23
     162:15           176:20                             63:16            208:13           42:16,20
                                       79:8
     190:7            223:14                             84:9             246:7            44:4,22
                                       196:24,25
     193:22           230:1,18                           100:20                            45:18
                                       197:1,5,                         bullet
     194:14           232:2                              104:17,24                         46:13
                                       6,9,11,19                          135:11
     218:20           235:12                             105:1                             48:10,24
                                       198:3,4
     246:22                                              106:5          bullets            49:16
                    bottom           breached            213:3            165:2,3          50:23
                      30:12



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 276 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     51:7,8           116:13        175:3             234:9,11,        131:2            82:21
     52:12            117:6,18      176:1             13,18,21         132:18,
                                                                                      call
     53:1             118:2,9       177:20            236:18           20,22,23,
                                                                                        5:16
     54:8,14          119:15,22     178:10,24         237:21           24 133:1
                                                                                        30:11
     55:20            120:4         179:21            239:2            135:14
                                                                                        38:11
     56:6,20          121:3         181:6             240:7,13         136:7,10
                                                                                        62:12
     60:8,16          122:1,13      182:7,21          242:1,21         138:13
                                                                                        84:2
     62:19,23         124:3,21      183:4             244:10           142:24,25
                                                                                        103:9
     64:23            125:6,11,     184:9,13,         248:15           143:23
                                                                                        105:25
     65:8             15 126:2,     23 185:5          250:25           147:18
                                                                                        106:2
     66:7,10          21            186:7,10          251:15           156:21
                                                                                        121:17
     67:25            127:10,12     188:8,17          252:22           163:3,14,
                                                                                        145:13,16
     68:11,18         128:12        189:2,11          253:21           23,24
                                                                                        171:15
     69:16            132:14        190:25            254:8            166:24
                                                                                        176:24
     70:19            133:11,24     191:3             256:3,9          167:8,10
                                                                                        191:22,25
     71:17            134:17,24     192:13            257:5            169:16
                                                                                        212:10,15
     72:5,15          136:1,22      193:19                             172:24
                                                    buy                                 214:9,11,
     73:2 75:9        137:22        194:8                              186:22
                                                      168:22                            12,15,17
     77:14,22         138:16,23     196:4,7,                           188:20,25
                                                                                        227:14
     78:11            139:15        11 197:4,       by                 189:20
                                                                                        232:1,8,
     82:24            140:17,19     11 198:23         5:7 6:1,         206:12
                                                                                        11,14
     83:8             141:1         201:7,18          18 11:24         208:23
                                                                                        234:23
     86:2,8,20        142:1,14      203:13            13:23            209:18,22
                                                                                        246:6,17
     89:2,18          143:12        205:25            28:21            210:12
     90:6,10,         144:22        206:20            29:5             228:18         call-
     21 91:1,         146:8,9       207:11,14         37:24            232:6,7        taker
     2,5              148:21        208:17            46:19            233:8            223:25
     92:15,25         149:8         211:22            47:22,24         234:15
     93:15,16,        150:14,       212:22            54:24            237:12,22      call-
     18,22            17,21         213:2,7,          62:10,17         249:1          takers
     94:16            151:8,9       14                64:13            254:7,13         102:15
     95:17            154:1         215:18,           65:19            255:2          called
     96:10,24         155:2,21      23,25             69:15            256:13           12:10
     97:9,16          157:14,21     216:3,9,          82:1             257:7,23         49:4
     100:10,          158:5,9,      18 217:4,         83:18            258:13,23        135:17
     16,19            20 159:2,     11 218:1          86:5                              136:1
     101:12           9,22          219:10            87:2,9                            144:10
     102:1,8,         160:11,16     220:6             98:2
                                                                             C
                                                                                        191:9
     11,14,16         161:23        221:17,           102:10,12                         197:1
     103:8            163:19,22     19,24             104:4          C-I-R-T            201:16
     104:9            164:6,17      222:6,7,          107:5,15         8:3              211:13
     107:6            165:9,14      11,13             110:5,18       CAD                212:4,20
     108:3,7,         166:13        223:9             111:1            86:25            214:14
     23 109:4         167:24        224:1,8,          117:1                             235:3
     110:24           168:1,9,      25 225:13         118:20         caliber            251:7
     111:6,9,         25 170:5,     227:10            119:5,8          162:16,20
     13,22,24         16 171:21     228:11,15         122:23           165:9          calling
     112:12           172:10,21     231:12            128:5                             85:3
                                                                     Californi          212:13
     113:22           173:1,6,      232:15,25         129:9
                                                                     a                  233:9
     115:13,18        16 174:12     233:9,14          130:6



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 277 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   callout            158:21         captured            57:13,22         170:7            208:21,22
     59:20,22         183:25           246:23            58:1             173:23           230:12
     60:1,10,         185:25                             59:4,10,         175:1,2          242:20
                                     car
     17,23            211:17                             13 60:8,         181:24           254:3
                                       95:12
     79:9                                                15,17,21         182:24
                    cannot             144:3                                             casino
     82:13,18,                                           61:7,24,         183:6
                      13:21            147:17                                              139:10
     22 83:9,                                            25 62:24         185:17
                      14:23            150:8,14
     15,17,18                                            64:3 65:5        189:7,22       catchall
                      29:17
     88:20                           care                67:19            191:8,18         240:16
                      68:19
     176:24                            174:14            68:3             194:4,13,
                      234:9                                                              categorie
     191:11,17                                           71:9,17          15 201:18
                      242:17         career                                              s
     197:18                                              72:1,19          207:25
                                       15:14                                               18:23
                    capacity                             73:5             208:8,14,
   callouts                            61:20                                               19:1
                      8:2                                74:12            17,18
     60:9                              118:5                                               126:20
                                                         76:15            209:23
     71:22          captain          careful             78:7             212:9          caught
                      60:25
   came                                125:21            79:11,18         219:18           172:24
                      76:24
     6:14                                                81:8,17          223:3,20
                      78:5           carefully                                           cause
     16:18                                               82:23            224:18,19
                      108:8            125:14,21                                           98:21
     32:3 61:3                                           85:1             225:8
                      109:12           126:3                                               167:7
     73:14                                               86:21,24         233:1
                      143:5                                                                181:13
     74:3,8                          cares               87:9,10,         245:6
                      172:8,16                                                             193:25
     77:14                             175:11            15,24            248:11
                      178:6,14,                                                            206:7,9,
     109:7                                               88:20            249:18,24
                      20,24          Carlos                                                11
     130:19                                              89:2,14          254:14,17
                      179:1,8,9        143:6
     165:12
                      187:2,10,
                                                         90:1 91:4
                                                                        case-            caused
                                     cars                93:6,24,                          216:24
   camera             14 221:10        155:15                           specific
                                                         25 94:8,
     56:23,24         239:19
                                                         13 95:5          47:7,18        caveats
     60:13            240:11         carte                                                 187:13
                                       67:8              96:3,19        case-to-
     62:16            243:20
     85:8             248:13,
                                                         99:18          case             cell
                                     case                100:18                            222:9,12
     88:15,16,        15,16                                               81:11
                                       4:10 5:4,         101:2,7,
     23 89:14         249:15           10 12:14                         caseload         Cellular
                                                         8,9,12
     90:4,5                            13:12,17,                          26:1             161:12
                    captain'                             104:2,11
     94:3                              18,20                                               162:3
     139:11         s/                                   106:8          cases              163:7
                                       14:21             107:4
     184:14,17      lieutenan                                             7:3 11:22
                                       17:7              108:9                           center
     202:17         t's                                                   13:14
                                       18:6,13           109:4                             85:9
     211:15           81:14,18                                            46:25
                                       20:5,8            111:6                             146:13
     217:3                                                                49:23
                    captain-           27:1              114:3,18,
     238:24                                                               51:16          centered
                    to-                28:10             24 122:20        54:12            195:10
   cameras                             33:22             123:16,20
                    captain                                               63:9,10
     85:11                             40:7,15,          125:4,5,                        certain
                      188:4                                               74:3 86:6
     87:2,6                            17 41:9           16 137:8                          44:25
                                                                          87:24
     89:17,21,      captains           47:2,13           138:2,24                          58:15
                                                                          97:7
     22 91:11         23:9             48:2              143:22                            78:19
                                                                          102:7
     95:10            188:7            50:10             149:25                            88:15
                                                                          105:10
     144:11                            54:20,24          150:1                             106:17
                    capture                                               125:11
     154:14,21                         55:22             161:2                             110:15
                      144:11                                              135:25



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 278 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     114:2            225:13,14      Chapter           chronolog          23 30:3,         183:23
     115:9                             40:3            ical               4,19,23          194:20
                    chain-of-
     121:22                                              106:11,16        31:15,16,        204:10
                    command          charge
     123:17                                                               17 32:9,         205:3,4
                      238:2            76:23           chronolog
     134:14                                                               16 33:5          206:15
                                       84:10           y
     135:25         chair                                                 38:3             209:11
                                       197:15            137:5
     177:14           253:10                                              42:25            210:17
                                       198:5
     186:22                                            circle             45:4 49:6        211:6
                    chance             207:15
     221:10,15                                           147:12           58:7             216:12
                      249:17         chase                                60:9,15          224:17
   certainly                                             175:1
                    change             140:9                              64:17            228:20
     218:22                                            circled
                      44:6 78:3        181:23                             71:10            242:22
   certainty          110:10,18                          142:2            74:1,6,24        243:12
                                     check               177:9
     242:18           172:3                                               75:14            247:3
                                       79:20
                      186:3                            circles            79:12            248:19
   certifica                           104:22
                      199:25                             141:15           80:14            251:6,21
   tion                                123:9
                      201:1,14                                            83:15,16         257:24
     21:14                           checked           Circuit            86:5             258:3,15
                      233:13
     22:11                             190:1             40:7,22          87:12
                      242:21                                                             CIS
   certifica                           251:13          circulate          92:15
                    changed                                               93:5
                                                                                           155:12
   tions              48:22          checkmark         d                                   158:5
     20:25                                               119:3,4          94:21
                      77:1,19        s                                    96:17
                                                                                           159:8
     21:20            171:24           19:19           circumsta          101:24         citation
   CET                172:1            246:7
                                                       nces               102:1            116:3,5,6
     38:11            186:7
                                     checks              45:11            110:17,18        123:4
     40:3 79:9        188:15                                                               144:5
                                       201:3             47:14,21         112:3,14
     191:1,3,         198:20,25
                                                         50:17            114:16
     9,15             199:1,2,       chief                                               citations
                                                         61:21            115:20
     192:4,14         20 207:5,        62:19                                               122:19,21
                                                         90:17            116:9
     195:25           12 222:2         76:22                                             cite
                                                         133:23           117:16,19
     196:6            226:20,25        78:5                                                117:9
                                                         192:7            118:10
     209:18           230:22           201:1                                               122:15,16
                                                         204:3            119:8
     227:5,17         231:13           248:4                                               123:2
                                                         220:21           121:8
     228:17           233:12           249:16                                              128:12
                                                         241:11           124:7,23
     232:4            234:13           253:7                                               233:21
                                                         244:25           127:10,13
     234:13           239:10
                                     children            246:6            132:19,        cited
     237:3,20         246:3,4
                                       204:4,12                           20,22
     244:15,21                                         CIRT                                211:5
                    changes            227:13
                                                         8:3 10:17
                                                                          133:23           230:12
     246:4            119:23                                              138:17
                                     choosing            13:15                           cites
   cetera             126:4,5,7                                           142:19
                                       101:22            14:22,25                          123:10
     79:6,10          176:17                                              152:15
                                                         16:2,12
                      200:13,17      chose                                156:4,24         192:8
   CETS                                                  19:11
                      201:9,13         141:20                             157:12,14      citing
     196:7,19                                            22:16,23
                      247:3            191:1,4                            161:1            151:24
     230:5                                               24:10,14
                                                                          168:3
     256:1          changing         Chris               25:11                             161:4,5
                                                                          169:8,12         198:19
                      110:3,17         143:11            26:17,21
   chain                                                                  171:1            207:24,25
                      111:4                              27:9,16
     27:15                                                                174:7,24         233:18
                      246:2                              29:10,22,
     143:5                                                                175:22



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 279 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   citizen          clarifyin          131:11,16         248:15           85:24            204:19
     85:22          g                                                     99:6             214:1
                                     Clements'         Cole's
                      113:21                                              120:5
   citizen's                           136:4             178:6                           command
                      124:13                                              134:24
     256:17                                              240:11                            16:8
                      253:17         client                               151:19
                                                                                           27:15
   citizens                            134:14          collabora          170:22
                    clarity                                                                58:19
     85:22                                             tive               190:13
                      140:14         clip                                                  109:11
     86:18,19                                            36:2             198:6
                      164:21           62:15                                               137:20
                                                                          210:3
   civil              191:7                            collapsed                           143:5
                                     close                                236:21
     14:2,7           200:14                             139:11                            225:14
                                       86:2                               237:12
     68:18                                                                                 240:22
     255:7,11,      Clark            closed            collectiv          250:12,23
                      184:10           13:14,18,       e                  252:8          commander
     17
                                                         121:9                             73:10,23
   civilian         Clarkson           20 14:16,                        come-up            76:24
                      238:22           25 138:22       collectiv          117:12,13
     18:20                                                                                 172:20
                                       139:2
     102:14         classes                            ely              comes              178:15
                                       250:15,17
     133:14,          117:18,20                          27:14            19:4             179:10
     15,19,24         256:23         closing                              22:12            188:11
                                                       collects
     247:23                            68:21                              27:14            238:11
                    clean                                84:7
                                                                          35:9             245:14
   civilians          67:13          clothing
                                                       color              51:21
     14:13                             142:8
                                                         140:17,18
                                                                                         commander
     18:10          cleanest           161:14                             52:17
                      94:2                               141:11           54:16          s
     20:8                              162:4                                               240:17
                                                         148:6            76:10
     25:20          clear              163:7
                                                         169:14           84:3,6         comments
     107:19,20        41:5             167:9,10
                                                         170:12           85:23            105:3
     117:3            121:4          co-chair                             93:3
     119:6,16,        134:21                           color-                            committee
                                       253:11                             102:7,9
     17,18            196:16                           schemed                             172:4
                                     cobbled                              105:20
     247:18           198:15,16                          168:20                            231:10
                                       220:3                              116:2
     248:6            211:21
                                                       colors             140:14         committin
   CJ               cleared          cocaine             168:23           158:21         g
     177:4            82:1,3,4         208:15                             191:21
                                                       column                              197:25
                      90:11          coherent                             211:24
   clarifica                                             27:11                           common
                      210:14           85:4                               212:8
   tion                                                  28:22,24
                                                                          224:18           165:1
                      241:5
     132:4                           coin                105:6
                                                                          248:8          commonpla
                    clearer            176:20          come
   clarifica                                                              254:13         ce
                      52:14
   tions                             cold-               16:13,17
                      141:6                                             comfortab          180:22
     200:18                                              25:22
                                     cased                              le               communica
                    clearing           139:3
                                                         28:9
   clarified          95:19                              29:16            212:12         tion
     206:10,          198:10         Cole                37:15          coming             197:20
     14,15                             172:8,16          46:22                             198:1,8
                    clearly                                               20:15
   clarify                             178:14            51:24            63:23            223:6,12,
                      116:24
     112:13                            179:1,9           52:15            67:4 74:4        15,17
                      141:22
     138:11                            187:2             71:11            149:4
                    Clements           239:19
                                                                                         communica
                                                         76:13            153:22
                      72:3             243:20            82:21            154:3
                                                                                         tions



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 280 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     20:20            98:1             25 237:1,         210:3          conduct          conform
     57:8             125:6            5                 218:11,          23:8 62:3        126:16
     117:14           184:5                              17,18,19,        100:12
                                     concern                                             confused
                      236:19                             20 222:22        211:19
   community                           93:15,24                                            227:12
                                                         224:25           227:17
     75:25          completin          94:1                                                229:3
                                                         226:1,5,6        255:6
     145:6          g                  170:15                                              236:22
                                                         228:9
                      160:24           171:4                            conducted
   comparabl                                             229:16,18                       confusing
                      171:1                                               98:2
   es                                concerned           230:6,10                          31:20
                                                                          156:7
     208:20         complex            14:22             232:9,16,                         236:5
                                                                          255:15
                      70:7             164:7             21 235:25
   compelled                                                                             confusion
                      150:4,11         180:9             236:7,13       conductin
     29:18                                                                                 151:9
                      158:16                             240:14         g
     63:15                           concerns                                              200:3,4,9
                      195:6                              241:24           85:12
     65:7                              106:1
                                                                          98:16          congruent
     68:13          complexit          143:1,7         conclusio                           219:11
                                                                          155:13
   compile          y                conclude          ns                 209:18         Connor
                      108:15           78:19             8:21 9:9
     80:21                                                                235:21           24:4
                                                         19:6,10
     84:12          complianc        concluded                            256:1            69:14
                                                         20:4,6
     108:18         e                  50:1                                                73:2
                                                         34:14,15,      cone
   compiled           203:20           51:13             18 43:11,        88:13            91:23
     12:4             226:10,13        52:18             20,23                             113:14,16
                                       104:1                            conferenc
     144:17         complied                             78:13,22                        conscienc
     210:4                             200:13            80:9           e
                      33:7,15                                             62:24          e
                                       229:19,23         120:21
   compiles         complies           259:22                             65:25            71:15
                                                         121:12
     6:7              186:16
                                     concludes           126:20         conferenc        consider
   compiling        comply             86:20             169:21         es                 126:4,6
     122:11           114:4            259:14            209:25           64:20            204:2,24
                      233:20                             218:8,21                          236:7
   complete                          conclusio                          confirm
     9:7 23:11                                           219:2,9,                        considera
                    compromis        n                   15 222:17        42:12
     32:15                                                                54:14          tion
                    ing                20:2              228:24
     56:1                                                                 68:11            126:9
                      190:2            38:23,25          235:14
     120:2                                                                128:14
                                       39:1,14           247:10                          considere
                    computer                                              133:12
   completed                           40:24             248:12,                         d
                      37:9                                                170:16
     12:9 18:5                         42:24             15,19                             98:13
                      140:18                                              207:14
     55:20                             46:22             250:2                             119:6
                      231:21                                              217:24
     79:10                             48:7              251:3,6                           120:23
     81:24          computer-          50:20             252:13,          222:4,7
                                                                                           164:11
     84:15          aided              55:6              14,15          confirmed          199:12
     143:23           86:25            74:3,5,8          257:19           192:1
     204:25                            78:18,23                                          consisten
                    computers                          condition          204:11
     207:17,18                         79:2,14,                                          cy
     253:3            85:10                            s                conflict           235:16
                                       23 80:6
     254:14         concealme          120:18            112:23           101:25           236:16
                                       121:13            257:25           214:4
   completel        nt                                                                   consisten
                                       165:15,22         258:3,15
   y                  235:8,15                                          conflicts        t
                      236:3,23,        205:3,4                            111:9
     29:13                                                                                 54:19



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 281 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     236:12         contact          contradic         cordial            112:16,23        165:12,
                      187:17,18      ts                  70:20            113:2,3,5        15,17
   consistin
                      224:22           209:20                             114:6,16,        167:13,
   g                                                   corner
                      235:14,18                                           17 119:3,        17,18,22
     259:15                          control             195:9
                      236:6,8,                                            9,23             168:4,7,
                      20 237:4         38:10           correct            121:6,10,        11,13,14
   constitut
                                       75:9              5:20 9:1         11,22            169:4,19
   e                contacts           227:21
     229:20                                              12:23            122:3,4,         171:14
                      236:20           254:12            14:4             9,10,17,         173:14,
   constitut        contained        controlle           15:4,11,         18,24            18,19
   ed                 227:5          d                   12 17:22         123:5,6          177:11
     46:4                              191:10            19:12,15,        124:5            179:18,
                    content
                                       199:10            22 23:25         125:17,22        22,23
   Constitut          102:19
                                                         24:10,20         126:5            182:15
   ion                107:9          controlli           25:7             127:8,24         183:19
     31:8             108:2
                                     ng                  28:25            129:7,11         185:2,3
     113:7,8          118:23
                                       233:1             29:25            130:16,          186:8,9,
     255:23           122:7
                                                         31:16,17         17,22            13,14,16,
                      123:23         controver
   constitut                                             32:18            131:11,          23,24
                      144:8          sial
   ional                                                 33:2,3           12,23,25         187:3,8,
                      161:5,17         147:20
     30:22                                               35:13            132:11,14        22 189:2
                      163:13           212:8
     31:14                                               38:8             133:3            190:18,19
                      173:5            214:10
     32:13                                               40:6,18          134:4            191:12,13
                      212:1,2
     33:7,15                         controver           42:11            135:13           192:11,
     113:11         contentio        sy                  44:15            136:8,19,        12,15,16
     213:17,25      us                 99:19             45:14            25 137:1         193:4,5,
     231:2            174:21           147:25            46:1             138:2,20         10,16,17,
     255:7,11,        175:10           180:2             48:8,9,16        139:8            21 194:9,
     17,21                             212:3,6           49:18,19         141:8,9          10,23,24
                    context                              54:21            143:15,16        195:15
     256:10           17:23            232:10
     257:10                                              55:11            144:22           196:1,6,7
                      162:22         conversat           60:18
     258:9,20                                                             146:3            198:25
                      186:15,18      ion                 64:18
     259:1                                                                147:6,7          199:3,21,
                    continue           98:5              66:1,24          149:5,6,         25 200:7,
   constitut          159:18           181:16            68:14,24,        13,14,17         23 201:21
   ionality                                              25 73:7,         150:23           202:14,15
                    continued        conversat
     35:18,19                                            13 76:9          152:2,4,         203:4,7,
                      70:7           ions                78:13            5,12,18,         11,14,21,
   construct                           187:9
                    continuit                            80:8             23,24            22
   ed                                  242:19
                                                         82:13,14,        153:13,14        204:15,
     73:22          y
                      80:9           convey              17 83:11         155:4,5,         16,19,20
     164:17
                                       116:25            94:18            20               205:3
   consulted        contradic                            100:5            156:11,12        206:16,17
                    t                cops                101:13
     38:3 45:4                                                            157:17           207:17,21
                      134:2            158:11
     229:23                                              102:25           158:14           208:1,15,
     230:1          contradic        copy                103:15           159:11,23        23 209:12
                                       39:9              104:6,19         160:2,12,        210:1,2,
   consultin        tion
                                       121:25            108:11,12        15 161:2,        6,7,19,
   g                  192:17
                                       122:2             110:12,19        3 162:21,        20,23
     230:13           214:6
                                       161:17            111:10           24               211:3,4,



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 282 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     8,9 212:5        247:7,15,        244:25          course             221:6,9,         30:25
     213:22           16 249:11                          21:13            11,23,25         32:5,18,
                                     countdown
     214:4,24         251:1,18                           25:22            222:6,14         21,22
                                       85:16
     215:2,6,         258:9,20                           61:4                              68:19
                                                                        COVID-19
     9,19,24          259:2          counted             90:10                             72:8
                                                                          187:14
     216:4,10                          209:8,11          201:11                            112:16
                    corrected
     217:6,13                                            245:1          CPR                120:12
                      54:24          counter-
     218:4,5                                                              139:14           133:25
                                     surveilla         court
     219:4,25       correctio                                                              154:25
                                     nce                 4:6,14         Craig
     220:4,9,       ns                                                                     155:12
                                       155:16            6:5 7:1,         4:18
     10,13            25:16,17                                                             158:5
                                       181:3             3,13 8:2         10:22,24
     221:6,9,         75:23                                                                181:12
                                       185:25            9:18 24:7        11:2,7
     18,19,24         107:10                                                               218:1
                                       189:6             40:7,15,         17:17
     222:2,9,
                    correctly                            17,22            37:22          criminall
     15 223:14                       counter-
                      66:22                              46:25            134:13         y
     224:7,10,
                      77:1           surveilli           47:2,12                           29:17
     11,15,16                                                           Craig's
                      108:24         ng                  49:23
     225:20,22                                                            11:8           crisis
                      117:9            189:9             113:13
     226:2,3,                                                             135:1            196:20
                      120:8,17                           114:4
     16,22,23                        counterme           183:24         crazy
     227:1            121:16                                                             criteria
                                     asures              209:2,22         108:1,6          18:23
     229:13         correlate          189:6             259:18
     230:14,                                                            create             60:15
                    d                counting
     15,23,24         145:24                           courts             12:4           critical
     231:3,13                          49:24             234:16           79:12            13:7 22:1
     232:20         Corrine            51:2,25                                             23:2,5
                      4:16 5:8         52:9,16         cover            created
     233:1,2                                                              26:9             25:5 29:3
                                       53:6,7,15         191:24
     234:21         Corvell                                               88:20            31:3,6
                                       54:15             235:7,14,
     235:5,9          145:21                                              122:9            32:6
                                                         18 236:3,
     237:10,14        149:20         countless                            168:12           77:22
                                                         6,9,21,
     238:6,7,         177:4            21:6                               247:13           135:22
                                                         23,25
     15,16,19,        194:5
                                     County              237:1,4,5                       cross-
     20,25                                                              creating
     239:4,5,       Corvell's          184:10          coverage           168:15         examinati
     8,9,11,          146:2                              188:6            176:23         on
                                     couple
     12,21,22       couch              26:14                              218:10           152:20
                                                       covered            247:12
     240:1,2,         87:19            53:8                                              culminati
                                                         27:17
     9,10,21,                          56:19                            crime
                    counsel                              133:1                           on
     25 241:1,                         57:10                              87:21
                      4:13                               184:23                            137:22
     4,5,12,                           71:15                              135:14
     13,16,17,        11:14,15                         covering                          Cumberlan
                                       87:6                               136:8
     22,23            259:9                              188:9,10,
                                       104:2,4,                                          ds
     242:6,7,       counseled          5,6               12             crimes             20:22
     13 243:6,        224:14,21        128:12                             15:20
                                                       covert             58:11          curiosity
     16,17                             145:7             154:13,15
     244:6,7,       count                                                                  134:8
                                       172:18                           criminal
     11,12,17         51:16,19,                        COVID
                      20,23
                                       219:21                             13:6,21,       current
     245:7,8,                          221:2             73:7,8                            20:25
                      54:19                                               23 14:3,5
     10                                254:20            187:17                            25:13
                      90:9                                                29:14
     246:18,19                                           220:8,24                          49:10



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 283 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     75:20,21       date             deadline          debate             175:14           7:6
     144:4            81:7,13          80:24             53:5                              11:13,15,
                                                                        deficienc
     170:24                                                                                20 14:13,
                    daunting         deadlines         decide           ies
     173:10                                                                                21 15:11,
                      26:3             81:1,4            185:1            75:22
     228:20                                                                                15 17:2,
                    David            deadly            decided            109:24           12,15
   currently                                                              120:4
                      102:6            23:3 31:5         61:9                              18:21
     22:3 24:9                                                            241:19
                                       37:1                                                21:7
     61:10          day                                decision           256:6
                                       61:22                                               22:2,6
     79:3             6:13 18:4                          34:7
                                       63:17                            definitel          23:5 28:4
                      22:19                              46:10
   custody                             65:11                            y                  34:2,11
                      24:17                              52:19
     95:14                             68:23                              116:23           35:8
                      61:20                              58:1
                                       72:22                              181:20           43:16,17
   cut                92:2                               63:17
                                       73:3 93:8                                           52:25
     10:6 40:8        125:3                              72:22          definitio
                                       113:16                                              53:8
     146:7            130:20                             73:3
                                       114:8                            n                  62:16
                      132:3                              106:1
                                       217:22                             233:10           63:14
                      146:6,9                            143:9,12
          D           157:3
                                       224:18,20
                                                         159:25         definitiv          64:13
                                       248:7                                               75:2,23,
                      163:12                             188:14         ely
   DA                                                                                      25 77:24
                      165:14         deal                195:25           148:21,
     163:8                                                                                 78:20
                      170:11           28:11                              22,23
     164:14,19                                         decision-                           80:15,17
                      180:15           72:10                              234:9
     166:25           181:9            105:11          making                              96:12
     170:14           182:25           113:10            18:25          degraded           105:5
     224:5                                               176:5            165:2            110:3,4,
                      183:8            116:8
                                                                                           11,20
   DA's               188:19           224:23          decisions        degree             111:2,14
     61:1             211:16           255:22            113:13           20:19
                                                                                           115:24
                      248:14                                              117:14
   Dan                               dealing           deem                                116:1,12,
                      256:8
     102:7                             61:19             133:8          delete             14 117:2,
                    daylight           63:25                              12:11            8,14
   danger             212:18           78:25           deemed                              120:22
     97:22                             177:13            23:4 47:4      deliberat
                                                                                           124:25
                    days                                 65:8           ion
   dangerous                           190:25                                              135:20
                      57:11                                               18:22
     227:7            58:19
                                       227:4           deep                                144:19
                                                         96:8           deliberat          154:11,25
   dangling           67:5 95:5      deals
                                                         208:20         ions               159:16
     90:12            147:3            223:19
                                                                          250:2            163:3
                      150:4            235:10          defeating
   Darcy                                                                  252:1            171:3
                      220:12           236:25            205:15
     143:11                                                               253:2            172:22
                      221:22
                                     dealt             defendant                           174:16
   dark               226:13
                                       208:14          s                delineate          201:14
     211:15           244:3,5
                                       221:2             4:19           d                  228:21
     242:25         de                 224:19                             69:12            230:2,8
                      58:21                            defended                            241:17
   data                              death               187:2          denied
     88:3,11        dead               71:23                                               247:24
                                                                          172:15
                      146:7                            defense                             248:6
   database                          deaths              110:21         departmen          251:4
     144:17           205:15
                                       23:4                             t                  256:7
                                                       defensive                           257:20
                                                                          4:12 5:4



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 284 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   departmen        deputy           detailed            30:7             179:16         differenc
   t's                62:19            23:12             58:18,21         198:15         es
     50:18            76:22            52:10             60:24            230:6            171:10
                      78:5             116:8             89:18
   departmen                                                            determine        different
                      201:1            174:4             97:21
   t-wide             248:4            185:15            102:17         s                  7:9 14:18
     119:19           249:15           255:15            145:4            16:25            18:2
                      253:6                              154:17                            25:10
   departmen                         details                            developin
                                                         163:2                             41:20
   ts               derived            16:11                            g                  42:9
                                                         164:2            34:17
     14:17            123:16           62:24                                               46:21
                                                         165:20           125:13
     96:23                             86:3                                                51:12,15
                    describe                             169:16
                                       94:7,8                           device             52:7,13
   depending          22:22                              170:25
     16:9             165:10         detective           172:1            205:14           54:12
                                       4:9,21            182:1                             56:18
   depict           described                                           devices            59:21
                                       15:22,24,         206:13           55:14
     195:12           75:15                                                                67:19
                                       25 24:15,         242:22           154:13
                      149:21                                                               70:15
   depicting                           16 25:2,                           201:20
     177:21
                      167:16                           determina                           74:21
                                       4,17 27:3                          203:19
                      169:11                           tion                                101:8
                                       30:8,14
   deploy                                                33:13          Devonte            104:18
     189:19
                    describes          58:22
                      167:15           60:11             47:6 96:1        149:6,10         112:1,25
   deploying                           61:10             170:12                            113:9
                    describin                            172:11
                                                                        diagram            118:7
     204:1                             74:6                               136:9
                    g                  83:16             188:12                            121:9
   deposed            164:10                                              203:8
                                       84:11                                               124:14
     110:14                                            determine
                    descripti          86:7              32:12
                                                                        dialed             125:11
   depositio                           100:22                             107:21           129:24
                    on                                   33:5
                                                                                           142:14,15
   n                  21:25            107:11,16         73:24          dialogue
     5:1,23,24                         109:15,16                                           148:6
                                                         75:20            45:11
     6:7,23         descripti          118:10,12         83:25
                                                                                           149:25
                                                                          80:4
     8:2,19         ons                124:7                                               150:20,22
                                                         84:16            218:7
     10:18,21         161:25           152:7,11,                                           168:10,23
                                                         89:11            219:5,8
     11:2                              16,21                                               177:25
                    designed                             112:19
     12:18                             167:15,21         117:5
                                                                        dicey              178:16
                      202:2,3,7                                           184:1            182:10
     34:14            203:19           169:7             119:23
     38:12                             171:7                                               185:9
                      205:19                             152:25         dictate
     41:21                             175:11                                              186:5
                                                         160:3            185:4
     46:16          despite            179:21                                              188:7
                                                         165:21
     58:4             213:11           180:7                            dictates           191:7
     209:7            224:8            181:7           determine          185:1            195:14
     219:1,3                           206:6,10        d                                   207:2
                    destroyin                                           differenc
     259:15                            224:14            52:16                             213:18
                    g                                                   e                  216:8
                                       251:21            56:8
   depositio          208:15                                              14:1             217:25
                                       259:15            90:11,18
   ns                                                                     23:14            221:2
                    detail                               95:24
     110:23                          detective                            111:16,19        246:24
                      75:17                              143:13
                                     s                                    191:15           252:3
   depth              94:5                               150:16
                                       25:16                              194:3
     13:25            111:22                             157:21
                                       26:18                              213:5,6,
     76:2                                                163:22
                                                                          14 256:2



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 285 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   different          239:23,24      discussio         diversion          27:7             122:11
   ly                                ns                ary                45:10            135:14
                    discrepan
     100:2                             34:23             201:20           52:11            136:1,7,
                    cy                                                    71:7,24          10,21
     110:12,16                         171:9             203:19
                      228:1                                               77:25            150:15
     174:20                            210:5
                                                       divide             85:15            157:16
     175:17         discretio          231:4,9
                                                         109:1            91:19            159:6
                    n                  251:15
   difficult                                                              95:4 97:4        166:18
                      205:6                            division
     17:9                            dismiss                              115:8            170:4,8,
                      237:23,25                          75:18
     158:17,19                         178:1                              120:1            10 171:3
     183:20         discs                              dock               142:18           201:10,
                                     disorient
     184:20           259:16                             87:6             154:22           13,15,17
                                       202:8
   difficult        discuss            203:20          doctors            178:25           215:19,20
   y                  6:20             213:22            82:1             197:5            218:9
     39:22            84:19                                               240:22           220:12
                                     dispatch          document           244:4            231:5
   dig              discussed          87:1              6:4
                                                                          245:17,19        244:21
     112:20           109:21           88:24             37:10,17
                                                                          254:15           246:17
     208:20           168:9            223:17            97:5
                                                                                           249:22,23
                      179:19                             116:2,3        DOJ
   diminishe                         dispatche                            32:3
                                                                                           251:19
                      195:13                             119:7,21
                                     r                                                     252:24
   s                  222:6                              121:20
                                       223:25                           dominate
     95:16            227:11                             134:12                          door
                                       224:2                              41:2
                      228:2,9                            135:20                            54:7,9
   DIO
     61:1             258:7          dispatche           172:10         done               128:3,16
                                                         173:21           10:13            129:3,7,
                    discusses        rs
   direct                                                187:12           14:5 18:4        10
                      217:21           102:15
     26:7                                                188:21,23        22:10            158:16,18
     35:22          discussin        dissolved           222:20           27:6 55:4        182:5
     40:16                             15:21             249:5            58:6             184:19
                    g
     66:19                                               251:25           62:17            189:7,23
                      89:19          distincti
     192:17                                              253:15           63:19            197:15,16
                      98:9           on
     214:6                                                                66:5,23          198:4,6
                      164:18           94:25           documenta          77:5             205:16
   directly           179:14           112:14          tion               80:8,19          210:16
     26:16            190:11           138:14            187:19           81:23            212:17,19
     192:10                            194:11
                    discussio                          documents          84:2 85:7        213:23
     202:25
     207:25         n                distract            6:9,10           86:5,22          214:1,13
                      53:5,10          203:20            10:17            91:22            217:9
   disapprov          98:11            213:22            11:4             92:5             221:13
   al                 137:14                             17:17,19         93:21            228:4,25
                                     distracts                            104:8
     19:1             142:19                             87:13                             232:6,7
                                       216:24
                      152:20                             92:22            106:14           234:19
   disciplin
                      180:17         distribut           187:11           107:7            258:5,8,
   e                  206:19                                              109:20           17,19,25
                                     ed                  214:11
     242:24           208:6                                               110:11,16
                                       243:16,17                                         double-
   discrepan          219:19                           dog                118:6
                      240:11         district            198:12           120:7,9,       checked
   cies                                163:15,24                                           107:15
     219:24                                            doing              14,16
     225:10                                              21:16            121:16




  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 286 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   double-            257:19           88:14           Earth              157:9          emotional
   edged                               90:10             139:21           160:12           72:4
                    drafting
     174:9                             99:19             182:13,14        168:7
                      96:25                                                              employees
                                       101:6             183:3            170:4
   doubt              125:19                                                               132:13,
                                       102:16            195:2,4          183:24
     52:11                                                                                 19,21
                    drafts             135:5                              186:25
                                                       easier                              133:13
   down               115:1,3,         152:14                             197:14,20
                                                         21:9
     9:19,21,         8,12             180:8                              198:10         enable
                                                         76:19
     23 19:24                          207:2                              220:16           186:21
                    dressed                              129:25
     29:6                              220:8                              224:22
                      190:8                                                              encapsula
     34:3,4                            231:9           easily
                    drive                                               elapsed          te
     71:15                                               122:22
                      12:7,15,
                                     duties                               210:11           218:19
     85:5 89:8                         33:17           easy
     91:11            22,25                                             elderly          end
                                       61:4              61:24
     105:20           13:4,8,9                                            204:4,13         6:7,12
                                       237:19
     133:2            86:23                            education                           9:20
                                       255:4                            electroni
     136:16           89:1                               20:18                             14:10
                      121:22         duty                               c
     153:3,16                                          effected                            16:12
                      123:17           255:5,12                           98:23
     162:12                                              169:24                            50:21
                      135:17,18                                           145:24
     167:11                          dwelling                                              57:11
                                                       efficient          154:13
     182:16,        drone              97:23                                               78:21
                                                         77:24            187:20
     17,22            198:11                                                               120:9
                                     dynamic                              201:11
     183:15                                            effort                              137:11
                    drones             41:4 83:3                          221:14
     192:2                                               27:9 36:2                         151:17
     198:9            198:13                                            electroni          153:19
                                                         125:10,13
     208:2          drop                    E            127:5          cally              163:12
     209:14           88:13                              166:16           201:4            165:14
     211:24                                              230:17                            167:7
     215:22         drove            each                               element            170:11,22
                                                         241:7            232:4
     226:17           108:1,6          56:17,21                                            178:6
     236:19                            84:20           efforts          else               180:10
                    due                91:22
     247:6                                               213:12           11:8 61:1        188:19
                      161:10
     251:9                             188:9                                               197:24
                      204:24                           eight              72:24
                                       219:12                                              218:10
   download                                              15:17            95:14
                    duly             earlier                              96:8             252:5
     87:3                                                69:17
                      4:22
                                       15:10             94:20            100:14         end-all
   dozens           duplicate          42:16                              123:14
                                                       either                              160:8
     7:25 58:9      d                  58:3                               133:14
                                                         8:1 16:10                       ended
   Dr                 173:1            72:12                              134:1
                                                         28:13                             85:3 90:6
     152:16                            76:2                               220:15
                    Durante                              32:9 42:8                         189:7
     167:8                             121:4                              244:19
                      146:13                             58:6
                                       152:3                              250:13         ends
   draft              147:4                              68:22
                                       160:25                                              51:20
     76:12            157:3,16,                          73:23          email
                                       192:13
     115:4,13         23 181:10                          84:24            79:18          enough
                                       224:5
                                                         99:5             105:25           79:19
   drafted          during             246:15
                                                         108:22           200:11           92:1
     74:8             11:4           early               110:21           243:20           100:19
     115:22           58:18            93:23             132:1          emergency          116:15
     122:3            61:4                               154:15           89:8             159:17



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 287 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     160:6            191:8            158:6             235:19           145:15           104:10,14
     171:11                            180:23                             151:10           105:5
                    entries                            et
     183:3                             184:4                                               112:3
                      135:11                             79:6,10        ever
                                                                                           116:13
   ensure             196:20         essence                              6:23 7:1
                                                       et al                               135:22
     27:17            245:19           18:13                              8:1 15:6
                                                         4:11,12                           241:17
     123:1                             22:9                               34:9
                    entry                                5:3,4                             249:16
     192:5                                                                73:11
                      38:10          essential                                             250:10,13
     200:14                                            evacuatio          77:18
                      50:7             100:12
                                                       ns                 94:13          everyday
   entailed           55:4,10,
                                     essential           191:19           97:17            100:12
     208:12           13,14
                                     ly                                   99:4
                      57:4                             even                              everyone
   entails                             12:8,12                            115:14
                      124:12                             12:6                              104:7
     12:10                             14:10                              138:22
                      129:11                             45:9,20,                          173:17
     22:24                             15:24                              174:6
                      191:10                             21 49:13
                                       16:7                               182:16         everyone'
   enter              196:13,15                          63:22
                                       18:4,7,11                          220:19         s
     189:17           199:10                             64:18
                                       19:23                              249:5            114:19
                      208:12,19                          72:5 73:8
   entering                            20:6                               254:2
                      215:8,12,                          77:1                            everythin
     47:5,16,                          23:1,21
     23 208:7,
                      13,15,16,                          79:10          every            g
                      17 227:21        28:1                               10:6 20:2
     12 232:7                                            97:16                             8:18 9:19
                      229:22           39:11                              22:19
     237:3                                               105:14                            12:14
                      233:20           65:2 73:2                          24:17
     245:21                                              111:7,8,                          18:16
                                       84:19                              56:7,14
                    equipment                            25 116:8                          22:9 46:8
   entire                              87:10,11                           57:7
                      154:18                             118:7                             68:15
     44:14                             88:2                               61:18
                      155:1,2                            126:4                             72:24
     89:15,20                          112:5                              68:8
                      241:14                             134:13                            84:12
     107:5                             154:11                             69:10
                                                         138:21                            85:21
     137:22         error              168:6                              73:20
                                                         158:10                            89:25
     155:19           44:22            173:8                              78:18
                                                         178:12,16                         109:9
     189:23                            182:8                              80:6 88:2
                    errors                               184:17                            116:1
                                       196:13                             93:25
   entirely           115:23                             187:11                            124:24
                                       197:17                             104:8
     35:25            116:4                              208:12                            138:24
                                       201:25                             112:1
     37:13            213:11                             216:7                             168:19
                                       202:6                              115:25
                                                         223:4                             176:13
   entirety         escaped            205:16                             124:25
                                                         226:12                            236:1
     18:6             197:22           206:22,24                          175:18
                                                         243:9                             237:21
     22:14                             212:7                              176:12
                    Eshe                                 251:23                            241:18
     43:4 56:6                         220:12                             178:8
                      241:8            223:6           event                             evidence
     88:10                                                                212:11
     183:2          especiall          225:17            84:17            218:19           90:8
     218:20                            227:9,10          135:23                            123:20
                    y                                                     234:24
     251:18                            236:10            144:6            236:14           157:22
                      17:11
                                       238:23            150:4,5          249:13           169:14,25
   entities           43:5
                                       243:3                                               170:25
     61:2             55:21                            events             251:3
                                       245:15                                              193:1,6,9
                      69:24                              75:19
   entity                              247:22                           everybody          242:12
                      71:16                              145:25
     200:16                                                               19:4 36:3
                      95:9,22        establish         eventuall          57:4 61:1      evidence.
   entrance           100:18         ed                                                  com
                                                       y                  95:8
                      108:19           163:3



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 288 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     87:4             70:18,22       executive           57:24          explanati
   exact            excerpts         s                   58:12,14       on                      F
                                       30:13             61:9 62:5        168:21
     35:4             152:16
                                                         70:12            182:9          facing
     77:16                           exhibit
                    excluding                            74:1             196:3            184:18
     88:12                             5:24 6:6,
                      122:20                             94:23,24         252:19
     92:3                              17 28:20                                          fact
                                                         95:1             259:4
     140:13         exclusive          29:2                                                33:24
                                                         96:20,24
     218:4          ly                 46:16,18                         explanati          62:1
                                                         97:1,11
     219:12           25:24            127:22                           ons                71:13
                                                         117:13
   exactly            26:24            128:4             170:7            200:15           84:6
     18:16                             130:5                                               104:14
                    exculpato                            179:4,11       explosive
     22:23                             248:24,25         257:9                             110:18
                    ry                 253:24,25                          21:13
     44:6 50:9        169:14,25                                                            116:15
                                                       expert             79:8
     51:6,8           170:25         exigency                                              136:21
                                                         27:22          explosive          166:24
     80:10            242:12           186:4,7           35:4,18,
     103:13                            208:6,10,                        s                  167:16
                    excuse                               24 45:24                          176:8,16
     137:21                            14                                 202:2
                      28:16                              55:5                              187:2,14
     141:24
                                     existing            58:4,8         exposed            188:23
     143:21         execute            13:15             100:6            148:18
     155:21           97:17                                                                190:5
                                                         248:3
     181:20                          exit                               extension          201:12
                    executed                             255:22                            202:1
     191:16                            250:3                              112:5
     236:15           124:3                            experts                             204:17,24
                                     exiting                            extensive
                    executing                            23:9 29:7                         212:15
   EXAMINATI                           157:4                              57:22
                                                                                           215:23
                      33:16                              99:12,13
   ON                                exits               102:22         extent             232:10
                      73:12
     5:6                                                 210:6            221:10           245:11,16
                      97:13            191:18
   examined           98:12            250:10            230:14                            257:21
                                                                        extenuati
     4:23             207:16                             249:15                          fact-
                                     expand                             ng
   example          execution          75:12           explain            244:25         check
     21:8             98:15                              27:25            246:5            185:20
                                     expanded            31:25
     22:25            124:6            69:17
                                                         75:17
                                                                        exterior         fact-
     23:6,12          220:22           246:17                             203:1          finding
     60:7             229:19                             97:2 98:3
                                                                          232:1            34:11
     78:24            231:3          expect              166:15
                                       126:25            184:14         extremely          46:8
     79:1 81:6
                    executive          127:6,12          206:20           75:6
     90:1                                                                                facto
                      17:8 23:9                          223:5            158:17
     137:17                                                                                58:21
                      25:19          expectati           226:4            174:7
   examples           57:25          on                  227:3                           factor
     50:6             62:13            125:24                           eye                94:3
                                                         229:16
                      63:7,16                                             172:24
   excellent                         expected            245:24
                                                                          182:2          facts
     218:9            104:3
                                       20:9            explained                           63:7
                      105:12                                            eyes
                                       62:11                                               103:24
   except             107:18,20                          143:1
                                                                          158:18
                                       237:5                                               204:8,22
     168:19           142:25                           explainin          183:5,11         210:4
     250:10           143:10         experienc         g                  184:4            217:19
   exception                         e                   99:8                              219:21,23
                                       20:9



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 289 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     230:10           31:4             188:9             142:17           23:10          firearms
                                       214:10            199:4                             28:9
   factual          familiar                                            find
                                       219:24            205:10                            161:9
     52:5,6           56:12                                               28:12
                                       223:7             216:14,                           162:2,19,
     146:19           124:2,9,                                            39:21
                                       224:20            15,24                             20,23
     177:13,14        11,18,20                                            78:24
                                       236:7                                               163:7
                      125:2,4,6                        field              94:6,7
   failure                             239:14                                              164:10,24
                      127:1,7                            15:19            98:22
     18:25                             256:9                                               165:1,5
                      171:21                                              99:11
     50:22                             257:3           fighting                            185:24
                      208:16,17                                           150:13
     78:21                                               150:10                            241:14
                                     farther                              161:21
     211:10         familiari                            169:8
                                       17:3                               170:19         fired
     230:7,21       ty                                   171:6,8
                                                                                           53:19,21
     232:9            251:24         farthest            175:9          finder
                                                                                           90:7
                                       142:2                              33:25
   fair             family                             figure                              150:12
     7:21 9:13        82:25          fast                80:2           finding            205:17
     53:12                             223:1                              93:13
                    far                                figures                           firm
     59:1                                                                 214:6
                      14:21          fatal               96:4                              11:16,17
     78:10
                      15:7             88:5                             findings           35:7,11
     93:23                                             file
                      19:24                                               19:4
     94:25                           feedback            76:14                           first
                      31:5                                                40:15
     103:3,4                           105:23,24         86:23,24                          4:22 6:4
                      32:16                                               253:21
     104:20                                              87:10,15                          28:17
                      34:19          feel
     106:22                                              88:21          Findley            29:3,7
                      35:9             24:19
     137:3                                               89:1             89:4 96:5        37:15
                      44:1,3           54:7
     167:1                                               101:2            220:17           41:16,25
                      81:11            80:16
     168:2                                               254:17           238:6            47:8
                      87:18            164:5
     171:11                                                                                51:21,22
                      94:20            166:2           files            fine
     180:6                                                                                 52:17
                      98:24            174:14            13:12            5:18
     194:22                                                                                53:8,20
                      100:10,15        190:24                             32:25
     220:23                                            fill                                54:15
                      105:16           243:12                             228:25
     226:12                                              86:19                             55:10
                      106:15                                              239:17
     231:23                          felony              162:5,23                          63:19
                      107:22                                              241:11
     239:16                            192:23            180:22                            69:16
                      109:19                                            finish             70:25
   fairgroun          110:2          felt              filling
                                                                          9:3,4,21         83:20
   ds                 111:3            152:22            160:24
                                                                          104:23           87:24
     88:11            117:21           155:15
                                                       final              107:2            89:22,24
                      133:21,25        168:7
   fairly                                                12:4,21          250:8            91:15,18
                      137:10           212:12
     124:8,18                                            105:21                            93:4
                      143:22                                            finished
     194:23                          female              114:16,24                         106:17
                      148:4,10                                            10:4,12
                                       147:25            115:5                             199:16
   fairness           158:2                                               52:22
                                       148:2,16,         122:8                             210:12
     25:1 46:7        159:21           23 167:16         220:4          fire               216:24
                      160:16                             243:2            72:20
   fall                              few                                                   219:22
                      163:13,16                                           86:10            224:18
     19:2                              7:7,8,9,        finalized
                      164:6                                                                244:5
     114:2                             10 9:11,          115:5          firearm
                      166:6                                                                247:4,21
     177:18                            14 46:12          172:21           72:20
                      174:20
   falls              183:20           119:8                              177:15
                                                       finally
     18:22            185:9            123:22                             241:4,5,8




  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 290 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   first-             81:9           focusing            26:3             22,25            16,17
   arriving           86:10            143:2             27:7,21          100:3,19         179:6
     139:12           93:10                              28:4             101:2            180:16
                                     folder
                      108:15                             29:14            102:11,13        183:12
   Fisher                              12:8
                      184:22                             30:3 32:3        103:16,19        184:13,15
     145:21                            123:18
                                                         34:22            104:9            185:16,
     149:21         five-            follow              35:19            106:22           23,24
     156:8          shooter            76:17             38:11,25         107:6,8,         187:20
     185:18           55:22            107:1             39:1,4           9,20             188:1,9
     193:25                                              43:2,25          108:18           189:3,21
                    fix              follow-up
     194:5                                               46:9             109:8            191:6,7,
                      81:16            64:8
   fit                188:18                             49:12            111:14           24 192:6,
                                       72:25
     13:4,5                                              52:4             112:15           23,25
                    fixed              105:17
     14:22,24                                            53:12            113:16,21        193:3,8,
                      81:20          following           54:3             115:24           13,15,25
     15:3
                      94:9             38:6 40:2         55:25            116:7,13,        194:4,5,
     29:11,13,
                      144:14           44:23             56:21            14 119:15        8,12,13,
     22 30:23
     31:17          flash              45:2,6            57:17            120:9            14,15,16
     32:19,23         237:24           132:12            58:10            121:17           195:19
     33:2 61:1                         134:3             59:18            122:13,          196:19
                    flashes            135:3             60:7,8,9         19,21            199:11
     62:12,13
                      202:4            136:2,5
     63:1,4,11                                           61:13            124:13           202:16
     64:16,23       flashligh          141:8             63:24            126:20           204:11
     65:7,22        t                  142:16            64:23            127:10           205:5,15
     81:7             217:12           144:25            66:11,20         129:13           206:9
     85:12,15                          146:22            67:25            131:17           207:9
     87:5,11,
                    flip               167:19            68:2 69:9        132:4            208:18,19
                      165:25                             70:11            134:8            213:17
     12,20                           follows
     113:14         flipped                              71:13,20         137:16           216:1,14
                                       4:23
     119:11,12        252:2                              72:9 73:1        143:2,12         218:14
     132:23,                         footage             75:24            145:5,13,        219:3,18,
     24,25
                    flipping           217:4             76:14            16 146:20        20 221:2
                      42:17,21                           77:23            147:3            226:13
     133:2,6,                        for
     9,16,17        flooding           5:12 7:6          78:24            148:12,20        227:5,17
     136:10,          41:4             8:19              79:1,5,6,        152:20           229:14,21
     11,12,15,                         10:1,18,          13 80:9          153:4            231:18
                    flophouse                            81:6,14          154:12           233:14
     20,23,24                          21,24
                      204:18                             82:4,23          155:9            235:13,
     189:4                             11:8,13,
     195:22         fluid              14,17,20          84:19            159:18           15,22
     236:14,16        83:3             12:18             85:19,21         160:7,25         236:10,16
                                       13:12,13          88:9             162:20           237:25
   FIT's            fly                                  89:13            163:13           242:18
     14:23            88:16            14:24
                                       15:11,16          90:22            164:13           244:2,15,
   five             focus              16:5,19,          91:3,20,         172:3,10         18
     7:11             115:20,21        25 17:9           21,22            173:4,5          245:11,14
     49:13                             19:24             92:3,8           174:11           248:1,19
                    focused                              96:19            175:4            249:8,11,
     55:23                             21:21
                      191:5
     58:12                             22:10,16          97:12            176:10           23 250:2,
                      225:9
     63:20,25                          24:4,13           98:19,21         177:3,14,        3,10
     69:17                                               99:1,8,          25 178:8,        251:3,18,



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 291 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     20 252:2,      form             four              frequente          8,14,19,         145:6,21
     13 253:5,        18:8             11:20           d                  20,22            148:1,15
     17 254:4         76:14            14:13             147:18           53:1             149:4,25
     256:22,23        79:4,13,         18:20                              55:2,3,5         152:1,16
                      19 186:21        19:1            frequenti          56:4             155:11
   force                                               ng
                      233:10           58:20                              62:5,25          156:4
     13:6                                                147:11,17
                      255:19           85:21                              63:4             157:2
     14:6,14
                      256:18           119:18          fresh              64:21,25         165:6
     23:3,18,
                      257:13           237:7             63:6             65:1,3           168:18
     22 31:5
                      258:10,21        247:23                             66:15            172:7
     32:23                                             Friday
                      259:3            248:6                              70:4,12          174:23
     37:1                                                67:3
                                       252:15                             71:3             178:5
     47:5,24        formal
                                                       friendlie          83:12,22         180:7
     61:22            76:12          four-team
                                                                          84:7,8,9         182:14
     63:17                             60:3            s
                    formattin                            184:2
                                                                          86:17            183:3,17,
     65:11
                    g                fourth                               87:18            22 185:6
     68:23
                      213:11           34:15           friendly           88:24            187:12
     69:6,12
                                       35:10,24          70:19            90:12            189:17
     70:1           former             44:18             175:19           92:22            190:17
     72:22            48:15            113:23,25                          93:13            192:3,10
     73:3 93:8                                         friends
                    forming            114:5,7                            96:11,13         195:14
     113:17,20                                           71:20,23
                      125:20           209:4                              98:8             198:21
     114:8                                             from               100:10           200:10
     117:5          forth            fragment            9:2,4            102:9            203:17,24
     143:3            24:7 50:3        165:3
                                                         10:17            103:6,8,         206:11
     175:25           209:22           202:3
                                                         11:7             10 104:3         207:25
     176:6            222:17         fragmenta           12:14            106:5            208:8
     199:22                                              13:20
     217:23
                    forward          tion                                 107:23           209:8,11
                      40:25            205:19            14:6,22          108:15           210:11
     218:3                                               18:9
                      79:21                                               110:20           216:12
     224:18,21                       fragmenti           20:21            112:7            217:24
                      114:14
     225:9                           ng                  22:10,13
                      153:22                                              114:24           218:1
     237:2                             205:18            24:7
                      154:3                                               117:3            221:3
     247:25                                              25:21
                      178:7          frame                                120:6,24,        230:2
     248:7                                               27:10
                      189:24           47:22                              25               232:2
   forced             218:11           141:16            28:8,9           122:12,15        233:2
     229:22           233:3                              29:13            123:4,5,         241:8
     233:20                          frames              30:12,14         13,16            246:3,9
                    found              141:21            34:2,5,21        129:20           247:24
   Ford               50:12,14                           36:16
                                     Frankenst                            130:4,20         248:5
     145:17           121:13                             40:13,14,        134:1,13         253:2
                      218:2          ein
   forget                              173:11
                                                         16 41:7,9        136:10,
     89:3 91:5        225:5,10                           42:6,9,24                       front
                                                                          15,18,20,
                      241:10         Frankenst           43:15,21                          17:11
     201:6                                                                21,22
                      257:24                             45:12,17                          23:12
   forgot                            ein's                                138:20
                      258:3,15                           46:6                              28:23
                                       173:12                             139:7,11,
     16:3                                                                                  57:11
                    foundatio                            48:3,11          19,20,21
     126:19                          free                49:15                             102:22,24
                    n                                                     140:9,22
     185:5                             24:19                                               103:14
                      160:25                             50:17,18         142:8,15
                                       166:2             51:3,5,6,                         123:19
                      195:25                                              144:8



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 292 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     142:6          game-              238:9             156:13           241:6            135:21
     143:20         planning           252:14            158:17,23                         183:7
                                                                        give
     144:16           62:2,8,10                          159:22                            225:15
                                     generic                              6:12 8:7,
     170:10                                              160:9,13                          227:8
                    gang               86:24                              11,16
     184:19                                              164:16                            238:10
                      168:21                                              10:6,7
     198:21                          get                 165:2                             252:5
                      194:4,13                                            17:23
     210:16                            20:11,21          173:15                            253:9
                      206:12                                              18:12
                                       26:1              175:13,25                         258:24
   frozen                                                                 21:8
                    gap                27:18             182:6
     97:24                                                                22:25          gives
                      25:25            31:20             183:1,4
                                                                          28:17            18:6
   FTO                                 34:13             184:1,20
                    Garrity                                               29:18            88:12
     15:18                             37:14             185:6
                      68:20                                               36:19            253:20
     58:15,22                          42:5,17           191:19
                                                                          37:8
                    gas                51:11             193:17                          giving
   full                                                                   38:1,2
                      183:9,25         53:7              196:5                             17:6
     5:11 7:12                                                            54:4
                                       55:8,20           197:22                            47:24
     10:7           gather                                                56:17
                                       57:13             198:6,14,                         81:5
     18:12            33:25                                               63:16
                                       60:11             23 200:6                          166:4
     41:16,25                                                             84:13
     44:18          gathered           63:4 66:4         217:17
                                                                          86:8
                                                                                           212:19
                      136:15           70:2 75:1         219:12                            213:24
     52:23                                                                90:23
                                       80:23,24          221:13                            228:3
     78:4           gave               81:23,24          222:16
                                                                          93:20
     120:2            17:7                                                107:10         glad
                                       84:9              238:14
     153:5,19         18:10                                               109:9            174:13
                                       85:20,25          242:23,25
     183:4            36:6,11                                             128:20
                                       86:2,3            249:15                          glass
     199:16           99:14                                               129:22
                                       88:17             252:23                            215:16
     219:19           116:5                                               133:9
                                       89:21,24
     246:11           145:25                           get all            137:1          global
                                       90:19
                      176:14                             92:22            166:1,11         76:20
   full-time                           91:16,17
                      182:8                                               176:15           81:15
     16:20                             95:25           gets
                      190:21                                              185:7,15
                                       96:8 99:9         87:5 94:8                       globally
   fully              249:12                                              197:17
                                       103:24            95:14                             81:16
     93:16                                                                205:25
                    gear               104:7,9           107:7                             112:20
                                                                          231:6,21
   function           94:4             105:12,17         114:19
                                                                          253:22         go
     16:7             131:7,18         107:21,24         144:19
                                                                          254:20           10:5
                      135:9            109:9,20          180:22
   further                                                                                 18:15
     47:12                             114:21            236:22         given              19:4
                    geared             115:8,10                           6:23 8:1
     94:15            83:8                             getting                             32:24
                                       116:15                             9:5 18:7
                      236:17                             27:6                              35:8 39:5
   Fusion                              118:23                             50:8
                                                         49:14                             41:19
     144:18         general            123:13,22                          51:1,3,19
                                                         63:18                             43:9
                      11:14,15         127:16                             53:13
                                                         72:4                              44:2,9
                      39:1             130:9                              56:25
          G                                              91:21                             50:23
                      99:23,25         134:12                             63:13
                                                         98:18                             52:10
                      104:7            135:25                             64:13
   gain                                                  133:25                            56:2,9,24
                      107:6            144:17                             66:13
     203:19                                              158:21                            57:2
                      182:24           151:18                             90:17
                                                         174:17                            59:20
   game               227:20           153:4                              105:6,24
                                                         184:4                             60:5 61:2
     63:18            235:14           154:18                             111:1
                                                         229:3                             62:24
                      236:6,13         155:1                              121:24



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 293 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     64:21            223:1         256:21            162:9            4:16 9:5         51:14
     69:4             225:13                          171:17           37:4 57:6        158:4
                                   going
     71:21            226:17,21                       177:18           74:21            173:20
                                    5:22 6:3,
     79:21            227:9                           181:1            88:25
                                    4,5 15:3                                          Graham
     81:25            228:11,                         182:21,22        89:12,24
                                    28:16                                               24:3
     82:7,9,          23,24,25                        185:4,19,        107:3
                                    32:20                                               69:14
     15,20            231:15,23                       20,21            111:5
                                    33:9 37:8                                           73:1
     83:2,10,         233:24                          187:17           120:23,25
                                    38:16                                               91:23
     20 85:7          235:2                           189:17,          166:6,22,
                                    40:25                                               113:13,15
     91:9,24          237:6,15                        18,19,20         23 174:24
                                    45:8
     96:1             245:14                          196:10           197:10         grainy
                                    46:15
     98:22            247:4,6                         197:7,25         229:11           140:5
                                    56:18
     106:9,10,        249:20,21                       199:4
                                    59:14,24                         Google           grainy-
     17 109:13        250:11                          204:19
                                    62:2,3                             119:13         looking
     111:22           252:11                          209:14
                                    64:7                               139:21           87:25
     114:14           255:20                          210:8,9
                                    67:12                              182:13,14
     118:5            256:19,23
                                    75:13
                                                      213:8
                                                                       183:3          grammar
     125:25           257:14                          216:17                            107:8,21,
                                    89:5,23                            195:2,4
     129:23                                           233:3,16                          22
                    goal            92:7,13
     134:16                                           239:1,13       got
     135:18
                      66:4          93:12
                                                      241:8,20         19:19          grammarly
                      80:14,24      95:6,7                                              118:6
     136:16                                           242:4            20:14
                                    99:14
     138:8          goes                              248:22,23        28:17          grammatic
                                    103:2,13
     139:17           14:11                           249:2            37:19          al
                                    106:24
     143:7            16:8 17:3                       251:16           64:3             116:4
                                    108:25
     145:10           19:5 37:5                                        66:23
                                    112:20          Gold                              grammatic
     150:13           40:1,3                                           74:20
                                    114:13            34:21                           ally
     153:16           41:6 42:5                                        85:1 89:4
                                    115:1,3           35:5,6,12                         118:7
     154:17           48:3 55:2                                        90:4
                                    118:11,           36:17
     155:24           56:9 62:9                                        100:17         great
                                    21,23             38:5 45:6
     162:1,12         68:8                                             104:13,14        121:1
                                    119:3,5,          48:4
     165:2            79:14                                            114:24           123:1
                                    16,17
     168:7            84:8 90:4                     gone               126:11
                                    120:4,5                                           greater
     169:6            100:10                          42:15            144:2
                                    123:13                                              77:25
     176:22           105:5                           49:20            155:9
                                    126:6,8,
     178:9            107:7,11,                       99:4             158:12         grenade
                                    12 127:17
     181:25           17 108:7                        115:14           159:16           201:25
                                    129:17,22
     182:16,25        116:7                           123:1            163:25           202:1
                                    136:14,23
     183:7,12         133:21                          146:7            166:21
                                    137:18                                            grid
     185:19,20        142:5                           158:4            172:6,19
                                    138:7                                               130:1
     186:5            148:11                          224:20           180:19
                                    143:23
     195:21           159:21                          244:18           191:7,9        Grimmett
                                    144:7
     197:7            183:21                          257:4            202:13           152:8,9,
                                    147:2
     203:23           185:10                                           213:23           10,12,21
                                    149:4           gonna
     208:25           188:25                                           224:25           167:8,15,
                                    151:18            123:22
     212:14           207:8                                            245:12           21 169:7
                                    157:10,24
     213:20           231:25                        Gonzalez           247:10           171:7
                                    158:23
     216:19           235:2                           131:22           248:15           175:11
                                    159:2
     218:11,21        238:8                                                             179:21
                                    161:20          good             gotten
     219:17           247:14                                                            206:6,10



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK           Document 57-9       Filed 05/16/25      Page 294 of 353

  Detective Justin Roth        Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     224:14           236:7             181:9,10        handwritt          164:13         heard
                                                        en                 229:6            252:20
   Grimmett'        guessing          halfway
                      254:8,10          47:10             9:16           harm             hearing
   s
     152:17                                             hanging            208:12           6:8 7:14
                    guidance          Hancock's
                                                          189:9                             206:6
   grinding           100:22            205:12                           harsh
                                                                                            250:16,17
     254:15                                             Hank               181:3
                    guideline         hand
                                                          143:6                           heavily
   ground           s                   6:5 10:9                         having
                                                                                            72:7
     90:5             231:2             12:8            happen             4:22
     131:19                             38:13,17          37:6             16:18          held
                    gun                 59:22                              39:22            24:12
                                                          50:10
   groundwor          90:19             107:2                              42:14            47:3,13
                                                          87:5
   k                  165:7             194:2,4                            51:13,14         83:22
                                                          104:8
     219:22           177:8,10,         209:15                             78:10            203:2
                                                          126:12
                      15,20             231:17                             97:20,25         209:2
   group                                                  188:16
     27:14          guy                 248:22                             116:10
                                                        happened                          help
     109:13           67:20                                                144:8
                                      handgun             65:11                             77:24
     206:6            84:3                                                 157:19
                                        176:25            70:3                              145:5
                      95:14                                                178:15
   grouping                             177:12,21         75:20                             164:20
                                                                           207:10
     29:7           guys                                  91:18                             172:11
                                      handheld                             216:15
                      21:16             201:24            93:10            221:1,21       helped
   growing            48:11                               106:20
     118:9                                                                 225:17           176:18
                      51:16           handing             111:5            227:12
   guess              58:25             109:15            129:24                          helping
                                                                           242:19
     9:10             71:12,19,                           137:14,18                         95:8
                                      handiwork                            255:15
     24:16            25 72:7           177:1             145:14,15        257:4          here
     32:17            83:14                               150:4                             4:7,10
     37:13            86:11           handle              173:19         head               5:20 6:20
     39:13,23         107:3             13:22             181:12,22        7:6,7
                                                                                            7:15
     54:6,23          120:14            25:24             252:9            9:11,14
                                                                                            13:18
     76:12            126:25            26:24                              11:12
                                                        happens                             21:18
     80:1 83:7        175:18            30:7 31:1                          77:17
                                                          18:16                             29:25
     98:3,8,25        180:16            59:16                              124:22
                                                          60:23                             30:16
     100:1                              61:19                              125:8
                    GVB                                   82:2 83:2                         38:17
     101:17                             77:11                              147:23
                      206:12                              85:21                             41:18,23
     112:6                              251:22                             148:19
                                                          88:21                             43:8
     123:20                                                                169:22
                                      handled             106:5                             45:15
     125:16                H                                               187:6
                                        174:20            116:12                            53:9
     127:3                                                                 233:12
                                        175:22            188:7                             54:6,15
     138:22         hadn't              231:8             197:24         headings           55:9 57:2
     139:13           73:8                                242:23           190:13           62:22
     141:1                            handles
                      93:16                               247:12                            64:15
     160:13                             11:21                            headshots
                      207:20                                                                72:15
     166:21                                             hard               131:10
                                      handling                                              78:9 82:8
     185:11         half                                  43:4
                                        237:19                           hear               86:10
     187:13,16        10:25                               61:25            18:9 56:6        87:19
     194:11           66:23           hands               72:9             174:25           95:18
                      91:18             95:21             80:24
     218:15                                                                252:9,10         100:8
     228:13           155:18,25                           148:15



  www.lexitaslegal.com                                                                     702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 295 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     103:8            77:9 78:2        209:16            148:7            63:13            113:8
     105:25           89:5             210:10            153:3            66:10            114:23
     120:14           90:16            232:8             158:1            69:23            115:9,11
     121:5,24         93:18                              161:11           87:7             117:21
                                     highlight
     122:1,7          105:13,18                          175:22           174:4,6          119:4
     132:24           107:3          s                   184:3            184:15           124:11
     133:11           115:9,10         124:21            188:12                            131:5,8
                                                                        house
     134:16,          234:18         highly              190:7                             137:7,9,
                                                                          95:19
     22,25            240:17           219:18            194:1,9,                          21 143:21
                                                                          99:2,3
     136:10           243:3                              16 206:9                          149:8
                                     himself                              128:16
     139:5            244:4                              223:20                            154:19
                                       179:22                             129:4
     150:13           247:4                              225:6,11,                         155:10
                                                                          182:2
     153:17
                    hidden           hinder              18 243:8
                                                                          198:17
                                                                                           160:9
     165:11                            133:25                                              162:5
                      78:17                            homicides          202:7
     169:1                                                                                 173:6
     174:10         high             hit                 88:5             245:21
                                                                                           175:1,6
                      23:5             144:19          honest           houses
     180:15                                                                                183:10
                      140:10           212:17            213:9            245:18
     185:4                                                                                 185:2
     186:3
                    high-            hitting           honestly         how                194:17
     190:20                            232:6                                               197:2,4,
                    definitio                            241:23           7:23
     192:3                                                                                 9,11
     193:2,11,      n                hold                255:23           10:23
                                                                                           206:24
                      141:25           153:16            257:16           12:24
     12 196:4                                                                              207:8,11
                                       196:12,                            13:16
     202:12,        high-                              hooded                              220:25
                                       14,24,25                           16:12
     20,21                                               148:5,18                          231:2,7
                    profile            197:1,5,                           25:10
     206:19                                                                                240:18
                      180:24           6,9,11,19       hope               30:11
     208:1                                                                                 246:17,
                                       198:3             256:11           35:20
     211:1,2        high-                                                                  24,25
                                                                          36:8,17
     213:19         ranking          holding           Hoskins                             249:10
                                                                          37:11,21
     216:8            17:11            40:22             189:24                            251:16
                                                                          42:17
     222:8                             42:6              210:15                            256:7
                    high-risk                                             48:22
     235:19                                              212:17                            257:15,16
                      23:3           Holly                                50:18,19
     242:15                                            hospital                            259:5
                                       4:6                                52:15
     244:14         higher                               85:2             53:22          however
     245:9            47:10          holster             131:15,17        54:19            33:24
     246:15,23                         135:11
                    highest                            hostage            55:16            41:6
     251:9
                      20:17          home                244:24           56:16,20         42:1,4
     257:25
                      140:22           237:3                              57:13            47:6
     258:4,7,                                          hour
                      141:2,3                                             62:2,3,8         55:13
     16                              homicide            10:25            66:5             63:12
                    highlight          59:19             69:20
   here's                              138:21,24
                                                                          70:13,14         71:9,12
                      167:14                             70:3,9,11
     78:3                                                                 77:1,11          81:13
                      218:14           139:1,8,          92:17
     79:20                                                                78:15            91:7
                                       9,15              155:18,25
     91:7           highlight          140:2
                                                                          81:15            110:21
     106:1          ed                                   214:5            96:12            115:7
                                       141:23
     219:14           41:23                            hours              101:3,4,         123:3
                                       142:1,6,
                      161:7                              21:6             19 106:9,        124:8
   hey                                 20 143:7,
                      195:8                              55:24            14,15,24         132:24
     21:19                             22 145:4
                      206:1                              62:13            111:6            133:7
     45:16                             147:6



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 296 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     143:4            18,20,23,      identifyi           75:4,20,         133:4,7          193:12,
     148:6            24 172:17      ng                  22 76:7,         134:23,24        19,24
     163:9            173:7,9,         146:20            19,25            135:21           194:25
     165:24,25        10 177:7         148:17            77:9,12,         137:13,          197:2,4,
     166:11,21        178:13                             23 78:11         17,24            10,20
     182:3            185:7,13       identitie           80:15,19         138:6,21         198:8,15
     194:14           186:11         s                   81:5             139:1,17,        199:24
     196:14           194:13           160:4             82:3,10,         25 140:25        200:10,24
     202:6            220:2          if                  11,21,24         143:14           201:17
     206:9            221:8            7:12              83:23,25         144:19,24        202:9,12,
     208:18           225:21           10:3,11           84:24            145:10           16 203:23
     212:7            226:1            12:1              86:13,19         146:7            204:22
     222:18,19        238:19           14:15             88:14            148:1,16,        205:7,21
     229:22           239:20           16:25             89:11            25 150:12        206:1,18
     230:17,19        243:16           21:18,20          90:7,20,         151:2,22,        207:23
     236:16                            23:6              23 91:12         23 153:15        208:21,25
                    IAPS
                                       24:17,19,         92:18            154:5,14         211:17,23
   huge               79:1
                                       21 27:24          94:7,10          155:5,24         213:1,5
     71:19            95:22
                                       28:9              95:11            156:3            214:14
                      173:20
   Hughes                              30:18             97:21            158:4            215:19,22
                      177:25
     30:15                             32:11,13          99:4,17          159:13,          216:3,19
                      178:8,16
                                       33:15,20          100:17,24        17,18            222:21
   human
                    idea               36:17             101:24,25        160:18           223:5
     72:5,9
                      139:3            37:13,16,         102:1,14         161:16,          225:17
   hundred            181:22           19 39:18,         103:1            17,21            227:11,19
     176:15           185:7            21 42:8           105:2,8          162:12           228:23
     222:11           257:4            43:1,10,          106:2            164:5            231:15,17
                                       25 44:9           107:6,11         165:16,17        232:10
   hypotheti        identical
                                       45:7              109:1            167:2,23         233:12
   cal                148:4
                                       46:5,11           110:14           168:12           234:11,14
     83:7           identifia          48:6,20           111:24,25        170:2,5,         235:19
                    ble                49:21             112:1,9          13 171:5,        236:18
          I           131:6            51:7              113:4            22 173:3         237:15
                                       53:14             114:7,23         174:10           238:3
                    identifie                            115:8            175:12,23        239:16
   IA                                  54:24
                    d                                    117:5            176:22           240:16
     12:10,16                          58:23
                      91:1                               119:23           177:16,23        241:25
     86:21                             59:11
                      93:18                              120:7            178:12,15        242:16
     87:8,12                           60:8,14,
                      149:6,8                            121:12,          179:25           243:3,14
     175:23                            16 61:14
                      156:9                              13,21,25         180:3,8,         244:1
     176:2                             62:18
                      165:19                             122:13           22 181:4         246:5
     254:18                            63:12
                      185:18                             123:2,7,         182:10,12        249:3
                                       65:8
   IAB                212:5                              12 125:3         183:12           251:6
                                       66:11,15,
     225:12         identify           22 67:20,         126:4,15         184:1,5,         255:10,
   IAP                79:15            21 69:2,4         127:21           17               23,25
     92:20            120:1            71:16             128:21,          187:24,25        257:21
     108:16           152:1            72:16             22,24,25         188:11,24        258:24
                                       73:8              129:2,25         189:4,5,
     162:17                                                                              ignitions
     171:16,                           74:13,16          130:3            19,20
                                                                                           216:24
                                                         132:21           190:15



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 297 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   illegitim          247:7            7,10              24 58:3,         99:9,11,         141:16,23
   ate                                 20:1,5,7,         4,6,7,8,         23               142:5,22
                    implement
     188:21                            9,19,22           13,19,20         100:16,17        143:1,22
                    ing                21:6,13           59:19,22         101:2            145:17
   illustrat          99:18            22:6,9,14         63:2,6,9,        102:3,7,         146:13,17
   e                  201:8            23:12             23 64:2,         9,20             148:3,4,8
     18:12          important          24:7,17           17,19,22         103:13,23        150:7,9,
     142:9            109:7,8,         25:1,13,          65:5             104:2,7,         12,14,18
   image              18,19,20         14,24             67:4,6,7,        11,13,14,        152:3
     195:5            115:24,25        26:9,21           18 68:3,         22 105:10        155:1,2,
                      117:2            27:1,2,9,         6,16,17,         106:7,14,        23
   imagine            153:4            11,16             19 69:3          24 107:4,        157:10,24
     20:4             174:15           28:1,2,           70:1             6,21,24          159:1
     25:25                             14,18             72:1,12,         108:9,19,        161:4,10
                    impossibl          29:16             19 73:4,         21 109:4,        162:22
   immediate
                    e                  30:9              6,11,17,         6,25             163:10,21
     145:3
                      158:20           31:16,25          19,23            110:7            164:23
   immediate                           32:2,3            74:1,6,          111:13           165:2,10
                    improper
   ly                 160:1            33:5              11,13,19         112:13           167:16,23
     217:12           162:23,25        34:14,17,         75:1,6           113:1,22         168:15,22
     225:8            164:5,14         19,21,24          76:1,2,23        114:5,15,        169:11,
   imminent                            35:22             77:7,24          18               12,16,17,
                    improperl          36:3,12,          78:1,7           115:17,25        25 170:5,
     113:19
                    y                  15,22,24,         79:11            116:10,          10,21
     192:24
                      24:19            25 37:7           80:2             11,25            173:24
   impaired           162:2,3,4        38:2,6,           81:7,17,         117:6,7          175:4,16,
     84:1                              14,24             23 82:21,        118:1,5          19 177:6,
                    improve
   impinge            32:4             39:9,16,          25 83:7          120:10,          7,13,16,
     213:16           110:4            23,25             84:10,25         11,12,14,        17 180:22
                                       41:20             85:1,8,11        18 121:5,        181:4,11,
   implement        improveme          42:7,8,           86:6,16,         12,20,21         24
     22:4           nts                16,24             19 87:5,         122:3,7,         182:22,24
     251:17           111:4            43:2,24           11,13,17,        11,13,15         183:9,23
   implement                           44:7,16,          24 88:6,         123:19,          184:2,9,
                    in
                                       20 45:6,          22 89:2,         21,22            21 185:3,
   ation              4:10 5:2,
                                       9,17              5,14 90:1        124:6,20,        17 186:7,
     76:5             10 7:1,3,
                                       46:2,3,7,         91:4,5,          24 125:16        20 187:2,
     126:13           19 8:2
                                       13,21             14,15,18         126:5            6 188:5,
                      9:11,14
   implement                           48:4,12,          92:1,19          128:13,17        7,13
                      10:18,20
   ations                              13,20             93:6,9,          131:15,16        189:7,22
                      12:4,12,
     94:17                             49:4,23           10,14,24,        132:10           190:2,8,
                      22 13:25
                                       50:11,13          25 94:8,         133:5            16,20
   implement          15:20,23
                                       51:10,11          22,24            134:25           191:8,17
   ed                 16:1,2,
                                       52:2,12           95:4,14,         136:22           194:1,13,
     74:20,22         12,13,14,
                                       53:16,22          21 96:3,         137:13,15        20
     76:9             15,20
                                       54:2,6,7,         10,23,24         138:12,          195:10,13
     80:16            17:7,10,
                                       23 55:2,          97:3,11,         16,17,18         197:21
     94:15            11,16,23
                                       9,22              12,14,15,        139:5            198:9,21
     187:16,21        18:8,11,
                                       56:7,9            18,19,25         140:7,11,        199:16,22
     245:10           16 19:4,
                                       57:22,23,         98:11            18               200:21



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 298 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     201:4,5          257:1,9,         32:7 34:1       individua        individua          64:12,13
     202:1            24 259:5         58:16           l                ls'                65:21
     203:13                            98:19             98:16            212:22           81:6
                    in-
     204:6,9,                          103:2             99:2                              82:13
     17 206:23      custody            133:14                           indoctrin          91:16,17,
                                                         108:18
     207:1,6,         23:3             135:10                           ate                21 92:15
                                                         113:24
     15 208:6,      in-depth           142:19            115:17           206:24           93:22
     7,15,17          12:2             146:17            116:5          inference          105:1
     209:11,25        109:5            170:25            142:1            151:17,20        112:13
     210:10           256:11           204:4             145:17,22
                                                                        informant        initially
     211:7                             207:5             147:16,23
                    in-house                                              152:23           63:19
     212:25                            235:17            148:14,19
                      11:19                                                                93:15
     213:1,2,                          242:23            150:7,10       informant
                      44:21                                                                183:7
     11 214:3,                                           153:5
                                     included                           s                  217:8
     4,7            inception          12:21             157:23           153:13           236:20
     216:7,23,        13:15                              191:21
                                       78:16
     25 218:13                                           193:23         informati        inject
                    incidence          142:22
                                                                                           163:19
     219:2
                                       208:6,8           203:20         on
     223:10,20      s                                                     29:12,20
                      31:6             232:16          individua                         injure
     224:3,8,                                                             33:25
                      135:22           242:13          ls                                  202:2,3
     19 226:7,                                                            95:25
     10,13,15                        includes            19:3             104:16         injuries
                    incident
     227:5,7,                          129:6             27:1,10          108:18           135:4,10
                      22:1,13
     10                                                  28:8             110:24           136:4,6
                      25:5 29:3      including
     230:10,17                                           33:23            136:14
                      31:4             150:20                                            injury
     232:13,                                             36:5 49:3        138:16
                      34:3,7           169:25                                              204:6
     16,21                                               58:11            144:3
                      77:2,22
     234:12,25        79:11          inclusion           60:12            145:3          inner
     235:16                            199:9             64:1 65:3        164:1            128:16
                      86:4
     236:13,                                             68:9             169:14           129:3
                      96:14          incorpora
     16,18,21,                                           70:11            185:6,22
                      131:5          ted                                                 innocent
     24 237:5,                                           86:16            201:16
                      135:5            186:6                                               204:5,14
     12,19                                               91:13            204:2,3
                      171:13           246:10
     238:9            198:25                             95:18,19         222:25         input
     241:7                           incorpora           96:7             239:7            34:24
                      199:23
     242:13,25                                           110:23                            44:5
                      222:2          ting                               informati
     245:2,6,                                            112:9                             116:16
                      227:1            45:23
     12,17,19                                            146:21         on-
                      237:16                                                             inputted
     246:11,                         indicate            149:3,7        sharing
                      240:20                                                               144:5
     21,23                             10:10             157:4,8          223:12
     247:3          incidents          230:25            182:6                           insert
                      13:8                               186:22
                                                                        inherentl          211:8,14,
     248:9,10                        indicatin
     249:12,23        23:2,3,5                           187:19         y                  21
                      31:2,3         g                   189:8            209:20
     250:12                            153:17                                            inserted
     251:23           32:6                               192:1          inhibit
                                       202:20                                              202:7,23
     252:1,25         150:20,22                          197:24           8:11,15
                                       211:2                                               203:6,13
     254:18,20      include                              202:8
                                                                        initial            210:14,25
     255:3,16         12:14          indiffere           204:5,14
                                                         247:24           62:11          inserting
     256:2,4,         23:2           nt
                                                         248:5            63:3             232:17
     8,22             27:10            57:7



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 299 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   inside           intellige        internet            102:4            56:1,2,3,        109:2
     7:13           nce                128:10            104:12           8 62:3,8         111:22
     36:18            155:12                             122:24           63:19            112:2,20
                                     Interoffi
     51:10            160:9,12                           133:18,24        65:1             113:14
     86:2                            ce                  151:12,          67:9,12          116:15
                      204:2,3,
     97:25                             253:20            15,24            68:22            118:23
                      23 227:12
     99:2                            interpers           152:15,17        69:20            123:17,
     117:10         Intense                              163:8            70:17            18,22
                      171:9          onal
     120:21                            57:8              167:23           71:1             125:13
     131:1,19       intention                            168:3            73:17            126:8
     150:3            216:1          interplay           175:9,10         81:24            127:5,16
     156:9                             80:2              178:6            85:15            129:11
     161:15         intention                            180:8            91:17            130:9
                                     interpret
     169:2          ally                                 201:6            103:25           135:11,18
                                       117:9
     198:13           242:24                             235:21           104:5,6          138:24
     202:8                           interpret           240:12           110:22           143:7
                    inter
     235:3            13:10          ation                                122:21           144:5,17
                                       166:5
                                                       interview
     236:4                                                                132:25           147:1
     246:7,8        inter-             198:20          ed                 174:21           155:14
                    departmen                            26:25            178:11           156:13
   inside-                           interpret           63:5
                    t                                                     187:5            163:19
   the-house                         ed                  73:16            195:14           176:14
                      13:11
     99:5                              53:23             80:25            211:22           185:8
                    interest                             93:19
   instance                          interrupt                            254:15           195:16
                      101:25                             95:8
     100:3                             59:25                                               202:7
                                                         104:14         into
     188:14         interests          92:8
                                                                          10:3
                                                                                           208:20
                      134:15                             132:18,                           215:8,13,
   instances                         interrupt           20,22,24         12:15,16
                                                                                           15 222:16
     108:21         interior         ed                  152:7,11         18:15,22
                                                                                           225:6
     149:18           216:25           60:19             165:20           19:2,5
                                                                                           236:8,10,
                                       95:3              211:19           20:6,15
   instead          interject                                                              14 238:8
                                                         212:11           22:12
     95:5           ed               intervene                                             252:8
                                                                          24:1,2
     195:25           34:10            255:13          interview                           254:17
                                                                          33:21
     247:6                                             ees                37:5           intricaci
                    intermitt        intervent
   instructo                                             132:17           40:1,3         es
                    ent              ion
   r                  184:10           224:22          interview          42:5 43:6        43:6
     38:5 45:5                                                            45:23            208:17
                    internal         interview         er
                                                                          46:8,9
   insuffici          29:8,21          23:7              169:8                           investiga
                                                                          48:3 50:8
   ent                30:2,6,          56:14,21        interview          55:8,10,       te
     239:7            18,21,24,        66:8,9          ing                12 62:9          113:14
     258:4,16         25 31:5,         68:16             167:20,21        71:15          investiga
                      13 81:1          72:3,15                            76:3,10,
   insurance          100:19           73:15           interview                         ted
     144:4                                                                16 77:10
                      105:7            81:10           s                                   93:16
                                                                          83:20
                                                         26:25                             125:3
   Intel              119:7,10         89:23                              88:15,25
                      176:3            91:25             27:2,6,7,                         206:12
     154:25                                                               89:1 91:3
     158:5            200:16           95:16             8 34:1           93:12,19       investiga
     181:12           243:23           96:7              55:19,21,        106:17         ting
                                                         24,25



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 300 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     7:21             185:21           34:19             13:16            8,11,16,         57:6,15,
     33:6,14          200:13           60:12             59:7,9           17,25            18,19,21,
     100:22           210:18           64:16             134:4            15:1,23          25 59:4,
     140:2            217:16,17        67:7 69:2         136:6            16:25            13,14,18,
                      225:7,11,        70:1                               17:3             20,25
   investiga                                           ISD
                      18 243:9         72:19                              18:8,22,         60:14,20
   tion                                                  243:18
                      254:16           73:6,11                            24 19:2,         62:4,6,
     9:6,8            255:16           80:25           issue              5,19             12,21,25
     13:6             257:19           81:9              91:1             20:2,5,12        63:21
     14:3,5,6,                         83:19             122:12           21:9             64:25
     19 22:14       investiga
                                       84:13,16          166:19           22:21            66:11,18
     28:2           tion's             85:22             177:24           23:19,21,        67:16,18,
     29:15            73:24            91:10             206:20           22 24:17,        25 68:8,
     32:16,18,                         95:13,18          210:18           20,21            11 69:17,
                    investiga
     23 43:7                           98:6              211:24           25:1,13,         19 70:4,
     48:14          tions
                      14:20            104:10            220:2            14 26:8,         10,14
     50:21                             130:16            221:12           12 27:14,        71:2,4,
     51:14            23:2
                      32:20            132:10,13         224:15,23        25 28:17         10,25
     52:12                             133:4             234:24           29:6             73:21
     53:17,20         92:15
                      95:23            141:23            239:6            31:10,11,        74:9,15
     59:17                             143:4             244:1            14,20,22,        75:15
     60:11,14         176:3
                                       150:9                              25 32:2,         76:2,4,5
     61:12          investiga                          issued
                                       161:10                             8,9 33:11        77:6,11,
     62:4,14                                             114:16
                    tive               175:16,19                          34:10            12,13,17,
     63:8                                                194:18
                      138:12,17        204:6                              35:9,21          20 78:10,
     66:16            143:24           207:6           issues             36:12,20         18 79:14,
     67:7 82:9        243:19           208:15            8:15             37:5,9,          18,19
     85:13,14                          250:10            66:15            12,14,22         80:20
     86:21          investiga
                                                         92:19            38:3,9,          81:8,18
     87:12          tor              involveme           105:8            14,19,20         82:6
     88:22            8:3 24:9,      nt                  124:19           39:10,12,        83:8,22
     90:10            13,16            33:1              161:24           25 40:1          84:8,23,
     92:24            25:3,7           34:21             171:22,23        41:2,6,20        24,25
     93:1,13          62:6             48:13             173:13           42:3,4,20        85:24
     108:16           74:2,7           64:19             213:15           43:4,5,          86:8,12,
     109:2,21         83:16            87:13             221:8            15,21,25         13 87:15,
     114:15           84:10            96:9              225:7,19         44:6,24          16,17,20
     117:10           124:7            249:23            239:20           45:2,3,9,        88:3,9,12
     120:3            161:1            253:1,14          246:24           17,23            89:1,3,4
     133:21,25        212:14
                                     involving                            46:1,2,5         90:6,10,
     138:15                                            issuing
                    investiga          65:22             127:5            47:15,19         12,18
     139:2                                                                48:3,4,7         91:1,2,3,
     142:20
                    tors             IOCP
                      27:15                            it                 50:13,20,        6 93:15,
     143:8,23                          30:23             6:5,6            21 51:8,         16,19,23
                      136:8            31:10,18
     153:3                                               9:13,21          9,15,22          94:1,8,16
                      148:1
     155:3                                               10:4,10
                                     IOI                                  52:6,14,         95:5
     157:12,14      involve            77:1              12:9,12,         15 53:12,        96:17
     163:11           192:23                             13 13:2,         15 55:1,         97:19
     176:3,10                        Isaiah              10,20,22,        16 56:3,         98:1,7,
     184:3
                    involved           6:20
                      23:7                               25 14:7,         16,20            10,23



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 301 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     99:1,4,15        19 132:2      10,15,22          208:9,18         248:8,13         80:4,5,23
     100:16,          133:24        171:8,21          209:6,19         250:15,16        81:6
     19,21            134:9,20      172:1,6,          211:21           251:12,17        82:18,25
     101:4,22,        135:1,17      8,9,15,           212:2,8          252:1            83:3
     24,25            136:11,       19,20,23,         213:2,11         253:20           84:10
     102:4,6          12,21,22      24 173:1,         214:5,10,        256:16           85:9
     103:9            137:9,20,     7 174:1,          12 215:7,                         87:6,10
                                                                     it's
     104:8,20,        21            7,11,12           16 216:22                         88:4,17
                                                                       5:13,15
     22               138:12,13     175:8,10,         217:9,12,                         93:17
                                                                       7:11 12:7
     105:11,          140:10,       21,25             21 218:2,                         95:12
                                                                       13:2,12
     12,13,20,        14,16,18      176:8,13,         15,19                             96:13
                                                                       14:15
     22 106:8,        141:22        14,24,25          220:6                             99:14
                                                                       15:24
     14,15,18,        142:3         177:9,15,         221:13,23                         100:19
                                                                       16:7
     20,22            143:4,20,     16,17,20,         222:6,8,                          102:5,14
                                                                       18:11
     107:2,4,         21 144:1,     22,23             18,19                             103:12
                                                                       19:23
     7,8,17,21        3,20          178:2,9,          223:5,10                          104:22
                                                                       21:19
     108:1,6,         145:17        13,17,21          224:4,5,                          105:21
                                                                       27:8,12,
     7,8,10,          146:7,8,      180:4,10,         9,17,21                           106:19
                                                                       13,14
     15,24            10,19         12,13,17          225:2,15,                         108:1
                                                                       29:4,6
     109:4,7,         147:12,       181:6,12          17,19                             109:8,23
                                                                       30:12,20,
     12,13,19         13,20         182:21            226:7,8,                          111:24
                                                                       25 31:10
     111:7,23         148:4,6,      183:5,10,         13 227:25                         112:5
                                                                       32:25
     112:7,12         15,16,24      20 184:19         228:11,                           114:18
                                                                       34:9
     113:5,6          149:23        185:5             13,16                             115:4,5,
                                                                       35:7,19
     114:19           150:7,13,     186:3             229:19                            22,25
                                                                       36:2,24,
     115:5,18,        15            188:2,16,         230:16,                           117:5
                                                                       25 38:14
     21 116:2,        151:10,       17,20,22          20,21                             118:9
                                                                       41:1,16,
     12,23            14,20         190:11            231:1,7,                          119:5,13,
                                                                       25 42:8,9
     117:1,4,         152:8,19      191:16,           8,12,20                           19,20,24
                                                                       43:1,2
     7,11             153:3,4,      23,25             232:11,                           121:1,3,8
                                                                       44:6,7,17
     118:1            21,22         192:4,8,          12,13                             125:7
                                                                       45:9,18
     119:2,13,        154:1,8,      13 193:19         233:14                            126:12,
                                                                       48:22
     20,21            21,22         194:14            234:2                             20,21
                                                                       50:6,7
     120:19           155:6,10,     195:18            235:5                             128:22
                                                                       52:14,22
     121:4,12,        23 158:4,     196:13            236:1,14,                         129:10,11
                                                                       53:8 54:7
     13 122:1,        5,17,19,      197:13,           15,16,19                          130:25
                                                                       56:10
     8,15             21 159:4,     17,18             237:21                            131:24
                                                                       57:10
     123:3,13         20 160:14     198:4,11,         238:4,10                          132:16
                                                                       58:24,25
     124:9,21,        163:9,12,     23 199:7,         240:6                             133:10,
                                                                       62:17
     22,23            14,17,22,     18 200:2,         241:24,25                         11,16
                                                                       63:3,6
     125:8,9,         23 164:5,     3,25              242:9,17                          134:17,25
                                                                       64:4,24
     12,24            13,14         201:7,14,         243:11,                           136:1
                                                                       66:20,25
     126:3,10,        165:10,       24 202:1,         12,14,17,                         137:8,15
                                                                       68:7 70:9
     18,24            16,19,23      18                20,22                             140:5
                                                                       72:9
     127:8,11         166:1,5,      203:12,           244:10,14                         142:14
                                                                       74:13
     128:12,          8,19,22,      15,18,25          245:22                            144:22,23
                                                                       76:19
     15,23,25         24 167:25     204:18,22         246:2,3,                          145:5
                                                                       77:1,15,
     129:2,5,         168:7         205:17            4,6,21,23                         147:25
                                                                       22,23
     25 130:8,        169:6,13      206:19            247:4,5,                          148:14,
                                                                       78:2,19
     25 131:7,        170:3,4,      207:11,20         13,20                             15,18,19,



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 302 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     22,23          italicize          129:6           job              jury               90:18
     151:7            123:3            130:10            17:1,5           7:13,16          92:7,8
     153:16                            137:13            21:21                             93:12,14
                    italicize                                           just
     155:6,22                          141:16            33:17,24                          94:11,22
                    d                                                     9:18,21
     159:1,14                          142:1             71:24                             95:1
                      40:12                                               10:10,11,
     160:8                             150:21            75:6 94:6                         96:16
                      41:8                                                13 13:10,
     162:2                             151:13            121:1                             98:7
                      42:3,5,8                                            23 16:9
     165:4,8                           160:22            125:10                            101:18
                      103:6                                               17:13
     166:23                            168:10            127:12                            102:1
                      224:14                                              19:9
     169:7                             182:16            175:11,13                         104:22
                                                                          21:19,24
     170:23         italics            218:17            218:9                             105:12,17
                                                                          22:11
     176:9,19         36:12            230:23            255:3,4                           106:13,14
                                                                          23:24
     177:18,19        38:14                                                                108:6,15
                                                       Joe                27:21
     178:12           44:8,21                                                              112:12
     180:25
                                            J            62:21            30:8,11
                                                                                           118:2,21
                      45:9,17                            143:10           31:11
     181:19,20        122:15                                                               119:1
                                     J-U-S-T-                             36:17
     184:12,25        190:16                           Johansson                           120:2,24
                                                                          38:1,2,16
     186:11           212:25         I-N                 172:3
                                                                          39:8
                                                                                           121:3
     189:2,3          213:1            5:13              187:10                            125:11
                                                                          40:25
     191:6,17                                                                              126:4
                    items            Jake              join               42:12,23
     194:22                                                                                127:17
                      54:20            96:5              124:11           43:21
     195:14,16                                                                             128:13,
                      127:17                                              44:21
     197:1                           Janetta           judge                               21,23
                      161:7,8                                             45:1,15
     198:5,15                          151:5             163:9,14,                         129:17,22
                      163:18                                              48:25
     199:15                            152:22            23                                131:4,7,
                      164:11                                              49:14
     200:10,11                         153:21            164:14,20                         10
                                                                          50:24
     201:15         iteration                            166:25                            133:11,16
                                     January             170:14
                                                                          51:6,18
     202:1,2,         191:3                                                                134:8,18,
                                       4:5 16:16                          52:21
     3,6                                                 224:5                             20,21
     211:13
                    iteration        jargon                               53:13,14
                                                                                           136:22
                    s                                  judgment           54:10,14
     212:7,9,                          155:6                                               137:16,
                      186:6                              212:10,          56:17
     24 213:9,                                                                             22,25
                                     JD                  15,22,24         57:25
     18,21,25       its                                                                    140:19
                                       257:8             213:2            61:9,10
     214:22           22:14                                                                142:7,11
                                                         214:12           62:7
     215:19,20        56:6           Jenkins                                               144:10
                                                         232:11           64:1,8
     223:6            158:8            48:24                                               145:5
                                                                          66:20
     225:1            220:4            49:8            judicial                            147:2,13
                                                                          67:13
     227:17,20        242:21           99:21             228:19                            149:3
                                                                          68:11
     229:6                             101:4,14                                            150:5
                    itself                             July               70:2,9
     233:7                           jeopardy            16:20                             154:17,21
                      27:9                                                75:5
     235:6,24,                         24:5                                                155:1
                      40:15                            jump               77:7,18
     25                                113:19                                              156:25
                      42:6 66:6                          15:7             78:2,24
     236:12,17                         181:4                                               159:15,16
                      93:2                               20:12            79:1 81:8
     246:22,25                                                                             162:10
                      105:9          Jimmy                                82:17
     247:22                                            jurisdict                           163:20
                      108:16           146:13                             84:6,11,
     248:4,14                                                                              164:9
                      118:24           147:4           ion                17 85:4,
     249:19                                                                                166:15
                      121:20           157:3,16,         40:21            14 86:8,
     251:20                                                                                170:19
                      122:16,24        23 181:9          138:22           24 87:12
     252:3                                                                                 171:22
                      127:15                                              88:8
     257:24                                                                                172:7,10,



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK           Document 57-9       Filed 05/16/25      Page 303 of 353

  Detective Justin Roth        Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     19,22          justified         kept                22 97:24       knife              56:17
     174:11           108:1,6           121:21            104:18           116:20           59:4
     176:4            113:1             229:3             106:14                            61:17
                                                                         knock
     177:11           117:25            242:25            109:1,6                           62:25
                                                                           34:15
     178:2            118:2                               112:19                            64:24
                                      Kerry                                36:6,9
     179:3,11                                             117:12                            67:21
                    justifyin           71:18                              39:1,24
     182:13                                               123:10                            70:12
                    g                   85:1                               40:4 46:4
     183:1,8,                                             129:17                            71:13,20,
                      168:6             90:3,17                            53:25
     9,16                                                 138:13                            21,23
                                                                           74:10
     186:6,11,      Justin            Kevin               144:9                             72:10
                                                                           109:3
     22               4:9,21            62:20,22          145:23                            74:4 75:8
                                                                           127:23
     188:17,25        5:2,13,                             150:19                            77:16
                                      key                                  128:1,7
     189:9            17,18,19,                           174:12                            78:8 80:9
                                        72:12                              180:14
     191:6            23 6:2,19                           176:21                            83:7
                                        96:4                               190:22
     195:18           9:18                                177:23                            84:7,8,12
                                        160:5                              191:3
     197:23           27:13                               178:1,10,                         86:3,13
                                                                           192:5,19,
     198:21           46:11,20        kind                11 179:19                         88:9
                                                                           22
     200:6            54:10             10:5              180:11,13                         89:19
                                                                           193:13,
     202:9            64:7              11:21             183:1                             95:4
                                                                           15,18
     203:12,25        65:20             12:3,10           184:1                             96:17
                                                                           194:17
     211:16           75:11             14:1,2            187:6                             102:13,21
                                                                           196:11,20
     214:14,21        115:17            15:2,8,13         188:25                            103:25
                                                                           209:20
     217:3,15,        118:21            16:25             190:21                            104:14
                                                                           228:17
     24               128:20            18:5              195:12,15                         106:16,17
                                                                           229:20,24
     218:10,15        129:18            21:14,24          197:3,4                           108:23
                                                                           244:16
     219:21           130:12            27:25             199:4                             110:10
                                                                           245:2,5,
     220:25           156:22            31:24             202:13                            117:17
                                                                           17
     221:17           165:24            42:17,21,         213:8                             121:13
     222:4,7          194:25            22 43:9,          217:4,9,       knock-             122:20
     223:3,6,         198:21,24         10 44:11          16 219:16      and-               124:1,21,
     8,11             213:4             49:21             220:3,19       announce           22 125:8
     228:24           255:3             52:5,20           225:6            37:14,16         128:23,24
     231:6,18,        259:15            53:14             229:9                             130:19
     21,22                              54:11             231:23         knocking           134:23
     233:6,16                           58:24             233:10,24        208:7            138:21
     234:4,17              K            59:3,12           235:8                             139:1,25
                                                                         know
     238:1                              60:20             236:6,22         9:19 10:4        140:13
     239:25         keep                61:16             240:15           11:17            143:9,21,
     242:19           86:15             64:11,16          245:4            12:24            25 146:8
     243:2,4,         92:13             67:8              246:17           13:24            149:8
     12,13            106:3             68:22             247:11           14:15            162:19
     244:21           129:18            70:21             249:9            15:2             165:9
     251:7,12         162:8             75:15,16          253:20           21:16,23         166:12
     252:21           235:16            78:9                               27:20            170:2,13
                                        80:2,23
                                                        knew
     254:20           236:16                                               31:11,19         179:1,25
                                                          61:6,7
                      254:19            82:7,17                            33:8 35:3        180:15
   justifica                            87:15,20,
                                                          81:9
                                                                           37:11            182:20
   tion             Kentucky            25 88:16
                                                          101:3
                                                                           42:23            183:22
     117:23           20:23                               138:25
                                        91:9,11                            49:21            184:15
                                        96:11,13,                          52:19            188:6



  www.lexitaslegal.com                                                                     702-476-4500
Case 2:24-cv-00074-APG-NJK           Document 57-9       Filed 05/16/25      Page 304 of 353

  Detective Justin Roth        Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     189:4,5          138:18            208:8             164:23         lays             left
     195:12           164:21                              168:9            117:7            27:11
                                      lapse
     197:10           185:22                              178:17                            28:13,15
                                        55:3 70:4                        lead
     201:17           204:18                              205:3                             82:10
                                                                           51:10
     207:11                           lapses              206:15                            131:14
                    Ko                                                     56:13
     211:4                              184:14            209:24                            174:10
                      102:7                                                236:8
     213:20,                                              210:15                            181:24
                                      laptop
     21,25          Koren                                                lead-in
                                        86:22           Latia                             left-side
     216:3,5          178:21,                                              41:12
                                                          4:10 5:2,                         28:22,24
     219:16,18        22,23,24        large                                68:16
                                                          9
     227:19,25        179:8             181:13,                                           leg
                                                                         lead-up
     229:8            187:10,14         17,18,20        law                                 135:10
                                                                           220:18
     231:8            221:10            202:13            23:23,24
                                                                                          legal
     233:12                             216:25            24:2           leader
                    Kubla                                                                   12:9 35:4
     234:13                                               33:22            96:6
                      71:18           Larkin                                                36:6,9,14
     236:5                                                34:25            192:4
                      85:1              201:1                                               38:5
     241:23,24                                            35:9             237:18
                      131:11,16                                                             43:16,21
     242:15                           Larsen              54:20
                      236:19                                             leadershi          45:5
     245:11                             4:6               66:9
                                                                         p                  49:17
     247:5          Kubla's           Las                 69:15
                                                                           28:9             50:17
     251:25           90:4                                83:19
                                        4:11 5:3                           74:22            54:7 55:5
     255:23,25        135:4,9                             113:11
                                        15:15                                               97:5
     256:6            241:4                               114:3          leading
                                        68:1                                                113:16
     257:15,                                              122:20           175:16
                    Kurt                97:12                                               116:2,3
     16,21                                                123:17           236:1,3
                      26:12                                                                 119:6
                                      last                164:17
   knowledge                            16:1,2                           leads              164:6
                                                          209:23
     14:22                                                                 85:13            256:22
                           L            37:12             229:21
     17:2,13                            53:19             233:1          leaf             legal's
     22:2                               60:7
                    labor                                 245:6            121:25           166:6
     35:15                              106:18,20
     43:14            224:23                            law-based        learn            legally
                                        153:19
     49:10          laced                                 43:13            207:1            150:17
                                        156:4
     57:22            78:9,12,                                             208:11
                                        162:13          lawyer                            legitimat
     61:11,12         14                180:4                              250:12
                                                          33:21                           e
     80:18                              192:2
                    lack                                  70:13          learned            187:11
     94:18                              199:15
                      19:24                               101:18           104:16           188:20,23
     119:12                             204:21
                      30:3                                102:6,8          117:20
     122:2                              209:1             113:11                          legitimat
     127:13           121:17                                             least
                                        218:18            213:7                           ely
     160:23           152:20                                               55:24
                                                          257:6                             218:18
     190:6            155:9           lately                               75:9
     239:14                             13:25           lay                139:16         lengthy
                    laid                                                                    56:10
     244:14                                               219:21
                      219:23          later                              leave              213:9
     254:18
                    landed              14:1            layman's           6:9,14
     256:10,                            20:12                                             less
                      70:7                                98:25            67:1
     16,20,25                           34:14                                               7:11
                                                                           101:24
     257:2,3,6      language            90:16
                                                        layout                              47:15
                                                                           102:1
                      129:9                               129:19                            50:13
   known                                104:16                             184:6
                      199:6,19                            202:10                            70:9,10
     47:21                              150:8                              249:25



  www.lexitaslegal.com                                                                     702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 305 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     75:7           license          like                100:15           182:24           81:15
     235:25           143:17,19        10:9              102:2,15,        183:6,10         189:12
                      144:12,13        11:17,21          23 103:20        185:23,25        223:16
   lesson
                                       12:3              105:17,18        186:1            235:19
     171:2          lieutenan
                                       13:10,11          106:5            187:24,25
     206:23         t                                                                    list
                                       14:2,18           107:1            188:2,4,
                      26:6,11,                                                             21:21
   lessons                             18:15,16          109:1,3,         16 189:22
                      12,17                                                                25:1 32:3
     233:21                            19:18,19          21 113:23        190:24
                      60:25                                                                68:23
                                       21:12,13,         115:13,          193:8
   let                73:17                                                                72:16
                                       14,18,20,         18,23            195:18
     4:25 9:21        82:19                                                                95:15
                                       21 22:8           116:16           196:12
     10:4 21:8        86:6 96:3                                                            99:18,24
                                       24:17             117:19           198:12
     29:1             99:20                                                                100:4
                                       25:2              118:2,11         212:2,25
     33:10            102:8                                                                101:1
                                       28:10             119:7,8,         213:18,21
     35:21            108:8                                                                103:10
                                       30:8              11               223:13
     50:23            109:12                                                               105:6
                                       31:25             122:20,22        230:15
     74:5             172:3                                                                146:16
                                       43:2,25           123:9,21,        231:7
     83:13            187:10           44:1              23               234:1          listed
     100:1            188:11           45:10,11          124:15,          235:20           25:4
     128:20,23        196:2            48:11             18,21,22         236:19           27:11
     132:7            200:10           50:11             126:7,8          238:13           29:24
     185:8            204:10           53:5,7            130:7,20         240:15,17        30:16,18
     222:21           205:5            56:20             134:19,25        242:24           79:2
     254:19           222:4,5          58:24,25          135:22           243:5,9,         100:8
   let alone          237:22           60:20             138:12           12 244:4         102:22,23
     258:5,17         238:14           64:16             140:1            245:15           103:14
                      239:3,19         66:4              141:2            246:11           146:15
   let's              245:13           69:7,8,           144:21           249:8            250:18,21
     7:16             247:4            10,11,19          145:2            250:15,22
     25:14            248:11,                                                            listen
                                       70:18             148:9            252:1,3,
     64:8 83:6        12,19                                                                56:2
                                       71:20             150:17,          18,22
     95:12            249:14                                                               89:10
                                       72:16             23,24            254:4,12
     127:14           252:2,22                                                             91:25
                                       75:15             151:10,11        256:1
     130:9                                                                                 151:12
                    lieutenan          77:11,16,         155:15,18        259:18
     137:17                                                                                166:9
                    ts                 19,25             158:3
     139:24                                                             likely           listing
                      23:10            80:23             162:1,12,
     197:5                                                                41:10
                      102:18           81:1,15           13 163:21                         99:12
     214:14                                                               177:19
                      172:17,22        82:10             164:5                             164:9
     222:16                                                               208:22
                      188:7            83:6              165:21
     247:9                                                                               litigatio
                      243:18,21        84:25             166:3          limiting
   level                               86:9,18,          167:9            75:9,10        n
     20:18          life                                                                   11:13,21
                                       25 87:18          173:15
     81:20            64:2 72:5                                         line
                                       88:6,7            174:14
                                                                          136:12         little
     106:23,24        118:1            92:20             175:9                             13:25
                                                                          142:3
     115:23         light              94:2              176:2                             17:3
                                                                          162:13,14
     117:4            184:8,9          95:24             177:16,                           22:21
                                                                          168:21
     251:24                            96:23,24,         22,23                             28:18
                    lightly                                               245:6
   Lexitas                             25 98:19,         178:2,10                          39:22
                      61:23            24,25             180:17         lines              47:9
     4:8
                                       99:12             181:11,17        53:1             51:12



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25       Page 306 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     52:6,13          177:25           90:21             166:16           86:12,13         74:9
     72:11            178:7,13,        94:2              173:4,5          89:2,9           77:23
     75:12,16         16               107:8,19,         180:5            91:24            79:12
     76:1 82:6                         20 113:15         185:16,          93:2,12          117:15
                    lock
     94:5,7,8                          118:11            23,24            95:21            119:9
                      205:13,14
     97:2 98:4                         119:13            192:2            96:20            120:20
     99:19          locked             127:6             197:10           97:1,7,11        121:14
     100:2            184:5            130:7             203:8            98:17            130:4
     114:12                            135:23            212:8            106:8            140:10
                    locking
     124:14                            138:24            215:22           107:13           153:7,12
                      205:15,20
     164:21                            148:8             225:6            108:18           163:13,23
     188:8          log                165:4             235:22           109:24           164:7,12
     214:22           61:5             170:5             236:10           115:19,20        186:16,
     224:1                             184:19            251:5,23         120:5            19,20
                    logs
     245:3                             189:21                             125:9,12         192:21
                      167:17                           looks
     246:14                            197:12                             132:17           195:20
                      169:17                             23:17
                                       202:9,12                           144:15           211:6
   live             Lombardo                             30:8
                                       211:21                             154:12           226:9
     64:21                                               106:15
                      62:21            235:15                             164:17           228:14,
     158:17                                              107:20
                      143:10           243:5,10,                          174:25           16,18
     184:11                                              145:2
                    long               11 247:9                           179:10           230:8
     207:2,6                                             150:17
                      10:23            253:18                             184:19           233:19,22
     244:5
                      17:6             254:4           loop               187:5            235:6
   lives              36:20                              114:13           191:19           237:19
                                     looked
     176:19                                              218:22           212:19           239:10
                      55:16,23         19:13
                                                         219:19           218:6            240:8
   living             56:20            50:16
                                                         222:21           219:11           241:15
     160:9            66:5 67:9        62:1
                                                         233:17           220:19,          253:19,20
     216:25           128:22           69:19
                                                                          20,21,24
                      137:7,9,         114:19          looped                            LVMPD's
   load               21 172:12                                           221:1,4
                                       149:16            232:23                            224:8,9
     85:10                                                                242:18
                      174:4            233:24                                              226:1
     89:14,17
                      212:24
                                                       losing
                                                                        loud
   loading            234:2          looking             240:2                           LVPPA
                                                                          202:3,4
                                       22:13                                               102:12
     86:25            245:20                           lost               206:3
                                       29:6
                                                         31:11
   locate           longer             33:12                            loved
     234:1            49:14            43:15,21
                                                         232:3
                                                                          163:8
                                                                                                M
                      174:6            44:19           lot
   located                                                              lower            ma'am
                      179:8            45:10             17:5 20:5
     87:19                                                                209:14
                      208:11           57:7              27:8                              7:22 9:22
     131:20
     133:15
                      222:8            64:25             33:22          LV                 10:15
                                       89:22             55:19            68:1             22:20
                    look
   location                            93:19             63:21,22                          137:6
     131:1
                      6:2,4                                             LVMPD
                                       122:23            71:8,14,
                      33:23                                               20:16          made
     132:1                             125:21            15,25
                      50:4,5                                              29:4             39:14
     146:3                             126:3             73:14,22
                      53:16                                               38:21            47:15
     149:17                            145:4             74:17,25
                      67:22                                               40:7,21          55:10,12
     178:8                             146:20            76:19
                      74:13                                               58:7             58:7
                                       147:1,4           77:17
   locations          77:21                                               69:18            59:13
                                       162:20            83:5



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK         Document 57-9       Filed 05/16/25       Page 307 of 353

  Detective Justin Roth      Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     63:17            96:1          males               230:5          matter             15:13,14
     70:6             108:17          167:9             231:11           5:2 13:10        18:15
     100:20,21        109:1,13                          232:6,13         23:9             19:17
                                    man
     106:1            110:1,6                           233:23           27:22,24         21:8
                                      148:9
     110:15           111:7                             234:1            29:7             22:22
     119:23           112:14        Managemen           237:19           35:18,23         24:20
     121:3            115:22        t                   246:2,8,         45:24            27:25
     126:2            125:25          68:4              12               46:3             28:16
     129:11           129:25          237:16                             61:21            32:1
                                                      manuals
     143:9,12         134:21                                             72:13            33:10
                                    mandate             111:21
     151:17           137:11                                             99:12,13         35:21
                                      170:24            123:16
     159:25           140:16                                             100:6            36:11,19
                                                        212:9
     188:12,          151:20        mandatory                            102:4            37:8 38:1
     14,21            172:11          221:19          many               114:1            43:10
     231:9            174:16                            7:23             178:12           45:1,16
     233:21           183:8
                                    maneuver            21:19            179:12           46:13,20
                                      198:13            25:10
     241:9            188:15                                             210:6            50:23
     246:4            189:16        mangled             35:8             230:13           53:12
     250:3            196:13          71:18             114:23           255:16           56:17
                      200:13                            169:21                            57:14,16
   magazine                         manner                             matured
                      238:10                            222:18                            58:1,5,23
     176:25                           78:1                               208:10
                      239:16                            249:10                            59:11
     177:11,
                      242:21        manual                             maybe              60:20
     12,17,21                                         map
                                      38:10                              32:18            66:3 74:5
                    makes                               139:19
   Major                              40:2                               37:12            75:17
                      112:10
     28:10                            43:18           mark               38:14            77:9
                      140:25
     98:5,6,                          50:19             6:6              49:13            82:10
                      159:19
     11,17                            111:13,           127:21           51:9 56:5        83:13
                      181:4
     99:6                             14,17,18,         130:3            70:9,19          96:23,24
                      190:11
     112:8                            20,24             134:25           71:2,11          97:2 98:3
                      238:3
     184:23                           112:2,3           248:23           72:2,16          99:14
                    making            124:10,16         253:23           98:8             100:1
   make
                      63:23           125:7,15,                          143:25           102:2,4
     6:9 13:24                                        marked
                      86:21,23        16,21,22                           147:12           103:13
     19:3 21:9                                          6:17
                      110:5           126:16                             157:18           106:2,22
     34:7                                               28:20
                      111:4           127:1,7,                           166:21           107:8
     38:16                                              46:18
                      126:1           10,13                              172:8            108:1,6
     42:13                                              85:5
                      138:13          163:4                              201:7            113:4
     46:9,15,                                           128:4
                      189:12          190:18,21                                           115:19
     16 50:7                                            130:5          Mcateer
                      209:12          192:3,10,                                           116:13
     57:3,4                                             248:25           30:10
                      229:22          21 198:4,                                           118:1
     58:1                                               253:25
                      236:14          19 199:1,                        Mckenzie           119:2
     64:5,14
                                      2 201:9         markers            26:13,17         120:15,25
     67:13          male                                148:17
                                      203:17,24                                           121:4,21
     72:21            147:1,9,                                         Mcmahill
                                      206:23          match                               123:7,25
     73:2             11,25                                              62:20
                                      207:11            169:1                             127:4,10
     75:2,23          148:2,16,
                                      212:25                           me                 128:20,23
     76:17,22         22 149:9,
                                      226:11,14       material           8:18 9:21        132:7
     80:15,16         21 155:14
                                      227:5             123:15           10:4,9           134:6,8
     87:8 94:6        167:15
                                      228:21                             12:1             137:9



  www.lexitaslegal.com                                                                   702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9       Filed 05/16/25      Page 308 of 353

  Detective Justin Roth     Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     140:23           27:24          193:8             34:19          memory           method
     141:14           48:11          234:19            36:11            63:6             191:4
     144:25           50:2           251:16            103:11           141:12
                                                                                       methodica
     145:12           52:23                            104:25           150:13
                                   meant                                               l
     151:22           61:17                                             172:7
                                     44:5            meets                               198:10
     153:4            62:10                                             196:11
                                     100:25            164:10
     156:25           70:21                                             198:18,22      methodica
                                     165:22
     164:20           72:6 87:9                      megaphone                         lly
                                     192:14                           mental
     165:15           104:4                            52:1                              198:16
                                     206:10                             174:11
     166:11           111:8
                                                     Melanie                           methods
     167:24,25        116:19       measureme                          mention
                                                       70:18,22                          179:15
     169:9            117:18       nts                                  16:3
                                                       71:1 73:4
     170:10           120:3,11,      88:12,17                           40:23          Metro
                                                       101:5
     171:23           15 121:3                                          93:18            31:19
                                   mechanics           104:15
     175:20           124:15                                                             32:4
                                     97:3                             mentioned
     178:14           125:9                          member
                                                                        12:20          Metrocomm
     179:1,8          127:6        mechanism           43:16
                                                                        15:10            223:15
     180:10,13        133:10         205:16,20         116:13
                                                                        54:9
     187:4            138:15                           117:2                           Metropoli
                                   mechanism                            93:15
     189:12           150:19                           249:13
                                   s                                    96:15          tan
     197:4            151:19                           250:22
                                     160:12                             100:14,16        4:11 5:3
     206:20           152:6,7                          251:3
                                                                        117:23           15:15
     213:4            158:13       medical             253:6
                                                                        161:15
     218:14           171:17,19      95:20             255:12                          mid-100s
                                                                        163:20,21
     219:20           174:1          139:12,13                                           36:25
                                                     members            174:22
     222:21,23        179:6          240:24                                            middle
                                                       14:13            194:5
     223:5            181:7          241:6                                               5:14
                                                       18:21
     225:14           188:16                                          mentionin          109:6
                                   medicatio           48:15
     226:4            189:1                            102:12         gs                 245:12
     227:3            197:4        ns                                   163:6
                                                       110:8
     229:14,16        200:4          8:10                                              midway
                                                       168:22         mentions
     231:17,21        206:8,15                                                           104:18,20
                                   meet                247:23           185:24
     233:5            214:2                                                              106:3,4
                                     10:20,23          250:11
     240:16           216:8,15                                        message            200:12
                                     23:22             251:4
     243:3,14         217:2          60:14                              79:17          Miller
                                                       255:7
     244:1            220:19         81:2                               225:15           11:10,11
     245:24           225:16         224:9
                                                     memo
     246:23           226:18,24                        42:24          messages         million
                                   meeting             103:9            79:11            88:3
     249:3,17         228:13
     251:25           234:4          11:1,5,9          145:5          messed           mini
     252:24           238:18         34:22                              118:8
                                     36:10
                                                     Memorandu                           245:15
     254:19,20        240:6
                                     44:1            m                messes           minimal
     255:5            252:21
                                     81:11,12          253:20           108:2            205:18
   mean             meaning          103:10          memorize         met              minimum
     7:8,10           168:18         105:2,15,         43:4             154:4            63:5 66:9
     12:1                            21 249:9
                    means                                               163:2,12         97:22
     14:17
                      42:9           252:9           memorized          164:7            163:2,13,
     19:11                                             42:20
                      48:21        meetings                             243:12           22 164:7
     21:23                                             125:1
                      188:17                                            257:19           165:7



  www.lexitaslegal.com                                                                  702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25       Page 309 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   minor            mistake            75:12,17          71:20            14,17            128:2,5
     199:25           166:3            76:2              74:19            11:14,19         130:3,6
                      213:15           77:17,24          80:18            13:16            156:15,21
   minute
                                       80:24             94:16,17         35:23            248:22
     51:11          mistakes
                                       81:15             95:25            36:8,22          249:1
     94:3             213:16
                                       82:7              100:20           37:11,19,        253:23
   minutes          modificat          94:12             102:5,11         23 38:19         254:7,19
     10:25          ion                97:3 98:4         104:9            39:4             255:2
     92:17            199:6            107:11            105:10           40:13            256:13
     123:22                            111:22            106:10           41:10            257:7,23
     204:25         modified           112:20            122:13           42:16,23         258:13,23
     254:20           250:7            118:22            133:2            43:11            259:6,11
                      254:6            132:7,25          141:24           44:3
   mirror                                                                                much
     106:15         modify             134:24            166:1            45:12,25
                                                                                           20:13
                      19:20            138:16            174:15           46:7,23
                                                                                           39:19
   misconduc          126:22           140:5             176:10           48:6
                                                                                           56:16
   t                  242:1            149:3             177:19           59:13
                                                                                           77:6,8
     66:12                             155:6                              60:17
                    moment                             mostly                              84:6
     90:24                             157:19                             100:3
                      23:21                              120:10                            86:20
     91:8,12                           159:6,9                            101:14
                      36:19                                                                108:3
                                       163:18          mother             102:23
   misidenti          37:8
                                       164:6             151:9            103:7
                                                                                           127:4
   fication           38:1,3                                                               142:19
                                       172:11                             104:25
     157:13           231:18,21                        mouth                               195:13
                                       182:5                              122:13
                                                         51:21                             251:1
   misrepres        Monday             188:3
                                                         54:16
                                                                          139:6,7
   entations          67:2             189:11                             202:14         multiple
     200:15                            198:5           move               203:9            13:3
                    monitor            207:5,12          46:14            208:23           71:18
   miss               89:10                              196:15,18
                                       208:11,22                          211:2            92:14
     107:14,23        149:17,24                          197:18
                                       214:9                              216:4,10         95:9,18,
   missed           monitorin          217:10            216:2            255:17,19        19 131:3
                    g                  219:17                             256:4,18         150:12
     78:12                                             movement
     107:12           145:24           222:19                             257:10,13        178:7
                                                         18:12
     173:6                             223:16                             258:10,          206:5
                    monster            224:23          movements          21,24            232:7
   missing            173:12           235:25            145:23           259:3,8,
     41:17                                                                               multiples
                    month-             236:17          movies             12,20
     94:4                                                                                  168:22
                    long               246:21            88:7
     189:8                                                              MS                 257:5
                      21:13            251:1
                                                       moving             4:16,25
     227:19                            253:5                                             murder
     229:2          months                               78:22            5:7,22
                                                                                           162:15
                      16:19          morning             178:7            6:1,18
   mission                             4:16 52:2                          11:16,23,      Murphy
                      34:3,4                             235:13
     243:12                            59:21                              24 28:21         4:16,17,
                                                         241:7
                    more               82:25                              29:1,5           25 5:7,8,
   misspeak
     227:24
                      7:11                             MP5-STYLE          37:21,24         22 6:1,18
                      13:25          most                150:16                            11:16,23,
                                                                          46:14,19
   missteps           22:22            8:7 63:9          194:7            65:13,19         24 28:21
     89:11            31:9             68:22
                                                                          118:13,20        29:1,5
                      35:22            69:19           Mr
                                                                          127:21,25        37:21,24
                                       70:17             4:18 5:8,
                      64:16



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 310 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     46:14,19         78:10         252:25            98:14          negative           254:3,16
     65:13,19         80:18         253:1             111:5            90:3
                                                                                      new
     118:13,20        94:24         254:2,3,          154:24           224:25
                                                                                        172:9,16,
     127:21,25        98:8          14,15,18,         157:18
                                                                     neighbors          21 186:6
     128:2,5          100:10        21 256:20         171:8
                                                                       65:6             187:15
     130:3,6          107:2,6,      257:18,           225:2
                                                                                        198:19
     156:15,21        10,25         19,20             246:22         neither
                                                                                        201:8
     248:22           116:16,21                                        49:7
                                   myself           necessary                           206:24
     249:1            118:1,5,
                                    116:14            82:24          Nekita             207:7
     253:23           11 119:12
                                                      218:23           4:7              226:8
     254:7,19         124:14
                                                                                        243:15
     255:2            127:12,13           N         need             Nellis
                                                                                        245:4,12,
     256:13           136:22                          56:6             37:3
                                                                                        13
     257:7,23         138:20                          71:12            47:23
                                   name
     258:13,23        140:18        5:8,12,14         77:9,10          145:14         newly
     259:6,11         141:1                           91:2             149:13           226:20,21
                                    30:11
                      142:18                          95:15            155:4,19
   my                               31:22                                             next
                      143:1,5                         96:1             156:7
     5:8 7:5,                       35:11                                               10:12
                      151:16                          102:15           161:6
     7,18 8:6,                      37:12,19                                            47:11,19
                      154:1                           118:2            179:16
     20,21                          43:2 85:5                                           61:9
                      161:23                          166:11           181:10
     9:11,20                        176:13                                              78:22
                      163:19,25                       169:6            195:7
     10:9                           230:3                                               82:23
                      166:3,4,                        182:5
     11:21                         names                             net                83:3
                      9,17                            183:24
     12:14                                                             104:12           88:21
                      169:22        84:23             189:4,5,
     14:22                                                                              89:7
                      170:8        narcotics          12 212:20      Nevada
     16:13                                                                              91:19
                      174:9,11,                       222:22           47:12
     19:16                          58:10                                               96:2
                      23                              232:12           209:23
     21:6,25                        112:2                                               99:10
                      176:12,13                       235:2            229:20
     22:5,6                         199:11                                              132:16,17
                      181:8,11                        241:21
     25:6,24                       narrative                         never              139:17
                      183:6,10                        259:10,11
     26:7                                                              27:12,13         144:7
                      185:5         138:13
     28:18                                          needed             34:10            147:8,15
                      187:6        narrowly                            54:24
     33:24                                            72:18                             156:14
                      188:8         143:2                              57:21
     34:9,10                                          74:9                              171:17
                      194:20        225:9                              61:22,23
     35:15                                            97:22,23                          184:22
                      198:20                                           94:8
     37:9 39:9                     national           104:12                            199:4
                      206:1                                            97:15
     41:18,21                       245:6             154:14                            203:9
                      212:24                                           99:7
     46:10                                            158:22                            205:10
                      213:2,11     nature                              115:4,13
     51:1,12                                          188:18                            216:10,
                      218:25        140:3                              124:3
     52:6,8,                                          211:7                             14,15
                      224:12        148:4                              156:8
     12,20                                                                              224:13
                      225:8,13,                     needing            176:14
     53:20                         nearby                                               243:25
                      14 231:5,                       126:16
     64:21                          65:4                               181:12           254:14,15
                      20 232:24
     70:12                                          needs              183:7
                      233:11       necessari                           194:20
                                                                                      NFDD
     73:8                                             16:9 78:2
                      239:14                                                            203:17
     74:11,13                      ly                 81:19            199:12
                      240:2                                                             204:24
     75:6                           50:18             95:7,24          200:8
                      246:9
     76:4,7                         56:5 75:1         187:25           235:18         NFDDS
                      249:12,       90:20,25                           246:3
     77:17                                                                              201:19,23
                      13,23



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 311 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     204:1            97:19         228:17          nonethele          59:25            120:12,
     220:7            98:8          229:20          ss                 61:21            19,25
     239:3,7          103:18,21     233:7             221:20           62:22            121:3
                      105:21        237:4                              63:11            122:7
   night                                            normal
                      114:1         238:1                              64:17            123:13
     59:20                                            61:4
                      115:23        241:19                             65:11            124:21
     64:1                                             109:22
                      117:19        244:16,21                          67:5,20          125:11
     85:25
                      119:10        247:19,20       normally           68:7 69:4        126:1,6,7
     148:7
                      122:6         249:6,12,         142:18           70:1,19          128:22
     182:25
                      124:13        21 250:1,         251:2            71:16,24         132:22
   nighttime          127:23        24 252:7                           73:11,16         133:6,20,
     184:12,13        128:1         256:5           north              74:4,11,         22
                      133:15,20     259:8,12          27:1             25 76:8          134:10,22
   nine                                               202:25
                      135:14                                           78:2,16,         135:17,
     77:20                         No-knock
     80:15
                      137:20
                                    192:22          northwest          20 79:18         18,22
                      138:22,23                       195:9            80:6,19          136:13
   Ninth              139:3        no-search                           81:19            137:18
     40:7,22          141:5         233:23          not                82:24            139:9,15
                                                      7:5 8:4,6
                      142:21                                           83:1,23          140:7,10,
   nit-picky                       noise              9:4 10:4,
                      148:17,21                                        84:25            13 141:24
     107:24                         202:4             12,13
                      155:2                                            85:18            142:4
                                    237:24            14:23
   no                 159:22                                           86:1,17,         143:2,21
     6:25 8:9,                     noise/             18:22
                      162:11,25                                        19 87:11         147:11
     13,17                                            19:23
                      166:9        flash                               89:2             148:17,18
     9:17                                             20:8
                      170:23        201:20                             90:7,14,         149:9
     10:19                                            23:18,24
                      171:25                                           24 92:2,         150:20
     12:20            175:18
                                   nomenclat          24:17
                                                                       18 93:9          152:22
     13:1 20:8                     ure                29:11
                      178:2,12                                         94:16            154:1,20
     22:7                           24:18             30:10,14,
                      182:4,19                                         96:8             157:18
     24:23                                            25 31:22
                      184:6,15     non-                                97:24            158:3,9,
     26:21                                            32:12,14
                      186:11,15    deadly                              98:13,14         19 159:7,
     32:15                                            33:21
                      189:14        13:4                               100:20,          13,17
     33:18                                            34:3,4,9
                      190:7                                            21,24            160:8,16
     35:16                         non-               35:20,25
                      192:19,22                                        101:5,10,        161:16,19
     40:4,14                                          36:13
                      193:13,      deadly-                             13,22            162:2
     46:4                                             37:13
                      15,18,22     force                               102:4,21,        165:5
     48:13                                            38:24
                      194:17        31:1,3                             22,23            166:8,10
     49:7                                             40:8 42:3
                      195:19                                           105:14           167:23
     50:2,3                        non-               43:1,2,
                      196:10,20                                        108:1,5          169:1
     52:11                         fragmenti          13,16
                      197:20                                           109:22           170:5,6,
     55:13                                            44:20
                      198:8        ng                                  111:5,13,        15,24
     61:21                                            45:9,18
                      200:15        205:17                             15,23,25         172:21,24
     64:24                                            46:4
                      201:3,17                                         113:1,10         173:4
     65:1,2                        none               48:12
                      202:23,24                                        114:1            174:24
     74:11                          62:18             49:12,17,
                      210:24                                           115:3            175:2,22,
     79:3                           135:12            21 50:9,
                      216:1                                            116:9,12         24 177:10
     87:21                          223:21            17 54:7,
                      222:8                                            117:2,21,        178:10
                                                      24 57:6,
     92:12            223:24,25    nonessent                           25 118:10        179:21,25
     94:1                                             19,24
                      225:19       ial                                 119:7,11,        180:21
     95:13                                            58:4,21
                      227:16,17     94:5                               19,20            181:1,18,



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK         Document 57-9       Filed 05/16/25      Page 312 of 353

  Detective Justin Roth      Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     20               243:11          63:13             181:2            99:20            189:20
     183:16,23        246:22          66:8,13,          186:2            101:5
                                                                                        obtained
     185:4,19,        248:14          14 68:15          196:10,19        104:15
                                                                                          140:9
     20 186:6,        250:1           90:2,22,          197:12           204:10
                                                                                          193:15
     10,25            251:22          23 91:3,6         198:12           220:7
     187:24           253:14          171:25            200:12           222:5          obvious
     188:4            254:9,17,                         201:13           238:15           163:20
                                    noticed
     189:3,22         18 255:6,                         208:14           239:3,19
                                      5:19                                              obviously
     192:25           21 257:8,                         211:15           248:11,20
                                      68:21                                               73:5 75:8
     193:13,          12,20                             226:7            252:2
                                      107:25                                              82:21
     14,17,18,        258:24                            234:8
                                      190:20                           O'Daniel'          90:5
     20 194:8,                                          253:8
                    notated                                            s                  95:15
     15 196:5                       noticing
                      105:9                           NRS                70:18,22         101:24
     197:23,25                        242:21
                      132:23                            29:16            71:1 73:4        110:22
     198:9,19
                      133:5         notificat           40:3             196:2            157:19
     201:1
                      137:13        ion                 63:13            200:11           166:18
     202:1,2
                                      144:19            91:3             205:5            171:4
     204:6,12,      notation
                                                        101:21           252:22           174:3
     13,14,23         78:23         notion              113:13                            197:25
     207:8,17,        103:2           179:1                            oath
                                                        127:18                            228:13
     18               126:17                                             4:15
     208:10,17
                                    Notwithst           128:6
                                                                                        occupant
                    note            anding              164:18         Objection
     210:21,22                                                                            232:18
                      84:21           29:11                              255:19
     211:1,4                                          number                            occupants
                      120:13                                             256:18
     212:3,7,                       now                 4:17 5:4
                                                                         257:13           209:19
     12,20          noted             15:21             6:6 36:24
                                                                         258:10,21        258:5,17
     213:5,10         47:20           22:16             77:16
     215:15           75:23                             79:23            259:3          occurring
                                      25:13
     217:2,3,8        109:24          31:11             122:5          objective          204:6
     218:19           120:4           42:17,21          128:19,25        170:9          October
     220:11           145:19          66:3 73:5         135:23
                                                                       objective          88:9
     221:11,22        189:23          76:15,19          160:1
                                                                       s                  201:8
     222:11,20                        78:3              162:18
                    notes                                                146:14         oddities
     224:9                            88:19,20          197:14
                      9:11,14,
     225:1                            90:15,22          229:4          obligatio          221:4
                      16 12:3
     226:1                            95:22             251:8,9                         oddity
                      39:9                                             n
     227:7,11,                        99:15                                               221:5
                      143:22                          numbers            256:24
     12 228:14                        101:15,25
                      155:11                            134:17,19
     229:20,23                        118:11                           observati        oddly
                      223:20                            147:10
     230:7,20                                                          ons                195:16
                      254:21          124:7,12,         173:5
     231:1,4,                         19 126:12                          183:14         of
                                                        229:6
     11             nothing           138:6,9,                                            4:8,17,19
                      6:14,15
                                                        239:23         observed
     232:11,18                        16 140:19                                           5:1,2,23
                      7:7                                                167:9
     233:8,9                          151:2                                               6:7,8,12,
                                                                         169:16
     234:11,          105:10          160:18                O                             20 7:5,7,
                      186:20,24                                          205:1
     12,15,22                         164:25                                              13,23
     238:18           251:17                                           observer
                                      169:21          O'DANIEL                            9:5,10,
     240:8,13       notice            174:18            73:18            189:25           11,12,20
     241:23           5:23            178:22            96:4                              10:5
                                                                       observers
     242:16,21                        179:9



  www.lexitaslegal.com                                                                   702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 313 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     11:12,20,        38:11,16,     67:8,23           91:8,9,          115:4,14,        3,5,15
     21 12:3,         20,23         68:10,12,         11,12,13,        15,20,23         144:3,9,
     5,10,11,         39:9,16,      21,22,23          22,24            116:1,5,         15,18
     17,19            22 40:2,      69:5,7,           92:15,21         9,13,20,         145:3,7,
     13:4,7,          12 41:1,      12,16,19          93:2,7,          23 117:5,        14,15,23
     12,15,22         8,12          70:3,4,8,         12,15,17,        7,10,12,         146:13,
     14:1,2,7,        42:1,16,      17,18,21,         24,25            19,22            24,25
     8,9,10,          17,21,22,     22,23             94:4,17          118:1,23         147:9,13,
     14,16            25 43:3,      71:8,9,           95:5,15,         119:9,22,        14,19,25
     15:2,8,14        4,9,10,14     14,15,22,         21 96:1,         24 120:5,        148:7
     16:8,9,          44:11         23 72:7,          4,8,10,          11,12,15,        149:7,12,
     20,23,25         45:11,24      24 73:4,          11,13,18,        20,21            16,17
     17:2,5,          46:24,25      14,18,20,         20,22            121:7,9,         150:5,11,
     11,13,17         47:4,10,      22 74:17,         97:1,3,5,        15,17,20,        14,15,19,
     18:6,13,         13,20         19,24,25          7,10,11,         25 122:2,        23 151:6
     23 19:5,         48:5,8,       75:13,14,         16,18,20,        8,13             152:2,19,
     7,10,20,         22,24         15,16,18          24,25            123:8,10,        20 153:3,
     24 20:2,         49:6,9,       76:1,5,           98:11,15,        19,20,21,        5,20,25
     3,4,5,18,        10,21,25      12,23,24          16,17            23 124:1,        154:2,12
     22 21:6,         50:3,6,       77:2,6,           99:2,12,         6,10,12,         155:8,9,
     14,24,25         10,16,21      17,20             19,22,24         19,20,23         18 156:9,
     22:5             51:1,8,       78:5,9,21         101:2,22,        125:9,10,        10,11
     23:4,13,         10,21         79:1,4,6,         23,25            12,16            157:3,4,
     17,18,20         52:5,6,20     13,16,24          102:5,12,        126:13           10,14,15,
     24:12,18         53:1,5,       80:2,4,8,         20               127:3,6,         22,24,25
     25:7,21,         14,18,25      13,14,18,         103:10,24        13               158:18,22
     23 26:1,         54:3,4,5,     19,23,24          104:3,5,         128:13,          159:4,8,
     18,23,24,        11,16,18      81:5,15,          6,12,18,         16,25            14,23
     25 27:1,         55:3,4,       20,23             23 105:7,        129:4,7,         160:1,4,
     8,11,15,         14,19         82:7,16,          11,12,14         9,13,17,         9,16,23
     16,18,25         56:5,7,       17,20             106:8,9,         19               161:5,15,
     28:13,16,        19,25         83:4,5,           14,18,23,        130:11,          18,23
     17,23            57:6,10,      22,23             24               15,20            162:5,13
     29:3,8,          14,17,23      84:4,10,          107:13,          131:1,4,         163:6,12,
     14,21            58:9,10,      13,22             17,18,19,        5,10,18          14,16,20,
     30:2,3,6,        12,15,17,     85:4,10,          25 108:2,        132:17           23 164:6,
     18,21,23,        20,24,25      13,16,19,         3,15             133:1,18         10,17,18,
     24 31:4,         59:3,9,12     23,25             109:1,2,         134:18           21 165:3,
     5,8,13,          60:12,20,     86:1,4,9,         6,20,21,         135:9,12         14 166:5,
     18,22,24         21 61:1,      12,13,21          24 110:2,        137:11,          17 167:7,
     32:3,4,5,        4,6,17        87:7,13,          10,23            19,22            9,25
     6,11,18          62:4,13,      15,16,17,         111:23,25        138:1,13,        168:3,21,
     33:4,12,         15,18         20,24,25          112:5,6,         16,25            22 169:2,
     13,16,22         63:5,10,      88:4,10,          13,18,19,        139:7,9          7,15,22
     34:3,6,          13,18,21,     12,16             25 113:4,        140:3,14,        170:8,10,
     11,13            22 64:1,      89:2,8,9,         5,8,12,          16 141:2,        11,23
     35:11            5,11,16,      11,15,24          13,16,19,        4,5,6,12,        171:4,10,
     36:5,12,         25 65:1,      90:1,10,          20,23,25         14,16            18 172:2,
     18,21,25         11 66:8,      11,15,17,         114:3,7,         142:6,9,         4,5,14,25
     37:2,15          12,14,23      19,22,24          8,15             12 143:2,        173:2,7,



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 314 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     13,16,22,        13,14,18,     16,20             253:1,6,         243:23           22 132:6
     25 174:1,        21,25         224:1,3,          7,20,21          250:18,21        133:7,8
     2,12,15,         199:4,6,      8,17,18,          254:2,3          252:25           135:4,9
     18,21,23,        9,11,16,      20,23             255:7,12,        254:22           136:4
     25 175:25        23 200:2,     225:1,6,          22 256:2,        259:16           139:12
     176:5,9,         17 201:1,     9,13,14           16,20,21                          144:2
                                                                     offense
     10,11,12,        11 202:1,     226:7,19,         257:5,6,                          159:18
                                                                       71:7
     15,17,20,        8,10,13,      25 227:1,         19 259:5,                         189:24
     21               25 204:4,     6,13,18,          15             offenses           202:22,24
     177:18,          5,8,12,       21 228:3,                          192:23           203:2,5
                                                    off
     23,24            13,14,24,     17 229:9,                                           205:12
                                                      7:5,7          offered
     178:1,6,         25 205:2,     17,19,22                                            210:15
                                                      10:6             117:15
     10,11            4,5,11,       230:10,                                             211:18
                                                      21:22
     179:10,          12,15,18      17,19                            office             212:17
                                                      25:23
     19,22            206:21,       231:2,3,                           11:8             216:1,22
                                                      26:23
     180:4,14         23,24,25      4,10,23                            29:8,21          217:4
                                                      40:8
     181:2,4,         207:1,11,     232:1,2,                           30:2,6,          235:21
                                                      63:23
     19,22            12,15,16      3,4,13,                            13,17,18,        236:9,19,
                                                      65:5,14
     182:25           208:5,6,      21,25                              21,24            20 241:3,
                                                      67:5
     183:1,2,         7,19          233:7,10,                          31:4,8,13        8 248:2,
                                                      71:11
     8,11,16,         209:7,14,     11,24,25                           61:1,3           10 252:13
                                                      72:24
     17,23            16,19,22,     234:1,10,                          75:6 77:7        255:4,13
                                                      77:17
     184:1,3,         25            22 235:8,                          86:22            256:14
                                                      84:5 90:6
     5,6,15,21        210:11,23     12,16,19,                          87:5             257:9
                                                      118:15
     185:3,7,         211:16,       25 236:6,                          135:1
                                                      128:10
                                                                       145:3
                                                                                      officer's
     13,15,24         17,24         14,22
                                                      130:1                             110:21
     186:3,11,        212:1,2,      237:8,9,                           174:23
                                                      131:18                            162:17
     18 187:5,        7,9,14,19     18,19,23,                          235:22
                                                      138:25                            183:17,18
     6,13,17,         213:8,21      24 238:19
                                                      140:19         officer
     25 188:3,        214:10        239:11,20                          7:20,21
                                                                                      officer-
                                                      143:17
     19,25            215:4,13,     240:12,15                                         involved
                                                      146:7,16         15:16,19
     189:7,12,        17 216:4,     241:11                                              13:7 14:4
                                                      150:13           21:3
     21               5,12,16,      242:2,19,                                           23:7 32:7
                                                      156:16           22:12
     190:21,22        24,25         20 243:1,                                           61:2,18
                                                      164:9,18         25:16,17
     191:3,7,         217:3,4,      8,18                                                69:11
                                                      165:4            33:14
     8,18,19,         5,8,9,16,     244:3,8,                                            75:3,5
                                                      169:22           61:20,22
     21 192:6,        19,22         11,24                                               82:16
                                                      172:7            67:21
     7,13,19,         218:3,6,      245:1,4,                                            91:14
                                                      176:2            69:2
     21,25            7,9,19,       18                                                  120:10
                                                      181:25           85:18
     193:6,22         20,25         246:10,                                             121:10
                                                      196:10           89:8 91:5
     194:20           219:1,8,      17,22                                               130:22
                                                      198:18           96:5
     195:5,6,         11,14,16,     247:4,6,                                            176:6
                                                      212:14           102:2
     9,12,15,         21,23         11,25                                               183:1
                                                      214:23           114:1
     17,19,24,        220:3,7,      248:2
                                                      215:5,21         116:11         officer-
     25               12,19,20,     249:9,13,
                                                      217:12           123:13         involved-
     196:15,          21,22,24,     23 250:9,
                                                      220:19           128:2,15
     17,20            25 221:1,     22 251:3,                          129:3
                                                                                      shooting
                                                      233:11
     197:3,4,         2,4,12,17     4,18,21,                                            106:19
                                                      240:11           131:10,
     11,14            222:2,6       24 252:2,
                                                      241:8            11,15,16,
     198:11,          223:8,10,     12,19,20



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK         Document 57-9       Filed 05/16/25      Page 315 of 353

  Detective Justin Roth      Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   officer-           21 232:3        6:6 7:6           14,23            112:9            19 162:1,
   safety             233:8           9:7 11:22         69:5,25          113:11,          4,13
     180:25           234:21          13:21             70:10            12,20            164:23
                      236:21          14:14,21,         71:14,19,        114:24           165:16
   officers           242:5           23,25             21,23,25         115:10,          166:10,24
     17:1 18:9        245:5           15:3 16:9         72:7             19,22            168:23
     23:8 28:6        248:1           18:20,22          73:5,20          116:4,14         169:12,13
     29:16            249:14          20:3,7            74:19            117:4,23         170:8,9
     33:14            250:9           21:7,25           75:12            118:12,18        171:20
     34:5             255:11          22:21             77:6,7,10        119:1,13,        172:3,5,
     38:25                            23:2,5            78:1,7,          17 123:11        16 173:3,
     47:21          officers'
                                      24:20             22,25            124:4            4,18,20,
     55:23            85:17
                                      25:5,11           79:14,22,        125:3,11         23 174:4,
     63:10,21         91:10
                                      26:18,20          23,24            126:11,          24 175:9,
     64:3             216:16
                                      28:4,14           80:13            14,19,20         13
     65:1,7           218:3
                                      29:11,24          81:4,20          127:8            176:12,19
     66:8           officers-         30:9,16           82:8,18,         131:7,19         177:3
     67:17,25                         31:11             19 83:4,         132:17           178:4,25
                    involved
     69:22,24                         33:9              19 84:4,         133:15           179:3,4,
                      66:4
     70:23                            34:6,7,           6,21             134:9,11,        6,8,12
     71:6           official          14,23             85:3,24          22 135:7,        180:15,23
     72:18            79:12           35:18,24          86:7,8,          19               181:6
     74:25            158:8,9         36:6,9            18,22            136:11,          182:1,6
     78:6
                    often             37:9,25           87:4,6,25        14,20,23         183:5,10
     80:25                            39:15             88:1,5,          137:4,14         184:4,10,
                      194:17
     81:9,25                          40:9,15,          13,16            139:14           13,15,17,
     82:3           OIO               20 41:6,          89:4,11,         140:5,6,         25
     83:20,21         13:4,15
                                      15 43:3,          18 90:2,         9,14,18          185:19,25
     84:16,17         29:10,23
                                      17 44:1,          5,16,22          141:8,14         187:5,9,
     85:16            30:4,14,
                                      23 45:1,3         93:1,5,11        142:12           14 188:9,
     86:10            15,23
                                      46:3,4,15         94:1,13,         143:2            23 189:25
     90:23            31:1,18
                                      47:9,10           19 95:6,8        144:16,19        190:5,25
     91:23            76:10
                                      48:2 49:5         97:7,8,23        145:18,22        191:2,4,5
     95:13,21         77:3,4
                                      50:9,18           99:14            146:6,11,        192:21
     97:25            242:20
                                      51:23             100:4,8,         14 148:7         193:23
     102:11,17      OIS               52:2,12,          15,18,21,        149:20,24        194:3,4
     107:18                           19 53:13          22,25            150:5            195:9
                      82:19
     110:14                           56:4,5,20         101:12           151:9            197:6,15,
                      94:1
     112:22                           57:4,5,9,         102:7,22,        153:13,16        24 198:23
                      107:6,7
     114:4                            10,11             23 103:1,        154:19           199:4,14
                      137:18
     130:15                           59:1,16           14 104:16        155:16,19        200:6
                      235:15
     138:25                           60:5,17           105:4,5,         156:19,          201:19,23
     140:1,2        old               61:2,5,20         6,11,22          23,24            202:6,25
     141:2,4          15:21
                                      62:2,8            106:2            157:3,16         203:10,16
     146:1            173:7,9
                                      63:2,7,           107:25           158:12,          204:21,22
     175:15,16      omitted           16,21             108:24,25        13,14,18,        207:10
     195:14           169:13          65:2,6,           109:6,14         20               210:4,16,
     197:14                           11,17,23          110:1,5,         159:16,25        22
     208:10         on
                                      66:13,20          21,24            160:1,8          211:15,20
     209:3,12,        4:8,17,18
                                      67:1,3,4,         111:6            161:1,16,        212:1,2,



  www.lexitaslegal.com                                                                   702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25       Page 316 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     11,15,23       once            72:21             13               185:1            57:18,19,
     213:16,23        12:9,12       74:4              180:14,22        219:16,17        21 70:20
     214:9,13         19:3 42:5     75:13             181:25           242:19           128:15
     216:10,21        52:20         78:24             182:1,17         254:5            129:3
     217:2,12         82:2 83:2     79:22             185:3                             138:13
                                                                     online
     218:3,16         84:15,21      81:21             187:13,25                         167:8
                                                                       12:11
     220:8,15,        85:3,20       83:22             189:21                            189:23
                                                                       119:13
     24,25            88:23         84:4              194:20                            214:23
     221:11,18        89:21         87:24             199:22         only               250:16
     222:9,12,        92:5          90:11,15          202:22           11:1
                                                                                      opened
     14 224:1,        98:20         92:16             203:5            14:20
                                                                                        14:16,20
     12,15            115:5         93:12,17          204:8            23:17
     226:10,          129:10        94:3,19           205:1            25:25          opening
     13,21            180:24,25     95:14             208:5            26:19            231:22
     229:3,4          208:9         96:4,18           221:12,17        39:3
                                                                                      openings
     230:4,18         217:9         99:22             222:19           69:15
                                                                                        16:18
     231:7,19,        231:6         100:9,19          226:25           89:22
                                                                                        195:23
     20 232:6,        235:4,5       103:5             227:16           94:16
     10,12,15         236:4         104:23            229:10           95:13          operate
     233:14           242:21        105:7             231:21           109:5            31:16
     234:12           247:13        106:9             233:15           119:8            65:2
     235:20           249:22        107:11,           235:20           132:23,24        96:12
     237:3                          18,19,25          236:14           135:24           106:13
                    one
     238:6                          108:14,18         240:6            156:6
                      7:14,18                                                         operated
     241:10,                        109:15,17         242:2            160:5
                      9:18                                                              256:8
     24,25                          111:17            243:1,25         172:12
                      11:20
     242:19,25                      113:4,5           244:2,13         184:13         operating
                      15:4
     243:23                         116:20            245:11           192:23           34:6
                      25:16,17,
     244:1,2,3                      117:1,22          246:24           193:3,8          110:24
                      22 30:8,
     246:17                         122:12            248:16           196:19           157:24
                      12 31:9
     247:20,24                      124:3             250:25           204:25           190:5
                      32:4,21
     248:7,16                       125:11            252:2,16,        205:1            221:24
                      36:5,19
     249:16                         126:1             17 253:18        220:12
                      37:8,15                                                         operation
     250:2,5                        130:17            254:3            221:21
                      40:14                                                             58:20
     253:7                          131:1,4           257:17,21        224:19
                      44:17                                                             79:21
     254:8,10,                      139:3                              225:13,14
                      48:24                         one-                                81:19
     14,25                          141:17                             228:17
                      49:1                          direction                           156:7
     256:9                          142:4                              243:17,21
                      50:24                                                             160:7
     259:4                          146:8,24        al-facing          244:2,15
                      51:23                                                             189:25
                                    148:6,16          182:4            248:7
   on-scene           53:11                                                             194:21
                                    149:7,20        one-page
     95:21            55:14                                          onto             operation
                                    157:4             145:5
                      56:7,17                                          99:24
   on-the-                          167:9                                             al
                      60:4,16                       one-year
   job                              172:2,4,                         op                 106:18
                      63:21                           118:10
     220:13                         5,21,25                            245:14           221:3
                      64:3,8
                                    173:13,16       ones
   Onbase             67:20                                          open             operation
                                    174:15            37:15
     135:19           68:8                                             13:13,18       s
                                    176:23            56:5,19
     136:1            70:25                                            14:17            16:11
                                    177:3             59:1
                      71:22                                            15:2             22:11
                                    178:3,12,         103:14



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 317 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     85:9           opportuni        other             ought              23,24            254:17
     183:22         ty                 10:16             193:20           87:11,21         256:7
     207:3            10:7 24:5        11:7 15:5         239:20           89:1 94:6
                                                                                         ours
                      43:9             20:14                              99:24
   operator                                            our                                 51:5
                      113:19           21:14,19                           100:10,
     49:17                                               9:7 12:7,                         171:4
                      232:19           25:10                              11,12
     56:22                                               9 13:4,5,
                      233:20           26:15,17                           101:2          ourselves
     97:14                                               12 14:6,
                      243:6            49:1                               105:7,12         77:21
     185:6                                               7,21,25
                      252:23           53:11                              107:18
     212:11                                              16:25                           out
                                       58:7 59:1                          108:7,8
     216:1          opposed                              17:5,11                           12:11
                                       74:2,3,7                           109:11,
     234:25           99:2                               18:23                             13:3 16:7
                                       77:7                               12,22,25
                      109:14                             20:9                              28:9,13
   operators                           80:22                              110:3,21
                                                         23:20,22                          31:25
     46:6           option             81:1                               111:1,24
                                                         24:7                              36:4
     47:22            82:23            84:20                              112:2
                                                         27:5,10,                          38:15
     69:25            133:6            94:13,20                           113:18,20
                                                         15,18                             46:13
     89:16            182:25           97:18                              115:15
                                                         28:1,2,4                          49:9
     90:11            183:7            100:9                              117:7
                                                         29:10,12,                         51:21
     127:7                             103:19                             123:17,18
                    options                              19 30:14,                         52:17
     185:19,22                         111:6                              133:20
                      179:21                             21,22                             54:16
     191:24                            117:12,15                          134:14
                      183:11,13                          33:21                             56:18
     198:11,16                         119:25                             135:14,18
                                                         34:2,11                           58:19
     206:5,8,       order              121:8                              139:20
                                                         43:14                             60:24
     22,25            12:4             123:4                              144:18
                                                         44:1                              70:23
     207:9,10         106:11           126:3                              154:11
                                                         50:19                             71:19,21
     214:13           114:5            129:16                             163:10
                                                         51:23                             77:14
     238:9            183:24           132:21                             164:17
                                                         54:8                              80:2
                      235:16           139:3                              165:12
   operators                                             55:14                             82:11,20
                      246:24           157:13                             170:15
   '                                                     57:23                             84:2,3,6,
                                       158:2                              172:24
     71:14          ordered                              58:18                             11,13
                                       160:3,11                           174:16,23
                      142:23                             59:21                             85:3,23,
   opinion                             178:11
                                                         60:15,25
                                                                          175:5
                                                                                           24 86:7,9
                      176:8
     27:13,14                          179:20                             176:10
                                                         61:3,4                            89:18
     34:9,10        orders             181:10
                                                         62:2
                                                                          187:16
                                                                                           90:19
     36:6,9,14        104:3            183:3                              196:8,21
                                                         63:2,14                           95:8
     46:3,10                           184:6                              201:14
                    organizat          188:9
                                                         66:20
                                                                          211:17
                                                                                           99:6,24
     47:9                                                67:3                              105:5,20,
     51:14          ion                210:22                             214:6
                      28:2                               68:16                             21 114:20
     115:10                            219:12                             215:14
                      31:22                              71:9                              115:1,3,
     121:4                             223:17                             223:9
                                                         75:10,20,                         4,6,14
     148:8,13       organizat          230:11                             225:1
                                                         23 76:13                          117:7
     154:1          ions               235:4,21                           232:9
                                                         77:20                             120:15
     163:19           68:9             240:7,17                           233:12
                                                         78:2                              130:24
     171:10                            255:10                             234:10
                    organize                             79:22                             133:11
                                       257:17,22                          235:25
   opinions           106:25                             80:14                             134:10,15
                                       259:7                              236:14
     45:12                                               83:24,25                          140:9
                    organized                                             240:23
     179:3,11                        otherwise           84:16                             147:19
                      245:13                                              243:12,23
     230:18                            170:15            85:21,22                          151:19
                                                                          247:24
                                       176:9             86:20,21,                         157:10,24
                                                                          248:6



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25       Page 318 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     160:24           209:25           85:5 89:1         242:1          P1                 147:8,15
     162:5,23         212:25           95:7              251:13           223:3,7,         149:1,11
     163:20           214:3            103:5                              19 241:20        151:3,23
                                                       overturne
     167:6,7          232:12           107:13                                              153:9,10,
                                                       d                pace
     177:18           256:22           109:13                                              15,20
                                                         250:6            196:16
     180:14                            114:19                                              154:6
                    outlines                             252:16,
     182:25                            117:18,21                        packed             155:7,24
                      113:7                              18,21
     183:7                             149:16,23                          248:14           156:3,23,
     187:25         outlining          150:3,6           254:6            251:1            24 157:7
     188:1            147:13           167:3,4         overview                            160:19
                                                                        page
     191:21,          230:10           169:6             86:9                              162:13
                                                                          28:17,23
     22,25                             180:14            183:2                             167:2,20
                    outside                                               29:3
     192:1,19,                         183:8                                               168:12
                      12:19                            overwatch          36:23
     21 200:8                          188:8                                               169:13
                      23:19                              235:22           38:1,20
     204:12,                           202:21                                              171:6,12
                      57:6 70:6                                           40:1,9
     13,14
                      86:1,21
                                       216:17          overwhelm          41:1,16,
                                                                                           172:5
     206:3                             227:25            192:14                            173:1,2,4
                      91:13                                               18 42:1
     210:13                            231:5,23          209:19                            176:12,22
                      97:16                                               44:9
     215:16                            235:3             232:5                             177:3,23
                      99:2                                                45:1,3,8
     217:10                            241:7             234:20                            178:4
                      102:22                                              46:15
     219:24                            244:18                                              179:13
                      115:14                           overwhelm          47:10
     220:8,15                          246:25                                              180:1
                      141:14                           ing                57:5
     221:1                             248:23                                              182:12
                      160:4                              41:3             78:25
     222:5,14                          250:11                                              184:25
                      174:23                                              97:8
     225:5                             254:12          own                                 186:3,12,
                      176:9                                               99:14,15
     235:24                            258:2             60:5                              23 187:4,
                      189:9                                               102:23,24
     243:21                                              70:12                             7 190:11,
                      200:16         overall                              103:12,14
     246:4                                               97:21                             16 192:18
                      224:20           15:17                              107:5
     254:2,5,                                            105:22                            195:1
                      234:22           31:21                              109:14
     13,15                                               108:20,21                         199:14,
                      244:24           49:15                              128:19
                                                         112:6                             15,17
   outcome            251:4,21         55:3                               130:12
                                                         174:11                            200:6,25
     14:14            253:1            118:3                              131:10,21
                                                         185:21                            203:16,23
     111:5,6                           131:3                              132:5,15,
                    oval                                 189:1                             204:21
     156:10                            238:12                             16 133:16
                      202:14                             230:13                            205:7,21
     160:8                                                                134:3,4,6
                    over             overhaul                                              206:18
     174:1                                             owner              135:3,8
                                       246:11                                              207:23
     256:2,3          8:20 9:9                           146:25           136:2,5,
                                                                                           208:25
                      12:8           oversight                            17 137:4
   outer              19:4,13                                                              209:15,17
                                       29:8,22                            138:7
     128:16                                                   P                            210:8
                      21:15            30:3,6,                            139:17,
     129:3                                                                                 211:23,24
                      25:22            18,22,24,                          24,25
                                                                                           215:22
   outline            35:8             25 31:5,        P&i                141:8
                                                                                           216:12,
     52:6             36:10            13                140:14           142:12,
                                                                                           19,21
     149:12           52:10                                               13,16,17
                                     overt             p.m.                                217:17,21
     190:22           56:24                                               143:14
                                       154:15            156:17,20                         224:13
     232:12           57:2                                                144:7,8,
                                                         254:23                            227:20
                      62:24          overturn                             25 145:8
   outlined                                              255:1                             229:4,6
                      74:22            19:20                              146:11,
     55:9                                                259:16,22                         230:4
                      77:12            126:22                             14,22
     204:9                                                                                 238:6



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 319 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     239:23         paragraph       140:16          partner            248:2,10,        144:11
     240:1,8        s               150:23            16:13            12,13,16         174:24
     251:12           107:25        152:19            107:6            249:14
                                                                                      per
                                    157:25
   pages            parameter                       parts            penetrate          41:7
                                    159:4,8
     38:2,15        s                                 120:15           205:19           42:1,4
                                    167:25
     39:16            113:5                                                             57:11
                                    168:3           passage          Pennucci
     106:8            114:3                                                             63:13,14
                                    169:20            134:24           49:2,12
     109:22,23        190:22                                                            66:9
                                    173:7             192:3
     122:4                                                           people             68:20
                    parking         176:10
     125:7                                          past               7:9 9:24         69:18
                      184:19        183:23
     131:9                                            42:5             17:10,11         90:14
                                    189:7
     132:12,18      part                              106:14           18:19            101:21
                                    190:20
     142:17           25:7                            158:5            21:11            136:12
                                    194:20
     145:8            27:16                                            25:11            145:23
                                    195:24          Patrick
     169:7            31:18                                            26:1,15          162:16
                                    196:20            30:15
     172:12,15        32:11                                            28:1 36:3        187:15
                                    205:2,4
     184:22           33:4,12,                      patrol             56:4 67:4        196:8
                                    206:25
     186:7            20 34:17                        15:16,24,        68:7             232:5
                                    207:1
     187:15           36:21                           25 16:7          83:4,5
                                    209:14            28:12
                                                                                      perceived
     199:5            38:16                                            84:17
                                    210:9                                               206:8
     205:10,24        39:21,23,                       58:13,14         88:13
                                    215:4                                               217:5
     216:14,15        24 46:24                        68:4             89:23
                                    223:10
     219:11           49:6 50:3                       76:19            93:20          perceivin
                                    224:13
     227:19           62:15                           81:20            95:15          g
                                    231:4
     252:3            63:18                           83:23            99:25            218:4
                                    232:21
                      64:5                            102:2            102:10
   pains                            233:7             235:20                          percent
                      66:14                                            104:12
     123:1                          234:1,10                                            63:10
                      68:10,12,                       236:17           121:8
                                    235:25                                              137:2
   pandemic           21 69:7                       pay                126:3
                                    237:23                                              176:14,15
     221:3            71:20                                            132:18
                                    242:11            77:8                              222:11
                      80:14                                            133:2
   paper                            243:8           PBT
                      83:3,23                                          135:24         perceptio
     84:22
                                   participa          83:24            158:10         n
     108:24           85:23
                                   ted                                 172:2            216:4,5
                      92:14                         PD
   paperwork          97:17         56:7              15:24            175:1,6,
     93:2                                                              13 178:11      perfect
                      102:11       particula          16:13
                                                                       179:10           94:1
   paragraph          103:5                           58:12
                                   r                                   189:3            158:3
     41:14,16,        104:9                           84:11
                                    108:9                              196:17
     25 44:17,        105:14                                                          perfectio
                                   particula        peaceably          204:18
     18 47:11,        106:19
                                                      232:19
                                                                                      nist
                      110:9                                            221:1
     19 79:2                       rity                                                 108:4
                      112:13,18                     peacefull          248:9
     108:5                          22:23
                      119:22,24                                        249:10         performan
     153:16,19                      164:11          y
     162:14           123:8,19,                       198:7
                                                                       250:9,19,      ce
     167:3            20 124:1,    particula                           20,21            175:13
     199:16           12,23        rly              peeking          people's
                                                      155:14
                                                                                      performin
     204:21           125:10        109:17,                            113:24
                                    18,20
                                                                                      g
     208:2            127:6                         peer               114:5            255:3,4
     218:18           137:19                          78:5             134:15



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 320 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   perhaps          persons            146:24          PIO                143:20           92:18
     21:9             204:5            147:13            145:2            144:14,20        100:18
     70:20                                                                                 104:18
                    perspecti        photos            pistol           plates
     78:12                                                                                 109:11
                    ve                 87:15             150:16,17        144:12
                                                                                           116:20
   perimeter          43:21            88:1              194:7
                                                                        play               118:4
     197:22           49:14,16         130:15
                                                       place              22:12            120:15
                      50:17,18         135:13
   period                                                5:1 46:21        76:10            126:10
                      69:5             155:8
     92:1                                                76:16            90:19            133:1
                      70:3,10          182:18
     216:2                                               91:15                             139:10
                      217:25                                            players
                                     physicall           139:16                            146:8
   permissio          218:1,2                                             200:16
                                     y                   150:2                             148:1
   n                                                     155:1,2        please             153:4
                    phase              187:15
     39:5                                                177:17           4:13 5:11        172:25
                      30:10
     183:24                          pick                185:8            8:18 10:4        182:17
                    phone              102:4,5           201:4,7          130:3
   permitted                                                                               191:20
                      64:21                              241:7            145:11
     86:1                            picture                                               202:18
                      85:3,5                                              151:2            212:13
                                       18:13           placed
   person             173:4                                               166:2            214:12
                                       88:4              12:15
     53:18            222:9                                               172:16
                                       130:19                                              216:9
     54:3,4                                              46:2
                    phones             132:9                              202:19           226:14
     57:11,23                                            195:16
                      161:12           157:2                              205:23           237:2
     59:16                                               216:23
                      162:3            177:20                             206:4,19,        242:1
     60:4 68:8                                           234:11
                      163:7            183:4                              20 207:23        254:13
     87:18                                             plain              253:24
                      222:12           205:12                                            pointing
     98:23                                               129:9            258:12
     142:7,12       photo            pictured                                              142:3
     145:18,25        139:5            142:8           plainclot        pled               163:20
     147:14           147:14,20        149:9           hes                225:8
                                                                                         points
     188:2            149:16           177:12            16:8,10        PMSA               48:23
     191:22           167:4                              22:10            102:8,10,
                                     pictures                                              88:3
     197:17           169:3                                               12
                                       131:4           plaintiff                           138:1
     198:6            182:13                                                               208:19
                                       135:24            4:17 5:9       pocket
     204:13           216:7
                                       170:14                             177:16,        pole
     236:8,10                                          plan
                    photograp          205:11                             17,19            184:8,9
                                                         57:1,2,3
   personal         h                piece               63:18          point              202:6
     8:14             140:6,17         84:22             171:2,13         25:15          police
     120:24           147:2,9          94:4              190:12           30:8 37:5        4:11 5:3
     148:8,12         195:10           195:17            206:23           44:24            11:15,20
     163:19
                    photograp                            237:20           45:1
     170:8                           pieces                                                15:15
                    hed                                  238:10           46:13,20         17:1 21:3
     183:14                            174:15
                      131:19                           planning           51:1,12          22:12
   personall          147:16         piggyback                            60:2 61:7        33:14
                                                         70:2,5
   y                                   82:18                              62:22
                                                         73:21,25                          52:25
     73:17          photograp
                                     pin                 96:10,12         64:25            53:8
                    hs                 170:21                             80:13            64:13
   personnel                                             227:21
                      135:9,20                                            82:1 84:8
     204:1                                               238:2                             68:1
                      140:15         pink                                 87:2             97:25
     247:22           141:25           210:10          plate              91:10            150:24



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 321 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     151:18           164:12,          187:3           potential        preclusio        preplanni
     209:3            16,17            202:25            157:13         n                ng
     213:25           166:5                              184:3            24:5             74:16
                                     positione
     255:4            170:5,24                           197:21           113:20
     257:3,9          171:3          d                                                   presence
                                       183:10          potential        preface            204:4,12,
                      175:24
   policies                                            ly                 249:2            13,14
                      185:9          positions
     17:3                                                190:2                             209:3
                      186:16,          129:24                           prefaced
     34:8,11
                      19,20,21         144:14          power              36:15          present
     43:14
                      187:16,17        207:2             158:22                            11:8
     54:8 74:9                                                          prefer
                      188:5                              184:9,10,                         34:22
     111:10,                         positive                             5:16
                      193:12                             11,12,13                          63:6
     14,15                             121:17
     112:21
                      198:24                                            prelimina          67:17
                                                       Powerdms
     117:8
                      199:6          positives                          ry                 103:16,19
                      201:9                              201:16
     121:14                            120:5                              7:13             106:10
                      211:6                            Powerpoin          60:11,14         164:2
     124:17
                      223:10
                                     possibili
     257:20                                            t                  83:25            249:7,11
                      224:9,10       ty                                                    250:1
                                                         17:18            86:12
   Policing           226:10,          181:2                                               257:25
                                                         18:5,8           92:25
     30:22            18,19          possible            28:3             95:4             258:4,16
     31:14            228:15,21        24:24             103:24           127:17
                      230:7,8,                                                           presentat
   policy                              66:7
                      20,21,23                         PPA              prelims          ion
     14:8                              80:25
                      232:9                              68:1             7:19             17:8,16,
     17:14                             86:3,17
                      233:22                                                               20,24
     18:25                             107:22          PPACE            prep
                      238:14,24                                                            18:5
     20:10                             108:4             102:13           55:25
                      239:10                                                               19:7,21
     22:3                              141:22,23
                      241:16                           practical        preparati          63:4
     23:19,20,                         190:7
                      256:7,20,                          75:21          on                 64:22,23
     22,24                             214:19
                      23                                                  10:18,21         65:10
     24:1,2,8                                          practical
                                     possibly                             63:22            81:7,12
     27:18          pop                91:1            ly                                  92:4,10
                                                                          64:6
     33:21            8:15             124:25            195:19,21
                                                                          219:3            103:17,24
     50:22                             162:16          practice                            174:4
                    popped                                              prepare
     63:14                             256:1             97:20                             231:5
                      39:4                                                8:19
     65:12                                               134:18                            249:12,13
                      58:24          post-ois                             12:18
     69:18                                               199:13
     77:19          portion            223:13                             56:21          presentat
     78:21            40:12            240:20,25       practices          64:4           ions
     90:14            41:8,22        post-               34:2,5           66:11            17:6
     110:25           206:2                              75:21                             92:14
                                     scene                              prepared
     111:17,          209:16                           preapprov
                                       217:19                             63:24          presented
     19,22,24         219:8
                                     post-             al               preparing          18:11
     112:2,6          249:22
                                                         228:19                            47:14
     120:8,20,                       shooting                             27:7
                    position                                              81:2,3           148:24
     22 121:2                          217:16          prearriva
                      15:25
     123:15,16                         235:9           l                  91:20,21       presenter
                      21:25                                               92:3
     153:8,12                                            56:25                             116:21
                      22:23          posts
     154:4
                      24:12            240:22
     163:3
                      155:16



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9       Filed 05/16/25      Page 322 of 353

  Detective Justin Roth     Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   preservat        primary          81:8 88:6       proceedin        proof              134:12
   ion                116:17,        92:16           g                  56:3             137:25
     192:25           18,19          118:6             68:18,20                          167:8
                                                                      proper
     193:6                           144:2                                               172:17
                    principle                        proceedin          131:7
                                     169:9,10                                            208:23
   press            s                179:2           gs               properly
     62:23            229:25                           259:22                          providing
                                     181:23                             82:4
     64:12,20                                                                            235:22
                    prior            182:20          process            117:11
     65:22,25                        254:5                                             provision
                      36:25                            27:17          property
   pressing           65:23          255:25            56:11                           s
                                                                        15:20
     95:25            97:12          257:5             57:17                             252:4
                                                                        58:10,11
                      104:8        problem             62:9 70:5        193:3,8
   pressure                                                                            provocati
                      117:12         35:16             82:9             194:9
     139:14                                                                            on
                      137:24         50:4              88:22            195:17
   presume            144:4                                                              153:23
                                     157:13,           95:9             199:12
     151:24           204:1                                                              154:3
                                     15,18             196:18           227:6,18
                      207:5                                                            prudent
   pretty                            184:7           processed        property-
                      221:25         188:18                                              109:13
     26:2 27:2                                         175:23
                      246:2          240:18                           only
     86:20                                                                             PSMA
                      256:9                          produced           193:14
     88:24                         problem-                                              68:4
                                                       17:18            196:5
     122:5          privacy
     189:2
                                   solving                            Prosser's        PSU
                      134:15                         product
                                     16:4                                                16:4,6
     223:1                                             109:10,23        253:7
                    privy                                                                58:11
     256:15                        procedura           114:25         protect
                      231:11
   previous           242:23       l                   116:10           134:15         public
     44:23            251:15         100:10            122:8                             17:5,10
                                                       173:25         protectio          145:3
     46:6 93:9                     procedure
                    Pro                                174:2          n                  150:23
     94:21                           34:2
                      12:10,16                                          29:15            192:24
     142:12                          77:19           professio
                      86:21                                                              238:23
     144:6                           211:20          n                Protectiv
                      87:8                                                               250:22
     183:22                          214:20            21:1,2         e
                      254:18                                                             255:8,12
     187:12                          221:25                             68:2
     242:20         probable                         professio                         published
                      98:21        procedure         nal              proud              119:11
   previousl                       s                                    173:22,25
                      167:7                            8:15 15:9                         136:25
   y                  193:25         22:3              58:3             174:1,2,
     12:19            206:7,9,       33:21             97:12            8,18           puff
     16:3             11             34:12             124:1            176:11,          216:25
     48:25                           43:15                              12,15,17
                    probably                         proficien                         pull
     77:18                           49:11
                      11:25                                           prove              37:9
     109:22                          54:8            t                                   38:15
     159:15           30:9                             140:14           101:4
                                     112:21                                              56:18
     194:5            36:24          154:19                           provide
                      37:4,14,                       programs                            89:1
     227:11                          185:10                             36:8
                      15 44:21                         223:9                             139:19
   pride                             223:13                             134:20           167:6,7
                      57:10          240:23          project            173:17
     115:17           59:16                                                              182:14
                                     256:7             26:20            232:18
     116:10,14        70:3                                                               214:16
                                     257:4,20        promoted         provided           215:5
                      73:18
                                                       28:13            45:13            231:20



  www.lexitaslegal.com                                                                  702-476-4500
Case 2:24-cv-00074-APG-NJK         Document 57-9       Filed 05/16/25      Page 323 of 353

  Detective Justin Roth      Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   pulled           purview         puts                132:7            156:14         quoting
     26:23            133:20          87:5              139:22           165:22           122:14
     45:12,17         163:10                            141:1            189:1            190:17
                                    putting
     46:6             188:8                             148:4                             203:24
                                      88:25                            quickly
     128:10           224:17                            170:20
                                      91:3                               10:5
     129:20           251:21                            174:18
     130:4            254:2
                                      92:23
                                                        181:5,8
                                                                         74:23                 R
                                      122:15                             202:9
     152:15                                             182:8
                    pushed            141:14                             233:17         R-A-Y
     192:19,21                                          193:7
                      172:21          154:21
     215:21                                             208:21         quite              5:15
                      174:12,13       164:25
                                                        228:7            10:13          R-O-T-H
   pulling            176:2
                                                        230:19           46:12            5:13
     42:9             205:16
     106:4
                                           Q            249:3            95:16
                    put                                 256:12           106:8          racking
     123:5                                                                                241:3
                      10:9          qual                258:12           112:12
     215:16
                      12:12           13:17                              224:4          radio
                                                      questioni
   Puma               34:24                                              225:24           56:24
     148:5            39:23         qualifica         ng                 239:2
                                                        250:8                             89:3,9
     167:10           46:8,9        tion                               quotation          223:7,11,
                      54:2            239:17          questions                           17
   purpose                                                               203:18
                      66:12                             8:7 15:9
     16:23                          qualified                          quote            rage
                      76:16                             57:9
     31:23,24                         204:17                                              150:3,9
                      77:10                             67:13            18:10
     32:11,15
                      88:15         qualifier           69:12,16,        36:18          raise
     53:25
                      90:2            22:8,9            17 71:6,         40:16            177:24
     74:24
                      99:23                             10,12            41:9
     75:14,18                       qualify                                             raised
                      108:24,25                         72:12,18,        123:2,4,
     81:20                            124:9                                               177:22
                      109:2,25                          25 73:2,         13 167:8
     110:10                                                                               179:20
                      112:1,9       quality             20 75:2,         178:6
     119:22,
                      114:19          140:3,10,         13 77:13         203:16,17      rake
     24,25
                      123:17,18       11,13             86:11,13,                         211:13,
     129:13                                                            quote-
                      125:9,12                          14 93:7                           14,19
     168:15                         question                           unquote
                      127:4                             105:18                            214:21
     182:22                           9:20                               95:11
                      137:5,16,                         106:2                             215:3
     185:13                           10:3,12
     192:13
                      18 138:18
                                      21:10             114:21,23      quoted
                      139:13                            118:22           36:22          ram
     199:11                           35:20                                               210:16
                      140:9                             163:6            42:15,24
     203:21                           51:1
                      154:14,18                         164:19           46:21          ramificat
     213:21                           52:6,8,13
                      155:2                             167:24           190:17         ions
                                      53:3
   purposes           170:8,21
                                      57:20             168:1            192:3            256:22
     29:14            174:9,12                          172:11
                                      64:8                             quotes
     84:20            176:12,13                         175:4,12                        randomly
                                      66:17                              42:8 63:2
     119:15           177:17                            180:15                            154:17
                                      72:23                              106:11
     159:18           183:5                             218:15                          rank
                                      76:7 92:6                          117:10
     208:18           189:18                            249:17                            248:3
                                      100:1                              185:3
     229:22           201:3                             252:25
                                      105:13                             213:1
                      220:3,24                          259:7,8                         ranking
   pursuant                           108:25                             219:12           251:3
                      225:12
     232:20,25                        124:14          quick              221:13
                      230:18                                                            rare
                                      127:4             88:24
                      254:17                                                              27:2



  www.lexitaslegal.com                                                                   702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 324 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   rather             180:3          really              117:5            217:5,18         244:3
     38:15            203:25           72:17             159:14,17
                                                                        recogniza        recommend
     218:8,10         206:1            75:16             165:16
                      209:16           77:8 83:8         183:12,17      nce              ations
   Ray                                                                    189:2            74:13,18
                      210:9            88:25             192:6
     5:15                                                                                  76:6,11,
                      222:22           116:20            209:4,21       recognize
   RBT                225:17           120:13            218:3                             15,16
                                                                          114:5
     28:6             226:7            127:11            228:3                             77:10,15,
                                                                          212:16,18
     100:13           227:10           140:14            234:3,11,                         25 78:9,
                      229:6            165:9             14,15          recognize          12 80:6
   re-                                                                  d                  94:12,16,
                                       166:10,13
   interview        read-and-                          reasonabl          172:8,9          17 109:25
                                       174:11,14
     104:15         sign               183:4           eness              239:22           110:3,5
                      259:21                             113:6,25                          125:13,
   re-sign                             184:25                           recognizi
                                       185:13                                              20,25
     221:11         reader                             reasonabl        ng
                                       210:21,22                                           126:2,11,
                      110:7                            y                  172:20
   re-                                 218:14                                              13 127:5
                    readers                              112:22
   signature                           223:4,9,                         recollect          173:16,17
     221:14           144:14           24 224:23       reasons            59:12            200:20
                                                         93:20                             228:10
   re-              readily            233:17                           recollect
                                       235:18            96:18                             231:6,7
   signing            131:6
                                       240:18            244:18         ion                242:22
     186:11         reading                                               7:18 9:5
                                       241:21          recall                            recommend
   reached            20:5 42:7                                           42:14
                                       256:5             53:11,14                        ed
     36:4             92:2                                                52:20
                      107:24         realm               114:23,25        53:4             110:16,
   read               117:3            177:14            151:21           69:21            17,18
     9:2,9            128:25                             188:24           162:8            200:17
     19:7,10                         reason              190:24                            242:5
                      142:11                                              166:17
     20:2,3,6                          8:5 46:1          201:22                            243:22
                      147:12                                              219:13
     36:20                             68:10,12          242:2                             247:3
                      173:3                                               246:9
     41:11                             72:8
                      222:8                            recategor          253:13,14      recommend
     43:25                             120:9
     46:12          reads              122:6           ize              recommend        ing
                      70:13            138:23            228:16           228:16           110:9
     72:14
                      79:3             170:6                              234:10           242:12
     78:19                                             receive
                      108:8            172:13
     84:23                                               193:18         recommend        recommend
     91:6             203:18           188:1
                      207:11                           received         ation            s
     105:22                          reasonabl           21:6 22:6        76:13            79:12
     107:13           259:5
                                     e                   206:21           79:22            171:1
     117:1          real               46:5                               80:7,11          228:20
     118:5            55:8             47:5,15,        recent             126:7,18
     119:16,20        85:11                              8:14                            record
                                       25 50:2,                           169:24
     128:17,                                                                               4:25 5:12
                      165:21           7,12,14         recently           170:3
     22,23                                                                                 20:6
                                       54:3,4            28:13            196:8,21
     129:2          real-time                                                              24:23
                                       75:22             49:9             200:22
     144:8            88:11                                                                27:21
                                       78:20             108:5            226:18
     160:14                                                                                29:1
                    Reality-           81:23                              228:15
     164:1                                             recitatio                           31:12
                    based              90:17                              233:13           38:16
     179:25           28:7             114:2           n                  243:15           48:20



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 325 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     65:14,17       reference        refuted             138:1          Rembert's          11,12
     67:14,23       d                  110:18                             150:8            10:17
                                                       relativel
     100:21           28:15,22                                                             12:2,4,
                                     regarding         y                remember
     118:15,18        47:2,8,12                                                            19,21
                                       38:10             207:7            36:21
     140:17           68:11                                                                18:7,8,
                                       43:20                              43:11,22
     150:23           87:17                            relayed                             11,13
                                       155:3                              48:17
     156:16,19        137:15                             43:22                             19:8,11
                                       231:2                              49:1
     184:6            145:4,16                           143:6                             20:3
                                                                          61:15
     191:7            170:20         regardles                                             23:12
                                                       relaying           66:3,22
     233:7            243:20         s                                                     25:2
                                                         179:11           67:21
     254:22,25                         50:10                                               27:12
                    reference                                             72:1,2
     259:17                            72:7            release            92:18
                                                                                           28:23
                    s                  159:22            64:12                             29:4
   recorder           48:5                                                99:17
                                                         65:22                             36:13,15,
     253:2                           regards                              122:4
                    referenci                            145:4                             21 38:20
                                       245:2                              130:23
   recording                                                                               39:9
                    ng                                 released           132:2
     146:10                          registere                                             40:1,13
                      27:12                              140:12           141:20
                                     d                                                     42:8,15,
   recovered          39:13,15                                            146:7
     150:8,18         40:2             146:25          relevance          155:21
                                                                                           16,18,21,
                                                         137:20                            25 43:4
                      80:10          registrat                            169:21
   recoverin                                                                               44:12
                      194:15
                                     ion               relevant           179:25
   g                  229:4                              137:12           181:15,16
                                                                                           45:13,21,
     199:11                            144:4                                               23 46:9,
                                                         219:18           194:19
                    referred         regular                                               12,21
   recreates          42:23
                                                         221:16           211:17
                                                                                           50:11
     87:16                             22:11             223:9            225:4
                                                                                           51:10,17
                    referring          102:1                              241:25
   red                8:25
                                                       reliable                            52:11
     86:1                            related             8:11,16        remembere          55:17
                      28:24
     141:15                            20:25             122:7          d                  56:9
                      38:7
                                       59:14             152:23           206:5            74:13
   redact           refers             77:1                                                76:3
                                                         153:6,22
     134:20,22        38:19            101:7,9           154:2          rendered           80:3,5,21
                                       121:10                             95:20
   refer            reflect                                                                81:3
                                       125:5           relied
     171:16           4:25 29:1                          103:1          repeat             87:17
                                       147:5,10                           233:5            93:14
   reference          228:22
                                       175:24          rely               258:12           98:10
     9:12           reflectiv          176:5             127:8                             99:9,11
     37:16
                    e                  194:9             198:23         rephrase           100:16
     51:9                              220:22                             74:5
                      183:16                                                               102:20
     124:23                            221:6,9,
                                                       relying            125:18
                                                                                           103:3,7
     125:5          reflects           23 237:11
                                                         153:13           186:17
                                                                                           105:6,8,
     127:10,          165:15                                              258:11
                                       250:20          remainder                           21 106:7,
     11,18
                    refresh          relates             38:11          replace            25 107:2,
     208:19
                      161:21                             217:15           181:2            7 108:3,
     223:8,13                          256:17
                      162:8                              218:7                             17 109:15
     225:11                          relation            249:23         replayed           110:10
     226:8          refresher          151:7,8                            51:7
                                                                                           112:14
     227:5,13         242:6                            Rembert
                                     relative            151:5,7        report             114:16,22
     230:4,5
                    refuse             137:8             194:6            8:20,23,         115:4,8
     251:7
                      99:6                                                24 9:5,          116:7,9,



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 326 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     25               10 214:3,        67:10             91:15            124:20           239:11
     118:10,          7 216:13         68:12             93:5 97:7        173:24           242:2
     11,22,24         218:6,7          85:18             124:21,22        257:1
                                                                                         resulted
     119:7,10,        219:7                              126:18
                                     represent                          respectiv          241:24
     11,12            230:11                             133:9,22
     120:16,21        231:5          ative               225:3          e                results
     122:16,23        246:22           99:21                              83:21            250:13
                                       101:11,23       requireme
     123:23           247:13                                            respond
                                       102:9           nt                                resuming
     125:19           257:18                                              60:10
                                                         164:10                            253:3
     127:15,          259:5          represent                            82:24
     16,19                           atives            requireme          218:16         retired
                    report's                                                               48:25
     128:13                            67:24           nts                229:15
                      36:19
     129:20,23                         101:22            33:7,16                           49:1,8,9
                      119:2                                             responded
     130:4,10,                         102:6             158:21                            101:16
     11             report-                                               240:18           179:7
                                                         163:2,13,        256:4
     133:16,17      writing          represent
                                                         23 164:8                        return-
     135:23           117:17         ed                  256:16         respondin
     136:11,                           102:10,                                           to-duty
                    reporter                                            g                  82:4
     12,17,20,                         12,16           requires
                      4:6,14                                              60:10
     23,24                                               209:21                          returned
                      6:5 9:19       represent                            197:23
     137:11,                                           rereading          248:16           172:23
     12,15,23         259:18         ing
                                       62:20             108:4,22                        reuse
     138:3,4,       reporting                                           response
                                                       rescues            240:20,25        186:22
     17,18            26:16          represent
     140:11           145:19,25                          244:24                          reusing
                                     s                                  responses
     142:11,                           68:6            reserve            93:6             239:25
     19,22
                    reports                                                                240:5,7
                      74:7 81:3        132:9             86:18
     143:15                                                             responsib
                      95:4             141:13            155:5                           revamp
     144:9                             202:14                           ility
                      104:23                           residence          71:5,9           74:9
     146:18
                      117:24         reproduct           191:25
     148:10                                                             responsib        revamped
                      135:20         ion                 196:17
     152:3                                                                                 77:19
                      150:24           172:14            232:7          le
     156:5,24
                      162:17                                              28:4           reverse
     159:1                           request           resolutio
                      163:21                                              154:12           168:20
     163:21                            146:15          n
                      188:1                                               172:2
     164:23                            204:11            140:7,22
                                                                                         reverting
                      236:13,14
     165:24                            222:9             141:2,3        restricte          246:1
     168:10         represent                            211:16         d                review
     169:12           5:9 39:8       requested                            19:23            11:4
     171:20           54:10            146:12          resource
                                                                        resubmit           12:5,17
     174:19           101:5,17,        176:2             12:11
                                                                          172:16           14:12
     176:18           19 102:3       requests          resources                           17:9 18:1
     183:16           128:9            32:3              75:10          result             19:6,14,
     200:21           129:18           79:5,6            98:24            19:20            22 22:1
     204:10           161:20                             104:13           77:2             23:11,15
     209:11,25        169:5,6        required                             121:7
                                                         105:7                             25:5
     210:18                            63:11,12                           198:25
                    represent                            220:25                            29:3,14
     211:6                             66:8 67:5                          222:2,6
                    ation                              respect                             31:2,4
     212:2                             69:15                              226:25
                      27:18                              53:22                             32:6 33:5
     213:8,9,                          83:18                              230:9,10



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9       Filed 05/16/25      Page 327 of 353

  Detective Justin Roth     Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     49:5           right            243:4,14          252:25         round-           SACO
     56:23            12:1           244:1                            tabled             79:9
                                                     rotation
     60:13            25:13          247:9                              107:4            191:10,
                                                       25:24
     77:22            37:25          258:9,19,                          108:10           15,16
                                                       57:24
     78:4             38:17          20                                 114:19           196:1
                                                       59:22
     85:22            42:10                                                              214:17,19
                                   rights              60:3,5         round-
     105:8            55:16
                                     32:13                            tabling          safe
     110:6            58:23,25                       rotations
                                     113:24                             121:8            241:9
     112:15,          65:20                            60:6
                                     114:6,8
     16,19            66:25                                           roundabou        safer
                                     213:17          Roth
     115:23           70:19                                                              75:24
                                     255:7,12,         4:10,21        t
     123:9            71:8
                                     17 256:17         5:2,8,13,        127:3          safest
     174:5            73:11
                                     257:11            14,17,23                          41:2
     217:3            75:15                                           rounds
                                     259:1             25:4
     219:5,6,8        95:2                                              150:12         safety
                                                       198:21
     222:11,19        100:6        risk                               rudimenta
                                                                                         159:18
                                                       252:13
     231:1            109:9          23:5                                                181:4
                                                       259:15         ry
     247:10,14        120:2,14       204:5                                               192:24
                                                     Roth's             64:25            238:23
     248:8,17,        121:21
                                   road
     19 249:8         123:7                            27:13          rule
                                     34:4                                              said
     251:5            124:12                                            209:20
                                     109:6           Rothenbur                           9:13
     253:3            127:14
                                     150:3,9         g                ruled              31:7,11
     254:21           130:9
                                                       67:21,22         204:12,          43:3
                      136:10       robot
   reviewed                          198:12            132:6            13,14            44:3,4,22
                      137:3
     9:16                                              202:22                            47:1
     10:18
                      142:2,6      robots                             rumors             50:11,24,
                                                       203:2
                      150:13                                            174:25
     67:12                           196:16            211:18                            25 51:18
                      151:22                                            175:6,15
     78:10                           198:12            216:22                            59:12
                      153:17
     216:15                                                           run                62:7 76:1
                      158:13       Rogers            Rothenbur
     219:2                                                              131:2            80:20
                      159:10         102:7           g's                143:5            89:5
   reviewers          162:12,14    role                217:4                             94:10
                                                                        184:10
     172:25           167:3,4        97:18           rough                               105:11
   reviewing          177:3,20       116:18,19                        runs               108:9
                      190:10                           155:17           219:11
     13:5 61:6                                                                           109:17
                      193:9,19     roles             roughly
   reviews                           58:7                             rush               114:4
                      197:6                            55:18            222:20           123:22
     38:9             202:12,20                        156:23
                                   roof                                                  141:24
   Revised            203:9,10       112:4                            Ruth               164:14
                      211:1,2                        round              11:10,11
     209:23                                            53:19,21                          166:4,13
                      213:18,25    room
   rewording                         64:23             90:9           RV-                172:16
                      214:15,17
                                                       123:8          LOOKING            173:15
     231:10           216:7,9        100:19
                                                       205:17,18        85:9             175:8
                      222:16         195:19,22
   Reynolds                          202:8             210:4                             181:8,11
     149:7,10         224:6                                                              182:24
                      229:10         217:1           round-                  S           183:6
   rifle              230:3          236:8,10
                                                     table                               185:5
     149:23           234:20         248:14
                                                       108:13         S-A-C-O            187:18
     150:6,17         237:9          249:25
                                                       115:10           191:11           189:22
                      240:16         250:3




  www.lexitaslegal.com                                                                  702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9       Filed 05/16/25      Page 328 of 353

  Detective Justin Roth     Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     192:4            194:15         63:9              222:21           180:10         screensho
     211:19           200:6          68:17             238:1            181:17         t
     212:12,19        202:6          70:25             249:12           186:25           140:20
     214:5            213:23         73:18             252:12,17        192:13           141:15
     219:6            234:25         77:15             256:3            213:2
     227:22           236:24         78:16             257:6,21         216:22         screensho
     228:10           238:8          87:8                                              ts
                                                     saying           scan               141:18
     230:12,          247:22         89:16
                                                       15:1,2           88:3,8
     15,20            248:3,9        90:16                                             script
                                                       19:18
     233:6            250:13         92:16                            scanned            68:16
                                                       36:16
     234:25           256:4          93:10,23                           88:10            69:8
                                                       42:22
     240:6            257:1,2,3      95:12
                                                       78:2,6         scenario         search
     243:3,4,                        97:1
                    save                               79:20            201:5            37:2,9,
     20 250:6,                       101:17
                      54:6,8                           90:25                             13,16
     25                              103:3                            scenarios
                      173:9                            108:23                            39:16
                                     104:20                             75:9
   Sam's                                               111:8                             52:2,25
                    saved            105:25                             207:1
     139:7                                             116:12                            53:9 54:5
                      176:19         107:3
                                                       120:14,        scene              57:23,24
   same                              109:19
                    saw                                16,25            82:16            58:8,9,
     9:24 10:1                       119:15
                      17:18                            121:1,15         85:25            16,17
     13:8 18:4                       120:19,21
                      78:7                             124:11           86:2,23          59:5,14,
     24:16                           122:20
                      84:17                            148:10,15        87:21            18 61:8
     30:20                           125:6
                      87:14                            151:18,25        88:8,10,         62:5 70:8
     32:21                           137:17
                      98:4                             165:13           17 131:25        74:10
     40:20                           140:8
                      108:5                            178:2,7          135:14           79:4,13
     53:16,22                        148:15,
                      111:4                            181:7            136:8            89:6
     54:23                           22,23
                      114:24                           188:20,22                         92:20
     55:5,6                          151:19                           schedule
                      149:4                            200:11                            96:20
     57:5,24                         155:10                             67:3
                      183:17                           214:11                            97:1,6,
     77:7                            160:6
                      235:5                            230:3          school             10,13,17,
     86:15                           162:1
                      253:7                            235:25           112:8
     107:13                          163:1,5,                                            21,22
                                                       244:4            207:17,19
     109:14         say              17                                                  98:12,15,
                                                                        220:12
     116:7            7:10 8:23      164:13,25       says                                18,19,22
                                                                        221:22
     127:10           9:19,24        165:8             19:19                             99:7
                                                                        226:20,22
     130:1            10:13          166:8             38:3,9                            101:3
                                                                        233:21
     132:3,5          14:15          174:8             43:18                             113:23
                                                                        244:11
     135:6            15:18          176:11,14         44:24                             124:2
                                                                        245:15
     140:7,11         16:16          177:14            45:2                              129:13
     141:7            19:9           178:11            68:17          scope              145:15
     142:7,8,         21:12,24       181:17            121:12,13        176:10           150:15
     12 150:3         22:5,7         182:7             124:16                            160:21,24
                                                                      Scott              161:6,18,
     152:3            26:23          194:22            128:15           179:6
     156:24           27:21          197:5             129:5                             22 162:6,
                                                                        238:18
     157:8            30:11          201:6,7           136:11,12                         24
     164:1            31:9           206:14            142:3,4        screen             163:14,17
     168:18,          48:10          211:12            151:8            214:24           164:1
     19,22            49:13          212:9,21          153:22           215:20           165:17
     180:3            53:18          215:12,16         169:13                            166:7,18,
     186:12           55:20          220:23            176:25                            22,23




  www.lexitaslegal.com                                                                  702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 329 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     170:7            128:21        110:2             241:8            136:10         seldom
     171:1,2,         136:11        111:18,                            212:17           102:6
                                                    secured
     12 172:4         147:2         20,21,23                           238:13
                                                      98:1                            send
     177:7            157:3         112:2
                                                                     seeking            77:12
     192:20,22        165:23        115:9           security
                                                                       193:9            105:22
     193:14,          208:2         124:25            134:17,19
                                                                                        115:4
     15,23            227:10        128:18            139:13         seem
                                                                                        225:14
     194:8            242:11        144:18                             114:2
                                                    see
     196:5            252:24        146:17                             115:16         sending
                                                      38:14
     207:15,16                      154:1,2                            179:14           105:20
                    second-                           60:14
     213:17                         155:13                             200:24,25
                    to-last                           62:15                           senior
     219:25                         156:14                             214:3
                      162:14                          64:21                             38:5 45:5
     221:5                          158:6                              251:24
                                                      66:15                             86:6
     224:6,9        secondary       164:12
                                                      71:22,25       seemed             118:12
     228:18           97:7,8        170:23
                                                      74:21            70:18
     232:19           236:9         174:14,15                                         seniority
                                                      85:20            165:16
     233:23                         175:21,23                                           109:7
                    seconds                           90:24            175:9
     236:15                         176:1
                      47:6,15                         91:12                           sense
     237:3                          178:17                           seems
                      50:6,12,                        93:14                             112:10
     239:21,24                      190:18,                            70:14
                      13 51:16,                       100:3                             140:25
     242:6,13                       21,25                              115:18
                      17 52:9,                        105:2                             159:19
     244:16                         192:19,                            138:12
                      22 55:1,                        107:11                            181:4
     246:24                         20,21                              156:23
                      3,8                             117:25                            238:3
     256:23                         203:16,                            171:21
                      209:8,10                        118:4,7
     258:6,8,                       17,24                              177:22,23      sent
                      210:11,15                       120:3,6,
     18,20                          206:23                             178:10           84:5
                      232:17                          11 133:16
     259:1                          209:1,5                            180:1,17         105:21
                      258:1,4,                        135:24
                                    218:11                             181:6            115:6
   search-            16                              140:7
                                                                       212:2            243:21
                                    222:23
   and-                                               143:19
                    section         223:20                             246:23           246:25
   seizure                                            148:18,20
                      8:22          226:11,14                          252:1
     38:4 45:4                                        158:3                           sentence
                      13:5,13       228:21                             253:21
                                                      161:21                            118:3
     231:10           14:6,7        230:4,5
     233:22                                           173:5          seen               156:4
                      15:21         233:22,23                                           199:16
                                                      175:18           26:14
     256:16           16:25         237:15
                                                      183:3,9          71:17            209:1
   searchabl          29:10         243:18
                                                      199:18           87:14
                      30:14,21,     245:25                                            separate
   e                                                  210:21,22        88:6
                                                                                        18:3,23
                      23 36:3,      246:1
     144:22,23                                        211:7            111:24
                      18,25         257:24                                              32:20
                                                      212:15           119:5,8
   searched           37:6                                                              149:18
     43:2
                                   sections           216:7            140:3
                                                                                        177:25
                      38:7,10       13:3              217:8,10         173:6
                      39:14                                                             178:8,13,
   seated                           28:11             236:24           177:8
                                                                                        16
     177:16           40:2,4        76:18             251:9,22         244:21
                      42:25         188:8             252:6            249:5          separated
   second             66:21                                                             29:13
                                                      253:6            254:3
     51:3             74:14,15,    secure             254:2,16                        September
     52:22            17 76:24      119:21                           seizure
                                                      255:10                            201:8
     53:20            78:2,11       130:25                             113:24
     92:8             107:18        132:1           seeing             213:17         sergeant
     107:15           109:6,8,9     191:25            71:16,17         256:24



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 330 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     25:16,17         54:5 61:8      Sharing           shooter            190:8            63:1,2
     26:6,7,          62:4 70:8        222:25            66:18                             77:6,7
                                                                        shot
     10,16            79:13                              167:10                            101:2,3
                                     shaved                               55:23
     30:15,16         145:13,                                                              105:6,11,
                                       147:23          shooters           64:3
     48:25            15,16                                                                12 106:18
                                       148:19            63:5 93:6        71:18
     49:1,12                                                                               129:18
                    Services                             108:16           85:1
     60:25                           shaved-                                               202:21
                      243:19                             132:14           90:4,18,
     68:3                            head                                                  210:23
                                                                          20 150:11
     82:19          serving            148:14          shooters'                           252:25
                                                                          198:1
     84:11            89:6                               89:22
                                     Shawn                                               side-by-
     86:6 89:4        129:13                                            shoulder
                                       26:10           shooting                          side
     96:4                                                                 149:23
                    set                27:13             6:20 14:4                         168:13,16
     101:15,19
                      24:6 50:3                          23:7           show
     107:17
                      67:8           she'll              53:18,19         28:2           sidebar
     108:7                             6:8                                                 100:17
                      81:4,6,                            61:3,18          62:16
     109:12
                      10,14          sheet               63:21            131:6          sides
     130:18
                      112:6            48:20             66:5,24          140:17           108:25
     137:19
                      113:12           126:21            67:8             141:11           109:2
     179:6
                      188:5                              69:3,11          168:17,25        176:20
     206:21
                      209:22         sheets              73:6,20          170:15
     207:9,15                                                                              212:6
                      225:1            251:19            82:16
     210:12                                                             showed             232:2
                      234:14,15      sheriff             91:14
                                                                          90:9
     220:11,17
                                       62:17,20          95:12                           Sierra
     221:21         setting                                               141:22           189:18
                                       78:4 81:6         96:11
     226:7,21         240:22
                                       91:20,21          113:1          showing          Sierras
     237:17         settings           178:22            121:10           146:9            79:6,7
     238:6,18,        17:10            179:9             130:20
     22 242:20                                                          shown            sign
                                       249:16            132:10
     244:2          seven                                                 142:12           84:24,25
                                       251:20            133:5
     248:10           25:15,25                                                             85:2 97:8
                                       253:8             139:16         shows
     249:14           60:4                                                                 187:15,25
                                                         149:12           88:7 90:8
                      94:20          sheriff's                                             188:2
   sergeants                                             150:2            131:7
                    seven-             30:13                              134:10
     67:25                                               176:6                           sign-in
     102:17         person           shield              183:1            142:7            48:20
     238:10           58:24            203:3             206:11                            99:18
                                                                        shrunk
                                                       shootings          19:24            101:1
   serve            several          shields
                                                         13:7 32:7                         103:12
     53:9             36:11            191:24                           sic
     97:21            104:25
                                     shift-
                                                         75:3,5           19:20          signature
     98:6 99:7        161:6                              120:10                            79:21
                                     adjusting                            122:4
     128:3            163:5                              130:23                            186:12,23
                                       67:4                               152:22
     197:7            173:20                                                               188:21,22
                                                       shop               164:12
   served           sex              shirt               76:14                             221:15,19
                                       148:18                           side               240:1,7
     97:23            169:15                           short              9:7 13:7,        252:3
     185:2                           shirts                               21,22,23
     193:3
                    share                                49:9 70:4                         253:7,9
                      13:8             168:22            92:1             14:7,8,
   service                                                                23,25          signature
                    shared           shock             shorts
     37:2                              205:13,14                          28:16          s
                      88:25                              149:22                            172:5
     39:16                                                                62:6




  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 331 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     187:20           104:8            221:17          sloppy             103:13           17 94:5
     188:13           220:22           224:19            116:10           107:2            96:6 98:4
     201:11           234:24           232:17                             121:7            106:23,24
                                                       slow
     221:18                            258:1,4,                           212:6,21         118:21
                    sit                                  198:10,16
                                       16                                 229:22           120:4
   signed             13:18
                                                       slower             230:1            124:20
     98:21            21:18          six-                196:16           232:3            139:9
     163:9,14,        43:8             58:24
                                                                          247:17           151:7,9,
     23,24            45:15                            Smaka
                                     six-                                                  17,20
     164:3            54:15                              26:10,16       smoke
                                     person                                                174:19,21
     166:24           72:15                                               216:25
                                       26:3            Smaka's                             180:1,17
     186:22           103:8                                               217:8
                                                         27:13                             186:6
     187:11           121:24         size
                                                       small            snapshot           198:11
     224:6            122:1            109:21                             152:2,3          200:17
     243:23           193:2,11,        111:25            162:16
                                                                                           206:7
                      12 196:4         181:19            201:14         snipers
   significa                                                                               208:12
                      204:8            195:19                             79:8
   nt                                                  smaller                             213:11
                      222:8                                               189:19
     192:24                          skills              165:4,9                           219:14,
                      242:15
                                       28:6            smart            Social             23,24
   significa          244:13
                                       58:16                              134:17,18        223:8
                      245:9                              57:14
   ntly                                                                                    230:16
     140:5            246:15         skip                174:11         sofa
                                                                                           233:10
                      252:25           130:12                             203:9
   similar                                             SME                                 246:17
                                       138:7                              216:10
                    sits                                 27:20,24                          247:10
     88:6                              145:7
     108:20           198:21                             34:24          Solano             251:24
                                       167:2             44:5             180:7
     168:18                                                                                253:7
                    sitting            171:6             46:22            181:7
     172:10                                                                                256:6
                      70:14            176:21            81:22
     197:13           92:2             190:10                           sole             somebody
                                                         82:2
   simpler                             216:17                             199:11           28:12
                    situated                             100:14,
     95:11                             217:18            16,20          solo               62:19
                      158:16,17
     117:6                             229:1             101:4,10,        26:19,21         96:8
                    situation                            12 104:7,                         101:20,24
   simultane          183:20         skipped                            solved             102:2
                                       227:16            17 105:4
   ous                190:3
                                                         106:5
                                                                          139:2            117:1
     246:11                          sleeves                                               122:14
                    six                                                 some
                                       167:12          SMES                                134:1
   since              16:2
                                                         27:10,16
                                                                          15:8
     96:17                                                                17:10,17,        142:10
                      22:17,18       slide               36:4                              161:13
     116:13           24:13            221:13                             18 21:14
                                                         44:25                             162:5
     173:20           25:25                                               24:18
                                     slides              46:3,5                            166:18
     187:21           48:22                                               33:22
                                       18:12             47:1,12,                          172:9
     194:19           49:13                                               34:13,15
                                                         20 48:2,                          175:12
     207:4            55:7           slideshow                            48:23
                                                         10 51:15                          181:24
     239:10           118:11           92:11                              54:11
                                                         78:19                             187:24,25
     244:22           150:4            103:17                             56:5
                                                         90:16                             198:1
                      174:6                                               58:15
   single                            slight              99:22
                                                                          67:13            213:24
                      181:11,17
     20:2                              126:4             100:12,24                         215:18,
                      182:10                                              72:12
     56:7,14                           199:6             101:2                             23,25
                      184:22                                              86:6
     68:8                                                102:20,21                         220:15
                      210:11                                              87:14,16,




  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 332 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     226:20           43:5             66:2 74:4         229:5,14,      Southeast        specific
                      58:13            77:4              23               89:5             13:9 22:7
   somebody'
                      62:18            83:12             231:17,          137:19           24:19
   s                  64:22            87:12             18,20                             49:3
     32:12,13                                                           span
                      66:19            92:7,13           232:15,23                         56:19
     213:16                                                               117:19
                      70:13            94:10,22          233:3,16                          76:18
   somehow            71:6,11          95:3              234:7          speak              78:11
     10:10            75:8             96:19             237:7            10:10,11         89:14
                      86:16            97:16             238:17           13:21            117:19
   someone            102:7            100:25            240:3            14:23            126:15,17
     94:4             107:12,14        101:10            249:19           15:4             163:18
   someone's          108:22           102:14            250:18,20        17:5,10          169:1
     64:2             166:17           104:4             253:21           33:22            218:7
                      175:13           106:3             258:1,12         77:6             249:17
   something          197:23           113:21                             80:13            252:15
     12:10,12                                          sorts
                      229:7            114:13                             84:6
     31:7 53:1                                           14:9 23:4                       specifica
                                       126:1                              94:19
     64:16          somewhat                                                             lly
                                       128:20          Soto               113:11,12
     71:24            124:8                                                                23:18
                                       131:1,21          146:24           133:6
     77:16,18         147:19                                                               28:11
                                       135:7             147:10,18        136:20
     81:10,19         219:15                                                               33:24
                                       138:4             157:6            182:9
     90:2,21,       somewhere                                             207:11           36:7
                                       139:6
     25 104:18                                         sound                               40:14
                      27:1             142:17                             212:23
     108:2                                               57:3                              41:13
                      98:10            144:13                             222:10
     116:8                                               115:9                             44:4 48:1
                      154:15           145:10,11                          252:23
     117:20                                            sounds             255:23           57:2 68:7
                                       146:6
     118:6          son                                                                    69:13
                                       153:10            52:2
     122:14           151:8                                             speaking           72:1
                                       155:3             66:25
     123:2                                                                114:7,9          75:17
                    soon               167:5,7           80:23
     126:17,22                                                            150:5            76:15
                      66:7             168:2
     137:14                                            source             214:9            103:1,23
                      80:25            169:3,12,
     146:9                                               42:9             223:11           107:21
                                       13,20
     151:11         SOP                                  122:16           256:9            112:21
                                       177:22
     159:13           200:14,18                          123:5,15                          113:15,17
                                       178:5                            specialis
     161:12                                              153:6                             122:5
                    sorry              180:6,12                         t
     165:1,6          16:2,3                           sources                             130:17
                                       189:15                             143:24
     168:21           20:11                              158:22                            132:15
                                       190:15
     169:23           22:18            192:20
                                                                        specializ          133:13
     170:3                                             South            ed                 136:21
                      23:14            193:7,11
     172:13                                              37:3             20:24            154:1
                      24:15            194:6
     177:19                                              47:23            21:14,20         161:14
                      31:7,8           199:2,15
     180:21                                              145:14           76:21            164:22
                      32:24            205:23
     188:5,15                                            149:12           99:23            165:8
                      37:22            207:20
     212:23,24                                           155:4,19         154:24           171:24
                      40:9             208:3
     243:22                                              156:7            185:4            178:18
                      41:8,15,         209:9             161:5                             190:25
   sometimes          25 42:12         215:12                           specialty
                                                         179:16                            195:7
     10:5 18:9        44:2             223:22                             28:10
                                                         181:10                            200:5
     21:11            59:7,9,24        226:19                             35:9
                                                         195:7                             205:5
     30:11            60:19            227:16
                      62:22            228:8                                               219:2
     31:20



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 333 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     222:1          squad's            240:8             99:17            46:25          steps
     233:12,13        181:13           241:15                             47:2,3,7         99:10
                                                       starting
     235:10                                                               50:5             104:22
                    squared          standards           37:4
     248:1,7                                                              192:22
                      110:1            24:6              253:1,2,                        stick
     254:4                                                                204:22
                                       78:21             19                                55:2,12,
     256:8,9        stack                                                 207:25
                                       226:2                                               15 202:5
                      69:25                            starts             208:9
   specifica                           229:12                                              203:6,13
                      73:6                               38:20            209:22
   tions                               233:19                                              210:14,19
                      112:4                              42:3             232:20
     117:23                            245:7                                               211:8
                      124:12                             44:18
                                                                        static             213:22
   specifics          207:2          standing            54:15
                                                                          106:20           215:2,13,
     50:9             212:12           87:18             190:11
                                                                          207:5,12         17 216:23
     100:15           254:20           189:20            206:19
                                                                                           232:18
     212:9                                                              station
                    staff            standpoin         state                               237:25
                                                                          16:10
   speed              17:8 23:9      t                   4:13 5:11
                                                                          183:9          Sticks
     41:3             25:19            55:5              40:21
                                                                          184:1            79:8
     232:4            62:13            110:20            41:6
                      63:7,16          164:6             47:1,13        stats            still
   spell              81:5                               50:4             73:14            14:17
                                       183:18
     5:11             93:5,14                            83:19                             15:2
                                       221:3                            status
     37:11,21         104:3                              146:14                            44:23
                                     start                                25:13
   spelled            105:12                             222:19                            66:10
                      107:18,20        9:3,4                            statute            77:23
     31:24                                             stated
                      109:11           10:3,11                            128:7            93:19
     133:11                                              222:18
                      142:25           37:6                               129:6,10         113:6
   spelling           143:10           39:25           statement                           114:1
     37:12                             49:23,24                         statutes
                                                         42:22                             116:9
     107:8,22       stakeouts          51:2,4,8,                          154:4
                                                         44:24                             141:16
     116:4            98:25            25 52:9,                           209:23
                                                         50:24                             159:23
                    stand              16,21             54:23          stay
   spending                                                                                166:23
                      70:23            53:1,5,6,         64:13            225:9            174:10
     63:22
                                       7,15,18,          133:9            236:12           182:1
   split            standard           20 62:2,8         134:1                             184:17,18
     46:3 48:5        50:3             86:24                            stays
                                                         161:15                            188:22
     180:2,18         99:13            89:19,22                           12:13
                                                         167:6,8                           224:9
     181:8            120:25           92:23                              90:5
                                                         172:7                             233:25
     230:16           162:5            106:7             201:2,18       stems              234:15
                      165:7            169:24
   spoke                                                 206:8            72:24            243:8
                      228:22           179:14
     134:9                                               217:7                             248:9
                      234:3            197:17                           step
                                                         238:23
   spot               235:6            201:19                             76:3           stolen
     25:24            238:8            209:9           statement          88:21            144:20
                      240:23           252:11          s                  215:23
   squad                                                                                 stone
                    standardi          258:1             29:17,19       stepmothe          180:14
     86:7
                                                         65:3,6
     107:5          zed              started                            r                stood
                                                         66:5 92:1
     159:8            226:9            51:5,23                            151:6,10,
                                                                                           32:9
     181:14,          228:14           52:11,24        states             25
     17,18,19,        236:2            53:19             41:7                            stop
                                                                        stepped            72:3
     21               238:3            61:6 70:5         42:2,4           215:18



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 334 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     143:15           167:11           213:21          substanti          224:22           76:17
     144:1                             215:13,17       ally                                90:20
                    strong                                              superviso
     189:13                            216:23            132:25                            94:6 97:5
                      256:15                                            rs
     238:13                            232:18                                              108:20
     255:13         struck             237:25          successfu          34:6             109:1,14
                      254:5                            l                  68:2,4           110:1,6
   stopped                           style               120:10           71:6 78:6        111:23
     95:12          structure          168:19                             206:25
                                                       such                                115:22
     97:20            41:5                                                223:18
                                     subject             21:11                             125:19
     189:25           47:16
                                       23:9              31:2           support            137:2,11
                      50:8
   stopping                            27:22,24          61:15            25:19            143:21
                      96:10
     253:1                             29:7              76:21                             147:11
                      97:24                                             supposed
                                       35:17,23          83:16,17                          158:4
   stories            106:9                                               49:22
                                       45:24             104:11                            159:2,7,
     174:25           107:1                                               81:2
                                       59:19             115:21                            13,17,24
                      118:3                                               90:14
   story                               65:8              174:3                             161:16
                      183:2                                               124:24
     153:5                             69:2,22           218:9                             162:10
                      189:4                                               162:5
                                       73:23             255:6                             166:15
   straight           196:14                                              185:7
                                       90:22                                               167:23
     136:18           198:17                           sufficien          213:24
                                       91:7                                                170:6
                      209:19                                              215:5,20
   strain                              99:12,13        t                                   174:16
     220:24         stuck              100:6             48:8           supreme            188:15
                      232:6            133:4,5           79:19            24:7             189:12,16
   strapped
                      234:19           147:24            157:22           46:24            206:3,4
     149:23
                                       149:21            258:25           47:2,12          207:8
   stress-          stuff
                                       169:16                             113:13           213:13
                      12:3                             suggested
   free               56:25
                                       205:1
                                                         16:13,17         114:4            215:25
     75:7                              210:5                              209:2,22         216:5
                      64:24                              193:19
                                       230:13                                              221:7
   stressful          77:25
                                                       suicide          sure               233:14
     174:7            86:13          subject's           197:25           6:9 13:24
                                                                                           234:11,12
     175:4            93:2,13          198:9                              15:16
                                                       summarize                           258:14
     176:9            108:23                                              24:21,25
                                     subjectiv
                      122:21                           d                  28:19          surface
   strict             123:10,        e                   234:18           30:10            94:1
     34:11                             160:7
                      16,23                                               32:2
     231:7
                      134:19           213:15          summary                           surgery
                                                                          33:10            85:4
                                                         9:10
   strictly           150:22         subjects                             35:20
                                                         253:21                            131:16
     43:13,15         219:11           141:23                             39:20
                      223:7                            Summation          42:13,19       surmise
   strike             242:24,25      submit              233:8            51:11            91:25
     33:10                             54:3,5
                      244:5                                               53:16
     35:21                             232:19          super-                            surprise
                      254:1                                               54:13,17
     74:5                              258:5,8,        secret                              41:3
     166:4          stun                                                  57:3,4           73:15
                                       17,19,25          158:7
     180:12           55:2,10,                                            60:23            192:14
     209:9            12,15          subsequen         superviso          63:23            209:18
     220:20           79:8           tly               r                  64:14            228:2
     258:1            202:5            196:17            11:22            67:20            232:4,5
                      210:14,19                          26:5,7           70:16            234:20
   stripe             211:8                              27:4             71:16




  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 335 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   surround         sustained          21 194:11         185:15           191:24         tags
     79:9             135:5            198:19                             212:4,13,        141:14,15
                                                       system
     191:11,17                         203:17,24                          20 214:9,
                    swabs                                32:5                            tail
     196:12                            204:22                             11,15
                      58:17                              77:20                             181:23
     197:18                            206:5,8,                           227:14
                                                         84:5
     214:16         swap               24,25                              231:25         take
                                                         135:19
                      61:10            207:10,                            232:14           39:18
   surveilla                                             136:1
                                       17,18                              233:9,10         55:16
   nce              SWAT                                 145:24
                                       220:11                             234:23,25        56:17,21
     146:12,          28:10                              243:24
                                       221:22                             235:3            62:6
     14,15            38:10
                                       226:8,19,       systems            238:11           64:2,8
     147:3            40:1 46:6
                                       21 227:5,         87:11            245:13           66:14
     150:21           47:21,22
                                       21                                 246:18           71:6,19
     154:9,12,        48:1,10,
                                       228:20,21                          247:10,14        74:22
     13,22,23         11,12,15                               T                             76:11
                                       229:21,24                          248:8,17,
     155:4,8,         49:9,17
                                       230:5                              18 249:8         88:3
     14,18            57:2                             T-SHIRT
                                       231:11                             251:5            118:13
     156:6,11         59:18                              149:22
                                       233:21,23                          253:3            126:8
     157:3,16,        62:4                               190:9
                                       234:1                                               128:21
     19 159:4,        69:25                                             tactics
                                       236:14          table                               131:3
     7,21             73:20                                               14:9
                                       237:19            38:25                             135:12
     160:4,7          76:21,23                                            17:14
                                       242:19,20         40:24                             137:7
     167:17           79:7,13                                             18:24
                                       244:11            79:24                             152:1
     169:2,16,        81:18                                               20:9
                                       245:5,13,         123:8                             156:14
     17               89:15                                               23:18
                                       15,18             212:7                             182:18
     179:15,21        90:11                                               34:8
                                       246:25            218:10,                           214:23
     180:3,18         92:23                                               49:11
                                       256:8             11,17,18
     182:6            95:17                                               65:12          taken
     183:21           97:14,15,      sweatshir         tables             79:5,7,17        25:23
     184:13,          17 98:2,7      t                   210:5            93:2             61:23
     15,21            99:6,22          148:3,5,                           100:13,23        65:16
     189:11,          101:2,15,        19 164:23       tablet             110:25           117:18
     16,25            19 111:15        167:11            173:4            112:6            118:17
     204:25           112:3,8          168:10          tactic             117:8            130:23,25
                      124:4,9          169:1,2,          38:11            120:8,20,        131:18,25
   surveilla          125:4,5,                                            23 121:2         132:1,2
                                       15                191:10
   nces               14,16                              192:6            124:10           156:18
     180:24           126:16,25      sweatshir                            143:4            200:8
                                                         199:11
                      127:1          ts                                   159:25           215:20
   suspect                                               227:21
                      153:8            168:17                             176:4            254:24
     95:20
                      172:11,                          tactical           185:5
     142:3,5                         Swiss               14:11                           takes
     147:20           17,20            116:19                             225:2
                                                         17:9,25                           66:11
     190:7            178:15                                              226:9
                                     sword               19:6,14,                          70:10
     197:21           179:10                                              228:14
                                       174:9             22 23:11,                         88:4
     227:7            184:25                                              240:8
                                                         15 49:5                           104:23
     232:5            185:22         sworn                                241:16
                                                         73:10,22,                         115:17
                      188:11,25        4:22                               248:3
   suspects           190:11,                            25 76:23                        taking
                                       134:1                            tag
     41:3             17,21                              78:3 85:8                         9:19
     190:3                           synopsis            110:6            144:4
                      192:3,10,                                                            141:17
     192:15                            156:10            174:5



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 336 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     147:14           195:13        164:16            22:1 25:5        21:5,7         term
     232:2            203:12        168:25            27:9 29:3        36:23,24         24:19
     235:24           209:6         177:8             31:4             43:25            30:3
                      220:6         182:3             32:23            51:6,7           32:18
   talk
                      224:4         183:11            56:5             58:23            51:18
     7:16
                      225:24,25     201:19            58:25            59:11            54:7,11
     13:24
                      239:2         212:22            59:16,21         82:10            98:25
     25:14
                      240:5         213:6,18          60:24            96:24            121:18
     39:25
                      241:2         216:16            77:22            100:9            138:23
     53:17
                      244:10        219:10            82:18,22         103:13           152:21
     55:1,7
                      245:3         223:22            89:15,20         113:4            155:9
     57:1
                      246:14        224:16            95:18            121:21
     63:11,12                                                                         terms
                      247:12        232:22            96:6             123:7
     65:7,9                                                                             19:24
                      249:9         233:18            108:10,13        134:6
     66:10                                                                              73:4 76:1
                                                      115:7,11         137:8,21
     76:2           talking        talks                                                97:3
                                                      124:12           140:19,20
     80:10            7:12,14       87:17                                               98:11
                                                      155:8            143:11
     83:6             10:11         153:21                                              102:20
                                                      158:5,6,         144:25
     91:2,15          21:2          154:8                                               113:23
                                                      7,12             145:12
     106:16           22:12         184:22                                              114:15
                                                      159:16           148:15
     116:2            24:3,21       186:3                                               120:11,12
                                                      166:16           151:22
     127:14           25:12         234:2                                               121:20
                                                      180:2,18,        156:25
     129:23           27:5                                                              122:8,13
                                   tape               19,22,23         187:4
     133:22           29:15                                                             123:21
                                    86:1              181:2,3,         191:14
     138:8            34:20                                                             125:16
                                    253:2             8,9 192:4        213:4
     150:20,21        41:13,15,                                                         138:16
                                                      196:15           222:23
     159:9            24 43:6      tapes                                                208:7
                                                      204:23           233:11,14
     162:15           51:17         252:11                                              224:3,8
                                                      237:18           234:9
     164:4,22         55:21                                                             247:4
                                   tasers                              240:16
     170:6,17         56:22
                                    31:2
                                                    tears                               252:1
                                                                       242:17,18
     199:5            57:1                            71:16
                                   tasked                              243:3,14       test
     216:18           63:20
                                    98:18
                                                    technical          244:1            83:25
     218:12           65:21
                                                      154:10           249:3            84:3
     229:9            67:18         153:2
                                                      155:6            251:25
     233:19           69:25        TASS                                               tested
                                                                       256:5
     241:21           70:8          154:9,10,
                                                    technical                           207:9
                                                                       257:17,18
     246:21           74:16                         ly
                                    18,23                                             testified
                      76:20                           134:13         telling
   talked                           155:1                                               4:23 7:1,
                      89:15                           177:10           45:16
     64:11                          183:12                                              4,24 82:8
                      94:22                           228:5,6
     72:11                         TASS's                            temporary          160:25
                      95:17,22
     76:5 82:6                                      technique          16:14,22,        218:25
                      110:2         158:20
     90:16                                            41:2,4           23 144:3         246:16
                      111:3        Taylor
     104:25
                      113:22        4:7             technolog        ten              testify
     112:12,19
                      117:18                        y                  73:18            4:22
     114:12                        TDY
                      123:12                          88:6                              68:13
     123:25                         16:14,18,                        tend
                      128:24
     149:15                         21 25:22        tell               90:13          testifyin
                      137:17
     152:14
                      146:12                          7:5 8:18       tenuous          g
     185:12                        team               12:1                              7:14
                      159:10                                           91:24
     188:24                         13:6 14:6
                                                      15:13



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 337 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   testimony          113:21           84:2,5,7          193:20           102:3            38:9
     7:12 8:1,        124:13           85:23             194:24           103:1            39:13
     8,11,16          132:4            86:17             198:19           105:2,25         40:3,6
     10:7 18:9        169:4            87:21             203:21           110:14           41:6 42:4
     45:8             196:22           89:16             209:24           131:7            47:11,17,
     64:15            232:15           91:9 92:5         211:10           133:1            19 48:3,
     65:24            253:16           93:22             212:13           144:16           21 50:13
     84:20            259:12           94:4,6,25         213:15           146:16           53:14
     98:9                              100:14,20         215:3,8          150:25           55:2
                    Thanks
     137:25                            103:13            217:18,25        154:17           56:1,2,8
                      37:22
     166:2,12                          104:18            223:8,10,        160:16,17        58:14
     168:23         that's             105:11            14 224:23        161:10,19        59:12
                      8:3 12:13        116:3             227:4            170:17           62:14
   testing            21:15            117:2,20,         228:5            184:5            63:6
     84:5
                      22:5             22,25             229:2,9          188:24           64:7,8
   text               25:12,18         119:8             230:3            191:25           65:6
     79:11,17         27:2             120:24            232:20           196:9            67:2,22
                      29:23            121:1,15          235:19           211:19           68:2
   than
                      30:3,17,         122:22            236:13           212:19           69:14
     7:11
                      22 32:8          123:16            238:1,6,         228:3            70:2,6
     10:16
                      33:20,23         127:3,23          17               235:12           72:25
     11:7
                      34:23            129:5             239:16,17        237:25           75:15
     20:14
                      37:6,25          130:12            240:4            245:15,19        76:8,21,
     26:15
                      38:20            132:6             241:20           246:2            23 77:11,
     38:15
                      39:9,10          133:17,20         243:8            252:21           12,25
     46:22
                      40:16            135:14            246:20           253:9,10         78:5
     47:10,15
                      44:7,21          136:18,23         247:6                             79:24
     50:13                                                              themselve
                      47:9             137:3,15          248:2,6                           80:5
     70:9,10                                                            s
                      48:1,11          138:20                                              81:13,22
     77:17                                             them               32:4
                      50:3,20          142:11                                              82:2,22
     80:22,24                                            6:12 12:6        108:19
                      51:1,24          143:15                                              83:2,12
     94:12                                               29:17            111:10
                      52:23            149:8                                               84:9
     112:25                                              32:4             161:25
                      53:22            156:10                                              85:16
     117:12                                              38:16            198:2
                      54:11,19         162:11                                              86:15,24
     132:25                                              48:21,24         208:21
                      55:9,10,         164:4,6                                             87:4
     148:6                                               64:4
                      12 57:20         165:20,                          then               88:21
     157:13                                              66:9,13
                      61:3,22,         22,25                              6:6 13:5,        89:1,7
     165:4                                               68:6,15,
                      23 62:12,        166:13                             13 14:3          91:16,19
     174:6                                               19 69:11
                      23,25            167:1,20                           15:23            92:3,5
     179:8                                               71:15
                      63:13,14,        168:2                              16:1,3           94:8
     182:5                                               74:19
                      18 64:5          174:10                             17:13            95:6,7,
     208:22                                              77:12,20
                      67:17            175:4,25                           18:14            15,19
     217:25                                              78:1
                      72:21,22         177:10                             19:5 20:7        97:6
     218:8                                               80:19
                      74:24            180:6,21                           23:10            98:1,20,
     251:1                                               84:18,21,
                      76:10,20         181:18                             24:5             22 103:12
                                                         24 85:11
   thank              79:15            185:13,18                          26:11            104:15,24
                                                         86:9
     6:16             80:1,8,14        187:21                             27:6             105:1,22,
                                                         88:15
     38:22            81:10,19,        188:4,5,8                          28:6,12          24 106:5,
                                                         91:13
     43:19            20 82:15,        191:1,4                            31:3,22          11,17,22
                                                         98:11
     52:4 99:8        17 83:24         192:10                             34:7 37:9        107:2,8,



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 338 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     10,15,17         188:25        246:13,           181:2            20,22            116:7,21
     108:7,8          190:10        21,25             182:4            155:8            128:22
     109:16           191:22        247:5,13          184:9            161:24           129:16
     113:18           192:8         248:3,6           186:11,          163:1            132:5
     114:11,          194:25        249:22            15,20,24         171:22           135:6
     14,21            196:15        250:12            188:6            179:2            141:8
     115:5,11         197:18        251:19            189:5            183:3            151:14
     118:23           198:5,10,     252:17            195:13           186:5            157:8
     123:17           15 199:4,     253:6,8,          196:14           187:5,25         180:25
     125:3            24 200:25     16 259:1,         197:16           190:6,13         188:4
     126:17           202:5         5                 198:8,10         205:11           202:6
     128:23           203:5,8,                        209:1            208:22           213:19
                                   there's
     129:16           23 204:21                       212:16,18        214:3            234:25
                                    13:3 14:1
     131:9,21         205:7                           213:14           235:13           238:2
                                    18:4,14,
     132:5,12         206:18                          218:13           236:5            241:21
                                    19 21:5
     133:5            207:4                           223:24           238:9
                                    22:7                                              things
     134:3,6          208:25                          227:6            243:5
                                    26:21                                               7:9 14:9
     135:3,6,         209:14                          230:19           248:23
                                    50:2,9                                              23:4
     10 136:2,        211:14,                         246:23           249:13
                                    69:10                                               34:23
     5 137:4          21,23,24                        247:21           250:2
                                    78:11                                               35:8
     139:10,24        213:15,16                       248:1            251:19,22
                                    80:5 81:4                                           48:23
     141:8            214:16                          252:3,22         253:5,7,9
                                    82:13                                               70:15
     142:16           215:1,5,                        256:5            254:3,4
                                    83:9                                                80:15
     143:14           11                                               255:11
                                    87:23           these                               82:25
     144:5,6,         216:14,22                                        257:5
                                    89:11             11:22                             86:25
     7,24             217:9
                                    90:25             19:19          they'd             90:15
     145:7            219:18
                                    93:25             49:23            131:13           93:17
     146:11,          222:23
                                    94:2,5            54:20                             106:17
     15,22            224:3                                          they'll
                                    95:13,21          57:10                             107:13,
     147:8,15         225:16,21                                        76:11
                                    102:14            61:2                              14,23,25
     148:25           226:4                                            252:11,12
                                    105:10,21         66:23                             110:11,15
     149:11           227:3
                                    107:1             69:11          they've            111:4
     152:1,6          228:7,15,
                                    115:3,19          73:12            19:18            120:1,6,
     153:7            23 231:15
                                    116:9,23          76:14            82:3             7,13
     154:5            234:17
                                    117:17,19         79:16            237:12           124:10
     155:7            235:1,6,7
                                    122:6             81:2             246:16           129:24
     164:5            236:20
                                    126:15            90:23                             134:14
     167:14,19        237:6,12,                                      thing
                                    129:11            104:23                            164:11
     169:5            15 238:5,                                        9:2,18
                                    134:13,           125:20,25                         166:17
     171:5            10,22                                            13:11
                                    14,17             130:15                            174:19
     173:2,6,         239:1,13,                                        24:16
                                    136:17            132:14,15                         182:10
     20 174:25        18                                               30:20
                                    137:14,20         133:10,13                         183:4
     176:4            240:15,24                                        39:3
                                    138:14            135:12                            185:23
     178:9,19,        241:2,14,                                        44:14
                                    144:19            138:25                            186:1
     24               20 242:4,                                        70:25
                                    148:17,21         141:21                            189:21
     179:13,24        11 243:1,                                        72:9
                                    149:12            144:10                            208:5
     181:25           13,25                                            83:20
                                    158:15            149:3,7,                          213:7
     184:6,14         244:9,13,                                        85:9 93:4
                                    169:5,21          18                                218:22
     185:14           22 245:2,                                        99:10
                                    180:17            150:19,                           220:25
     186:2            22                                               106:20



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 339 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     226:25           216:21           22 49:20          12 102:22        6,7,9,11,        11,17
     232:12           218:22           50:9,16,          104:2,11         15,19,20,        177:1,6
     250:6            219:15           20,21             105:13,          21,25            178:5,25
                      220:24           51:13             18,19            140:1,2,6        179:7,13,
   think
                      222:22,25        52:9,12           106:1,2,         141:1,3,         24 180:7,
     7:24
                      227:20           53:15             7,10             10,11,12,        8 181:15
     31:24
                      235:2            55:17,22          107:3,4,         23 142:7,        182:12,14
     35:9
                      242:8            57:12,13,         24 108:4,        8,11,19,         183:6
     40:23
                      243:4,25         17,22             9,10,14,         22               185:17
     42:23
                      251:7            58:4,23           17 109:4,        143:21,25        188:13
     53:12
                      256:14           59:3,17           11,17,18,        144:2            189:7,22
     59:14
                                       60:16             20 111:6         145:2,13,        190:15,
     71:1,4,13      third
                                       61:13,15,         114:18,          16,21            16,17
     72:17            30:12
                                       24 62:3,          22,24            147:2,5,         191:8,18,
     82:9
                    third-             21 64:2           115:8,9,         9,11,16,         20 193:3,
     91:18
                    party              65:5,10           10,11,14,        19,23,25         15 194:3
     99:15
                      84:4             67:14,19          23 116:5,        148:10           195:2,3,
     104:2
                                       68:3              11,14,16,        149:24           4,11,12,
     106:14         this               71:14,17          21 117:3         150:1,2,         15 196:23
     115:25           4:25 5:10        72:1,13,          118:4,5          7,11,16          197:6,7,
     116:17,18        6:3 11:2         19 75:18          119:2,6,         152:2,15,        10,11,13,
     126:20           12:2,4           76:15             7,10,11,         16 153:8,        23
     127:9            13:16            77:2,10,          16 120:6,        12,16,24         198:20,25
     129:23,25        14:21            14 78:1,          14,16            154:8            199:23
     132:24           16:14,15         2,7,11,25         121:4,7,         155:3,17,        200:12,21
     133:1            17:7             79:11             10,13,15,        19 156:4,        201:6,11,
     134:17           19:16,20         80:21             21 122:2,        6,13             23
     136:11           20:1,5,8         81:3,8,           12 123:20        157:1,2          202:12,13
     138:1            22:8,16,         16,17             124:16           158:12,13        203:18
     147:11           19 25:24         82:11             125:11,16        160:7,21         204:3,11,
     151:9,10         26:9,19,         83:8              126:10           161:1            17 205:12
     156:23           20,23,24         84:19,25          127:21           163:1,19,        206:8
     161:9            27:1             85:12             128:6,10         21,22            207:15,16
     167:3            28:17,23         86:5,9,10         129:18,19        165:15           208:6,14
     169:6            29:2 30:8        87:18,24          130:4,17,        166:11           209:11,
     170:3            32:24            89:2,14           19,20,21,        167:3,14,        15,25
     171:3,19         34:21            90:1,15,          23 131:4,        16,24,25         214:3,12
     176:19           36:16            16 91:4,7         24 132:8,        168:3,13         215:22
     179:7            38:13,23         92:15,16,         9,15,17          169:11           216:7,8,
     187:16           39:3,6           25 93:6,          133:1            170:7            15,21
     188:20           41:7,8,9         9,12,18,          134:4,7,9        171:12,          217:2
     196:19           43:6,10          20,21,24          135:16,          15,16,17,        218:10
     197:3            44:11,12,        94:10,12          18,19,22,        18 172:5,        219:1,18
     198:12           20,23            95:5,9            23 136:3,        6,12,13,         221:1
     199:7            45:16,20,        96:3,11,          7,9,10           25 173:3,        222:2,22
     200:2            21,22,24         15,16,18,         137:5,7,         18,23            223:11
     201:15           46:3,4,          19 97:25          10,18,22,        174:3,14,        224:1,15,
     211:10           12,13            99:15,18          25               15,19            18 227:1,
     213:4,10         47:6,17          100:4,18          138:17,21        175:1,16,        10 228:1
     214:23           48:2,13,         101:7,9,          139:1,5,         19 176:4,        229:4



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 340 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     230:1,4          48:1,17       163:6,18,         109:12           39:5             200:12
     231:1,2,         49:3 51:9     21 164:3,         184:8            42:15,17,        201:13,15
     3,25             53:1          18,19             230:16           21 43:10         203:14
     232:3,8,         55:21,23,     165:20            233:9            45:8             207:9
     16 233:25        25 56:1,      174:21                             49:20            210:17
                                                    threat
     234:2,25         2,3,8         175:3                              53:7             213:8,20
                                                      24:4
     236:18           58:16,17      179:22                             54:11            214:1
                                                      69:14
     237:2            62:18         180:16,                            56:6             215:18,23
                                                      73:1
     240:19           63:6,18,      23,24                              57:16            216:2
                                                      91:22
     241:2            24 67:9,      183:12                             58:2,5,          217:18
                                                      113:18
     243:10           23 68:9       189:21                             11,12            218:8,21
                                                      192:24
     244:1,3          70:11         194:1                              60:20            219:17
                                                      227:6
     245:3,4,         71:10,12,     195:22                             67:2             222:20
                                                      237:7
     10 246:14        19,25         204:6                              68:23            223:1
     248:10,          72:7          218:12          threats            76:13            233:25
     16,17            74:14,18,     219:16            185:8,16         79:17            237:21
     249:5,7,         22 75:9,      220:19,           196:17           82:7,9           247:12
     18,23            23 76:11,     20,21             235:23           85:7             251:23
     250:11,25        16,17,22      221:11            236:11           88:16,19,        252:21
     251:3,18,        78:21         231:4,6           246:7            20 91:16,        256:23
     19,20            80:9,15       235:15,                            17 98:23         257:4
                                                    three
     252:5,6          82:3          16,17                              104:19
                                                      14:13                           throughou
     253:14,          85:11         237:24                             106:4,9
                                                      15:23                           t
     18,19,22,        86:15         242:22                             107:5
                                                      16:1,19                           78:9,13
     23 254:1,        87:13         244:25                             117:13,
                                                      18:21                             80:4
     2,13,14,         90:15         246:7                              15,16
                                                      34:4 43:3                         87:14
     16,17,18         91:13,22      248:5                              122:1
                                                      44:17                             100:13
     255:16           92:22                                            124:7
                                   though             58:19                             127:18
     259:12,14        93:17                                            125:25
                                    41:1 43:8         69:16                             128:12
                      94:7,8                                           129:23
   Thomas                           45:9,20,          72:17                             138:2,3,4
                      96:4,6                                           134:16,24
     142:4                          21 51:12          109:5                             171:16
                      98:6                                             135:16
     162:15                         53:13             118:5
                      99:24                                            136:1          Tim
                                    134:13            126:19
   Thomas'            100:12                                           138:9            30:10,12
                                    144:9             132:18
     139:6,7          102:16                                           153:7
                                    153:8             143:2                           time
                      110:5,23                                         154:18
   those                            178:1,9,          182:5                             4:5 5:1
                      112:23                                           165:3,12
     6:9 7:23                       17                190:3                             9:23,24
                      115:11                                           166:1,6
     12:5                           187:12,21         210:14                            19:25
                      117:9                                            170:5
     14:9,16                        208:12            247:24                            21:7,17
                      119:16,18                                        171:20,23
     18:2 19:3                      226:12            248:5                             22:6
                      120:9                                            172:21,
     23:4 24:6                      230:15            252:4,13,                         23:22
                      122:19,21                                        22,23
     27:2,6,7,                      232:17            15                                25:21
                      124:10,18                                        174:7,13
     8,10                           249:8                                               26:9 31:9
                      126:13                        through            175:23
     29:18                          251:24                                              32:21
                      131:4                           8:21             178:9,10
     31:2                                                                               34:3,6
                      143:6        thought            15:14            179:20
     34:7,18,                                                                           39:19
                      144:16,17     48:6,7            19:17            186:5
     23 36:5                                                                            47:4,8,
                      146:20        57:17             25:23            195:21,22
     39:15                                                                              14,22
                      154:24        62:9 69:5         28:3             196:16,18
     46:8                                                                               48:8
                      161:8,16      79:18             32:24            197:4



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9       Filed 05/16/25      Page 341 of 353

  Detective Justin Roth     Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     49:9,22,         199:23       titles              36:4,17,         67:2,3,5,        94:6,11,
     23 51:19,        201:17         24:22             25 37:6,         8,12,13,         18,21
     20 54:3,4        207:12,14                        8,11             22 68:11,        95:7,15,
                                   TJ
     55:3,4           208:19                           38:5,7,          13,16            20,24,25
                                     48:24
     56:16            209:8,11,                        16,19            69:15,17,        96:1,7,8,
                                     49:8
     58:15,18         22                               39:5,8,25        21 70:2,         11,12,16
                                     99:21
     60:4             210:11,25                        40:8,25          23 71:5,         97:2,7,23
                                     101:4
     61:14            211:4,16                         41:2,4,6,        7,10,12,         98:3,19
     62:21,25         213:7,23     to                  11,19            22,24            99:1,2,4,
     63:22,23         217:5          4:22              42:12,23         72:3,9,          6,10,14,
     66:10,15,        218:4          5:19,22,          43:4,9           12,18,22         21
     20 68:8          220:8          24 6:2,3,         44:9             73:3,14,         100:17,
     69:10            221:11,15      4,5,6,12,         45:1,6,13        23,24            20,21,25
     70:4,5           222:13,21      20 7:9,18         46:9,13,         74:3,4,9,        101:5,7,
     71:22            226:15         8:6,11,           15,16,20,        21 75:1,         9,23,24
     73:7,19          227:8          16,19,25          22 47:4,         2,3,11,          102:1,2,
     74:11            228:3          9:3,4,6           5,7,15,21        12,13,17,        9,15,19
     81:23            234:11,        10:1,6,7,         48:1,4           19,23            103:2,3,
     84:12            14,15          9 12:4,6,         49:13,21,        76:22            9,13,14
     85:6,11,         237:1,8        7,9,14,17         22 50:7,         77:1,8,          104:7,8,
     12 86:4          245:20         13:9,14,          12,24            10,11,12,        9,12,15,
     89:19            258:5,17,      23 14:11,         51:11            15,18,20,        20,23
     90:6             25             22 15:7,8         52:7,14          21 78:2,         105:2,5,
     92:1,19,         259:13,16      16:3,10,          53:4,9,12        22 79:16,        7,20
     23 96:13                        16 17:4,          54:3,4,5,        19 80:2,         106:9,10,
                    timeline
     102:9                           5,8,10            6,10,14          13,14,18,        12,16,22,
                      55:9
     104:9,13                        18:12,15          55:4,16,         21,22,24         24 107:1,
                      137:13,25
     106:9                           20:9,12,          20 56:1,         81:2,10,         2,8,11,
                      138:8
     107:23                          25 21:9           2,6,8,18,        19,23,24,        17,18,21,
                      155:23
     109:5                           22:1,2,           21,23            25 82:7,         23 108:3,
                      225:5
     110:25                          11,22             57:2,4,          8,15,17,         7,18,25
     115:2          times            23:2,8,19         18,19,21         23 83:2,         109:1,7,
     117:21           46:13          24:20,23          58:1,14,         10,19,24,        8,9,13,
     120:18           71:8,18        25:21,23          15,16,21         25 84:2,         15,16,20
     125:10,12        73:18,22       26:16,23          59:4,14,         5,12,24,         110:1,4,
     127:4            98:17          27:3,9,           16,20,24,        25 86:2,         5,6,10,
     131:5,8,         102:5          15,17,25          25 60:11,        8,15             21,23
     16 132:10        106:10         28:3,14,          13,14,15         87:3,8,23        111:21
     138:1,19,        128:13         16,24             61:3,10,         89:5,10,         112:1,4,
     25 140:4,        191:19         29:2,11,          12 62:2,         13,14,16,        9,13,19,
     23 143:6,        221:2          18,19             3,6,8,11,        17,23,24         20 113:8,
     10 146:9         222:18         30:11             12 63:4,         90:5,13,         12 114:5,
     155:21           232:7          31:25             7,11,12,         14,16,19,        9,13
     173:9                           32:1,3,4,         15,17            22,23            115:7,8,
                    title
     175:18                          6,11,12,          64:2,4,5,        91:2,6,          11,14,16,
                      31:25
     178:15                          15,24             7,14,21          11,15,24,        22,23
                      35:4
     180:3                           33:5,8,22         65:2,7,8         25 92:1,         116:15,
                      128:25
     189:23                          34:1,13,          66:4,10,         7,16,17          16,20,24,
                      158:8,9
     192:6                           21 35:5,          11,12,13,        93:4,5,7,        25 117:1,
     193:2                           6,8,12,15         15,17,18         10,14,23         4,6,7,9,



  www.lexitaslegal.com                                                                  702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 342 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     21 118:2,        10,12,19      19,23             202:2,3,         12,21,25         252:4,23,
     11,13,21,        148:15,       179:13,           7,16,18,         226:4,8,         25 253:2,
     23 119:3,        21,25         14,15             21 203:9,        12,17,21         9,10,22
     5,12,16,         149:11,23     180:1,2,          19,23,25         227:3,6,         254:17,
     17,20,22         150:13,16     10,13,14,         204:1,6,         9,13,24          18,20
     120:1,2,         151:2,12,     22 181:1,         23,24            228:3,11,        255:5,12,
     3,4,5,15         18,23,24      3,17              205:7,8,         15,17,22,        24 256:5,
     121:4,10,        152:25        182:5,6,          16,19,21         23,25            9,17,20,
     13,25            153:4,15      8,9,12,           206:1,7,         229:6,14,        24 257:8,
     122:1,6,         154:5,16,     16,21,22,         8,11,15,         16,24            15,16
     22 123:1,        17,18,19      25 183:1,         18,20,24         230:7            258:4,5,
     13,25            155:7,24      7,9,12,           207:1,5,         231:7,11,        6,8,16,
     124:9,21,        156:3,23      24,25             11,12,14,        15 232:5,        17,18,19,
     22,24            157:6,7,      184:2,11,         23               12,13,19,        20,25
     125:5,6,8        23,25         14,15,20          208:10,          20,24,25
                                                                                      TOC
     126:6,8,         158:3,4,      185:4,7,          13,25            233:3,5,
                                                                                        85:8
     12,16,18,        17,21,22,     15,18,19,         209:2,14,        13,16,17,
     25 127:7,        23            20,21,22          15,16,18,        20,25          today
     11,17            159:17,18     186:2,21,         21 210:4,        234:2,10,        4:4,9
     128:3,9,         160:3,6,      22                8,9,12,15        23 235:2,        5:20 6:4,
     13,21,23         13,17,18,     187:13,25         211:5,6,         13,16            10,20
     129:17,          21,25         188:2,3,          7,13,20,         236:1,3,         8:7,12,16
     18,19,22         161:1,10,     15,18,24,         21,23,25         12,18            10:7
     130:12           21 162:1,     25 189:4,         212:8,14,        237:6,7,         13:19
     131:9,17,        5,12,23       5,13,16,          20,21            15 238:1,        21:18
     21 133:6,        163:8,18      17,18,19,         213:9,22,        5,10,14,         43:8
     9,11,22          164:11,       20,21             24,25            18 239:1,        45:15
     134:15,          13,19,20      190:5,11,         214:3,22         2,7,13,          54:15
     20,21            165:16,       16,22             215:5,17,        16,18,20,        72:15
     135:9,10,        21,25         191:22            20 216:2,        25 240:7,        82:8
     16,20,21,        166:1,3,      192:14,           10,17,18,        19,20            103:8
     25 137:4,        10,11,13,     18,24             19               241:3,7,         121:24
     7,8,9,11,        15 167:2      193:20,           217:10,          20,21,25         122:1
     12,15,16,        168:12,       24,25             11,17,21,        242:4,23         193:2,12
     18,20            17,25         194:9,22,         24               243:10,          196:4
     138:6,7,         169:6,7       25                218:11,          11,13,15,        197:6
     8,11,15,         170:9,13,     195:12,           14,16,22         17,21            222:8
     23               14,17,19,     21,22,25          219:1,12,        244:9,10,        242:15
     139:10,          22,25         196:6,11,         19,21            14,15,19         244:14
     13,17,24         171:2,5,      14,16             220:3,22,        245:2,4,         245:9
     140:14,23        16,17,22,     197:7,13,         23 221:6,        5,14,24          246:16
     141:12           25 172:6,     19,22             9,10,16,         246:2,4,         256:1
     142:2,3,         11,17         198:1,5,          23,25            14,16,17,        258:7
     9,10,23          173:8,15,     6,9,14,15         222:4,7,         23,25
                                                                                      today's
     143:7,12,        17 174:8,     200:6,14,         10,19,20,        247:4,14
                                                                                        5:24 6:8
     14 144:7,        9,16          16,18,21,         21,22            248:8,22,
                                                                                        8:19
     9,16,24          175:3,16,     24,25             223:3,5,         23 249:3,
                                                                                        10:18,21
     145:8,10,        24 176:2,     201:4,6,          11 224:5,        15,17
                                                                                        12:18
     25 146:2         5,8,13,22     7,10,14,          18 225:3,        251:6,12,
                                                                                        46:16
     147:3,5,         177:18,       15,17             8,9,11,          15,16,24



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 343 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     219:3          took               9:23              234:23         transcrip        tried
                      9:6,11,14        71:5,10           245:5          t                  101:9
   toe
                      44:4             75:2                               6:8 46:17        217:11
     124:22                                            training
                      53:14            175:4,12                           70:13
     125:8                                               14:8                            trigger
                      65:20                                               259:19
                                     tow                 15:19                             144:6
   together           72:5
                                       144:15            17:2,14        transcrip
     43:5             80:20                                                              triggers
                                                         18:25          tion
     71:21,22         106:8          toward                                                118:1
                                                         20:10,25         92:3
     92:23            135:13           137:11
                                                         21:6,16                         trip
     137:5            137:9,22         236:17                           transcrip
                                                         22:3,5,7,                         183:8
     187:6            138:15
                                     towards             10 23:19       tions
     220:3            139:15,16                                                          tripped
                                       83:8              27:19            12:15
                      150:2                                                                166:22
   told                                                  28:4,6,7         34:1
                      156:22         town
     66:3                                                34:8,12,                        trouble
                      170:7            82:20                            transcrip          75:1
     96:22                                               25 43:14
                      201:6            139:7                            ts
     115:19                                              50:22
                      214:23           144:11                             67:23          trucks
     119:1                                               65:12
                      246:3                                               72:15            144:15
     130:24                          toxicolog           75:19
     143:7          tool             y                   78:5 82:5      transitio        truth
     179:1            88:18            136:17            99:25                             4:23
                                                                        nal
     194:11                                              100:13,23
                    tools            track                                30:9           Truview
                                                         110:25
   toll               79:6,7           33:8                             transpare          87:25
                                                         112:7,22                          88:2
     71:19            215:14           146:2
                                                         117:8,15       ncy
   tone             top                161:13                             62:15          try
                                                         120:7,8,
     71:3             7:5,7          tracked             22 121:2,        230:17           10:1
                      41:1 42:1        145:22            14 170:24                         52:13
   tonight                                                              trauma             59:25
                      43:3                               173:17
     197:8                           tracking                             165:3
                      72:16                              176:5                             63:4
   too                                 145:21                           travel             66:7,18
                      77:17                              179:4
     6:3 10:5         90:22          traffic             190:22           70:6             81:22
     15:7             125:8            56:24             206:21                            86:15
                                                                        TRB                99:1
     20:13            169:22           88:5              207:1,5,         74:19
     30:11            199:16           89:3,9            13 211:10                         104:7,9
                                                                          79:25
     39:24            233:11           116:3             220:13                            107:21
     47:17            247:6            143:15            226:7,9        treated            117:21
     54:25                             144:2             228:14,21        175:2,7,         161:21
     65:25
                    totality                                              17 191:20        174:9
                                       150:9             230:7,20,
                      45:10
     77:8,21                           223:7,12,         21 232:9                          198:6
                      47:13,20                                          treatment
     80:9 84:6                         15                234:22
                      50:16                                               241:6          trying
     99:16                                               236:2
                      155:18         train                                                 33:8 40:8
     127:4                                               238:3          tree
                      241:11           71:21                                               70:2 75:1
     141:4                                               241:16,19        142:6
                                       112:9                                               80:2,22
     165:10,13      totally                              243:5,24       trial              90:13
     166:19           239:17         trained             245:4,14         7:16,17          102:19
     208:20                            43:17             246:17
                    touched                                             trick              108:3
     215:6                             49:17             249:15
                      22:21                                                                110:4
     231:19                            82:4              256:20           166:10
                                                                                           116:25
     253:18         tough              211:12                                              152:25




  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 344 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     166:10           217:21         two-              unanimous          60:16          undertaki
     170:19           251:12         officer             229:23           64:15          ng
     180:12,14                         235:20                             65:23            61:16,19
                    TV                                 unaware
     200:6                                                                74:25
                      88:7           two-part            90:7                            undetermi
     222:20                                                               76:25
     236:12         TVS                57:20           uncommon           110:8          ned
                      85:10          twofold             165:5            115:16           148:1
   turn
                                       87:23             194:23           137:24         unfair
     133:2          two
                                                                          144:8            213:17
     138:6            7:18 9:24      Ty'shawn          under
                                                                          182:7
     139:24           18:2,3           153:21            8:10                            unfinishe
                                                                          195:17
     141:10           25:19                              30:18
                                     type                                 197:3          d
     143:14           30:7                               31:4,16
                                       58:17                              213:5            115:13
     144:24           32:20                              52:4
                                       66:12                              214:2,22
     148:25           34:3,5                             112:23                          Unfortuna
                                       89:10                              222:5
     151:2,23         44:17                              113:24                          tely
                                       198:11                             223:5
     153:15           49:3                               123:17                            140:16
                                       205:15                             225:17
     154:5            52:22                              143:10
                      55:24                              164:12         Understan        uniform
     156:3                           types
                      60:24                              186:15                            16:9
     157:7                             124:10,19                        dable
                      64:3                               209:4                             132:8,9
     160:18                            191:8                              9:25
     168:12           67:19                              221:13                          uniformed
     171:5            68:7           typo                229:20         understan          16:11
                      69:20,22         115:23            253:9          ding
     177:23
     180:1            70:14                              257:25           19:17          unilatera
     182:12           71:2                  U            258:3,15         25:6           l
     190:16           72:16                                               51:15            32:17
                                                       undercove          53:25
     194:25           81:8                                                               union
                                     U.S.              r                  54:18
     200:25           95:13                                                                67:20,22
                                       40:6              158:11           60:21
     205:7,21         100:19                                                               83:24
     206:18           101:21         Uh-huh            underlyin          61:24            84:4
     207:23           127:17           186:9                              73:9 76:4
                                                       g                                   102:5,14
     211:23           146:24           214:18                             78:10
                                                         14:18
     217:11           149:18                                              89:24          unions
                                     ultimatel           139:6
     251:6            157:4                                               100:11           67:19
                                     y                   142:20
                      165:20                                              119:2            83:23
   turned                              200:20            147:5
                      177:25                                              131:24           131:2
     140:19                            224:5             225:6,18
                      178:16                                              136:22         unit
     147:19                            230:6,22        undersher          138:21
                      179:2                                                                16:4
     217:12
                      180:14         umbrella          iff                139:20           26:3,5
   turning            182:1,5          30:23             62:18            151:16           28:14
     90:6             183:11           31:15,22          143:11           161:23           112:3
     116:10           191:7                              253:8            162:18           115:15,20
     131:9,21         201:15
                                     UMLV                                 218:25
                                       243:23          understan                           116:15
     137:4            212:6                                               224:12           118:12
     149:11           243:5          unaccepta         d                  244:8
                                                         6:19 8:6                          143:2
     155:7            245:22         ble                                  245:10           149:4
                                                         42:13            246:15
     179:13           246:23           188:17                                              154:16
                                                         45:7,16
     186:2            259:16                                                               155:20
     192:18                          unaltered           48:7 52:5
                                                         53:24                             165:12
                                       134:9



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 345 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     175:5            218:13           118:8           urine            use-of-          USSC
     182:16,23                         119:13            83:19          force              192:9
                    unoccupie
     184:12                            120:10            84:3,7           13:5
                    d                                                                    usual
     185:4                             135:23                             14:11,12
                      150:16                           us                                  251:1
     191:23                            142:17                             17:8,25
                                                         63:12
     197:6          unsafe             143:5                              18:17          usually
                                                         67:2
     215:8,13,        90:12            150:11                             19:5             26:1 27:3
                                                         83:24
     15,17                             154:14,                            23:10,15,        55:24
                    until                                91:15
     235:20                            18,21                              17,20            56:3
                      40:24                              133:22
     236:4                             158:21                             53:17            60:24
                      44:24                              134:20
     237:13                            166:22                             85:23            62:17
                      87:5                               143:12
                                       175:16                             86:16            63:3
   United             95:14                              164:13
                                       180:2,18                           99:20            64:20
     41:7             115:4                              191:14
                                       181:8                              101:6            65:9
     42:2,4           183:5                              245:14
                                       184:5                              102:3,16         66:17
     46:25            184:12           189:7           use                117:4            69:22
     47:2,3,7         191:21           190:13            14:14            119:18           70:10
     50:5             217:17           194:19            23:17            174:5            78:18
     207:25
                    unusual            197:24            24:19            237:10           81:7,22
     208:9
                      220:21           205:16            31:5             247:21,23        84:3,10
     209:22
                                       210:19            36:25                             86:5
     230:11         up                 211:25            40:2           used               87:2,6
     232:20           8:15                                                23:22
                                       217:17            41:18                             88:24
   units              10:9,10,                           65:11            29:17            95:8
                                       225:1,13
     76:21            11 13:14                           69:5,12          41:2,4,20        103:25
                                       231:20
     99:24            14:21                              72:22            54:11            105:5
                                       233:17
     139:12           16:12,17,                          90:1 93:7        59:19            106:13,20
                                       236:1,3
     154:24           18 32:9                            102:20           61:22            107:11
                                       240:22
     189:18           37:9,15                            106:12           62:12            109:23
                                       247:6,12
                      39:4                               113:16           68:17,19         130:25
   Universit          44:24          update                               87:24
                                                         114:8                             131:1
   y                  51:24            93:11,14                           88:5
                                                         117:5,21                          137:10
     20:22            52:15          updated             124:23           99:22            174:24
                      57:23            126:16            138:23           192:25           181:13
   unknown            59:23            228:22            143:3            193:13           248:14
     142:3,4,5
                      60:7,8                             175:25           196:19
     147:1,9,                        updates                                             utilizati
                      61:9,10                            176:5            201:23
     24 148:24                         93:11
                      66:14                              197:10           205:14         on
     149:9                             103:20
                      67:8                               204:24           237:2,7          223:8,20
     155:14                            104:5
                      74:12                              205:5            241:17
     157:4                                                                               utilize
                      76:17          uploaded            217:22
     169:15
                      77:20
                                                                        useful             58:15
                                       88:23             218:3            88:17            63:17
   unknowns           82:23                              220:7
                                     upon                                                  70:1 73:3
     159:23           85:3,10                            224:1,18,      uses
                                       192:7                                               83:24
     160:1            86:25                              20 225:9         113:20
                                                                                           112:7
     227:18           89:14          upstairs            227:21           135:20
                                                                                           117:10
     228:12           90:6,22          65:6              228:17         using              210:15
                      96:17
   unless                            upwards             237:24           36:17
                      105:25                             247:25                          utilized
     82:20                             73:18                              199:10
                      112:4                                                                48:2 79:5
     193:22



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK          Document 57-9       Filed 05/16/25      Page 346 of 353

  Detective Justin Roth       Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     228:17           127:13           46:25             195:16         videograp        vital
     244:15           257:6            47:1,3,7,         197:13         her                72:17
                                       13 50:4,5         209:6            4:4,7
   utilizes         Vegas                                                                vocal
                                       52:17             211:15           65:14,17
     35:8             4:11 5:3                                                             245:16
                                       69:14             212:7            118:15,18
                      15:15
   utilizing                           73:1              214:3            156:16,19      voice
                      68:1
     192:4                             91:23             224:1            254:22,25        108:20,21
     208:18         vehicle            113:14,15         245:16,20        259:9,14         240:3
     215:14           83:23            164:17
                                                       vest             videos           volunteer
     232:4            144:20           172:14
                                                         135:11           140:11,15        57:18,19,
                      146:25           192:8
                                                                          141:25           21 59:12
                      150:15           208:9           via
          V           157:5,9,                           47:24                           volunteer
                                     vertical                           Videotape
                      11,22,25                           79:10          d                ed
   vacation                            167:11
                      181:23,25                          84:1             5:23             57:14
     220:16           191:24         very                105:6                             60:22
                                       9:5 12:2          223:6          view               61:13,14
   vacuumed         vehicles                                              174:23,24
     217:9                             16:15             224:21                            62:6
                      195:20,22
                                       24:18                            violate            96:19
   vague                                               viable
                    verbal             49:25                              111:22
     162:2,3,4                                           75:21                           volunteer
                      47:24            52:10                              255:6
     163:6                                               193:21                          ing
                      79:15            55:23
     165:10,                                             196:15         violated           57:17
                                       57:14
     13,19          verbally                                              32:13            161:1
                                       64:3,25         vice
     166:20           79:10                                               255:18
                                       70:14             112:2                           vote
                    verbatim           72:6              206:12           257:11,12
   validated                                                              259:2
                                                                                           18:20
     252:14,16        44:1             74:22                                               19:3
                                                       victim
                                       75:7 77:6                        violating          247:24
   validity         verbiage                             150:11
                                       83:3                               255:11
     163:16           121:15                                                             voted
                                       88:17           video
                      125:14                                            violation          74:19
   valued                              91:24             18:12
                      126:5,15                                                             79:24
     116:16                            102:6             51:7           s
                      128:14                                                               110:5
                                       107:24            64:12            175:24
   vans               171:2                                                                126:11,19
                                       117:2             71:17
     131:1            227:4                                             Violator           241:25
                                       119:21            85:20
                                                                          112:8
   vantage          verge              121:4             90:8                            votes
     216:9            71:23            124:2             139:7          Violators          20:7
                                       125:13,21         140:3,8          28:10            85:24
   varies           version
                                       128:22            141:5,16         98:5,6,          248:2,5
     25:21            39:11
                                       130:11            142:10           11,17
     67:18            115:14                                                             voting
                                       156:3             152:1,2          99:6
                      117:6                                                                14:13
   various                             158:11            169:3            184:23
                      141:6,11                                                             18:23
     16:10                             170:9             184:20
                      165:25                                            virtual            78:1
     68:9                              171:21            259:10,11
                      171:18                                              12:8             110:8
     103:11                            172:10
                      220:4                            video-             87:10            117:4
                                       174:4,24                           201:9
   vary             versus             175:19
                                                       recorded                            119:17
     68:6             4:11 5:3                           151:15         visual             126:21
                                       180:3,10
                      7:13 24:3        184:20                             98:24            248:5
   vast
                      40:6,20          191:14                             198:14           251:19
     22:2



  www.lexitaslegal.com                                                                    702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 347 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

                      37:20        wanted             185:2            151:14           201:17
          W           39:10,12,     90:19             192:7,20
                                                                     watching           209:10
                      19 42:12      96:16             193:3,13,                         215:19
                                                                       90:3
   wait               49:13,21      106:16            14,15,16,                         225:1,10
     47:15            55:20         110:1             18,23          water              226:14
                      64:14         128:13            194:4,8,         197:15           240:6
     85:21
                      67:13         144:9             12,14            198:5            250:13
     89:13,17
                      68:11         219:21            196:5                             256:5
     109:16                                                          Wattsel
     208:11           75:11,12      228:11            201:23                            257:17,22
                                                                       150:8
                      77:15                           207:16
     209:3,21                      wants                               151:6,17       ways
     234:2            79:16                           219:25
                                    71:24                              152:22           148:20
                      82:7,8                          220:22
                                    119:20                             156:8            160:3
   waiting            89:16,24                        221:5
                                                                       185:18
     229:14           92:16        Warner             224:6,9                         we
                                                                       193:25
     232:17           93:4,10       96:5              228:18                            4:7,10
                                                                       194:6,12
     245:20           94:11                           229:19,20                         7:14 9:19
                                   warrant                             206:7,11
   walk               96:7                            231:3                             11:6
                                    37:2
     15:14            103:9                           236:15         Wattsel's          12:7,8,19
                                    39:16
                      106:9,10,                       237:3            151:25           13:8,18,
     19:17                          40:4 46:5
                      11 110:6                        239:21,24                         22 17:2
     43:10                          52:3,25                          way
     57:16            116:4                           242:6,13                          20:1
                                    53:9 54:5                          15:4
     58:4 86:2        118:13                          244:16                            21:18
                                    58:16                              35:22
     153:7            121:25                                                            22:3
                                    59:5,18         warrants           46:2
     171:22           124:9                                                             23:1,6,7,
                                    61:8 62:5         57:23,25         53:11,16
     197:4            128:21,23                                                         8,10 24:7
                                    70:8              58:8,9,17        57:4
     218:8            134:21                                                            25:15,18,
                                    79:14             59:14            73:21
                      137:16                                                            19,22
                                    89:6              73:12            77:25
   walk-              138:6,11                                                          26:1
                                    92:20             74:10            93:21
   through            165:24,25
                                    97:6,21,                           94:19
                                                                                        27:16,17
                                                      79:5
     85:25            166:13                                                            28:2
                                    22 98:12,         96:21            100:9
     88:14            171:5,22                                                          33:23
                                    15,19,21,         97:2,10,         104:20
                      181:17                                                            34:22
   walk-                            22 99:7           13,17            106:13
                      184:2                                                             36:3,10
   throughs                         101:3             98:18            110:7
                      201:6                                                             38:15
     85:17                          128:3             124:2            115:22
                      202:16                                                            39:14
                                    129:14            160:24           117:7
   walked             205:7                                                             41:23
                                    145:15            164:2            121:15
     139:10           206:1                                                             43:8
                                    150:15            166:19           122:7
                      216:18                                                            45:15
   walking                          160:22            192:22           127:3
                      218:14                                                            46:14,15
     60:20                          161:6,18,         194:1,17         137:13
                      222:18,                                                           48:2,21,
                                    22 162:6,         196:20           139:3
   Walsh's            19,21                                                             22 49:14
                                    24                233:23           148:16,
     253:8,9          223:5                                                             50:19
                                    163:14,17         243:5            21,24
                      227:24                                                            51:5,6,7,
   want                             165:17                             158:15
                      233:5                         watch              159:14
                                                                                        23 53:2,
     10:6                           166:7,22,
                      236:18                          64:20                             5,6,15,16
     13:23                          24                                 162:23
                      239:16                          85:11                             54:14,19
     15:7,8                         169:18,25                          168:7
                      243:9,11                        144:18                            55:1
     16:16                          170:7,13                           170:4
                      244:19                                                            58:2,19,
     20:12                          171:1,2,        watched            185:1
                      249:4                                                             20 60:2,
     24:23                          13 172:4          65:24            191:20
                                                                                        3,4,5,8,9



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 348 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     61:4,6,7,        94:6,7        158:4             216:3,7,       we'll              108:25
     9,19             95:24         159:16            19 217:17        13:24            110:3,4
     62:1,2,3,        96:1,7,8,     160:9,13,         218:12,21        29:2             111:3
     12,16,25         12 97:20      18 163:17         219:16,18        34:13            112:20
     63:2,4,16        99:17,23      164:4,22          220:6,25         38:11            115:8
     64:18,22,        100:17,23     165:9,19,         221:2,14         51:11            117:18
     23,24            101:3,4,      20 166:8          222:8,17,        52:9             118:23
     65:20,21         13 103:5,     167:2             22,25            53:17            120:1,25
     66:7,9,          8,25          169:6             224:4,17,        55:8 76:2        122:22
     15,18            104:2,7,      170:13,           23               85:7 99:9        123:12,22
     67:3,8           9,12,13,      16,21             225:10,25        114:14           136:23
     68:15            14,15,16      171:15,           226:17           123:22           137:17
     69:4             106:10        16,19             227:11,25        126:8            138:7,24
     71:1,5           107:1,4,      174:20            228:2,9,         138:7            158:23
     72:3,15          23 109:2,     175:3,9           16,23,24,        145:7            163:19
     73:19            3,10,14,      176:2,8,          25 229:8,        160:13           164:16,18
     74:21            25 110:1,     21,22             19 230:1,        171:20           168:25
     75:1,4           6 111:4,7     177:23            17,20            173:15           175:25
     76:3,14,         112:12        178:9             231:7,15         190:10           197:25
     20,21            113:10,       179:19            232:8,12         217:18           212:22
     77:5,14,         14,15,18,     180:1             233:9,18,        219:14           213:18
     21,23,24         20 115:3,     182:12            24 235:2,        229:9            215:22
     78:6,7           9 116:1,2     183:11            15,16            251:7            216:17
     79:15,18         117:21        185:11            236:16           259:20           219:10
     80:10,16         121:24        186:5             237:6,15,                         248:23
                                                                     we're
     81:9,15,         122:1,12      187:16,19         21
                                                                       7:12 17:1      we've
     17,22            127:16,21     188:14,           238:13,14
                                                                       24:21            21:5
     82:6             129:23,25     15,17             239:1
                                                                       40:9             48:22
     83:2,4,          130:3         190:16,25         240:5,10,
                                                                       42:21            69:17
     18,20,24         132:12,25     191:5             17 241:2,
                                                                       44:16            73:16
     84:2,9,          133:1         193:2,11,         21
                                                                       45:8             77:17,19
     15,18,21,        134:9,12,     12 194:5,         242:15,
                                                                       46:15            103:11
     22,23,24         16,18,19,     25 195:12         18,21,22,
                                                                       53:8 57:1        109:21
     85:2,10,         24            196:4,7,          24 243:3,
                                                                       62:11            112:19
     14,20,21,        136:13,       11 197:22         4,22
                                                                       69:15            114:12
     22 86:3,         14,16         198:12            244:9,13
                                                                       70:2,8           158:4
     8,9,10,          138:6,8,      199:24            245:3,9,
                                                                       71:11            173:19
     13,15,18,        22,23         200:13,24         12,17
                                                                       74:25            184:23
     24 89:1,         140:12        201:5,8,          246:14,15
                                                                       75:9             191:7,9
     10,13,17,        143:7,14      17,19             247:11
                                                                       80:10            213:23
     19,21,24         144:16        202:9,12,         251:2,6,
                                                                       84:13            222:6
     90:2,3,8,        145:10        21                21
                                                                       85:14,18         225:24
     16,23,24         149:16        203:12,23         252:12,21
                                                                       88:19,20         233:24
     91:1,2,4,        150:19,21     204:8             254:12,16
                                                                       89:5,23          244:18
     9 92:14,         151:2,24      205:21            255:22,25
                                                                       92:2             258:7
     22,23            153:2,15      207:23            256:1,23
                                                                       93:5,18
     93:1,4,          154:5,16      208:25            259:16                          weapon
                                                                       95:4,7
     10,11,13,        155:24        209:6                                               90:12
                                                    we'd               96:10
     15,16,18,        156:13,       211:18,23                                           241:9
                                                      90:21            106:3,4
     19,20,22         22,23         212:21



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9       Filed 05/16/25      Page 349 of 353

  Detective Justin Roth     Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

   weapons            46:6 59:7      196:11            71:8             157:21           247:11,12
     59:19            62:11          210:17            72:17            160:8            250:5,13
     85:17            72:20          227:25            73:20            162:19           251:16
                      73:8 75:6      232:23            74:25            163:20           252:9
   wearing
                      77:5           237:21            75:14,17         165:22           254:4
     132:8,10
                      78:15          252:21            77:8 78:7        166:4,9          256:20
     142:8
                      98:20                            80:1,10,         168:15           257:18
     145:19                        Werner
                      111:8                            14 82:8,9        170:8,9
     149:22                          237:17                                            what's
                      116:15,19                        83:14,15,        171:15,23
     167:9                                                                               15:3
                      119:5        western             17 87:9          172:23
                                                                                         16:21,23
   weave              123:12         210:13            88:2,21          173:8,24
                                                                                         20:17
     171:20           126:6                            89:19            175:6
                                   what                                                  23:14
                      128:17                           91:19            176:23
   weaved                            7:3 9:23                                            25:9
                      130:17                           93:6,18          179:3
     24:1,2                          11:16,17                                            27:24
                      133:2                            96:23,25         181:6,22
                                     14:1                                                30:5
   weaves             140:5                            97:3             182:20,22
                                     16:3,6,9                                            31:23
     35:20            165:10                           99:10            183:14,17
                                     17:23                                               35:6
                      168:2                            100:23           185:16
   week                              18:2                                                53:24
                      171:21,24                        101:14           187:4
     60:7 63:3                       21:23                                               59:24
                      173:16                           104:4            191:1,4,
     66:18,23                        22:15,16,                                           60:1
                      175:8,11                         106:5,11         16 195:4
     81:7                            19,23                                               88:21
                      186:10,17                        108:23           196:13
     91:18                           25:10                                               95:6
                      189:10                           111:3,5,         197:1,3
                                     27:20,23,                                           111:16,19
   week-to-           191:16                           23 112:19        198:23
                                     25 29:9                                             119:25
   week               209:25
                                     31:21
                                                       113:12,14        199:10,14
                                                                                         135:3,8
     60:5             210:21                           114:3,9          200:4,21
                                     34:2,5                                              136:3
                      213:21                           115:19           205:10,
   weeks              215:23
                                     35:20
                                                       116:21           11,19
                                                                                         138:17
     81:8                            36:21                                               146:23
                      219:14                           119:1            210:22
     172:18                          41:23                                               154:9
                      221:5,25                         121:25           211:13
                                     43:11,16,                                           177:12
   weigh            well-            17,22
                                                       122:2,8          212:13,18
                                                                                         191:9,14
     28:14                                             124:15           216:18
                    being            44:3,5,7                                            193:7
     71:14,25                                          125:2            217:5
                      174:12         46:3                                                228:7
     72:6                                              127:25           218:3,16,
                                     50:12                                               247:5
                    went                               128:17           25 219:14
   weighs                            51:6                                                251:7
                      8:20                             129:5            224:17
     72:6                            52:19
                      21:21                            134:6            226:5          whatever
                                     53:2
   weight             43:6 53:2      56:8,9,13
                                                       135:17           227:11           33:6
     250:5            55:6                             136:23           228:9            39:10,11
                                     58:6,7
                      58:2,14                          137:10,17        230:11,          43:24
   weird                             59:1,13
                      60:24                            138:1,18,        12,20            45:13
     195:15                          60:21
                      65:5                             25 140:1         232:8            74:14
                                     61:6,17,
   well               68:23                            141:2,3,4        233:5            79:17
                                     21 62:9,
     17:4             77:20                            143:13,25        236:25           83:21
                                     10,12
     19:17            89:18                            144:10,25        240:12           88:4
                                     63:4
     23:24            103:5                            145:12           241:23           103:9
                                     64:21
     24:1             107:4                            146:19           242:2,23         110:22
                                     65:11
     27:15            147:12                           150:1            245:24           112:8
                                     68:5 69:5
     29:25            179:8,20                         154:25           246:2,6,         116:25
                                     70:3,21
     30:11            183:9,15                         156:25           16               121:14



  www.lexitaslegal.com                                                                  702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 350 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     123:4,18         74:21         209:8             79:15            215:20           13,14
     126:14           76:3,16,      211:18            84:8             217:10           54:7
     188:1            20 77:14      212:4,8,          87:15,17         230:1,3          55:14
     191:23           80:10         11,22             88:7,10,         234:1            60:9
     198:17           81:2          213:6,7           12,13            238:13           68:1,4,16
     249:8            82:15         216:23            90:15,22         246:5            69:15
                      87:8 90:3     221:2             91:9 92:2                         74:17,19,
   whatsoeve                                                         Whereupon
                      95:9,17,      224:17            93:1,17                           21 79:7,
   r                                                                   4:20
                      22 97:1       225:5             95:12                             9,23,24
     251:22           101:17        226:17            96:1 97:7      whether            80:23
   when               105:20        227:6             99:5,9,          18:22            81:14
     6:7 8:23         108:19,22     228:17            11,20            32:12            83:9 85:8
     13:14            109:7         232:3,13          108:21           33:5,13          86:22,23,
     14:15            110:2,9,      233:19            116:16           46:4 57:6        25 87:4,
     15:1             14 116:2,     234:23            117:1            61:20            11,25
     19:9,18          8 117:25      238:14            118:4            74:9 76:8        89:7
     20:1             118:5         240:10            120:6,13,        78:19            90:14
     21:11            119:15        243:20            16               83:22            91:14,17,
     22:12            125:19        245:18            130:19,          98:23            23 93:12
     26:23            134:12,18     248:8             23,24            108:25           101:3
     27:5,14          137:14,18     250:2,8           131:19           112:7,22         102:13
     32:8,9           140:14        252:8,20          132:2            113:1            105:5,7
     35:9             142:18        254:13            134:25           114:1            109:25
     37:5,6           143:4                           137:11           129:10           112:25
                                   whenever
     41:2 43:5        149:16                          139:15,19        144:3,20         123:18,19
                                    6:3 41:11
     48:10            152:15                          142:2            152:21           135:19
                                    197:7
     49:25            155:8                           145:14           177:24           140:6
     50:6,7,9,        158:15,21    where              149:20           191:23           143:23
     15,20            159:9         12:13             150:10           197:21           144:5,18
     51:10,15,        160:13        18:8              153:3            198:4,11         145:2
     16,21,23,        164:2,4,      19:19             158:16           201:14           150:17
     25 52:1,         14,18,22      20:21             160:10           212:3            153:9
     8,11,16,         165:2         25:13,18          161:4,5          229:24           155:12
     17 53:6,         170:25        33:9              166:21                            163:8
                                                                     which
     7,15,16,         172:6,23      38:19,24          176:25                            168:20
                                                                       7:14 9:10
     20 54:15,        176:11        39:14,23,         177:6                             171:3
                                                                       12:9,10
     25 55:1,         178:19        24 41:22          179:14                            172:10
                                                                       13:6
     2,9,10,          180:19        44:24             180:5                             173:3,20
                                                                       14:2,12
     12,20,21         181:16        45:2,9            181:3                             175:2,10
                                                                       15:18,21,
     56:22,25         182:3         46:21             182:4                             180:5
                                                                       24 16:4
     57:1,3           183:11,       51:24             183:12                            183:25
                                                                       18:5,6,20
     58:17,18         15,23         52:15             184:5,6,                          184:14
                                                                       19:6
     59:12,20         184:4         58:20             21 186:21                         186:15
                                                                       23:12
     62:1,23          187:17        61:3              187:5                             189:7,18,
                                                                       25:20
     63:20            192:4         62:16             189:17,18                         22 191:9,
                                                                       28:5,6
     64:21            198:3         74:3,8,12         190:11                            11 195:8,
                                                                       38:11
     67:5,6           201:6         75:4              195:17                            19
                                                                       40:7,21
     69:24            204:10        76:10             197:25                            201:20,22
                                                                       41:14,23
     70:14            206:14        77:18             205:1                             202:5
                                                                       47:1,3,4,
     71:16            207:6         78:1,18           207:12                            206:12



  www.lexitaslegal.com                                                                 702-476-4500
Case 2:24-cv-00074-APG-NJK         Document 57-9       Filed 05/16/25      Page 351 of 353

  Detective Justin Roth      Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     209:21           95:7,24         169:8             161:8,23         14 215:1,        22 71:2,
     216:17           96:8                              162:1            19,21,24         17 72:10
                                    whole
     223:21           102:5,7,                          165:20           216:2,9,         73:14,17
                                      9:2 13:10
     235:2            9,10                              166:19           23               74:10,14,
                                      30:23
     236:23           103:13                            168:7                             18 75:16
                                      108:10,13                        windows
     238:24           105:4                             170:6,10                          76:17,22
                                      115:1                              184:18
     243:18,23        114:24                            172:13                            78:4,25
                                      128:22
     244:24           119:20                            174:10         wish               79:4,14,
                                      151:14
     256:22           135:24                            175:25           164:19           21 84:20
                                      166:10
                      139:12                            181:8            174:19           85:15,17
   whichever                          176:1
                      143:9,12                          182:7,9                           89:20
     33:13                            219:6                            with
                      145:22                            195:17                            90:25
                                      220:18                             6:9,14
   while              147:14                            229:3                             92:10,19
                                                                         7:16
     44:20            151:5,24      whom                250:6                             95:18
                                                                         10:13,20,
     50:6 77:6        157:8           142:24            252:19                            96:20
                                                                         24 11:2
     155:13           158:10                                                              97:1
                                    why               wide               14:16
     220:7            163:9                                                               98:18
                                      30:17             104:12           15:3,10,
     231:22           172:2,3,                                                            100:22
                                      33:23                              14 18:11
     255:22           4,16                            widely                              102:9
                                      34:23                              20:4
                      175:19                            119:3,4                           104:25
   white                              36:12                              22:16,22
                      178:4,14                                                            105:2,8,
     145:17                           44:7 46:1       Williams           24:10,13
                      179:16                                                              11 107:3,
     149:22                           48:4              6:21             25:25
                      184:25                                                              5,7 108:2
                                      50:20             59:7,10          26:1
   who                185:1,5                                                             112:6
                                      57:17             134:4            28:11
     18:19            188:12                                                              113:10
                                      60:20,21          202:14           31:19
     26:4,8,11        189:24                                                              114:4
                                      63:17             203:9            32:19
     28:12            190:6                                                               116:8,12
                                      72:8,20,          211:2            33:1,7,15
     29:16,21         197:24                                                              121:8
                                      21 73:2,          216:10           34:20
     32:22            198:1                                                               122:12
                                      21 78:3           256:4            35:4
     33:23            202:24                                                              124:2,9,
                                      84:13             258:24           38:3,5
     35:1 36:6        207:9                                                               18 125:2,
                                      86:9,17                            39:12,22
     38:5 45:6        214:13                          Williams'                           4,6
                                      88:7                               40:20
     48:17,25         226:20                            13:17                             126:17
                                      91:14                              41:3 42:3
     55:23            230:16                            59:13                             127:1,7
                                      93:20,22                           44:18
     56:23            236:21                            60:17                             132:5
                                      98:5                               45:4,5
     57:23            245:13                            136:6                             133:6
                                      100:8                              47:5
     60:12            247:20,24                         216:4                             135:25
                                      101:4                              51:24
     61:10            248:2                             255:17                            143:4
                                      106:1                              52:25
     64:1                                               257:10                            145:24
     65:3,7
                    who's             108:13                             53:2
                                                                                          147:2
                      11:11           109:18          Wilson             54:19
     67:11,16,                                                                            148:19
                      59:23           115:21,24         192:8            55:6
     23 72:2                                                                              150:6,10,
                      84:13           116:5                              59:4,22
     76:22                                            window                              24 151:24
                      117:1           141:20                             60:3
     78:6                                               55:2                              152:17,21
                      160:9           142:22                             61:10,19,
     81:25                                              128:16                            153:2
                      166:18          146:17                             23 62:5
     84:3,11,                                           129:4,7,                          154:11,13
                      188:10          147:22                             63:25
     16,17                                              10 186:1                          157:5,9,
                      249:16          149:9                              66:18
     86:7,18                                            203:9,14                          15 158:10
                                      152:25                             67:17
     89:3,4,18      whoever                             210:13,23                         159:2
                                      153:5                              70:7,17,
     91:5             68:6                              211:1,7,                          160:21



  www.lexitaslegal.com                                                                   702-476-4500
Case 2:24-cv-00074-APG-NJK         Document 57-9       Filed 05/16/25      Page 352 of 353

  Detective Justin Roth      Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     161:13,24        238:5,19,       230:8,20        won't              59:1             21 213:7,
     164:2,10,        22,23           231:1             138:8            96:13            10
     20 165:8         239:3,18,       236:1             259:11           120:6,7
                                                                                        writer
     166:19           20,23,24,       237:18                             129:25
                                                      word                                116:18,22
     167:11           25 240:18       238:2,13                           256:15
                                                        20:2
     169:8            241:18          240:8,23                                          writing
                                                        44:18          Works
     171:21,23        242:20          241:15                                              9:23
                                                        51:21,22         219:20
     173:9            243:14,15       244:5                                               106:7
                                                        52:17
     174:3            244:10          256:7                            workup             108:19,21
                                                        54:16
     175:20           245:4,6,                                           76:12            117:16,20
                                    without             70:19,20
     177:8            13,14,15,                                                           118:10
                                      39:9              117:22         workweek
     178:11           16 246:6,
                                      46:10             157:19           27:6           written
     179:10,16        11
                                      91:3              176:12                            8:21
     180:14           251:19,25                                        world
                                      147:12            199:10                            10:17
     181:2,25         253:14                                             158:3
                                      148:14            200:8                             36:11
     186:16           255:5,22
                                      153:23            201:15         worn               43:24
     187:10,18        257:21
                                      154:3             236:24           148:7            50:21
     188:13
                    within            165:7             246:4            167:10           52:10
     190:3,13
                      15:25           197:14                                              166:5
     191:1,24                                         wording          worries
                      17:14           205:24                                              226:14
     194:6                                              77:11            166:9
                      26:5            235:24                                              257:24
     195:8                                                             worry
                      51:17                           words
     196:4                          witness                              67:3
                                                                                        wrong
                      52:22                             71:3
     197:21                           4:9 65:3,                                           12:1
                      62:13                                              158:24
     198:1,4,                         7 69:4,24       work                                37:12
                      63:3                                             worst
     10 200:14                        73:24             11:17                             58:23
                      66:5,18,                                           61:20
     201:10                           84:17             13:3                              90:25
                      23 68:9                                            64:1
     206:20                           85:15             14:24                             121:21
                      78:20
     207:9                            91:6              27:8                              123:7
                      91:13                                            wound
     208:14,                          127:23            59:22                             151:23
                      98:10                                              139:14
     16,17                            128:1             63:21                             157:19
                      103:2                                            wounds
     210:5,18                         133:7,8           74:6                              165:16
                      111:9                                              90:13
     215:1,7                          156:13            77:23                             233:8
                      113:6,7
     219:11,24                        254:1             81:25          woven              240:17
                      114:3
     220:2                            255:21            82:1             33:20            243:4,14
                      115:20
     221:3,4,8                        256:19            89:12                             244:1
                      119:8                                            wrap
     223:3,7,                         257:15            96:11
                      120:8,19,                                          189:22         wrote
     19                               258:11,22         109:10,22
                      20,22                                              211:25           44:7
     224:19,24                        259:4             115:18
                      121:2,8,                                           212:4,16         45:21
     225:19,21                                          116:11
                      14 122:16     witnesses                                             47:17
     226:10,13                                          130:7          wrinkled
                      125:14          23:8                                                54:6 85:5
     227:4                                              173:22,25        28:18
                      154:24          66:19                                               115:11
     228:11                                             174:2
                      168:9           133:14,                          write              200:11
     229:18                                             185:19
                      178:1           15,19,24                           9:21 17:4        230:4
     230:12,13
                      207:2           153:22          worked             36:13
     231:25
                      211:6           154:3             94:13            44:12
     235:10                                                                                    Y
                      226:1,9                                            55:17
     236:12,                        woman             working
                      228:14                                             116:15
     22,25                            148:9             20:15                           yeah
                      229:12                                             117:6,7,
     237:7,24                         157:14            26:18                             11:19



  www.lexitaslegal.com                                                                   702-476-4500
Case 2:24-cv-00074-APG-NJK        Document 57-9      Filed 05/16/25      Page 353 of 353

  Detective Justin Roth    Latia Alexander, et al. v. Las Vegas Metropolitan Police Department, et al.

     18:18            48:22         17,24             225:23           253:13,14
     25:4             49:13         114:10,11         227:2,23
     29:24            58:12         116:24            229:16
     37:21            93:9,10       120:3             231:14
     39:23            94:20         121:23            238:4
     40:23            109:5         122:25            239:15
     44:6 53:4        116:14        125:23            241:13
     92:9             117:19        128:19            242:14
     110:13           118:5,12      129:5,8,          243:7
     124:16           143:2         12,15             244:12
     128:2,8          179:6         130:22            245:11
     134:23           181:11        132:11            247:2
     148:12           182:11        134:5             255:9,14
     152:10           221:2         137:6             256:21,24
     155:25           224:19        138:5             258:22
     156:1                          139:23            259:5,20
                    Yep
     167:6,21                       141:1,5,
                      129:21                        yes/no
     168:6,8                        19 144:23
                      156:2                           212:21
     171:19                         146:4,10
                      177:5
     172:15                         147:21          yet
                      202:11
     177:4                          148:21            87:3
     178:5          yes             151:1             158:4,5
     187:9            5:21 7:2,     152:13            220:6
     207:20           22 9:22       155:11
                                                    yourself
     209:1            10:15         166:23
                                                      21:11
     211:12           11:3          167:25
                                                      56:4 64:5
     213:4            14:25         168:1,5
                                                      83:17
     214:25           21:4          177:1,2
                                                      152:11
     215:3,4          22:20         178:22,24
                                                      175:8
     228:5,11,        24:11,15      182:15
                                                      183:5
     13 230:3         25:8 30:1     185:15
                                                      185:8
     242:2            33:18,20      192:16
                                                      255:6
                      38:8 40:5     195:16
   year                                             Youtube
                      42:3          200:1
     9:6 13:12
                      45:19         201:2,24          62:14
     15:18,20
                      54:17         202:19            64:12
     16:5
                      56:15         203:15            140:10
     25:22
                      59:2          205:5,23
     26:2
                      68:15         206:4
     55:18                                                 Z
                      69:13         207:22
     75:4
                      77:5,12       208:3,4,
     80:21                                          Zabeti
                      78:6          24 211:22
     122:9                                            40:20
                      79:16,20      214:20
   years              92:22         215:7,10          46:25
     7:6              94:14,24      216:11            47:13
     15:11,17,        97:9          217:7             50:4,13
     23 20:15         100:7         219:10          zero
     22:16,17,        103:10        220:1,5,          64:19
     18 24:13         110:20        14 222:3          75:5
     34:5 43:3        112:11,       223:24            97:14



  www.lexitaslegal.com                                                                 702-476-4500
